Case 2:25-cv-03366-AB-E   Document 1-1 Filed 04/16/25   Page 1 of 299 Page ID
                                     #:5




                  EXHIBIT A




                                 Exhibit A, Pg. 004
Case 2:25-cv-03366-AB-E                  Document 1-1 Filed 04/16/25                        Page 2 of 299 Page ID
                                                    #:6                                                    CT Corporation
                                                                                            Service of Process Notification
                                                                                                                    03/17/2025
                                                                                                       CT Log Number 548652007


   Service of Process Transmittal Summary

   TO:       Rebecca Thompson, Legal Svs Spclst
             UnitedHealth Group Incorporated (111504190770700600)
             UNITEDHEALTH GROUP, 6022 BLUE CIRCLE DRIVE
             ATTN: MN103-0400
             MINNETONKA, MN 55343

   RE:       Process Served in California

   FOR:      UnitedHealthcare Insurance Company (301800099745000000048) (Domestic State: CT)

   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                         PATRICK BERTRANOU, an individual vs. UNITEDHEALTH GROUP INCORPORATED

   CASE #:                                  25SMCV00428

   NATURE OF ACTION:                        Insurance Litigation

   PROCESS SERVED ON:                       C T Corporation System, GLENDALE, CA

   DATE/METHOD OF SERVICE:                  By Process Server on 03/17/2025 at 12:08

   JURISDICTION SERVED:                     California

   ACTION ITEMS:                            CT will retain the current log

                                            Image SOP

                                            Email Notification, Administrative Assistant legalmail@uhg.com

   REGISTERED AGENT CONTACT:                Amanda Garcia
                                            330 N BRAND BLVD
                                            STE 700
                                            GLENDALE, CA 91203
                                            8775647529
                                            MajorAccountTeam2@wolterskluwer.com



   The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
   and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
   information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
   included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
   disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
   contained therein.




                                                                                                                         Page 1 of 1



                                                         Exhibit A, Pg. 005
    Case 2:25-cv-03366-AB-E     Document 1-1 Filed 04/16/25   Page 3 of 299 Page ID
                                           #:7


                                                                   Wolters Kluwer
                   PROCESS SERVER DELIVERY DETAILS



Date:                              Mon, Mar 17, 2025 •
Server Name:                       GERARDO MARTINEZ




 Entity Served                UN1TEDHEALTHCARE INSURANCE COMPANY

 Case Number                  25smcv00428
 Jurisdiction                 CA



                                              Inserts




                                        Exhibit A, Pg. 006
        Case 2:25-cv-03366-AB-E                               Document 1-1 Filed 04/16/25                                      Page 4 of 299 Page ID
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                                                  1—).as:the person sued under the fictitious name;Of.(specify):'
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                                            .3 :rg]:on behalf of(specify):              a Minnesota corporation
                                                  under:[xi CCP-416:40 (corporation)                                              ed0 4166O (minor.)
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                                                                              Exhibit A, Pg. 007
                                              Case 2:25-cv-03366-AB-E        Document 1-1 Filed 04/16/25               Page 5 of 299 Page ID
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                                                 4 -Marina del Rey, CA 90292
                                                    Telephone:(310)496-5710
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                                                    Attorneys for Plaintiff
                                                 6 PATRICK BERTRANOU

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                                                 8
                                                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                 9
                                                                              COUNTY OF LOS ANGELES — WEST DISTRICT
                                                10

                                                11
                                                     PATRICK BERTRANOU,an individual;                      Case No.: 25SMCV00428
                                                12
                                                                     Plaintiffs,
                                                                                                           FIRST AMENDED COMPLAINT FOR:
                                                13
                                                     V.                                                    1.BREACH OF WRITTEN CONTRACT;
                                                14
                                                                                                           2.CONTRACTUAL BREACH OF THE
                                                     UNITEDHEALTH GROUP                                      IMPLIED COVENANT OF GOOD
                                                15
                                                     INCORPORATED, a Minnesota corporation;                   FAITH AND FAIR DEALING;
                                                     UNITED HEALTHCARE SERVICES,INC.,                      3. TORTIOUS BREACH OF THE
                                                16
                                                     a Minnesota corporation;                                IMPLIED COVENANT OF GOOD
                                                                                                             FAITH AND FAIR DEALING;
                                                17   UNITEDHEALTHCARE INSURANCE
                                                                                                           4.BAD FAITH; and
                                                     COMPANY,a Connecticut corporation; and                5. UNFAIR TRADE PRACTICES
                                                18   UHC OF CALIFORNIA, a California
                                                     corporation; UNITEDHEALTHCARE
                                                19
                                                     BENEFITS PLAN OF CALIFORNIA, a
                                               20    California corporation; and DOES 1-25,
                                                     inclusive,
                                               21
                                                                     Defendants.
                                               22
                                                                                                           DEMAND FOR JURY TRIAL
                                               23

                                               24

                                               25

                                               26

                                               27

                                               28


                                                                                                COMPLAINT


                                                                                      Exhibit A, Pg. 008
Case 2:25-cv-03366-AB-E          Document 1-1 Filed 04/16/25               Page 6 of 299 Page ID
                                           #:10



   1          Plaintiffs Patrick Bertranou ("Bertranou") complains and alleges s follows:

   2                                                   THE PARTIES

   3           1. Plaintiff Bertranou is an individual residing in Beverly Hills, California.

   4          2. Plaintiff is informed and believes that Defendant UNITEDHEALTH GROUP

   5 INCORPORATED is a Minnesota corporation with its company with its principal place of business

   6 in the state of Minnesota and is the owns the below identified Defendants.

   7          3. Plaintiff is informed and believes that Defendant UNITED HEALTHCARE SERVICES,

   8 INC.,("UHS")is a Minnesota corporation with its company with its principal place of business in

   9 the state of Minnesota.

  10          4. . Plaintiff is informed and believes that Defendant UNITEDHEALTHCARE

  11   INSURANCE COMPANY("UIC") is a Minnesota corporation with its company with its principal

  12 place of business in the state of Connecticut.

  13          5. Plaintiff is informed and believes that Defendant LAIC OF CALIFORNIA ("UOC")is a

  14 California corporation with its company with its principal place of business in the state of

  15 California.

  16          6. Plaintiff is informed and believes that Defendant UNITEDHEALTHCARE BENEFITS

  17 PLAN OF CALIFORNIA ("UBPOC")is a California corporation with its company with its

  18 principal place of business in the state of California.

  19          7. Defendant Does 1 through 25, inclusive, are sued herein under fictitious names, because

  20 their true names and capacities are unknown to Plaintiffs. When defendants' true names and

  21
       capacities are ascertained, Plaintiffs will amend this complaint by inserting the same herein.
  22
       Plaintiffs are informed and believe and thereon allege that each of the fictitiously named defendants
  23
       is legally responsible in some manner for the occurrences herein alleged, and that Plaintiffs'
  24
       damages as herein alleged were proximately caused by such defendants.
  25

  26          8. Plaintiffs are informed and believe and thereon allege that, at all times herein mentioned,

  27 each ofthe defendants was the agent and/or employee of each ofthe remaining defendants and, in

  28

                                                            -2-
                                                      COMPLAINT


                                            Exhibit A, Pg. 009
Case 2:25-cv-03366-AB-E          Document 1-1 Filed 04/16/25             Page 7 of 299 Page ID
                                           #:11



   I   doing the things hereinafter alleged, was acting within the course and scope of such agency and

   2 with the permission and consent oftheir co-defendants.

   3

   4
                                   INTRODUCTION AND PERTINANT FACTS
   5
              9.      Plaintiff Bertranou is trained as a medical doctor but has found business success in a
   6
       variety of endeavors. He has practiced medicine. He has manufactured and sold surgical implants,
   7
       used to treat deformities ofthe spine trough his company OrthoTec.
   8
              10.     During the period 2016 — 2024, Plaintiff Bertranou, through his company OrthoTec,
   9
       LLC, was provided medical coverage by the Defendants identified above("UHC Contract"). A true
  10
       and correct copy ofthe UHC Contract is appended hereto as Exhibit 1. During that period, Orthotec
  11
       paid Defendants a total of $314,667.19 in insurance premium and, as he was in good health and
  12

  13 therefore made very little use of medical insurance. In short, it was a very good business transaction

  14 for UT-IC.

  15          1 1.    In 2016, Plaintiff Bertranou turned 65 years of age and Orthotec had less than 20
  16
       employees/ Medicare became his primary medical insurer and Defendants the secondary insurer.
  17
              12.    In 2019, Bertranou he was diagnosed with stage-three bladder cancer.
  18
              1 3.    Plaintiff Bertranou has and continues to be under care for the foregoing medical
  19
       issues and most if not all medical expenses (aside his co-pay) were paid by Medicare as primary
  20
       insurer.
  21
              14.     Since 2016, while Orthotec continued paying premiums to Defendants, Defendants
  22
       paid almost nothing for all medical bills incurred between 2018 — 2024 as they related to Plaintiff
  23

  24 Bertranou' s cancer.

  25          15.    In 2024, Plaintiff Bertranou received an insurance settlement from UCLA for the

  26 medical negligence he was subjected to at UCLA in connection with the cancer. By law, the

  27
       settlement obtained was disclosed to Medicare which under upon Medicare provision of Medicare
  28

                                                           -3-
                                                     COMPLAINT


                                           Exhibit A, Pg. 010
Case 2:25-cv-03366-AB-E          Document 1-1 Filed 04/16/25               Page 8 of 299 Page ID
                                           #:12



   1   Secondary Payer Provision (Medicare is entitled to recover payments made under USC Title 42

   2 Section 1395y (b)(2) Section 411.20.

   3
               16.    Per USC Title 42, Medicare is demanding payment of all sums paid as "advance
   4
       towards care" and paid conditionally by Medicare for the care Plaintiff Bertranou received, the
   5
       amount of $119,947.02("Medicare Demand"). A true and correct copy ofthe pertinent Medicare
   6
       letters with the private information redacted are appended hereto as Exhibit 2 . In substance
   7
       Medicare is asking Bertranou to cover for the insurance Defendants did not cover, but should have
   8
       covered.
   9
               17.    Plaintiff Bertranou has made repeated demands that Defendants to comply with its
  10
       obligation as the secondary insurer and to reimburse Plaintiff Bertranou or pay directly to Medicare
  11
       the $119,947.02 demanded by the Medicare Demand.
  12
               18.     Defendants have ignored and have not responded to Plaintiff Bertranou's repeated
  13
       requests for payment ofthe Medicare Demand.
  14
               19.    Defendants owed plaintiff the following duties, among others, to:(a) honor the UHC
  15
       contract for the entire policy duration;(b) conduct prompt, reasonable, and diligent investigation of
  16
       the facts of the case to determine the validity of the claims made by Plaintiff against Defendants;(c)
  17
       evaluate Plaintiffs claims fairly;(d) attempt in good faith to effectuate a prompt, fair, and equitable
  18
       settlement of the claim where liability is reasonably clear;(e) act promptly and reasonably in settling
  19
       the claim;(0 not to reject a reasonable and fair offer of settlement;(g) not put its insured through
  20
       unnecessary litigation;(h) act in good faith and deal fairly with Plaintiff
  21
              20.     Plaintiff is informed and believes that Defendants breached its duties owed to
  22
       Plaintiff by, among other things, failing to: conduct prompt, reasonable, and diligent investigation of
  23
       the facts of the case to determine the validity of the claims made by Plaintiff against Defendants;(c)
  24
       evaluate Plaintiffs claims fairly;(d) attempt in good faith to effectuate a prompt, fair, and equitable
  25
       settlement of the claim where liability is reasonably clear;(e) act promptly and reasonably in settling
  26
       the claim;(0 not to reject a reasonable and fair offer of settlement;(g) not put its insured through
  27
       unnecessary litigation;(h) act in good faith and deal fairly with Plaintiff
  28

                                                            -4-
                                                      COMPLAINT


                                            Exhibit A, Pg. 011
Case 2:25-cv-03366-AB-E           Document 1-1 Filed 04/16/25               Page 9 of 299 Page ID
                                            #:13



   1

   2                                  FIRST CAUSE OF ACTION

   3                          (Breach of Contract Against All Defendants)

   4           21.     Plaintiff refers to and incorporates by this reference all preceding paragraphs as

   5 though set forth in full.

  6
               22.     The UHC Contract is a valid and existing insurance agreement between Plaintiff and
   7
       Defendants.
  8
               23.     Plaintiff performed or was excused from performance under the UHC Contract.
  9
               24.     Defendants breached the UHC Contract by, inter alia, refusing to properly
  10

  11   compensate Plaintiff

  12           25.     Plaintiff sustained damages of about $120,000.00 as a result of Defendants' breach
  13 ofthe UHC Contract.

  14
               26.     Plaintiff has been required to retain the services of an attorney to commence this
  15
       action and are entitled to attorney's fees and costs.
  16
                                      SECOND CAUSE OF ACTION
  17
          (Contractual Breach of the Implied Covenant of Good Faith and Fair Dealing
  18
                                      Against All Defendants)
  19
              27.      Plaintiff refers to and incorporates by this reference all preceding paragraphs as
 20

 21    though set forth in full

 22           28.      There is implied in every contract a covenant of good faith and fair dealing.

 23           29.     Plaintiff and Defendants entered into a valid and existing insurance agreement.
 24
              30.     Defendants owed Plaintiff a duty of good faith and fair dealing.
 25
              31.     Defendants breached their duty of good faith and fair dealing by inter alia, refusing
 26
       to properly compensate Plaintiff for his medical expenses incurred in connection with his cancer
 27

 28

                                                            -5-
                                                      COMPLAINT


                                             Exhibit A, Pg. 012
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                                               #:14



    1           32.     Plaintiff sustained damages of about $120,000.00 as a result of Defendants breach of

   2 the implied covenant of good faith and fair dealing.

   3
                33.     Plaintiff has been required to retain the services of an attorney to commence this
   4
        action and are entitled to attorney's fees and costs.
   5
                                        THIRD CAUSE OF ACTION
   6
                  (Tortious Breach of the Implied Covenant of Good Faith and Fair Dealing)
   7
                34.     Plaintiff refers to and incorporates by this reference all preceding paragraphs as
   8
        though set forth in full.
   9

  10            35.     There is implied in every contract a covenant of good faith and fair dealing.

  11            36.     Plaintiff and Defendants entered into a valid and existing insurance agreement.
  12            37.     Defendants owed Plaintiff a duty of good faith and fair dealing.
  13
                38.     Defendants breached their duty of good faith and fair dealing by inter alia, refusing
  14
        to properly compensate Plaintiff for his medical expenses incurred in connection with his cancer.
  15
                39.     Plaintiff sustained damages of about $120,000.00 as a result of Defendants' breach of
  16

  17 the implied covenant of good faith and fair dealing.

  18           40.      Plaintiff has been required to retain the services of an attorney to commence this

  19 action and is entitled to attorney's fees and costs.

  20
               41.      Plaintiff is further entitled to punitive damages as a result of Defendants' breach of
  21
        the implied covenant of good faith and fair dealing.
  22
                                        FOURTH CAUSE OF ACTION
  23
                                    (Bad Faith Against All Defendants)
  24
               42.      Plaintiff refers to and incorporates by this reference all preceding paragraphs as
  25
        though set forth in full.
  26

  27           43.      The acts and omissions of Defendants as complained of herein, and yet to be

  28 discovered in this matter, constitute bad faith.

                                                             -6-
                                                       COMPLAINT


                                              Exhibit A, Pg. 013
Case 2:25-cv-03366-AB-E             Document 1-1 Filed 04/16/25              Page 11 of 299 Page ID
                                               #:15



   1           44.       Plaintiff sustained damages of about $120,000.00 as a result of Defendants bad-faith.

   2          45.        Plaintiff is further entitled to punitive damages as a result of Defendants' bad-faith.
   3
            . 46.        Plaintiff has been required to retain the services of an attorney to commence this
   4
       action and is entitled to attorney's fees and costs.
   5
                                         FIFTH CAUSE OF ACTION
   6
                             (Unfair Trade Practices Against All Defendants)
   7
              47.        Plaintiff refers to and incorporates by this reference all preceding paragraphs as
   8
       though set forth in full.
   9

  10          48.        Defendants have engaged in unfair trade practices, including their failure to properly

  11   pay or settle Plaintiffs claim.
  12          49.        Plaintiff sustained damages of about $120,000.00 as a result of Defendants' unfair
  13
       trade practices
  14
              50.        Plaintiff is further entitled to punitive damages as a result of Defendants unfair trade
  15
       practice.
  16

  17          51.        Plaintiff has been required to retain the services of an attorney to commence this

  18 action and is entitled to attorney's fees and costs.

  19      WHEREFORE, Plaintiff prays for judgment against the Defendants and each of them,jointly
  20
         and severally, as follows:
  21
               1.        For general damages in an amount to be proven at trial estimated at $120,000.00;
  22
              2.         For special damages in an amount to be proven at trial estimated at $120,000.00;
  23
              3.         For punitive damages in an amount to be determined at trial;
  24
              4.         For reasonable attorney's fees and costs of suit;
  25
              5.         For interest at the statutory rate; and
  26
              6.         For such other and further relief as the Court deems just and proper.
  27

  28

                                                               -7-
                                                         COMPLAINT


                                               Exhibit A, Pg. 014
Case 2:25-cv-03366-AB-E    Document 1-1 Filed 04/16/25               Page 12 of 299 Page ID
                                      #:16



    1       Dated: March 11, 2025

    2                                            MICHAEL J. PERRY,A PROFESSIONAL
                                                 LAW CORPORATION
    3                                               Michael J. Perry
   4

   5
                                                  By        7/1-eC.ktaPe,/f2Ap
   6                                                           Michael J. Perr,
   7                                                     Attorneys for Plaintiffs PATRICK
                                                         BERTRANOU
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                                                   -8-
                                              COMPLAINT


                                    Exhibit A, Pg. 015
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                                                  DEMAND FOR JURY TRIAL

   2              Plaintiff hereby requests trial by jury with respect to all issues so triable.

   3

   4              Dated: March 11,2025

   5                                                          MICHAEL J. PERRY,A PROFESSIONAL
                                                              LAW CORPORATION
   6                                                            Michael J. Perry
   7

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                                                              By       7//le.A.a.41
   9                                                                       Michael J. Perrq
                                                                     Attorneys for Plaintiffs PATRICK
  10                                                                 BERTRANOU
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                                                         COMPLAINT


                                                Exhibit A, Pg. 016
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                          EXHIBIT 1
                                 Exhibit A, Pg. 017
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Member Service Request Form Instructions
At UnitedHealthcare, we continuously strive to bring you a higher level of service. Although you are not
required to submit this form,completing it will help us address your issue in a timely and thorough manner.

When should I use this form?
You may use this form to submit:
• information requested by UnitedHealthcare
• a question about a claim or your coverage
• a formal review of or a complaint regarding a claim, coverage determination or service received


How do Isubmit a request?
Please complete the attached form as follows:
Section I: Your information                                            Section IV: Submitting your request
• Enter the information specific to yourself, as the person            • Complete and submit only the form that appears on the
 completing the form. You may or may not be the person who              following page. Keep this instruction page for your records,
  received medical services. Please remember to also have                as well a copy of the completed form.
  the patient complete the Authorization For The Use and              • If your request is related to the handling of a claim,
  Disclosure of Information form if you are not the patient,            attach a copy of your health statement or EOB for each
 enrollee, parent/legal guardian, or provider of service. This          claim, if available. You may obtain a copy of your EOBs on
 form can be obtained from your member website,                         www.myuhc.com.
   myuhc.com®, under the link "Claims and Accounts In some
 circumstances, state law requires that this form be completed        • If you are submitting additional information requested by
  if you are not the patient. We will notify you if your submission     UnitedHealthcare, please attach a copy of the letter received
  requires the completion of this Authorization Form.                   requesting this information, if available.
                                                                      • If you have other documentation or items that may help us
Section II: Information from your plan's                                understand your request or better explain your situation, please
explanation of benefits, health statement or                            attach these items also.
medical ID card                                                       • If your group number, which is listed on your medical ID card,
• The items to be completed in this section can be found on             is 192744, 194422, 197313,229050,393476,401010,
  your plan's explanation of benefits(EOB) or health statement         503777, 700406,707997,722266, 722267,722268,722269,
  received from UnitedHealthcare after your claim was                  722270 or 722271, mail the form with any attachments to:
  processed or from your health plan ID card.                           UnitedHealthcare Member Inquiry/Appeals
• The subscriber ID is a nine-digit number.                            PO Box 740816 Atlanta, GA 30374-0816:
• The group number is a five- to seven-character number.              • Mail the form with any related attachments to:
• Demographic information such as your address cannot be                UnitedHealthcare Member Inquiry/Appeals
  updated by submitting this form. Please contact your employer         PO Box 30432 Salt Lake City, UT 84130-0432.
  with any updates to this information.                               • Upon receipt of this form and any supporting documentation,
                                                                        we will send you a written response within the time frame
Section III: Reason for request                                         required by your state or employer, but no later than 45 days
• Check the box that best describes your reason for                    from receipt of necessary information.
  the submission.
• If you are requesting a formal review of a decision made
  by UnitedHealthcare regarding the handling of a claim or
  coverage for a health service, please include additional
  comments to explain your request or situation. You may attach
  additional pages as necessary. Please do not write on the
  back of the form.




PJJ UnitedHealthcare®
                                                             Exhibit A, Pg. 018
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                                                                                                                     UnitedHealthcare
 Member Service Request Form
  Date form completed:

  SECTION I: Your information
  Name of person
  completing this form:                          Last                                          First                                            MI

  Address:

  City:                                                               State:       ZIP:                 Telephone(                           Ext:
 What is your relationship to the patient?
 0Subscriber 0 Parent/Legal Guardian 0 Provider of Service 0 Other"
 **If "other"is checked, please print and have the patient complete the form titled Authorization For The Use and Disclosure of
 Information and attach it to your request.
  SECTION II: Information from your explanation of benefits, health statement or ID card

  Subscriber ID number (nine-digit number):                                               Group/Contract # (five to seven digits)

  Member (subscriber) name: Last                                                               First                                            MI

  Patient name:                                  Last                                          First                                            MI

  Patient's date of birth:

  Address:                                                                            City                             State:       ZIP:

  Date of service:                                             Total amount charged:$                  (required only if your request is about a claim)

  Provider of medical services (as listed on your explanation of benefits or health statement):
 SECTION III: Reason for request
  0 1 am submitting the additional information requested by UnitedHealthcare. This may include coordination of benefits, full-time
   student status information, medical records, accident information or other requested information. (Please attach the requested
•   documents along with the letter you received requesting this information, if available.)

 0 I have a question about how a claim was processed, my benefits or available coverage, requirements of my plan, or some other
   issue.(Please explain below.)

 0 I am requesting a formal review of a decision made by UnitedHealthcare regarding the handling of a claim or coverage for a
   health service, or I have a complaint regarding a claim, coverage determination or service received. (Please explain below.)

  Additional comments:(Required if boxes 2 or 3 are checked above. Attach additional pages if necessary.)
  Please do not write on the back of this form.




 SECTION IV: Submitting your request
  1. Complete this form to the best of your ability. Please do not submit new claims to be processed.

  2. Attach a copy of your health statement or explanation of benefits, if available, as well as other items that may help us
     understand your request.

  3. Mail this form along with attachments to the PO Box indicated for your group number on the instruction page.
 1 00-7177-D 9/1 1   © 2011 United HealthCare Services, Inc.




                                                                          Exhibit A, Pg. 019
     Case 2:25-cv-03366-AB-E                Document 1-1 Filed 04/16/25               Page 17 of 299 Page ID
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                                                                                              Pharmacy I Optum Rx




          Using your
          pharmacy benefits
          Optum Rx® is your plan's pharmacy
          services manager and is committed
          to helping you find cost-effective
          ways to get your medications.




                                                                                                         -




Set up your online account
Once registered on myuhc.com®, access the pharmacy section to:
• Manage your home delivery medications
• Set up email or text message' reminders
• Check your home delivery status


Use the UnitedHealthcare app
Manage your prescription benefit and home delivery orders with the
UnitedHealthcare° app on your smartphone or tablet.


Use a network pharmacy
Be sure to fill your prescriptions at a network pharmacy, otherwise they may not be
covered or you may pay more.2 Finding a network pharmacy is easy:
• Log in to myuhc.com
• Or use the UnitedHealthcare app
• Or call the number on your health plan ID card
                                                                                               United
                                                                                               Healthcare

                                                        Exhibit A, Pg. 020
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 Home delivery from Optum
--Considerusing-Opturne'.HOme:Deliver.y to heir) manage:the mediCatiOneyou take               i-iow to. cnoose
  regularly. Home delivery reliable and offers the following ..advantages:                    home delivery
                                                                                              By going online:'
                 Cost savings                                                                 Visit myunc.com, register .
                                                                                      -
                 You may pay less for your medication with a3-month supply.                   and follow the simple step-
                                                                                              by-step instruction's.

                                                                                              By phOne:
                 Convenience                                                                  Call the member phone number
                 Get free standard shipping:                                                  on the back of your plan
                                                                                              cards Its helpful to have your
                                                                                              plan ID card and..medication
               -24/7-access and tertfiridefi--                                                bottle available.
                 Speak to.a. pharmacist any time, any day. Set up
                                                                                              By ePrescf:ibe:
                 medication reminders.
                                                                                              Your doctor can serid-an
                                                                                              electronic prescription to
 You may be able to refill your home delivery prescriptions automatically                     O ptumRx..'Prescriptions
 through the Automatic Refill program:                                                        for controlled substances,
 If you need your medication right away, ask your doctorfor a 1-month                         such as opioids, can only be
 prescription to fill at a local pharmacy and a 3-month prescription you                      ordered by 4'reslcUibe.`

 can use to set up home delivery.




 Making medication decisions
 Use the UnitedHealthcare prescription drug list(PDL)
 The PDL is a list of your plan's covered medications. The medications are organized into cost tiers. Choosing medications in
 lower tiers may save you money.

  Costtier,                   'Includes                                           ;zHelpfultps
                               Lower-cost medications Some: brand-name             ñ- most cases, Tier 1 medications have the
                               m edications.                                       lOWe$11co§,.t.- Con ider generic,CCtionS'VNich
  Tier 1 — Lowest cost
                                                                                   may a'liolieln yOu save

                                 i x of brand-name and generic medications.        Tier 2 drugs may cost Ie   tnari.Tier 3 drags.'

  Tier 2 — Mid-range cost

                               171)griest7costipraplinerpe medigatians and some    mapyjier,34.medication5        y,wIR,wer.-cps
                               4e-neric•i'nedi'otiofis                            options•ATipr
                                                                                   „ , -         '1 or'2:-Ak.yoUr..doctOr tthey
  Tier 3 — Highest cost
                                                                                  could work for You
                                                                                                  •„.

'*Some Connecticut plans have a 4th tier that includes higher cost brand-name and generic medications, as well as non-
 preferred brand-name and specialty medications.

 Save money                                                         Compare prices
 In most cases, generic medications have a lower copay than         Search for lower-cost alternatives. Just log in to myuhc.com.
 brand-name medications. Ask your doctor if there is a generic      Or use the UnitedHealthcare app.
 alternative for you.




                                                          Exhibit A, Pg. 021
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Tips
               Know your plan
               Your plan may require one or more of the following for your                Log on to myuhc.com to see
               prescription to be covered:                                                if you could save. Or use the
                                                                                          UnitedHealthcare app.
               Prior authorization: approval to get a medication.
               Step therapy (First Start for NJ plans only): trying one medication
               before another.
               Quantity limits: only a certain amount of the medication is allowed
               for coverage.




0              Talk to your doctor
               When you talk with your doctor, use the UnitedHealthcare app to
               confirm coverage and costs. You can also talk about what you need
               to do to get your medication.


               Optum Specialty Pharmacy
               At Optum o Specialty Pharmacy, we offer the resources, programs
               and clinical support you need to manage your specialty medications
               with confidence.




Your plan may also include
Your plan may include the cost-saving medication home delivery program below. With each of these programs, you are allowed
a limited number of refills at your current pharmacy. Then you must take action.


Mail Service Saver                                              Mail Service Saver Plus
Switch to Opium Home Delivery or you may pay more.              Switch to Optum Home Delivery or you will pay the full price for
                                                                your medication.




                                                       Exhibit A, Pg. 022
          Case 2:25-cv-03366-AB-E                                             Document 1-1 Filed 04/16/25                                                       Page 20 of 299 Page ID
                                                                                         #:24
Nondiscrimination notice and access to communication services
UnitedHealthcare° does not discriminate on the basis of race, color, national origin, age, disability, or sex in its health programs or activities.
If you think you were treated unfairly because of your sex, age, race, c,olor, disability or national origin, you can send a complaint to the Civil Rights Coordinator.
          Online: UHC_Civii_Rights@uhc.com
           Mail:       Civil Rights Coordinator.
                      UnitedHealthcare Civil Rights Grievance.
                      P.O. Box 30608 Salt Lake City, UTAH 84130
You must send the complaint within 60 days of when you found out about it. A decision will be sent to you within 30 days. If you disagree with the decision, you have 15 days to ask us to
look at it again. If you need help with your complaint, please call the toll-free phone number listed on your ID card, TTY 711, Monday through Friday,8 a.m. to 8 p.m.
You can also file a complaint with the U.S. Dept. of Health and Human Services.
         Online: https://ocrportal.hhs.gov/ocriportal/lobbY•le
                    Complaint forms are available at
                    http://www.hhs.goviocr/office/file/index.html.
        Phone: Toll-free 1-800-368-1019,800-537-7697('TDD)
           Mall:      U.S. Dept. of Health and Human Services.
                      200 Independence Avenue,
                      SW Room 509F, HHH Building
                      Washington, D.C. 20201         •
We provide free services to help you communicate with us. Such as, letters in other languages or large print. Or, you can ask for an interpreter. To ask for help, please call the toll-free
phone number listed on your ID card TTY 711, Monday through Friday,8 a.m. to 8 p.m.

Multi-language interpreter services
ATTENTION: It you speak English, language assistance services,free of charge, are available to you. Please call the toll-free phone number listed on your identification card.
ATENCION:Si habla espanol(Spanish), hay servicios de asistencia de idiomas, sin cargo,a su disposicion. Llama at ntimero de telefono gratuito qua aparece en su tarjeta de
identificaciOn.
MAXt:OAMMIA(CMmse),11119tMakiliNtHS MER.AMnSil+ffiN092.11.WailigEM.
XIN LU'U    Neu quY vi n6i tieng Viet(Vietnamese), quY v) se(Iwo cung cep djch vy tr giiip ye ngen ngii, mien phi. Vui long gel s6 Bien thoai mien phi & met sau the h i
vien cua quY
             01(karean)5 Akg3tAlt-                      01 XI i MUI                     01§61-N 4--         vaLici.?16[24                3)E-011 )1)11              gl-al   a§wia -t..-5218iNm2.
PAALALA: Kung nagsasalita ka ng Tagalog (Tagalog), may makukuha kang mga libreng serbisyo ng tulong sa wika. Pakitawagan ang toll-free na numero ng telepono na nasa iyong
identification card.
BH14MAHLIE:6ecnnaTHbie ycnyrm nepeaoaa aocTynHbl A1133 1110J:tea, veCi poanotl R3bIK REUlileTCA
PYccsom (Russian). nO3BOHIATe no 6ecnnaTHomy Homepy TeneOpoua, ysasaHHomy Ha eaweCi HAeHT114:111KaLtNOHHOCI Kapre.
                                                                                    J.431 vit,,..k11 ,i714.11       LIL..1))1 04)1 .013;1,11a kp14.431 .
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                                                                                                                                                        .  0.111 141,c1.“411         i   ,(Arabic)                  cals       sk.ez

ATANSYON:Si w pale Kreyelayisyen (Haitian Creole), ou kapab benefisye sevis ki gratis pou ode w nan lang paw. Tanpri role nimewo gratis ki sou kat idantifikasyon w.
ATTENTION :Si vous panes frangais (French), des services d'aide linguistique vous sont proposes gratuitement. Veuillez appeler le numero de telephone gratuit figurant sur votre carte
d'identification.
UWAGA:Jeieli mowisz pa poislcu (Polish), udostapniliemy darmowe uslugi tiumacza. Prosimy zadzwoniC pod bezplatny numer telefonu podany na karcie identylikacyjnej.
ATENCAO:Se voce fala portugues(Portuguese), contate o servigo de assistencia de idiomas gratuito. Ligue gratuitamente pars o ntimero encontrado no seu cartao de identificacao.
ATTENZIONE: in caso la lingua padata sia Malian°(Italian), sono disponibili servizi di assistenza linguistica gratuiti. Per favore chiamate il numero di telefono verde indicato sulla vostra
tessera identificativa.
ACHTUNG: Falls Sin Deutsch(German)sprechen,siphon Ihnen kostenlos sprachliche Hilfsdienstleistungen zur Verffigung. Bitte rufen Sie die gebfihrenfreie Flufnummer auf der
Ruckseite Ihres Mitgliedsausweises an.
               13/4§(Japanese)V8                     war. gtoonag tx-9--ext..ffifflot...1-11-m-4-. amarguizsztat.-coz                                                       — Y-(t)1,1:8tta <

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                                            t,31M-                              FIV:W3E1W-Itt tl T:17Tr 3n:f4 Lis.u1,4 r1-63 WOW."Zta-V1th-Y4                                  A.R"+41
CEEB TOOM:Yog koj hais Lus Hmoob(Hmong), muaj key pab txhais lus pub dawb mu koj. Thov hu mu tus soy tooj hu deb dawb uas teev muaj nyob rau ntawm koj daim yuaj cim qhia
Iris kheej.
anmumrunrriui tnOsimaniontumsnquir(Khmer)rusnecyomnsinominniingrui iii.nstanalans nsnuatnuneanofnjreesssann diennsincrian5rmemmrrnaniimenrun:sprif
PAKDAAR: Nu saritaem ti llocano (liocano), ti serbisyo para Ii baddang ti lengguahe nga awanan bayadna, ket sidadaan pare kenyam. Maidawat nga awagan iti toll-free a numero ti
telepono nga nakalista ayan ill identification card mo.
Dii BAA'AKON(NrZIN: Dine(Navajo) bizaad bee yanittrgo, saad bee aka'anfda'awdigii, t'ea jiik'eh, bee ne'ahrietT. r44 shoodi ninaaltsoos nitl'izi bee neehozinigfi                                             t'ad jiik'ehgo
beesh bee hane'i bika'igii bee hodfilnih.
OGOW: Haddii sad ku hadasho Soomaall(Somali), adeegyada taageerada luqadda,oo bilaash ah, ayaad heli kartaa. Fadlan wac lambarka telefonka khadka bilaashka ee ku yaalla
kaarkaaga aqoonsiga.




                        Questions? Visit myuhc.com to learn more.                                                                                                                        United
• Opium Ft,.provides thts service at no cost. Standard message and data retes charged by your carrier may apply.
                                                                                                                                                                                         Healthcare
  In New York, prescriptions filled at an out-of-network pharmacy may not be covered.In New Jersey, you many need to pay more for prescriptions filled at an out-ot-network pharmacy.
  For New Jersey plans generic divas will not exceed $25 Iota 30-day supply, preferred drugs wit not exceed $50Iota akiay supply and non-preferred drugs will not mooed S75 bra 30day supply.
Optum Home Delivery is a service of Optum.Rx.
Insurance cavern* prodded by or through UnitedHealthcare Insurance Company or its affiliates. Administrative services provided by United HealthCare Services, Inc. or their affiliates. Health plan coverage provided by or thmuch
a Unitedi-lealthcare company Optrm Rx. inc. is an affiliate of UnitedHeaPncare Insurance Company.
Optum Fix and Opium Specialty Pharmacy are subsidiaries of UnitedHealth Group. UnItedHeatthmre and the dimensional U logo are trademarks of UnitedHealth Group Incorporated. All other trademarks are the property of their
respective owners.
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                                                                                                      Exhibit A, Pg. 023
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                                                                                                                                   UnitedHealthcare


             How to find a physician
             Online Directory
             The quickest way to find a physician or other health care professional is to go online to myuhc.com®.

                      1. Simply go to myuhc.com
                      2. Select Register Now and sign in using the information on your health plan ID card
                      3. Click on Find a Doctor
                      4. Select your search criteria and the most current list of physicians and hospitals will be
                         available for you

            On myuhc.com you can find background information on physicians in your network, as well as driving
            directions to get to a physician, hospital or other health care professional in your network.

            The UnitedHealth Premium® designation program makes it easy for you to find network doctors who
            meet national standards for quality and local market benchmarks for cost efficiency. Review your
            options and choose a doctor with confidence. Your plan may require you to choose a Primary Care
            Provider(PCP). Refer to your benefit plan documents for information about coverage.

            Paper Directory
            If you are not able to view our online directory, or for more information on the professional qualifications
            of a network provider, call the member phone number on your health plan ID card. A customer service
            representative will help you or have a printed copy of the network directory sent to you.



            If the Welcome Package you received needs to be replaced for any reason, contact your Benefits Administrator.

            To change your address, please contact your company's Benefits Administrator. He or she will forward your address
            change to us.




For a complete description of the UnitedHealth Premiums Designation program, including details on the methodology used, geographic availability, program limitations and medical
specialties participating, please see myuhc.come. Insurance coverage provided by or through UnitedHealthcare Insurance Company or its affiliates. Administrative services provided by
United HealthCare Services, Inc. or their affiliates.
MT-1012165.0 3/16 ©2016 United HealthCare Services, Inc. 16-1636 M39077-A




                                                                                 Exhibit A, Pg. 024
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                                  Member Rights and Responsibilities

You have the right to:
• Be treated with respect and dignity by UnitedHealthcare personnel, network doctors and other health care
  professionals.
• Privacy and confidentiality for treatments, tests and procedures you receive. See Notice ofPrivacy
  Practices in your benefit plan documents for a description of how UnitedHealthcare protects your personal
  health information.
• Voice concerns about the service and care you receive.
• Register complaints and appeals concerning your health plan and the care provided to you.
• Get timely responses to your concerns.
• Candidly discuss with your doctor the appropriate and medically necessary treatment options for your
  conditions, regardless of cost or benefit coverage.
• Access doctors, health care professionals and other health care facilities.
• Participate in decisions about your care with your doctor and other health care professionals.
• Get and make recommendations regarding the organization's rights and responsibilities policies.
• Get information about UnitedHealthcare, our services, network doctors and health care professionals.
• Be informed about, and refuse to participate in, any experimental treatment.
• Have coverage decisions and claims processed according to regulatory standards, when applicable.
• Choose an Advance Directive to designate the kind of care you wish to receive should you become unable
  to express your wishes.
You have the responsibility to:
• Know and confirm your benefits before receiving treatment.
•   Contact an appropriate health care professional when you have a medical need or concern.
•   Show your ID card before receiving health care services.
•   Pay any necessary copayment at the time you receive treatment.
•   Use emergency room services only for injuries and illnesses that, in the judgment of a reasonable person,
    require immediate treatment to avoid jeopardy to life or health.
•   Keep scheduled appointments.
•   Provide information needed for your care.
•   Follow the agreed-upon instructions and guidelines of doctors and health care professionals.
•   Participate in understanding your health problems and developing mutually agreed-upon treatment goals.
•   Notify your employer of any changes in your address or family status.
•   Sign in to myuhc.com, or call us when you have a question about your eligibility, benefits, claims and more.
•   Sign in to mvuhc.com or call us before receiving services to verify that your doctor or health care
    professional participates in the UnitedHealthcare network.




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                                                 Exhibit A, Pg. 025
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         UnitedHealthcare Benefits Plan of California
                     UnitedHealthcare Select Plus

     Certificate of Coverage, Riders, Amendments, and
                           Notices
                                               for
                                       ORTHOTEC, LLC.
                                    Group Number: 1606508
                                       Health Plan: DH99
                                   Prescription Code: P56S
                                  Effective Date: April 1, 2024
             Offered and Underwritten by UnitedHealthcare Benefits Plan of California




                                                1
                                         Exhibit A, Pg. 026
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                              Riders, Amendments, and Notices


                   begin immediately following the last page


                                    of the Certificate of Coverage




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            UnitedHealthcare Benefits Plan of California
  Combined Evidence of Coverage and Disclosure Form
                                              P.O. Box 30573
                                       Salt Lake City, UT 84130-0573
                                              1-800-260-2773

  What Is the Combined Evidence of Coverage and Disclosure Form?
  This Combined Evidence of Coverage and Disclosure Form (EOC)is part of the Agreement that is a legal
  document between UnitedHealthcare Benefits Plan of California and the Group. The Combined Evidence
  of Coverage and Disclosure Form describes Covered Health Care Services, subject to the terms,
  conditions, exclusions and limitations of the Agreement. We issue the Agreement based on the Group's
  Application and payment of the required Agreement Charges.
  In addition to this Combined Evidence of Coverage and Disclosure Form, the Agreement includes:
 •      The Schedule of Benefits.
       •      The Pharmacy Schedule of Benefits,
       •      The Pediatric Dental Schedule of Benefits, and
       •      The Pediatric Vision Schedule of Benefits
 •      The Group's Application.
 •      Riders
 •      Supplement for Mental Health Care and Substance-Related and Addictive Disorders. Other
        Amendments/ Addendums, if applicable.
 You can review the Agreement at the Group's office during regular business hours.

 Can This Combined Evidence of Coverage and Disclosure Form
 Change?
 We may, from time to time, change this Combined Evidence of Coverage and Disclosure Form by
 attaching legal documents called Riders and/or Amendments that may change certain provisions of this
 Combined Evidence of Coverage and Disclosure Form. If there are material changes in any of the terms
 of the Agreement, UnitedHealthcare will provide 60 days advance notice to the Group. The Group shall
 be responsible for delivering the notice to all Covered Persons and to other persons eligible for coverage.

 Other Information You Should Have
 We have the right to change, modify, withdraw or add Benefits, or to end the Agreement, as permitted by
 law.
 On its effective date, this Combined Evidence of Coverage and Disclosure Form replaces and overrules
 any Combined Evidence of Coverage and Disclosure Form that we may have previously issued to you.
 This Combined Evidence of Coverage and Disclosure Form will in turn be overruled by any Combined
 Evidence of Coverage and Disclosure Form we issue to you in the future.
 The Agreement will take effect on the date shown in the Agreement. Coverage under the Agreement
 starts at 12:01 a.m. and ends at 12:00 midnight in the time zone of the Group's location. The Agreement
 will remain in effect as long as the Agreement Charges are paid when they are due, subject to Section 4:
 When Coverage Ends.




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 We are delivering the Agreement in the State of California. The Agreement is subject to the laws of the
 state of California and ERISA, unless the Group is not a private plan sponsor subject to ERISA. To the
 extent that state law applies, State of California law governs the Agreement.
 We are subject to the requirements of the California Knox-Keene Health Care Service Plan Act of 1975,
 and the regulations promulgated thereunder (collectively the "Knox-Keene Act'), and any provision
 required to be in this Agreement by the Knox-Keene Act shall bind us whether or not provided in this
 Agreement.

  What if I need information about the Plan in my language?
 You may be entitled to the rights and services below. You can get an interpreter or translation services at
 no charge. Written information may be available in some languages at no charge. To get help in your
 language, please call your health plan UnitedHealthcare Benefits Plan of California 1-[)ooc-xxx-xxx]/ TTY:
 [oor]. If you need more help, call DMHC Help Line at 1-888-466-2219.




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   Introduction to Your Combined Evidence of Coverage
                    and Disclosure Form
  This Combined Evidence of Coverage and Disclosure Form and the other Agreement documents
  describe your Benefits, as well as your rights and responsibilities, under the Agreement.

  What Are Defined Terms?
  Certain capitalized words have special meanings. We have defined these words in Section 9: Defined
  Terms.
  When we use the words "we," "us," and "our' in this document, we are referring to UnitedHealthcare
  Benefits Plan of California. When we use the words "you" and "your," we are referring to people who are
  Covered Persons, as that term is defined in Section 9: Defined Terms.

  How Do You Use This Document?
  Read your entire Combined Evidence of Coverage and Disclosure Form and any attached Riders and/or
  Amendments. You may not have all of the information you need by reading just one section. Keep your
  Combined Evidence of Coverage and Disclosure Form and Schedule of Benefits and any attachments in
  a safe place for your future reference. You can also get this Combined Evidence of Coverage and
  Disclosure Form at www.myuhc.com.
  Review the Benefit limitations of this Combined Evidence of Coverage and Disclosure Form by reading
  the attached Schedule of Benefits along with Section 1: Covered Health Care Services and Section 2:
  Exclusions and Limitations. Read Section 8: General Legal Provisions to understand how this Combined
  Evidence of Coverage and Disclosure Form and your Benefits work. Call us if you have questions about
  the limits of the coverage available to you.
  If there is a conflict between this Combined Evidence of Coverage and Disclosure Form and any
  summaries provided to you by the Group, this Combined Evidence of Coverage and Disclosure Form
  controls.
  Please be aware that your Physician is not responsible for knowing or communicating your Benefits.

  How Do You Contact Us?
 Call the telephone number listed on your identification (ID) card. Throughout the document you will find
 statements that encourage you to contact us for more information.
  PLEASE READ THE FOLLOWING INFORMATION SO THAT YOU WILL KNOW FROM WHOM OR
  WHAT GROUP OF PROVIDERS YOU MAY GET HEALTH CARE.

  Choice of Physicians and Providers
  Please see your Schedule of Benefits for your Co-payment and Co-insurance.
 Network Providers include Physicians, Specialists, other health care providers, Hospitals, and other
 facilities that contract with us to provide services to our Members.




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                                  Your Responsibilities
  Eligibility, Enrollment, and Required Contributions
 Benefits are available to you once you are enrolled for coverage under the Agreement. The Group will
 apply the eligibility rules.
 •     Your enrollment options, and the corresponding dates that coverage begins, are listed in Section 3:
       When Coverage Begins. To be enrolled and receive Benefits, both of the following apply:
       •      Your enrollment must be in accordance with the rules of the Agreement issued to your
              Group, including the eligibility rules.
       •      You must qualify as a Subscriber or a Dependent as those terms are defined in Section 9:
              Defined Terms.
 •     You continue to receive Benefits as long as you continue to qualify as a Subscriber or Dependent
       as defined in Section 9: Defined Terms and meet the eligibility rules noted in the Policy which
       includes this Combined Evidence of Coverage and Disclosure Form and the Group Application.
 •     Your Benefits are no longer available as described in Section 4: When Coverage Ends.
 Your Group may require you to make certain payments to them, in order for you to remain enrolled under
 the Agreement. If you have questions about this, contact your Group.

 Be Aware the Agreement Does Not Pay for All Health Care Services
 The Agreement does not pay for all health care services. Benefits are limited to Covered Health Care
 Services. The Schedule of Benefits will tell you the portion you must pay for Covered Health Care
 Services.

 Decide What Services You Should Receive
 Care decisions are between you and your Physician. We do not make decisions about the kind of care
 you should or should not receive.
 Some Hospitals and other providers do not provide one or more of the following services that may
 be covered under your plan contract and that you or any enrolled Member might need: family
 planning; contraceptive services, including emergency contraception; sterilization, including
 tubal ligation at the time of labor and delivery; infertility treatments or abortion. You should obtain
 more information before you enroll. Call your prospective doctor, clinic or call us at telephone
 number listed on your ID card to ensure that you can obtain the health care services that you
 need.

 Choose Your Physician
 It is your responsibility to select the health care professionals who will deliver your care. We arrange for
 Physicians and other health care professionals and facilities to participate in a Network. Our credentialing
 process confirms public information about the professionals' and facilities' licenses and other credentials,
 but does not assure the quality of their services. These professionals and facilities are independent
 practitioners and entities that are solely responsible for the care they deliver.

 Obtain Prior Authorization
 Some Covered Health Care Services require prior authorization. Physicians and other health care
 professionals who participate in a Network are responsible for obtaining prior authorization. However, if
 you choose to receive Covered Health Care Services from an out-of-Network provider, you are
 responsible for obtaining prior authorization. For detailed information on the Covered Health Care
 Services that require prior authorization, please refer to the Schedule of Benefits.




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 Prior authorization is not required for FDA-approved biomarker testing for:
 •     An enrollee with advanced or metastatic stage 3 or 4 cancer.
 •     Cancer progression or recurrence in an enrollee with advanced or metastatic stage 3 or 4 cancer.
 Prior authorization, utilization management or utilization review are not required for Abortion and
 Abortion-related services.
 Type of Network Provider                                 Maximum Travel Distance or Travel Time
       Hospital                                           15 miles or 30 minutes

       Primary Care Physician                             15 miles or 30 minutes

       Specialist                                      30 miles or 60 minutes

       Mental Health Care Services and Substance_ 15 miles or 30 minutes
       Related and Addictive Disorders
       professionals

 Please refer to the "Timely Access to Care" standards below for addition information on access to care.

 Timely Access To Care
 The purpose of the timely access law is to make sure you get the care you need. Sometimes you need
 appointments even sooner than the law requires. In this case, your Physician can request that the
 appointment be sooner.
 Sometimes waiting longer for care is not a problem. Your Physician may give you a longer wait
 time if it would not be harmful to your health. It must be noted in your record that a longer wait
 time will not be harmful to your health.
 If Medically Necessary care is not available from a Network provider and cannot be arranged timely, your
 Network will make alternate arrangements for the required care with an available and accessible out-of-
 Network provider. You will only be responsible for paying the cost sharing in an amount equal to the cost
 sharing you would have otherwise paid for that service or a similar service if you had received the
 Covered Health Care Service from a Network provider.
 In-person appointment wait times:
 Urgent Appointments                                   Wait time
       For services that do not need prior             48 hours
       authorization

       For services that do need prior authorization 96 hours

 Non-Urgent Appointments                               Wait time
       Primary care appointment                        10 business days

       Specialist appointment                          15 business days

 Appointment with a mental health care or              10 business days .
 substance use Provider(who is not a Physician).

 Follow-up appointments with a mental health care 10 business days
 or substance use Provider(who is not a Physician).
 This does not limit coverage to once every 10




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  Urgent Appointments                                      Wait time
  business days.

  Appointment for other services to diagnose or treat 15 business days
  an Injury, illness or other health condition
  Telephone wait times:
  You can call 24-hours-a-day,7 days a week to talk to a qualified health professional to decide if
  your health problem is urgent. If someone needs to call you back, they must call you within 30
  minutes. Contact us at the telephone number on your ID card.
  If you call the number on your ID card,someone should answer the phone within 10 minutes
  during normal business hours.

  Important Language Information:
  You may be entitled to the right and services below. These rights apply only under California law. These
  rights shall be available in the top 15 languages spoken by limited English-proficient individuals in
  California as determined by the State Department of Health Care Services.
  You can get an interpreter at no cost to help you talk with your doctor or health plan. To get help in your
  language, please call your health plan at:
        UnitedHealthcare Benefits Plan of California 1-800-624-8822 / TTY: 711
 Language services and the availability of appropriate auxiliary aids and services, including qualified
 interpreters for individuals with disabilities and information in alternate formats, will be at' no charge and
 provided in a timely manner, when those aids and services are necessary to ensure an equal opportunity
 to participate for individuals with disabilities. If you need more help, call DMHC Help Line at 1-888-466-
 2219.

 Pay Your Share
 You must meet any applicable deductible and pay a Co-payment and/or Co-insurance for most Covered
 Health Care Services. These payments are due at the time of service or when billed by the Physician,
 provider or facility. Any applicable deductible, Co-payment and Co-insurance amounts are listed in the
 Schedule of Benefits.

  Annual Deductible
 The Annual Deductible is the amount incurred for a Covered Health Care Service that you are
 responsible for paying before benefits are payable under the Agreement. The amounts applied towards
 the Annual Deductible are based upon United Healthcare Benefits Plan of California's contracted rate. The
 Deductible is waived for certain covered services. Please refer to the Schedule of Benefits for detailed
 information on the Deductible amount and Covered Health Care Services subject to the Deductible. If
 your coverage includes a Deductible, we will not cover certain services until you meet the Deductible
 each year. The Annual Deductible is in addition to any Co-payment responsibility. The Annual Deductible
 applies to the Out-of-Pocket Limit.

 Out-of-Pocket Limit
 For certain Covered Health Care Services, there is a limit placed on the total amount you pay for Co-
 payments during a calendar year. This limit is called your Out-of-Pocket Limit, and when you reach it, for
 the remainder of the calendar year, you will not pay any additional Co-payments for these Covered Health
 Care Services. Co-payments paid for certain Covered Health Care Services are not applicable to a
 Member's Out-of-Pocket Limit; these services are specified in the Schedule of Benefits.




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  Note: The Out-of-Pocket Limit applies to Covered Health Care Services under the Agreement as
  indicated in this Schedule of Benefits, including Covered Health Care Services provided under the
  Outpatient Prescription Drug Section, if applicable.

  What If You Get a Bill?
  If you are billed for a Covered Health Care Service provided or authorized by us or if you receive a bill for
  Emergency Health Care or Urgently Needed Services, you should do the following:
  1.     Call the provider, then let them know you have received a bill in error, and you will be forwarding
         the bill to UnitedHealthcare Benefits Plan of California.
  2.     Give the provider your health plan information, including your name and UnitedHealthcare Benefits
         Plan of California Member number.
  3.     Forward the bill to:
         UnitedHealthcare Benefits Plan of California
         Claims Department
         P.O. Box 30555
         Salt Lake City, UT 84130-0555
  Include your name, your health plan ID number and a brief note that indicates you believe the bill is for a
  Covered Health Care Service. The note should also include the date of service, the nature of the service
  and the name of the provider who authorized your care. If you need additional assistance, call the
  telephone number on your ID card.
  Please Note: Your provider will bill you for services that are not covered by UnitedHealthcare Benefits
  Plan of California or haven't been properly authorized. You may also receive a bill if you have exceeded
  UnitedHealthcare Benefits Plan of California's coverage limit for a benefit.
  If you receive Covered Health Care Services in a Network contracting health care facility but from an Out-
  of-Network individual health professional, you are only required to pay the Co-payment/ Deductible
  amount specified in your Schedule of Benefits. A Network "contracting health facility" includes, but not
  limited to, a licensed Hospital, ambulatory surgery center or other outpatient setting, lab, radiology or
  imaging center. You should not be billed more than the amounts shown on your Schedule of Benefits.

  Pay the Cost of Excluded Services
  You must pay the cost of all excluded services and items. Review Section 2: Exclusions and Limitations
  to become familiar with the Agreement's exclusions.

  Show Your ID Card
  You should show your ID card every time you request health care services. If you do not show your ID
  card, the provider may fail to bill the correct entity for the services delivered.

  File Claims with Complete and Accurate Information
  When you receive Covered Health Care Services from an out-of-Network provider, you are responsible
  for requesting payment from us. You must file the claim in a format that contains all of the information we
  require, as described in Section 5: How to File a Claim.

  Use Your Prior Health Care Coverage
  If you have prior coverage that, as required by state law, extends Benefits for a particular condition or a
  disability, we will not pay Benefits for health care services for that condition or disability until the prior
  coverage ends. We will pay Benefits as of the day your coverage begins under the Agreement for all




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  other Covered Health Care Services that are not related to the condition or disability for which you have
  other coverage.




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                                    Our Responsibilities
  Determine Benefits
  We make administrative decisions regarding whether the Agreement will pay for any portion of the cost of
  a health care service you intend to receive or have received. Our decisions are for payment purposes
  only. We do not make decisions about the kind of care you should or should not receive. You and your
  providers must make those treatment decisions.
  We have the final authority to do the following:
 •      Interpret Benefits and the other terms, limitations and exclusions set out in this Combined Evidence
        of Coverage and Disclosure Form, the Schedule of Benefits and any Riders and/or Amendments.
 •       Make factual determinations relating to Benefits.
 We may assign this authority to other persons or entities that may provide administrative services for the
 Agreement, such as claims processing. The identity of the service providers and the nature of their
 services may be changed from time to time as we determine. In order to receive Benefits, you must
 cooperate with those service providers.

 Pay for Our Portion of the Cost of Covered Health Care Services
 We pay Benefits for Covered Health Care Services as described in Section 1: Covered Health Care
 Services and in the Schedule of Benefits, unless the service is excluded in Section 2: Exclusions and
 Limitations. This means we only pay our portion of the cost of Covered Health Care Services once a
 Member reaches his/her deductible, as applicable, and until the Out-of-Pocket Limit is reached for
 services applying to the Out-of-Pocket Limit. It also means that not all of the health care services you
 receive may be paid for (in full or in part) by the Agreement.

 Pay Network Providers
  It is the responsibility of Network Physicians and facilities to file for payment from us. When you receive
  Covered Health Care Services from Network providers, you do not have to submit a claim to us.

 Pay for Covered Health Care Services Provided by Out-of-Network
 Providers
 In accordance with any state prompt pay requirements, we pay Benefits after we receive your request for
 payment that includes all required information. See Section 5: How to File a Claim. Out-of-Network
 Providers may not balance bill you for Emergency Health Care Services. Out-of-Network Providers may
 not balance bill you for Emergency Health Care Services. For Emergency Health Care Services, you are
 only required to pay the Co-payment amount specified in your Schedule of Benefits.
 For Emergency medical transportation bills, UnitedHealthcare will pay for the reasonable and customary
 value as determined by UnitedHealthcare minus any Member cost-share. You are responsible to pay the
 outstanding balance. Other than your cost share, any remaining balance does not apply to your out-of-
 pocket limit.

  Review and Determine Benefits in Accordance with our
  Reimbursement Policies
 We develop our reimbursement policy guidelines, as we determine, in accordance with one or more of the
 following methodologies:
 •      As shown in the most recent edition of the Current Procedural Terminology(CPT), a publication of
        the American Medical Association, and/or the Centers for Medicare and Medicaid Services(CMS).




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 •     As reported by generally recognized professionals or publications.
 •     As used for Medicare.
 •     As determined by medical staff and outside medical consultants pursuant to other appropriate
       sources or determinations that we accept.
 Following evaluation and validation of certain provider billings (e.g., error, abuse and fraud reviews), our
 reimbursement policies are applied to provider billings. We share our reimbursement policies with
 Physicians and other providers in our Network through our provider website. Network Physicians and
 providers may not bill you for the difference between their contract rate (as may be modified by our
 reimbursement policies) and the billed charge. However, out-of-Network providers may bill you for any
 amounts we do not pay, including amounts that are denied because one of our reimbursement policies
 does not reimburse (in whole or in part) for the service billed. Covered Health Care Services will be
 reimbursed based on California law as set forth under Allowed Amounts in the Schedule of Benefits. You
 may get copies of our reimbursement policies for yourself or to share with your out-of-Network Physician
 or provider by contacting us at www.myuhc.com or the telephone number on your ID card.
 We may apply a reimbursement methodology established by Optumlnsight and/or a third party vendor,
 which is based on CMS coding principles, to determine appropriate reimbursement levels for Emergency
 Health Care Services. The methodology is usually based on elements reflecting the patient complexity,
 direct costs, and indirect costs of an Emergency Health Care Service. If the methodology(ies) currently in
 use become no longer available, we will use a comparable methodology(ies). We and Optumlnsight are
 related companies through common ownership by UnitedHealth Group. Refer to our website at
 www.myuhc.com for information regarding the vendor that provides the applicable methodology.

 Offer Health Education Services to You
 We may provide you with access to information about additional services that are available to you, such
 as disease management programs, health education and patient advocacy. It is solely your decision
 whether to take part in the programs, but we recommend that you discuss them with your Physician.




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                Section 1: Covered Health Care Services
  When Are Benefits Available for Covered Health Care Services?
  Benefits are available only when all of the following are true:
  •     The health care service, including supplies or Pharmaceutical Products, is only a Covered Health
        Care Service if it is Medically Necessary or otherwise required by state or federal law.(See
        definitions of Medically Necessary and Covered Health Care Service in Section 9: Defined Terms.)
  •     You receive Covered Health Care Services while the Agreement is in effect.
  •     You receive Covered Health Care Services prior to the date that any of the individual termination
        conditions listed in Section 4: When Coverage Ends occurs.
 •      The person who receives Covered Health Care Services is a Covered Person and meets all
        eligibility rules specified in the Agreement which includes this Combined Evidence of Coverage and
        Disclosure Form and the Group Application.
  The fact that a Physician or other provider has performed or prescribed a procedure or treatment, or the
  fact that it may be the only available treatment for a Sickness, Injury, Mental Illness, substance-related
  and addictive disorders, disease or its symptoms does not mean that the procedure or treatment is a
  Covered Health Care Service under the Agreement.
  Benefits are provided for services delivered via TelehealthiTelemedicine. Benefits are also provided for
  Remote Physiologic Monitoring. Benefits for these services are provided to the same extent as an in-
  person service under any applicable Benefit category in this section unless otherwise specified in the
  Schedule of Benefits.
  This section describes Covered Health Care Services for which Benefits are available. Please refer to the
  attached Schedule of Benefits for details about:
 •      The amount you must pay for these Covered Health Care Services (including any Annual
        Deductible, Co-payment and/or Co-insurance).
 •      Any limit that applies to these Covered Health Care Services (including visit, day and dollar limits
        on services).
 •      Any limit that applies to the portion of the Allowed Amount or the Recognized Amount when
        applicable you are required to pay in a year(Out-of-Pocket Limit).
 •      Any responsibility you have for obtaining prior authorization or notifying us.
  Please note that in listing services or examples, when we say "this includes," it is not our intent to
  limit the description to that specific list. When we do intend to limit a list ofservices or examples,
  we state specifically that the list "is limited to."

  1. Acupuncture Services
  Acupuncture services provided in an office setting for the following conditions:
 •      Pain therapy.
 •      Nausea that is related to surgery, Pregnancy or chemotherapy.
  Benefits are provided regardless of whether the office is free-standing, located in a clinic or located in a
  Hospital.
  Acupuncture services must be performed by a provider who is either:
 •      Practicing within the scope of his/her license (if state license is available); or Certified by a national
        accrediting body.




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  2. Ambulance Services
  Emergency ambulance transportation by a licensed ambulance service (either ground or Air Ambulance)
  to the nearest available Emergency facility having the expertise to treat your condition in or out of the
  area. The use of an ambulance (land or air) is covered if you reasonably believe there is an Emergency
  Medical Condition or psychiatric condition that requires ambulance transport to access Emergency Health
  Care Services. Such coverage includes ambulance transport services provided through 911 emergency
  response systems.
  Non-Emergency ambulance transportation by a licensed ambulance service (either ground or Air
  Ambulance, as appropriate) between facilities only when the transport meets one of the following:
 •      From an out-of-Network Hospital to the closest Network Hospital when Covered Health Care
        Services are required.
 •      To the closest Network Hospital that provides the required Covered Health Care Services that were
        not available at the original Hospital.
 •      From a short-term acute care facility to the closest Network long-term acute care facility (LTAC),
        Network Inpatient Rehabilitation Facility, or other Network sub-acute facility where the required
        Covered Health Care Services can be delivered.
 •      When a Physician determines the Member's condition requires the use of a service that only a
        licensed ambulance or psychiatric transport van can provide if other means would endanger the
        Member's health.
  For the purpose of this Benefit the following terms have the following meanings:
        •      "Long-term acute care facility (LTAC)" means a facility or Hospital that provides care to
               people with complex medical needs requiring long-term Hospital stay in an acute or critical
               setting.
        •      "Short-term acute care facility" means a facility or Hospital that provides care to people with
               medical needs requiring short-term Hospital stay in an acute or critical setting such as for
               recovery following a surgery, care following sudden Sickness, Injury, or flare-up of a chronic
               Sickness.
               "Sub-acute facility" means a facility that provides intermediate care on short-term or long-
               term basis.

  3. Cellular and Gene Therapy
 •      Cellular Therapy and Gene Therapy received on an inpatient or outpatient basis at a Hospital or on
        an outpatient basis at an Alternate Facility or in a Physician's office.
 •      Benefits for CAR-T therapy for malignancies are provided as described under Transplantation
        Services.

 4. Clinical Trials
  Routine patient care costs incurred while taking part in an approved clinical trial for the treatment of:
 •      Cancer or other life-threatening disease or condition. For purposes of this Benefit, a life-threatening
        disease or condition is one which is likely to cause death unless the course of the disease or
        condition is interrupted.
 •      Cardiovascular disease (cardiac/stroke) which is not life threatening, when we determine the
        clinical trial meets the qualifying clinical trial criteria stated below.
 •      Surgical musculoskeletal disorders of the spine, hip and knees, which are not life threatening, when
        we determine the clinical trial meets the qualifying clinical trial criteria stated below.




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 •       Other diseases or disorders which are not life threatening, when we determine the clinical trial
         meets the qualifying clinical trial criteria stated below.
  A Member is considered a Qualified Individual if the Member is eligible to take part in the approved
  clinical trial according to the trial's protocol and either a Network treating Physician has concluded that the
  Member's participation in the trial would be appropriate because the Member meets the trial protocol; or
  the Member self-refers to the trial and has provided medical and scientific information to establish that
  participation in the trial is consistent with the trial protocol.
  Benefits include the reasonable and necessary items and services used to prevent, diagnose and treat
  complications arising from taking part in a qualifying clinical trial.
  Benefits are available only when you are clinically eligible, as determined by the researcher, to take part
  in the qualifying clinical trial.
  Routine patient care costs for qualifying clinical trials include:
 •       With respect to a clinical trial for the treatment of cancer, the costs associated with the provision of
         health care services, including drugs, items, devices and services that would otherwise be Covered
         Health Care Services under the Agreement if those drugs, items, devices and services were not
         provided in connection with for a Covered Person who is not enrolled in an approved clinical trial
         program.
 •       Covered Health Care Services for which Benefits are typically provided absent a clinical trial.
 •       Covered Health Care Services required solely for the following:
        •       The provision of the Experimental or Investigational Service(s), drug, item, or device or
                service.
        •       The prevention of complications arising from the provision of the Experimental or
                Investigational Service(s), drug, item, or device or service.
        •       The clinically appropriate monitoring of the effects of the Experimental or Investigational
                Service(s), drug, item, or device or service.
 •      Covered Health Care Services needed for reasonable and necessary care arising from the receipt
        of an Investigational Service(s) drug, item, device or service, including diagnosis of treatment of the
        complications.
  Routine costs for clinical trials do not include:
 •      The Experimental or Investigational Service(s) or item. The only exceptions to this are:
        •       Certain Category B devices.
        •      Certain promising interventions for patients with terminal illnesses. Certain promising
               interventions refer to treatment that is likely safe but where limited to and/or conflicting
               evidence exists regarding its effectiveness.
        •       Other items and services that meet specified criteria in accordance with our medical and
                drug policies.
 •      Items and services provided solely to meet data collection and analysis needs and that are not
        used in the direct clinical management of the patient.
 •      Items and services specifically excluded from coverage in the contract, except for drugs, items,
        devices, and services required to be covered pursuant to this section or other applicable law.
 •      Items and services provided by the research sponsors free of charge for any person taking part in
        the trial.
 With respect to cancer or other life-threatening diseases or conditions, a qualifying clinical trial is a Phase
 I, Phase II, Phase III, or Phase IV clinical trial. It takes place in relation to the prevention, detection or
 treatment of cancer or other life-threatening disease or condition, including involving a drug that is exempt




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  under federal regulations from a new drug application. It meets any of the following criteria in the bulleted
  list below.
  With respect to cardiovascular disease, musculoskeletal disorders of the spine, hip and knees and other
  diseases or disorders which are not life-threatening, a qualifying clinical trial is a Phase I, Phase II, or
  Phase III clinical trial. It takes place in relation to the detection or treatment of such non-life-threatening
  disease or disorder. It meets any of the following criteria in the bulleted list below.
 •       Federally funded trials. The study or investigation is approved or funded (which may include
         funding through in-kind contributions) by one or more of the following:
        •       National Institutes of Health (NIH).(Includes National Cancer Institute (NC).)
        •       Centers for Disease Control and Prevention (CDC).
        •       Agency for Healthcare Research and Quality(AHRQ).
        •       Centers for Medicare and Medicaid.Services(CMS).
        •       A cooperative group or center of any of the entities described above or the Department of
                Defense(DOD)or the Veterans Administration (VA).
        •       A qualified non-governmental research entity identified in the guidelines issued by the
                National Institutes of Health for center support grants.
        •      The Department of Veterans Affairs, the Department of Defense or the Department of
               Energy if the study or investigation has been reviewed and approved through a system of
               peer review. The peer review system is determined by the Secretary of Health and Human
               Services to meet both of the following criteria:
               •       Comparable to the system of peer review of studies and investigations used by the
                       National Institutes of Health.
               •      Ensures unbiased review of the highest scientific standards by qualified individuals
                      who have no interest in the outcome of the review.
 •       The study or investigation takes place under an investigational new drug application reviewed by
         the U.S. Food and Drug Administration.
 •       The study or investigation is a drug trial that is exempt from having such an investigational new
         drug application.
 •       The clinical trial must have a written protocol that describes a scientifically sound study. It must
         have been approved by all relevant institutional review boards(IRBs) before you are enrolled in the
         trial. We may, at any time, request documentation about the trial.
 •      The subject or purpose of the trial must be the evaluation of an item or service that meets the
        definition of a Covered Health Care Service and is not otherwise excluded under the Agreement.
  With respect to a clinical trial for the treatment of cancer or other Life-Threatening disease or condition,
  Benefits are available when the Covered Health Care Services are provided by either Network or out-of-
  Network providers. If one or more Network providers are conducting an approved clinical trial, we may
  require that you participate in the clinical trial through a Network provider if the Network provider accepts
  you as a clinical trial participant. We may also restrict coverage to.an approved clinical trial in the state of
  California, unless the clinical trial is not offered or available through a Network provider in the state of
  California.

 5. Congenital Heart Disease(CHD)Surgeries
  CHD surgeries which are ordered by a Physician. CHD surgical procedures include surgeries to treat
  conditions such as:
 •      Coarctation of the aorta.




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 •       Aortic stenosis.
 •       Tetralogy of Fallot.
 •       Transposition of the great vessels.
 •       Hypoplastic left or right heart syndrome.
  Benefits include the facility charge and the charge for supplies and equipment. Benefits for Physician
  services are described under Physician Fees for Surgical and Medical Services.
  Surgery may be performed as open or closed surgical procedures or may be performed through
  interventional cardiac catheterization.
  You can call us at the telephone number on your ID card for information about our specific guidelines
  regarding Benefits for CHD services.

 6. Dental Services and Oral Surgery - Accident Only
  Dental services for stabilizing an acute Injury to sound natural teeth, the jawbone or the surrounding
  structures and tissues are covered when all of the following are true:
 •      Treatment is needed because of accidental damage.
 •       You receive dental services from a Doctor of Dental Surgery or Doctor of Medical Dentistry.
 •      The dental damage is severe enough that first contact with a Physician or dentist happened within
        72 hours of the accident.(You may request this time period be longer if you do so within 60 days of
        the Injury and if extenuating circumstances exist due to the severity of the Injury.)
  Please note that dental damage that happens as a result of normal activities of daily living or
  extraordinary use of the teeth is not considered an accidental Injury. Benefits are not available for repairs
  to teeth that are damaged as a result of such activities.
  Dental services to repair damage caused by accidental Injury must follow these time-frames:
 •      Treatment is started within three months of the accident, or if not a Covered Person at the time of
        the accident, within the first three months of coverage under the Agreement, unless extenuating
        circumstances exist(such as prolonged hospitalization or the presence of fixation wires from
        fracture care).
 •      Treatment must be completed within 12 months of the accident, or if not a Covered Person at the
        time of the accident, within the first 12 months of coverage under the Agreement.
  Benefits for treatment of accidental Injury are limited to the following:
 •      Emergency exam.
 •      Diagnostic X-rays.
 •      Endodontic (root canal) treatment.
 •      Temporary splinting of teeth.
 •      Prefabricated post and core.
 •      Simple minimal restorative procedures (fillings).
 •      Extractions.
 •      Post-traumatic crowns if such are the only clinically acceptable treatment.
 •      Replacement of lost teeth due to Injury with implant, dentures or bridges.
 Anesthesia and associated facility charges for dental procedures provided in a Hospital or Outpatient
 surgery center are covered when:(a)the Member's clinical status or underlying medical condition
 requires use of an Outpatient surgery center or Inpatient setting for the provision of the anesthesia for a




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  dental procedure(s) that ordinarily would not require anesthesia in a Hospital or Outpatient surgery center
  setting; and (b) one of the following criteria is met:
 •       The Member is under seven years of age;
 •       The Member is developmentally disabled, regardless of age; or
 •       The Member's health is compromised and general anesthesia is Medically Necessary, regardless
         of age.
  Also refer to Section 2: Exclusions and Limitations, B. Dental for this covered benefit.

  7. Diabetes Services
  Diabetes Self-Management and Training/Diabetic Eye Exams/Foot Care
  Outpatient self-management training for the treatment of diabetes, education and medical nutrition
  therapy services. Services must be ordered by a Physician and provided by appropriately licensed or
  registered health care professionals.
  Benefits also include medical eye exams (dilated retinal exams)and preventive foot care for diabetes.

  8. Diabetes Treatment
  Diabetes equipment and supplies are limited to blood.glucose monitors and blood glucose testing strips,
  blood glucose monitors designed to assist the visually impaired, insulin pumps and all related necessary
  supplies; ketone urine testing strips, lancets and lancet puncture devices, pen delivery systems for the
  administration of insulin, podiatric devices to prevent or treat diabetes-related complications, insulin
  syringes, visual aids, excluding eyewear, to assist the visually impaired with proper dosing of insulin.
  Benefits for diabetes prescription items (limited to insulin, medication for the treatment of diabetes, insulin
  syringes, blood glucose test strips, lancets, urine test strips, ketone test strips and tablets and glucagon)
  are described in the Outpatient Prescription Drug Services.

 9. Durable Medical Equipment(DME), Orthotics and Supplies
 Benefits are provided for DME and certain orthotics and supplies. If more than one item can meet your
 functional needs, Benefits are available only for the item that meets the minimum specifications for your
 needs. If you purchase an item that exceeds these minimum specifications, we will pay only the amount
 that we would have paid for the item that meets the minimum specifications, and you will be responsible
 for paying any difference in cost.
        DME and Supplies
        Examples of DME and supplies include:
        •      Equipment to help mobility, such as a standard wheelchair.
        •      Standard curved handle or quad cane and replacement supplies.
        •      Standard or forearm crutches and replacement supplies
        •      Dry pressure pad for a mattress.
        •      IV pole.
        •      Oxygen and the rental of equipment to administer oxygen (including tubing, connectors and
               masks).
        •      Negative pressure wound therapy pumps(wound vacuums).
        •      Compression Burn Garments.
        •      Compression Stockings and Garments.




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        •       Mechanical equipment needed for the treatment of long term or sudden respiratory failure
               (except that air-conditioners, humidifiers, dehumidifiers, air purifiers and filters and personal
                comfort items are excluded from coverage).
        •      Bone stimulator.
        •      Insulin pumps and all related needed supplies as described under Diabetes Services.
        •      External cochlear devices and systems. Benefits for cochlear implantation are provided
               under the applicable medical/surgical Benefit categories in this Combined Evidence of
               Coverage and Disclosure Form.
        •      Cervical traction (over door).
        •      Peak Flow Meter and Nebulizer.
        •      Enteral and parenteral feeding pumps and supplies.
        •      Phototherapy blankets for treatment of jaundice in newborns.
         Benefits include lymphedema stockings for the arm as required by the Women's Health and
         Cancer Rights Act of 1998.
        Benefits also include dedicated speech generating devices and tracheo-esophageal voice devices
        required for treatment of severe speech impairment or lack of speech directly due to Sickness or
        Injury. Benefits for the purchase of these devices are available only after completing a required
        three-month rental period. Benefits are limited as stated in the Schedule of Benefits.
         Orthotics
        Orthotic braces, including needed changes to shoes to fit braces. Braces that stabilize an injured
        body part and braces to treat curvature of the spine are a Covered Health Care Service.
  We will decide if the equipment should be purchased or rented.
  Benefits are available for repairs and replacement, except as described in Section 2: Exclusions and
  Limitations, under Medical Supplies and Equipment.
  These Benefits apply to external DME. Unless otherwise excluded, items that are fully implanted into the
  body are a Covered Health Care Service for which Benefits are available under the applicable
  medical/surgical Covered Health Care Service categories in this Agreement.

  10.Emergency Health Care Services - Outpatient
  Services that are required to stabilize or begin treatment in an Emergency. Emergency Health Care
  Services must be received on an outpatient basis at a Hospital or Alternate Facility.
  Benefits include the facility charge, supplies and all professional services required to stabilize or eliminate
  the medical or psychiatric condition and/or begin treatment. This includes placement in an observation
  bed to monitor your condition (rather than being admitted to a Hospital for an Inpatient Stay).
  For a definition of Emergency and Emergency Health Care Services, please refer to Section 9: Defined
  Terms.

  11.Enteral Nutrition
  Benefits are provided for specialized enteral formulas administered either orally or by tube feeding for
  certain conditions under the direction of a Physician.

  12.Fertility Preservation for latrogenic Infertility
 Benefits are available for fertility preservation for medical reasons that cause irreversible infertility such as
 chemotherapy, radiation treatment, and bilateral oophorectomy due to cancer. Services include the
 following procedures, when provided by or under the care or supervision of a Physician:




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 •       Collection of sperm.
 •       Cryo-preservation of sperm.
 •       Ovarian stimulation, retrieval of eggs and fertilization.
 •       Oocyte cryo-preservation.
 •       Embryo cryo-preservation.
 Benefits for medications related to the treatment of fertility preservation are provided as described under
 the Outpatient Prescription Drug Supplement or under Pharmaceutical Products - Outpatient in this
 section.
  Benefits are not available for elective fertility preservation.
  Benefits are not available for embryo transfer.
  Benefits are not available for long-term storage costs (greater than one year).

  13.Gender Dysphoria
  Benefits for the treatment of gender dysphoria provided by or under the direction of a Physician.
 For the purpose of this Benefit, "gender dysphoria" is a disorder characterized by the specific diagnostic
 criteria classified in the current edition of the Diagnostic and Statistical Manual of the American
 Psychiatric Association.

 14.Habilitative Services and Manipulative Treatment
 For purposes of this Benefit, "habilitative services" means Skilled Care services that are part of a
 prescribed treatment plan or maintenance program to help a person with a disabling condition to keep,
 learn or improve skills and functioning for daily living. We will decide if Benefits are available by reviewing
 both the skilled nature of the service and the need for Physician-directed medical management.
 Therapies provided for the purpose of general well-being or conditioning in the absence of a disabling
 condition are not considered habilitative services.
  Habilitative services include both inpatient and outpatient services.
  Habilitative services include but are not limited to:
 •      Physical therapy.
 •      Occupational therapy.
 •       Manipulative Treatment.
 •      Speech therapy.
 •      Post-cochlear implant aural therapy.
 •      Cognitive therapy.
 Benefits are provided for habilitative services for both inpatient-services and outpatient therapy when you
 have a disabling condition when both of the following conditions are met:
        Treatment is administered by any of the following:
        •      Physician.
        •      Licensed speech-language pathologist.
        •      Licensed audiologist.
        •      Licensed occupational therapist.
        •      Licensed physical therapist.




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               Qualified Autism Service Provider
               Other Provider licenses, certified or otherwise authorized under state law to perform the
               service, and within the provider's scope of practice.
  •      Treatment must be proven and not Experimental or Investigational.
  Benefits can be discontinued when the treatment goals and objectives are achieved or no longer
  appropriate.
  The following are not habilitative services, unless Medically Necessary for the treatment of Mental Health
  Care and Substance-Related and Addictive Disorders:
 •       Custodial Care.
 •       Respite care.
 •       Day care.
 •       Therapeutic recreation.
 •       Educational/Vocational training.
 •       Residential Treatment.
 •      Services solely educational in nature.
  We may require the following be provided:
 •       Medical records.
  When the treating provider expects that continued treatment is or will be required to allow you to achieve
  progress we may request additional medical records.
  Habilitative services provided in your home by a Home Health Agency are provided as described under
  Home Health Care. Habilitative services provided in your home other than by a Home Health Agency are
  provided as described under this section.
  Benefits for DME and prosthetic devices, when used as a part of habilitative services, are described
  under Durable Medical Equipment(DME), Orthotics and Supplies and Prosthetic Devices.

  15.Hearing Aids
  Hearing aids required for the correction of a hearing impairment(a reduction in the ability to perceive
  sound which may range from slight to complete deafness). These are electronic amplifying devices
  designed to bring sound more effectively into the ear. These consist of a microphone, amplifier and
  receiver.
  Benefits are available for a hearing aid that is purchased through a licensed audiologist, hearing aid
  dispenser, otolaryngologist, or other authorized provider. Benefits are provided for the hearing aid and
  associated fitting charges and testing.
  Benefits are also provided for certain U.S. Food and Drug Administration (FDA)approved over-the-
  counter hearing aids for Covered Persons age 18 and older who have mild to moderate hearing loss.
  Benefits for over-the-counter hearing aids do not require any of the following:
 •      A medical exam.
 •      A fitting by a licensed audiologist, hearing aid dispenser, otolaryngologist, or other authorized
        provider.
 •      A written prescription or other order.
 If more than one type of hearing aid can meet your functional needs, Benefits are available only for the
 hearing aid that meets the minimum specifications for your needs. If you purchase a hearing aid that
 exceeds these minimum specifications, we will pay only the amount that we would have paid for the




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  hearing aid that meets the minimum specifications, and you will be responsible for paying any. difference
  in cost.
  Benefits do not include bone anchored hearing aids. Bone anchored hearing aids are a Covered Health
  Care Service for which Benefits are available under the applicable medical/surgical Covered Health Care
  Services categories in this Combined Evidence of Coverage and Disclosure Form. They are only
  available if you have either of the following:
 •       Craniofacial anomalies whose abnormal or absent ear canals prevent the use of a wearable
         hearing aid.
 •       Hearing loss severe enough that it would not be remedied by a wearable hearing aid:

  16.Home Health Care
  Services received from a Home Health Agency that are all of the following:
 •       Ordered by a Physician.
 •       Provided in your home by a registered nurse, or provided by either a home health aide or licensed
         practical nurse and supervised by a registered nurse.
 •       Provided on a part-time, Intermittent Care schedule.
 •       Provided when Skilled Care is required.
 We will determine if Benefits are available by reviewing both the skilled nature of the service and the need
 for Physician-directed medical management.

  17.Hospice Care
  Hospice care that is recommended by a Physician. Hospice care is an integrated program that provides
  comfort and support services for the terminally ill. It includes the following:
 •      Physical, psychological, social, spiritual and respite care for the terminally ill person.
 •      Short-term grief counseling for immediate family members while you are receiving Hospice care.
  Benefits are available when you receive Hospice care from a licensed Hospice agency.
 You can call us at the telephone number on your ID card for information about our guidelines for Hospice
 care.

  18.Hospital - Inpatient Stay
 Services and supplies provided during an Inpatient Stay in a Hospital.
  Benefits are available for:
 •      Supplies and non-Physician services received during the Inpatient Stay.
 •      Room and board in a Semi-private Room (a room with two or more beds).
 •      Physician services for radiologists, anesthesiologists, pathologists and Emergency room
        Physicians. (Benefits for other Physician services are described under Physician Fees for Surgical
        and Medical Services.)
 •      Nursing and other licensed health professionals, or other professionals as authorized under
        California law.

 19.Lab, X-Ray and Diagnostic - Outpatient
 Services for Sickness and Injury-related diagnostic purposes, received on an outpatient basis at a
 Hospital or Alternate Facility or in a Physician's office include:




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 •       Lab and radiology/X-ray.
 •       Mammography.
 •       All generally medically accepted cancer screening tests that are performed for diagnostic reasons.
        (Cancer screenings for preventive care are described under Preventive Care Services.)
  Benefits include:
 •       The facility charge and the charge for supplies and equipment.
 •       Physician services for radiologists, anesthesiologists and pathologists. (Benefits for other Physician
         services are described under Physician Fees for Surgical and Medical Services.)
 •       Genetic Testing ordered by a Physician which results in available medical treatment options
         following Genetic Counseling.
 •       Presumptive Drug Tests and Definitive Drug Tests.
 •       Autologous blood banking in connection with a scheduled inpatient procedure that is a Covered
         Health Care Service.
  Lab, X-ray and diagnostic services for preventive care are described under Preventive Care Services.
  CT scans, PET scans, MRI, MRA, nuclear medicine and major diagnostic services are described under
  Major Diagnostic and Imaging - Outpatient.

  20.Major Diagnostic and Imaging - Outpatient
  Services for CT scans, PET scans, MRI, MRA, nuclear medicine and major diagnostic services received
  on an outpatient basis at a Hospital or Alternate Facility or in a Physician's office. Covered Health Care
  Services under this section include all generally medically accepted cancer screening tests that are
  performed for diagnostic reasons.(Cancer screenings for preventive care are described under Preventive
  Care Services.)
  Benefits include:
 •      The facility charge and the charge for supplies and equipment.
 •      Physician services for radiologists, anesthesiologists and pathologists. (Benefits for other Physician
        services are described under Physician Fees for Surgical and Medical Services.)

  21.Mental Health Care and Substance-Related and Addictive Disorders Services
  Mental Health Care and Substance-Related and Addictive Disorders Services include those received on
  an inpatient or outpatient basis. All services must be provided by or under the direction of a behavioral
  health provider who is properly licensed and qualified by law and acting within the scope of their
  licensu re.
 Benefits for Mental Health Care and Substance-Related and Addictive Disorders Services include
 Covered Health Care Services for the prevention, diagnosis and treatment of mental health and
 substance use disorders. Mental health and substance use disorders are defined as a mental health
 condition or substance use disorder that falls under any of the diagnostic categories listed in the mental
 and behavioral disorders chapter of the most recent edition of the International Classification of Diseases
 or that is listed in the most recent version of the Diagnostic and Statistical Manual of Mental Disorders.
 Benefits for Medically Necessary treatment of Mental Health Care and Substance-Related and Addictive
 Disorder Services will be provided under the same terms and conditions applied to other medical
 conditions.
  Benefits include (but are not limited to) the following levels of care:
 •      Inpatient treatment, including behavioral health treatment for Autism Spectrum Disorder.
 •      Residential Treatment.




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  •      All other outpatient items and services include Partial Hospitalization/Day Treatment/High Intensity
         Outpatient, outpatient surgery, facility charges for day treatment centers, laboratory charges, or
         other medical items.
 •       Intensive Outpatient Treatment.
 •       Outpatient treatment.
 •       Emergency Health Care Services.
  Inpatient treatment and Residential Treatment includes room and board in a Semi-private Room (a room
  with two or more beds).
  Services include (but are limited to) the following:
 •       Diagnostic evaluations, assessment and treatment, and/or procedures.
 •       Medication management.
 •       Individual, family, and group therapy.
 •       Crisis intervention.
 •       Medication-assisted treatment for Substance-Related and Addictive Disorders Services.
 •       Office-based medication-assisted opioid treatment, including methadone.
 •      Medication-assisted opioid treatment programs, including methadone, provided as part of or
        separate (stand-alone program)from a facility-based treatment program.
 •       Treatment programs at federally certified Methadone clinics.
 •       Prescription Drug Products.
 •      Mental Health Care Services for Autism Spectrum Disorder (including Intensive Behavioral
        Therapies such as Applied Behavior Analysis (ABA))that are the following:
        •      Focused on the treatment of core deficits of Autism Spectrum Disorder.
        •      Provided by a Board Certified Behavior Analyst(BCBA)or other qualified provider under the
               appropriate supervision.
        •      Focused on treating maladaptive/stereotypic behaviors that are posing danger to self, others
               and property, and impairment in daily functioning.
        This section describes only the behavioral component of treatment for Autism Spectrum Disorder.
        Medical treatment of Autism Spectrum Disorder is a Covered Health Care Service for which
        Benefits are available under the applicable medical Covered Health Care Services categories in
        this Combined Evidence of Coverage and Disclosure Form.
  Medical Necessity coverage determinations relating to Mental Health and Substance-Related and
  Addictive Disorder Services will be made on current generally accepted standards of mental health and
  substance use disorder care and utilizing the criteria and guidelines set forth in the most recent versions
  of treatment criteria developed by the nonprofit professional association for the relevant clinical specialty
  area.
  Covered Health Care Services for Mental Health Care and Substance-Related and Addictive Disorder
  Services include basic health care services and cover all mental health and substance use disorders
  listed in the most recent version of the Diagnostic and Statistical Manual of Mental Disorders(DSM V), or
  the most recent edition of the International Classification of Diseases.
 Benefits for Covered Health Care Services provided on an outpatient basis are separated into the
 following two (2) categories in the Schedule of Benefits for the purpose of establishing the cost share that
 applies to the Benefit. Examples include, but are not limited to:
        Outpatient Office Visits:




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 •      Diagnostic evaluations and assessment, treatment planning, treatment and/or procedures, referral
        services, medication management, office-based medication-assisted opioid treatment, including
        methadone, and treatment programs at federally certified methadone clinics.
         All Other Outpatient Treatment:
 •      Partial Hospitalization/Day Treatment, Multidisciplinary Intensive Outpatient Psychiatric Treatment,
        facility charges for day treatment centers; Intensive Outpatient programs; crisis intervention,
        Behavioral Health Treatment for Autism Spectrum Disorders delivered at home, medication-
        assisted opioid treatment programs including methadone, provided as part of or separate (stand-
        alone program)from a facility-based treatment program, outpatient surgery, laboratory charges, or
        other medical items that fall between inpatient care and regular outpatient office visits.
  All outpatient Benefits for the prevention, diagnosis or treatment of Mental Health Care and Substance-
  Related and Addictive Disorders Services are Covered Health Care Services under the cost share for
  outpatient office visits or all other outpatient office visits as stated in the Schedule of Benefits under
  Mental Health Care and Substance-Related and Addictive Disorders Services.
  Benefits include Behavioral Health Treatment for Autism Spectrum Disorders under the same terms and
  conditions that apply to medical conditions. Medically Necessary Behavioral Health Treatment will not be
  denied or unreasonably delayed:
 •       Based on an asserted need for cognitive or intelligence quotient(IQ) testing;
 •      On the grounds that the Behavioral Health Treatment is an Experimental or Investigational
        Services or educational; or
 •      On the grounds that Behavioral Health Treatment is not being, will not be, or was not, provided or
        supervised by a licensed person, entity or group when the provider or supervisor in question is
        certified by a national entity, such as the Behavior Analyst Certification Board, that is accredited by
        the National Commission of Certifying Agencies.
  Schoolsite Outpatient Mental Health Care and Substance-Related and Addictive Disorders
  Services - Benefits include treatment of Mental Health Care and Substance-Related and Addictive
  Disorders by a health care provider at a schoolsite for a Covered Person 25 years of age or younger.
  Covered Health Care Services will be reimbursed regardless of network status of the local educational
  agency, institution of higher education, or health care provider. "Schoolsite" means a facility or location
  used for public kindergarten, elementary, secondary, or postsecondary purposes. "Schoolsite" also
  includes a location not owned or operated by a public school, or public school district if the school or
  school district provides or arranges for the provision of Medically Necessary treatment of Mental Health
  Care and Substance-Related and Addictive Disorder Services to its students at that location, including
  off-campus clinics, mobile counseling services, and similar locations.
 Community Assistance, Recovery, and Empowerment(CARE)Act - When authorized for specified
 adult persons who petition a civil court to create a voluntary CARE agreement or a court-ordered CARE
 plan, when services are provided by Network or Out-of-Network county behavioral health agencies to
 provide behavioral health care which will include stabilization medication, housing, and other enumerated
 services to adults who are currently experiencing a severe mental illness and have a diagnosis identified
 in the disorder class schizophrenia and other psychotic disorders, and who meet other specified criteria.
 Prior authorization is not required for services provided by county behavioral health agencies to provide
 behavioral health care which will include stabilization medication, housing, and other enumerated
 services to adults who are currently experiencing a severe mental illness and have a diagnosis identified
 in the disorder class schizophrenia and other psychotic disorders under a Community Assistance
 Recovery, and Empowerment Act, except for prescription drugs.
 The Mental Health/Substance-Related and Addictive Disorders Designee provides administrative services
 for all levels of care.
  We encourage you to contact the Mental Health/Substance-Related and Addictive Disorders Designee for
  assistance locating a provider and coordination of care.




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  For non-Emergency, out-of-Network, inpatient behavioral health care, prior authorization may be required.
  If so, you must contact the Mental Health/Substance-Related Addictive Disorders Designee for referrals to
  providers and coordination of care and failure to obtain prior authorization from the designee will result in
  a penalty. Please refer to the Mental Health Care and Substance-Related and Addictive Disorders
  Services Benefit category in the Schedule of Benefits for information on the prior authorization
  requirements and penalty, if applicable.
  For all other levels of care, we encourage you to contact the Mental Health/Substance-Related and
  Addictive Disorders Designee for referrals to providers and coordination of care, but you are not required
  to do so and you will not be subject to a penalty if you do not.
  If you disagree with a determination, you can request an appeal. The complaint and appeals process,
  including independent medical review, is described under Section 6: Questions, Complaints and Appeals.
  You can call us at the telephone number on your ID card.
  For utilization review criteria, education programs and training materials relating to Mental Health Care
  and Substance-Related and Addictive Disorder Services by contacting us at www.myuhc.com or the
  telephone number on your ID card. Utilization review criteria, education programs and training materials
  relating to Mental Health Care and Substance-Related and Addictive Disorder Services will be provided at
  no cost to Members.

  22.Obesity - Weight Loss Surgery
  Services are covered when Medically Necessary and Prior Authorized. We will use evidence-based
  criteria to determine coverage of Obesity - Weight Loss surgery, such as the most recent National
  Institutes of Health (NIH)guidelines, in determining the Medical Necessity of requests for surgical
  treatment for morbid obesity.
  Please refer to your Schedule of Benefits for Co-payment/ Deductible information of this benefit or you
  may call the number on your ID card for additional information.

 23.0stomy Supplies
  Benefits include coverage for all Medically Necessary ostomy and for urological supplies, including but
  not limited to the following:
 •      Ostomy supplies: adhesives, adhesive remover, ostomy belt, hernia belts, catheter, skin
        wash/cleaner, bedside drainage bag and bottle, urinary leg bags, gauze pads, irrigation faceplate,
        irrigation sleeve, irrigation bag, irrigation cone/catheter, lubricant, urinary connectors, gas filters,
        ostomy deodorants, drain tube attachment devices, gloves, stoma caps, colostomy plug, ostomy
        inserts, urinary and ostomy pouches, barriers, pouch closures, ostomy rings, ostomy face plates,
        skin barrier, skin sealant, and waterproof and non-waterproof tape.
 •      Incontinence supplies for Hospice patients: disposable incontinence under pads and adult
        incontinence garments.

 24.Pharmaceutical Products - Outpatient
 Pharmaceutical Products for Covered Health Care Services administered on an outpatient basis in a
 Hospital, Alternate Facility or Physician's office.
 Benefits are provided for Pharmaceutical Products which, due to their traits (as determined by us), are
 administered or directly supervised by a qualified provider or licensed/certified health professional.
 Depending on where the Pharmaceutical Product is administered, Benefits will be provided for
 administration of the Pharmaceutical Product under the corresponding Benefit category in this Combined
 Evidence of Coverage and Disclosure Form. Benefits for medication normally available by a prescription
 or order or refill are provided as described under your Schedule of Benefits.
 If you require certain Pharmaceutical Products, including Specialty Pharmaceutical Products, we may
 direct you to a Designated Dispensing Entity. Such Designated Dispensing Entities may include an




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 outpatient pharmacy, specialty pharmacy, Home Health Agency provider, Hospital-affiliated pharmacy or
 hemophilia treatment center contracted pharmacy.
 If you/your provider are directed to a Designated Dispensing Entity and you/your provider choose not to
 get your Pharmaceutical Product from a Designated Dispensing Entity, Network Benefits are not available
 for that Pharmaceutical Product.
 Certain Pharmaceutical Products are subject to step therapy requirements. This means that in order to
 receive Benefits for such Pharmaceutical Products, you must use a different Pharmaceutical Product
 and/or prescription drug product first. You may find out whether a particular Pharmaceutical Product is
 subject to step therapy requirements by contacting us at www.myuhc.com or the telephone number on
 your ID card. Your provider may request an exception to the step therapy requirements if they believe the
 drug is contraindicated or is not consistent with standard medical practice, or have indicated you have
 previously tried and failed the alternatives.
 Certain Specialty Pharmaceutical Products are eligible for coupons or offers from pharmaceutical
 manufacturers or affiliates that may reduce the cost for your Specialty Pharmaceutical Product. We may
 help you determine whether your Specialty Pharmaceutical Product is eligible for this reduction. If you
 redeem a coupon from a pharmaceutical manufacturer or affiliate, your Co-payment and/or Co-insurance
 may vary. Please contact www.myuhc.com or the telephone number on your ID card for an available list
 of Specialty Pharmaceutical Drug Products. If you choose not to participate, you will pay the Co-payment
 or Co-insurance as described in the Schedule of Benefits.
 The amount of the coupon will count toward any applicable deductible and towards the Out-of-Pocket
 Limit until any applicable deductible is met, except when not allowed by state or federal law.
 We may have certain programs in which you may receive an enhanced or reduced Benefit based on your
 actions such as adherence/compliance to medication or treatment regimens and/or participation in health
 management programs. You may access information on these programs by contacting us at
 www.myuhc.com or the telephone number on your ID card.

 25.Physician Fees for Surgical and Medical Services
 Physician fees for surgical procedures and other medical services received on an outpatient or inpatient
 basis in a Hospital, Skilled Nursing Facility, Inpatient Rehabilitation Facility or Alternate Facility, or for
 Physician house calls.

 26.Physician's Office Services - Sickness and Injury
 Services provided in a Physician's office for the diagnosis and treatment of a Sickness or Injury. Benefits
 are provided regardless of whether the Physician's office is freestanding, located in a clinic or located in a
 Hospital.
 Covered Health Care Services include medical education services that are provided in a Physician's
 office by appropriately licensed or registered health care professionals when both of the following are
 true:
       Education is required for a disease in which patient self-management is a part of treatment.
       There is a lack of knowledge regarding the disease which requires the help of a trained health
       professional.
 Covered Health Care Services include Genetic Counseling.
 Benefits include allergy injections.
 Covered Health Care Services for preventive care provided in a Physician's office are described under
 Preventive Care Services.
 Benefits for CT scans, PET scans, MRI, MRA, nuclear medicine and major diagnostic services are
 described under Major Diagnostic and Imaging - Outpatient.




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  When a test is performed or a sample is drawn in the Physician's office, Benefits for the analysis or
  testing of a lab, radiology/X-ray or other diagnostic service, whether performed in or out of the Physician's
  office, are described under Lab, X-ray and Diagnostic - Outpatient.

 27.Pregnancy - Maternity Services
  Benefits for Pregnancy include all maternity-related medical services for prenatal care, postnatal care,
  delivery and any related complications.
 Both before and during a Pregnancy, Benefits for prenatal diagnosis of fetal genetic disorders including
 tests for specific genetic disorders are covered. Benefits include the services of a genetic counselor when
 provided or referred by a Physician. These Benefits are available to all Covered Persons in the immediate
 family. Covered Health Care Services include related tests and treatment.
  We will pay Benefits for an Inpatient Stay of at least:
 •      48 hours for the mother and newborn child following a normal vaginal delivery.
 •      96 hours for the mother and newborn child following a cesarean section delivery.
 Coverage for inpatient Hospital care may be for a time period less than the minimum hours if the decision
 for an earlier discharge of the mother and newborn is made by the treating Physician in consultation with
 the mother. In addition, if the mother and newborn are discharged prior to the 48 or 96 hour minimum
 time periods, a post-discharge follow-up visit for the mother and newborn will be provided within 48 hours
 of discharge, when prescribed by the treating Physician.

 28.Preimplantation Genetic Testing (PGT)and Related Services
 Preimplantation Genetic Testing (PGT) performed to identify and to prevent genetic medical conditions
 from being passed onto offspring. To be eligible for Benefits the following must be met:
 •      PGT must be ordered by a Physician after Genetic Counseling.
 •      The genetic medical condition, if passed onto offspring, would result in significant health problems
        or severe disability and be caused by a single gene (detectable by PGT-M) or structural changes of
        a parents' chromosome (detectable by PGT-SR).
 •      Benefits are limited to PGT for the specific genetic disorder and the following related services when
        provided by or under the supervision of a Physician:
        •      Ovulation induction (or controlled ovarian stimulation).
        •      Egg retrieval, fertilization and embryo culture.
        •      Embryo biopsy.
        •      Embryo transfer.
        •      Cryo-preservation and short-term embryo storage (less than one year).
 Benefits are not available for long-term storage costs (greater than one year).

 29.Preventive Care Services
 Preventive care services provided on an outpatient basis at a Physician's office, an Alternate Facility or a
 Hospital encompass medical services that have been demonstrated by clinical evidence to be safe and
 effective in either the early detection of disease or in the prevention of disease, have been proven to have
 a beneficial effect on health outcomes and include the following as required under applicable law:
        Evidence-based items or services that have in effect a rating of"A" or "B" in the current
        recommendations of the United States Preventive Services Task Force.
        I mmunizations that have in effect a recommendation from the Advisory Committee on
        Immunization Practices of the Centers for Disease Control and Prevention.




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 •      With respect to infants, children and adolescents, evidence-informed preventive care and.
        screenings provided for in the comprehensive guidelines supported by the Health Resources and
        Services Administration and the Periodicity Schedule of the Bright Futures Recommendations for
        Pediatric Preventive Health Care and Uniform Panel of the Secretary's Advisory Committee on
        Heritable Disorders in Newborns and Children.
 •      With respect to women, such additional preventive care and screenings as provided for in
        comprehensive guidelines supported by the Health Resources and Services Administration
        including well-woman visits (including routine prenatal obstetrical office visits); gestational diabetes
        screening; human papillomavirus(HPV) DNA testing for women 30 years and older every 3 years;
        counseling for sexually transmitted infections; counseling and screening for human immune-
        deficiency virus (HIV); breastfeeding support and counseling; breast pump purchase of personal
        pump and supplies; and screening and counseling for interpersonal and domestic violence.
 •      Covered Health Care Services also include voluntary family planning and all FDA -approved
        contraceptive drugs, devices, and other products for women as provided for in comprehensive
        guidelines supported by the Health Resources and Services Administration and as required by
        California law, including but not limited to the following services:
        •      Clinical services related to the provision or use of contraception, including consultations,
               examinations, procedures, device insertion, ultrasound, anesthesia, patient education,
               referrals, and counseling.
        •      Follow-up services related to all FDA -approved contraceptive drugs, devices, and other
               products (including all FDA -approved over-the-counter drugs, devices, and other products)
               for women. Follow-up services include, but are not limited to, management of side effects,
               counseling for continued adherence, and device removal.
        •      Voluntary female sterilization procedures, including surgical sterilization (tubal ligation) and
               implantable sterilization.
        Benefits also include FDA -approved contraceptive drugs, devices, and products available over-
        the-counter from a Network pharmacy.
  Preventive screening services include, but are not limited to, the following:
 •      Adverse Childhood Experiences Screening — Routine screening for adverse childhood
        experiences.
 •      Breast Cancer Screening and Diagnosis — Services are covered for the screening and diagnosis of
        breast cancer. Screening and diagnosis will be covered consistent with generally accepted medical
        practice and scientific evidence, upon referral by the Member's Network Provider. Mammography
        for screening or diagnostic purposes is covered as authorized by the Member's Network nurse
        practitioner, Network nurse midwife or Network Provider.
 •      Colorectal Screening — Routine screening beginning at age 50 for men and women at average risk
        with interval determined by method. Potential screening options include home Fecal Occult Blood
        test(FOBT), flexible sigmoidoscopy, the combination of home FOBT and flexible sigmoidoscopy,
        colonoscopy, or double-contrast barium enema or a colonoscopy for a positive result on a test or
        procedure, other than a colonoscopy.
 •      Hearing Screening — Routine hearing screening by a Network health professional is covered to
        determine the need for hearing correction. Hearing screening tests for Members are covered in
        agreement with American Academy of Pediatrics (Bright Futures) recommendations.
 •      Human Immunodeficiency Virus(HIV) — Services for human immunodeficiency virus (HIV) testing,
        regardless whether the testing is related to a primary diagnosis.
 •      Newborn Testing — Covered tests include, but are not limited to, phenylketonuria (PKU), Sickle cell
        disease, and congenital hypothyroidism.




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 •      Prostate Screening — Evaluations for the screening and diagnosis of prostate cancer is covered
       (including, but not limited to, prostate-specific antigen testing and digital rectal examination). These
       screenings are provided when consistent with good professional practice.
 •     Tobacco Screening — Routine screening of tobacco use. For those who use tobacco products, at
       least two tobacco cessation attempts per year. For this purpose, covering a cessation attempt
       includes coverage for:
       •      Four Tobacco cessation counseling sessions of at least ten minutes each (including
              telephone counseling, group counseling and individual counseling) without prior
              authorization; and
       •      All Food and Drug Administration (FDA)-approved tobacco cessation medications (including
              both prescription and over-the-counter medications)for a 90-day treatment plan when
              prescribed by a health care Provider without prior authorization. Please refer to the
              Outpatient Prescription Drug Benefit Supplement to the Combined Evidence of Coverage
              and Disclosure Form for the covered tobacco cessation drugs (both over-the-counter and
              prescription).
       •      Tobacco cessation medications (both over-the-counter and prescription) covered at zero
              cost share when prescribed and prior authorized. In addition, you must take part in tobacco
              cessation counseling sessions as described above. Please call Customer Service for more
              information.
       Benefits defined under the Health Resources and Services Administration (HRSA) requirement
       include the cost of renting one breast pump per Pregnancy in conjunction with childbirth.
       If more than one breast pump can meet your needs, Benefits are available only for the most cost
       effective pump. We will determine the following:
       •      Which pump is the most cost effective.
       •      Whether the pump should be purchased or rented.
       •      Duration of a rental.
       •      Timing of purchase or rental.

 30.Prosthetic Devices
 External prosthetic devices that replace a limb or a body part, limited to:
 •     Artificial arms, legs, feet and hands.
 •     Artificial face, eyes, ears and nose.
       Breast prosthesis as required by the Women's Health and Cancer Rights Act of 1998. Benefits
       include mastectomy bras. Benefits for lymphedema stockings for the arm are provided as
       described under Durable Medical Equipment(DME), Orthotics and Supplies.
 Benefits are provided only for external prosthetic devices and do not include any device that is fully
 implanted into the body. Internal prosthetics are a Covered Health Care Service for which Benefits are
 available under the applicable medical/surgical Covered Health Care Service categories in this Combined
 Evidence of Coverage and Disclosure Form. As an example, internal prosthetic such as pacemakers and
 hip joints, if they are implanted during a surgery, are covered under Hospital - Inpatient Stay.
 If more than one prosthetic device can meet your functional needs, Benefits are available only for the
 prosthetic device that meets the minimum specifications for your needs. If you purchase a prosthetic
 device that exceeds these minimum specifications, we will pay only the amount that we would have paid
 for the prosthetic that meets the minimum specifications, and you will be responsible for paying any
 difference in cost.




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 Benefits for prosthetic devices to restore a method of speaking for a Member incident to laryngectomy are
 covered. This includes the initial and subsequent prosthetic devices, including installation accessories, as
 ordered by a Physician and surgeon. Electronic voice producing machines are not covered.
 Prosthetics including original and replacement devices when devices are prescribed by a Physician and
 surgeon or doctor of podiatric medicine acting within the scope of his or her license are a Covered Health
 Care Service.
 Benefits include prostheses to replace all or part of an external facial body part that has been removed or
 impaired as a result of disease, Injury, or congenital defect.
 Benefits are available for repairs and replacement, except as described in Section 2: Exclusions and
 Limitations, under Devices, Appliances and Prosthetics.

 31.Reconstructive Procedures
 Reconstructive procedure is covered to correct or repair abnormal structures of the body caused by
 congenital defects, developmental abnormalities, trauma, infection, tumors or disease. It includes
 Medically Necessary dental or orthodontic services that are an integral part of the reconstructive surgery
 for cleft palate procedures. Cleft palate means a condition that may include a cleft palate, cleft lip, or other
 craniofacial anomalies related with a cleft palate. The purpose of reconstructive procedure is to correct
 abnormal structures of the body to improve function or create a normal appearance to the extent possible.
 Reconstructive procedures require prior authorization by the Member's Network Medical Group, as
 applicable, or UnitedHealthcare in agreement with standards of care as practiced by Physicians
 specializing in reconstructive surgery.

 32.Rehabilitation Services - Outpatient Therapy and Manipulative Treatment
 Outpatient rehabilitation services limited to:
 •      Physical therapy.
       Occupational therapy.
        Manipulative Treatment.
       Speech therapy.
       Pulmonary rehabilitation therapy.
       Cardiac rehabilitation therapy.
       Post-cochlear implant aural therapy.
       Cognitive rehabilitation therapy.
 Rehabilitation services must be performed by a Physician or by a licensed therapy Provider, or Qualified
 Autism Service Provider or other Provider licenses, certified, or otherwise authorized under state law to
 perform the service, and within the Provider's scope of practice. Benefits include rehabilitation services
 provided in a Physician's office or on an outpatient basis at a Hospital or Alternate Facility. Rehabilitative
 services provided in your home by a Home Health Agency are provided as described under Home Health
 Care. Rehabilitative services provided in your home other than by a Home Health Agency are provided as
 described under this section.
 Benefits can be denied or shortened when either of the following applies:
 •     You are not progressing in goal-directed rehabilitation services.
 •     Rehabilitation goals have previously been met.
 Benefits are not available for maintenance/preventive treatment.




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  For outpatient rehabilitative services for speech therapy we will pay Benefits for the treatment of disorders
  of speech, language, voice, communication and auditory processing only when the disorder results from
  Injury, stroke, cancer, or Congenital Anomaly.

 33.Scopic Procedures - Outpatient Diagnostic and Therapeutic
  Diagnostic and therapeutic scopic procedures and related services received on an outpatient basis at a
  Hospital or Alternate Facility or in a Physician's office.
  Diagnostic scopic procedures are those for visualization, biopsy and polyp removal. Examples of
  diagnostic scopic procedures include:
 •      Colonoscopy.
 •      Sigmoidoscopy.
 •      Diagnostic endoscopy.
 Please note that Benefits do not include surgical scopic procedures, which are for the purpose of
 performing surgery. Benefits for surgical scopic procedures are described under Surgery - Outpatient.
 Benefits include:
 •      The facility charge and the charge for supplies and equipment.
 •      Physician services for radiologists, anesthesiologists and pathologists.(Benefits for all other
        Physician services are described under Physician Fees for Surgical and Medical Services.)
 Benefits that apply to certain preventive screenings are described under Preventive Care Services.

 34.Skilled Nursing Facility/Inpatient Rehabilitation Facility Services (Including
    Habilitative Services During an Inpatient Stay)
 Services and supplies provided during an Inpatient Stay in a Skilled Nursing Facility or Inpatient
 Rehabilitation Facility. Benefits are available for:
        Supplies and non-Physician services received during the Inpatient Stay.
 •      Room and board in a Semi-private Room (a room with two or more beds).
 •      Physician services for radiologists, anesthesiologists and pathologists. (Benefits for other Physician
        services are described under Physician Fees for Surgical and Medical Services.)
 •      Medical Social Services.
 •      Respiratory Therapy.
 Skilled nursing will be provided as Medically Necessary based upon limits provided in the Schedule of
 Benefits. If a Member does not require acute Hospital care but intensive skilled nursing is determined to
 be Medically Necessary. Subacute and Transitional Care are levels of care provided by a Skilled Nursing
 Facility to a Member who does not require Hospital acute care, but who requires more intensive licensed
 Skilled Nursing Facility care than is provided to the majority of the patients in a Skilled Nursing Facility.
 Skilled Nursing Facility services will be provided in place of a Hospital stay when Medically Necessary,
 and when Prior Authorized by the Member's Network Medical Group or by UnitedHealthcare.
 We will determine if Benefits are available by reviewing both the skilled nature of the service and the need
 for Physician-directed medical management.
 A benefit period begins on the date the enrollee is admitted to a Hospital or a Skilled Nursing Facility at a
 skilled level of care. A benefit period ends on the date the enrollee has not been an inpatient in a Hospital
 or Skilled Nursing Facility, receiving a skilled level of care, for 60 consecutive days. A new benefit period
 can begin only after any existing benefit period ends. A prior three-day stay in an acute care Hospital is
 not required to commence a benefit period.




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  35.Surgery - Outpatient
  Surgery and related services received on an outpatient basis at a Hospital or Alternate Facility or in a
  Physician's office.
  Benefits include certain scopic procedures. Examples of surgical scopic procedures include:
 •       Arthroscopy.
 •       Laparoscopy.
 •       Bronchoscopy.
 •       Hysteroscopy.
  Covered Health Care Services also include vasectomy services. Vasectomy services or procedures are
  covered without any cost sharing requirement and are not subject to prior authorization.
  Examples of surgical procedures performed in a Physician's office are mole removal and cast application.
  Benefits include:
 •      The facility charge and the charge for supplies and equipment.
 •      Physician services for radiologists, anesthesiologists and pathologists. (Benefits for other Physician
        services are described under Physician Fees for Surgical and Medical Services.)

  36.Temporomandibular Joint(TMJ)Services
  Services are covered for any Medically Necessary surgical procedure for any condition directly affecting
  the upper/lower jawbone or associated bone joints.
  Diagnosis: Exam, radiographs and applicable imaging studies and consultation.
  Non-surgical treatment including:
 •      Clinical exams.
 •      Oral appliances (orthotic splints).
 •      Arthrocentesis.
 •      Trigger-point injections.
  Benefits are provided for surgical treatment if the following criteria are met:
 •      There is radiographic evidence of joint abnormality.
 •      Non-surgical treatment has not resolved the symptoms.
 •      Pain or dysfunction is moderate or severe.
  Benefits for surgical services include:
 •      Arthrocentesis.
 •      Arthroscopy.
 •      Arthroplasty.
 •      Arthrotomy.
 •      Open or closed reduction of dislocations.
 Benefits for surgical services also include FDA-approved TMJ prosthetic replacements when all other
 treatment has failed.

 37.Therapeutic Treatments - Outpatient




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 Therapeutic treatments received on an outpatient basis at a Hospital or Alternate Facility or in a
 Physician's office, including:
 •     Dialysis (both hemodialysis and peritoneal dialysis).
 •     Intravenous chemotherapy or other intravenous infusion therapy.
 •     Radiation oncology.
 Covered Health Care Services include medical education services that are provided on an outpatient
 basis at a Hospital or Alternate Facility by appropriately licensed or registered health care professionals
 when both of the following are true:
 •     Education is required for a disease in which patient self-management is a part of treatment.
 •     There is a lack of knowledge regarding the disease which requires the help of a trained health
       professional.
 Benefits include:
 •     The facility charge and the charge for related supplies and equipment.
 •     Physician services for anesthesiologists, pathologists and radiologists. Benefits for other Physician
       services are described under Physician Fees for Surgical and Medical Services.

 38.Transplantation Services
 Organ and tissue transplants, including CAR-T cell therapy for malignancies, when ordered by a
 Physician. Benefits are available for transplants when the transplant meets the definition of a Covered
 Health Care Service, and is not an Experimental or Investigational Service.
 Examples of transplants for which Benefits are available include:
       Bone marrow, including CAR-T cell therapy for malignancies.
       Heart.
       Heart/lung.
       Lung.
       Kidney.
       Kidney/pancreas.
       Liver.
       Liver/small intestine.
 •     Pancreas.
 •     Small intestine.
 •     Cornea.
 Donor costs related to transplantation are Covered Health Care Services and are payable through the
 organ recipient's coverage under the Agreement, limited to donor:
 •     Identification.
 •     Evaluation.
 •     Organ removal.
 •     Direct follow-up care and complications.
 Non-Experimental/Non-Investigational autologous and allogeneic bone marrow and stem cell transplants
 and transplant services are covered when the recipient is a Member and the bone marrow or stem cell




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  services are performed at a Designated Provider. The testing of relatives to determine the compatibility of
  bone marrow and stem cells is limited to immediate blood relatives who are sisters, brothers, parents and
  natural children. The testing for compatible unrelated donors and costs for computerized national and
  international searches for unrelated allogeneic bone marrow or stem cell donors take place through a
  registry are covered when the Member is the intended recipient.
  All organ transplants must be Prior Authorized by UnitedHealthcare and performed in a Designated
  Provider.
 •       Transportation and other non-clinical expenses of the living donor are excluded and are the
         responsibility of the Member who is the recipient of the transplant.
 •       Food and housing expenses are not covered for any day a Member is not receiving Medically
         Necessary transplant services.
 •       Listing of the Member at a second Designated Provider is a covered benefit unless the Regional
        Organ Procurement Agency (the agency that obtains the organ) is the same for both facilities.
        Organ transplant listing is limited to two Designated Providers. If the Member is listed at two
        facilities, UnitedHealthcare will only cover the costs related to the transplant surgical procedure
        (includes donor surgical procedure and services) and post-transplant services at the facility where
        the transplant is performed. The Member is responsible for any duplicated diagnostic costs for a
        transplant review incurred at the second facility.
 •      Artificial heart implantation and non-human organ transplantation are considered Experimental and
        are therefore excluded. Please refer to the exclusion titled, Experimental or Investigational Services
        and to the Independent Medical Review process outlined in Section 6.
  Donor costs that are directly related to organ removal are Covered Health Care Services for which
  Benefits are payable through the organ recipient's coverage under the Agreement.
  You can call us at the telephone number on your ID card for information about our specific guidelines
  regarding Benefits for transplant services.

 39.Urgent Care
            _   Center_Services
 Covered Health Care Services received at an Urgent Care Center. When services to treat urgent health
 care needs are provided in a Physician's office, Benefits are available as described under Physician's
 Office Services - Sickness and Injury.

 40.Urinary Catheters
  Benefits for external, indwelling, and intermittent urinary catheters for incontinence or retention.
  Benefits include but not limited to:
 •      Incontinence garments or products (e.g. underwear, briefs, or diapers).
 •      Under pads (disposable or non-disposable).
 •      Gauze pads.
 •       Urinary drainage trays or insertion trays.
 •      Catheter care kits.
 •      Adhesive removers.
 •      Extension drainage tubing.
 •      Tubing sets.
 •      Drainage bags and bottles.
 •      Suspension supplies.




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  •      Leg straps.
 •       External clamps.
 •       Urethral inserts.
 •       Indwelling, Foley and intermittent catheters.
 •       External collection devices.
 •       Irrigation syringes and trays.
 •       Bulbs or pistons.
 •       Lubricant.
 •       Cleaners.
 •       Skin sealants.
 •      Sterile Individual packets.
 •       Waterproof and non-waterproof tape.
 •      Adhesive catheter skin attachment.

 41.Virtual Care Services
  Virtual care for Covered Health Care Services that includes the diagnosis and treatment of less serious
  medical conditions. Virtual care provides communication of medical information in real-time between the
  patient and a distant Physician or health specialist, outside of a medical facility (for example, from home
  or from work).
  Benefits are available only when services are delivered through a Designated Virtual Network Provider.
  You can find a Designated Virtual Network Provider by contacting us at www.myuhc.com or the telephone
  number on your ID card.
  Benefits are available for urgent, on-demand health care delivered through live audio with video or audio
  only technology for treatment of acute but non-emergency medical needs.
  Please Note: Not all medical conditions can be treated through virtual care. The Designated Virtual
  Network Provider will identify any condition for which treatment by in-person Physician contact is needed.
  Virtual Care Services will be covered on the same basis and to the same extent as Covered Health Care
  Services delivered in-person. The Co-insurance or Co-payment for Virtual Care Services received
  through a Designated Virtual Network Provider will accrue to any applicable Deductible and/or Out-of-
  Pocket Limit.
  Benefits do not include services that occur within medical facilities(CMS defined originating facilities).
  You have the ability to receive services on an in-person basis or via Telehealth, if available, from your
  Primary Care Physician, treating Specialist, or from another Network individual health professional, clinic,
  or health facility. If you are currently receiving specialty Telehealth services for a mental or behavioral
  health condition, you may continue receiving that service with a Network individual health professional,
  clinic, or facility.
  Prior to the delivery of Virtual Care Services, the Designated Virtual Network Provider shall verbally
  inform the Covered Person that Virtual Care Services may be used and obtain verbal consent from the
  Covered Person for this use. The verbal consent shall be documented in the Covered Person's medical
  record.
 The Covered Person has the right to access his or her medical records, and the record of any Virtual
 Care.
 Services provided by a Designated Virtual Network Provider shall be shared with the Covered Person's
 Primary Care Physician unless the Covered Person prohibits sharing his or her medical records.




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  42.Vision Exams
  Routine vision exams received from a health care provider in the provider's office. Routine vision exams
  include refraction to find vision impairment.
  Benefits for eye exams required for the diagnosis and treatment of a health condition are provided under
  Physician Office Services.

  Additional Benefits Required By California Law
  43.Abortion and Abortion Related Services
  Benefits for medical treatment for abortion and abortion related services intended to induce the
  termination of pregnancy except for the purpose of producing a live birth.

  44.Dental Anesthesia Services
  Anesthesia and associated facility charges for dental procedures provided in a Hospital or Outpatient
  surgery center are covered when:(a)the Member's clinical status or underlying medical condition
  requires use of an Outpatient surgery center or Inpatient setting for the provision of the anesthesia for a
  dental procedure(s) that ordinarily would not require anesthesia in a Hospital or Outpatient surgery center
  setting; and (b) one of the following criteria is met:
 •      The Member is under seven years of age;
 •      The Member is developmentally disabled, regardless of age; or
 •      The Member's health is compromised and general anesthesia is Medically Necessary, regardless
        of age.
  Services for the diagnosis or treatment of a dental disease are not Covered Health Care Services.

 45.Home Test Kits for Sexually Transmitted Diseases
  Benefits for home test kits for sexually transmitted diseases(STDs), including any laboratory costs for
  processing the kit, that are Medically Necessary or appropriate and ordered directly by a Network
  provider, or furnished through a standing order for patient use based on clinical guidelines and individual
  patient health needs.
 "Home test kit" means a product used for a test recommended by the federal Centers for Disease Control
 and Prevention guidelines or the United States Preventive Services Task Force that has been waived
 under the federal Clinical Laboratory Improvement Act(CLIA), FDA- cleared or approved, or developed
 by a laboratory in accordance with established regulations and quality standards, to allow individuals to
 self-collect specimens for STDs, including HIV, remotely at a location outside of a clinical setting.

 46.Mastectomy Services
  Coverage for mastectomies and lymph node dissections is provided in the same manner as other
  covered surgeries. The length of Hospital stay is determined by the attending Physician in consultation
  with the patient. We will not require the attending Physician to obtain prior approval of the length of the
  Hospital stay. The Agreement covers all complications from a mastectomy including lymphedema. The
  Agreement covers prosthetic devices and reconstructive surgery to restore and achieve symmetry for the
  patient, subject to the Agreement's deductible and Co-payment requirements.

 47.0ff-Label Drug Use and Experimental or Investigational Services
  Off-label drug use means that a Physician or provider has prescribed a drug approved by the Food and
  Drug Administration (FDA)for a use that is different than for which the FDA approved the drug. If a drug is
  prescribed for off-label drug use, the drug and administration will be a Covered Health Care Service only
  if it satisfies the following criteria:




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 •     The drug is approved by the FDA.
 •     The drug is prescribed by a Network Physician or provider for the treatment of a seriously
       debilitating or Life-Threatening condition.                                                •
 •     The drug is Medically Necessary to treat the medical condition.
 •     The drug must be recognized for treatment of the condition for which the drug is being prescribed
       by any of the following:(1) the American Hospital Formulary Service's Drug Information;(2) one of
       the following compendia, if recognized by the federal Centers for Medicare and Medicaid Services
       as part of an anticancer chemotherapeutic regimen: Elsevier Gold Standard's Clinical
       Pharmacology, National Comprehensive Cancer Network Drug and Biologics Compendium, or
       Thomson Micromedex DrugDex; or(3) it is recommended by two clinical studies or review articles
       in major peer reviewed professional journals that present data supporting the proposed off-label
       drug use or uses as generally safe and effective unless there is clear and convincing contradictory
       evidence presented in a major peer-reviewed medical journal. However, there is no coverage for
       any drug that the FDA or a major peer reviewed medical journal has determined to be
       contraindicated for the specific treatment for which the drug has been prescribed.
 Benefits for Experimental or Investigational Services are limited to the following:
 •     Clinical trials for which Benefits are available as described under Clinical Trials above.
 •     If you are not a participant in a qualifying clinical trial, as described under Clinical Trials above, and
       have a health condition that is likely to cause death within one year of the request for treatment, we
       may consider an otherwise Experimental or Investigational Service to be a Covered Health Care
       Service for that health condition. Prior to such a consideration, we must first establish that the
       Member has a life-threatening or seriously debilitating condition, and there is sufficient evidence to
       conclude that, even though unproven, the service has significant potential as an effective treatment
       for that health condition.
 Nothing in this section shall prohibit us from use of a formulary, Co-payments or Co-insurance, and or the
 use of a technology assessment panel or similar mechanism as a means for appropriately controlling the
 utilization of a drug that is prescribed for a use that is different than the use for which the drug has been
 approved for marketing by the FDA. Benefits will also include Medically Necessary Covered Health Care
 Services associated with the administration of a drug subject to the conditions of this Agreement.
 If Benefits are denied as an Experimental, Investigational Service, the Covered Person may appeal the
 decision through independent external medical review as described under Denial of Experimental,
 Investigational Services in Section 6: Questions, Complaints and Appeals. You may also call the
 telephone number on your ID card.

 48.Osteoporosis Services
 Services related to diagnosis, treatment, and appropriate management of osteoporosis. Services include,
 but are not limited to, all FDA- approved technologies and bone mass measurement.(Benefits for
 osteoporosis screening are described under Preventive Care Services.)

 49.Specialized Footwear
 Specialized footwear needed as a result of foot disfigurement caused by any of the following:
 •     Cerebral palsy.
 •     Arthritis.
 •     Polio.
 •     Spina bifida.
 •     Developmental disability.




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  50.Telehealth Services
  Benefits are available for applicable Covered Health Care Services received through Telehealth. Benefits
  are also provided for Remote Physiologic Monitoring. No in-person contact is required between a licensed
  health care provider and a Covered Person for Covered Health Care Services appropriately provided
  through Telehealth, subject to all terms and conditions of the Agreement.
  Prior tolhe delivery of Covered Health Care Services via Telehealth, the health care provider at the
  originating site shall verbally inform the Covered Person that Telehealth may be used and obtain verbal
  consent from the Covered Person for this use. The verbal consent shall be documented in the Covered
  Person's medical record.
  We shall not require the use of Telehealth services when the health care provider has determined that it
  is not appropriate. The appropriate use of Telehealth services is determined by the treating Physician
  pursuant to his or her agreement with us.
  Telehealth does not replace the in-person diagnosis, consultation or treatment with your Primary Care
  Physician, treating Specialist or other health care Provider. Telehealth will be covered on the same basis
  and to the same extent as Covered Health Care Services delivered in-person. Telehealth services will
  also be subject to the same Deductible and/or Out-of-Pocket Limit as equivalent Covered Health Care
  Services delivered in person.




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                   Section 2: Exclusions and Limitations
  How Do We Use Headings in this Section?
  To help you find exclusions, we use headings (for example A. Alternative Treatments below). The
  headings group services, treatments, items, or supplies that fall into a similar category. Exclusions appear
  under the headings. A heading does not create, define, change, limit or expand an exclusion. All
  exclusions in this section apply to you.

  We Do Not Pay Benefits for Exclusions
  We will not pay Benefits for any of the services, treatments, items or supplies described in this section,
  even if either of the following is true:
 •     It is recommended or prescribed by a Physician.
 •       It is the only available treatment for your condition.
  The services, treatments, items or supplies listed in this section are not Covered Health Care Services,
  except as may be specifically provided for in Section 1: Covered Health Care Services or through a Rider
  to the Agreement.

  Where Are Benefit Limitations Shown?
  When Benefits are limited within any of the Covered Health Care Service categories described in Section
  1: Covered Health Care Services, those limits are stated in the corresponding Covered Health Care
  Service category in the Schedule of Benefits. Limits may also apply to some Covered Health Care
  Services that fall under more than one Covered Health Care Service category. When this occurs, those
  limits are also stated in the Schedule of Benefits table. Please review all limits carefully, as we will not pay
  Benefits for any of the services, treatments, items or supplies that exceed these Benefit limits.
  Please note that in listing services or examples, when we say "this includes," it is not our intent to
  limit the description to that specific list. When we do intend to limit a list of services or examples,
  we state specifically that the list "is limited to."

  A. Alternative Treatments
  1.    Acupressure.
  2.    Aromatherapy.
  3.     Hypnotism.
  4.    Massage therapy. This exclusion does not apply to Covered Health Care Services provided for
        therapy services that are part of a physical therapy treatment plan for which Benefits are provided
        as described under Home Health Care, Hospice Care, Rehabilitation Services - Outpatient Therapy
        and Manipulative Treatment or Habilitative Services and Manipulative Treatment in Section 1:
        Covered Health Care Services.
  5.    Rolfing.

  B. Dental
  The exclusions below do not apply to pertinent services for which Benefits are provided as described
  under Covered Dental Services in Section 10: Pediatric Dental Services of this Agreement.
  1.    Dental care (which includes dental X-rays, supplies and appliances and all related expenses,
        including hospitalizations and anesthesia).
        This exclusion does not apply to general anesthesia and associated Hospital or Alternate Facility
        charges for which Benefits are provided as described under Dental Anesthesia Services in Section
        1: Covered Health Care Services.




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       This exclusion does not apply to accident-related dental services for which Benefits are provided as
       described under Dental Services - Accident Only in Section 1: Covered Health Care Services.
       This exclusion does not apply to dental care (oral exam, X-rays, extractions and non-surgical
       elimination of oral infection) required for the direct treatment of a medical condition for which
       Benefits are available under the Agreement, limited to:
       •     Transplant preparation.
       •      Prior to the initiation of immunosuppressive drugs.
       •     The direct treatment of acute traumatic Injury, cancer or cleft palate.
       Dental care that is required to treat the effects of a medical condition, but that is not necessary to
       directly treat the medical condition, is excluded. Examples include treatment of tooth decay or
       cavities resulting from dry mouth after radiation treatment or as a result of medication.
       Endodontics, periodontal surgery and restorative treatment are excluded.
 2.    Preventive care, diagnosis, treatment of or related to the teeth,jawbones or gums except as
       described under Dental Anesthesia in Section 1: Covered Health Care Services. Examples include:
       •     Removal, restoration and replacement of teeth.
      •      Medical or surgical treatments of dental conditions.
      •      Services to improve dental clinical outcomes.
       This exclusion does not apply to preventive care for which Benefits are provided under the United
       States Preventive Services Task Force requirement or the Health Resources and Services
       Administration (HRSA)requirement. This exclusion also does not apply to accident-related dental
       services for which Benefits are provided as described under Dental Services - Accident Only in
       Section 1: Covered Health Care Services.
 3.    Dental implants, bone grafts and other implant-related procedures except as described under
       Dental Anesthesia in Section 1: Covered Health Care Services. This exclusion does not apply to
       accident-related dental services for which Benefits are provided as described under Dental
       Services - Accident Only in Section 1: Covered Health Care Services.
 4.    Dental braces (orthodontics). This exclusion does not apply to orthodontic services that are an
       integral part of reconstructive surgery for cleft palate procedures as described under
       Reconstructive Procedures in Section 1: Covered Health Care Services.
 5.    Treatment of congenitally missing, malpositioned or supernumerary teeth, even if part of a
       Congenital Anomaly. This exclusion does not apply to orthodontic services that are an integral part
       of reconstructive surgery for cleft palate procedures as described under Reconstructive Procedures
       in Section 1: Covered Health Care Services.

 C. Devices, Appliances and Prosthetics
 1.    Devices used as safety items or to help performance in sports-related activities.
 2.    Orthotic appliances that straighten or re-shape a body part. Examples include foot orthotics and
       some types of braces, including over-the-counter orthotic braces. This exclusion does not apply to
       cranial molding helmets and cranial banding that meet clinical criteria. This exclusion does not
       apply to braces for which Benefits are provided as described under Durable Medical Equipment
      (DME), Orthotics and Supplies and Specialized Footwear in Section 1: Covered Health Care
       Services.
 3.    The following items are excluded, even if prescribed by a Physician:
      •      Blood pressure cuff/monitor.
             Enuresis alarm.




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       •      Non-wearable external defibrillator.
       •      Trusses.
       •      Ultrasonic nebulizers.
  4.   Devices and computers to help in communication and speech except for dedicated speech
       generating devices and tracheo-esophageal voice devices for which Benefits are provided as
       described under Durable Medical Equipment(DME), Orthotics and Supplies in Section 1: Covered
       Health Care Services.
  5.    Oral appliances for snoring.
 6.    Repair or replacement of prosthetic devices due to misuse, malicious damage or gross neglect or
       to replace lost or stolen items.
  7.   Diagnostic or monitoring equipment purchased for home use, unless otherwise described as a
       Covered Health Care Service.
  8.   Powered and non-powered exoskeleton devices.

  D. Drugs
  1.   Prescription drug products for outpatient use that are filled by a prescription order or refill.
  2.   Self-administered or self-infused medications. This exclusion does not apply to medications which,
       due to their traits (as determined by us), must typically be administered or directly supervised by a
       q ualified provider or licensed/certified health professional in an outpatient setting. This exclusion
       does not apply to certain hemophilia treatment centers that are contracted with a specific
       hemophilia treatment center fee schedule that allows medications used to treat bleeding disorders
       to be dispensed directly to Covered Persons for self-administration.
  3.   Non-injectable medications given in a Physician's office. This exclusion does not apply to non-
       injectable medications that are required in an Emergency and used while in the Physician's office.
 4.    Over-the-counter drugs and treatments.
  5.   Growth hormone therapy.
 6.    Certain New Pharmaceutical Products and/or new dosage forms until the date as determined by us
       or our designee, but no later than December 31st of the following calendar year.
       This exclusion does not apply if you have a life-threatening Sickness or condition (one that is likely
       to cause death within one year of the request for treatment). If you have a life-threatening Sickness
       or condition, under such circumstances, Benefits may be available for the New Pharmaceutical
       Product to the extent provided in Section 1: Covered Health Care Services.
 7.    A Pharmaceutical Product that contains (an) active ingredient(s) available in and therapeutically
       equivalent(having essentially the same efficacy and adverse effect profile) to another covered
       Pharmaceutical Product. Such determinations may be made up to six times during a calendar year.
 8.    A Pharmaceutical Product that contains (an) active ingredient(s) which is (are) a modified version
       of and therapeutically equivalent(having essentially the same efficacy and adverse effect profile) to
       another covered Pharmaceutical Product. Such determinations may be made up to six times during
       a calendar year.
 9.     A Pharmaceutical Product with an approved biosimilar or a biosimilar and therapeutically
       equivalent(having essentially the same efficacy and adverse effect profile) to another covered
       Pharmaceutical Product. For the purpose of this exclusion a "biosimilar" is a biological
       Pharmaceutical Product approved based on showing that it is highly similar to a reference product
       (a biological Pharmaceutical Product) and has no clinically meaningful differences in terms of
       safety and effectiveness from the reference product. Such determinations may be made up to six
       times per calendar year.




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  10.   Certain Pharmaceutical Products for which there are therapeutically equivalent(having essentially
        the same efficacy and adverse effect profile) alternatives available, unless otherwise required by
        law or approved by us. Such determinations may be made up to six times during a calendar year.
  11.    Certain Pharmaceutical Products that have not been prescribed by a Specialist.
  12.   Compounded drugs that contain certain bulk chemicals. Compounded drugs that are available as a
        similar commercially available Pharmaceutical Product.

  E. Experimental or Investigational Services
  Experimental or Investigational Services and all services related to Experimental, or Investigational
  Services are excluded. The fact that an Experimental or Investigational Service, treatment, device or
  pharmacological regimen is the only available treatment for a particular condition will not result in Benefits
  if the procedure is considered to be Experimental or Investigational in the treatment of that particular
  condition.
  This exclusion does not apply to Covered Health Care Services provided during a clinical trial for which
  Benefits are provided as described under Clinical Trials in Section 1: Covered Health Care Services and
  Off-Label Drug Use and Experimental and Investigational Service in Section 1: Covered Health Care
  Services.

  F. Foot Care
  1.    Routine foot care. Examples include:
        •      Cutting or removal of corns and calluses.
        •      Nail trimming, nail cutting, or nail debridement.
        •      Hygienic and preventive maintenance foot care including cleaning and soaking the feet and
               applying skin creams in order to maintain skin tone.
        This exclusion does not apply to preventive foot care due to conditions associated with metabolic,
        neurologic, or peripheral vascular disease.
  2.    Shoes. This exclusion does not apply to shoes for which Benefits are provided as described under
        Specialized Footwear in Section 1: Covered Health Care Services.
  3.    Shoe orthotics. This exclusion does not apply to shoes for which Benefits are provided as
        described under Specialized Footwear in Section 1: Covered Health Care Services and under
        Durable Medical Equipment(DME), Orthotics and Supplies in Section 1: Covered Health Care
        Services.
  4.    Shoe inserts. This exclusion does not apply to shoes for which Benefits are provided as described
        under Specialized Footwear in Section 1: Covered Health Care Services and under Durable
        Medical Equipment(DME), Orthotics and Supplies in Section 1: Covered Health Care Services.
  5.    Arch supports. This exclusion does not apply to shoes for which Benefits are provided as described
        under Specialized Footwear in Section 1: Covered Health Care Services and under Durable
        Medical Equipment(DME), Orthotics and Supplies in Section 1: Covered Health Care Services.

  G. Medical Supplies and Equipment
  1.    Prescribed or non-prescribed medical supplies and disposable supplies. Examples include:
        •      Ace bandages.
        •      Gauze and dressings.
        This exclusion does not apply to:
        •      Disposable supplies necessary for the effective use of DME enteral pumps and supplies or
               prosthetic devices for which Benefits are provided as described under Durable Medical




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               Equipment(DME), Orthotics and Supplies and Prosthetic Devices in Section 1: Covered
               Health Care Services. This exception does not apply to supplies for the administration of
               medical food products.
        •      Diabetic supplies for which Benefits are provided as described under Diabetes Services in
               Section 1: Covered Health Care Services.
        •      Ostomy supplies for which Benefits are provided as described under Ostomy Supplies in
               Section 1: Covered Health Care Services.
  2.    Tubings and masks except when used with DME, as described under Durable Medical Equipment
       (DME), Orthotics and Supplies in Section 1: Covered Health Care Services.
  3.    Prescribed or non-prescribed publicly available devices, software applications and/or monitors that
        can be used for non-medical purposes.
 4.      Repair or replacement of DME or orthotics due to misuse, malicious damage or gross neglect or to
         replace lost or stolen items.

  H. Mental Health Care and Substance-Related and Addictive Disorders
  In addition to all other exclusions listed in this Section 2: Exclusions and Limitations, the exclusions listed
  directly below apply to services described under Mental Health Care and Substance-Related and
  Addictive Disorders Services in Section 1: Covered Health Care Services.
  1.    Services performed in connection with conditions not classified in the current edition of the
        International Classification of Diseases section on Mental and Behavioral Disorders or Diagnostic
        and Statistical Manual of the American Psychiatric Association.
 2.     Services that are not Medically Necessary and are solely educational in nature or otherwise paid
        under state or federal law for purely educational purposes.
 3.     Tuition for or services that are school-based for children and adolescents under the Individuals with
        Disabilities Education Act that are not Medically Necessary. This exclusion will not affect or reduce
        any obligation to provide services for Autism Spectrum Disorders as required by California law.

  I. Nutrition
  1.   Individual and group nutritional counseling, including non-specific disease nutritional education
        such as general good eating habits, calorie control or dietary preferences. This exclusion does not
        apply to preventive care for which Benefits are provided under the United States Preventive
        Services Task Force requirement. This exclusion also does not apply to medical or
        behavioral/mental health related nutritional education services that are provided as part of
        treatment for a disease by appropriately licensed or registered health care professionals when both
        of the following are true:
        •      Nutritional education is required for a disease in which patient self-management is a part of
               treatment.
        •      There is a lack of knowledge regarding the disease which requires the help of a trained
               health professional.
 2.     Food of any kind including modified food products such as low protein and low carbohydrate;
        enteral formula except as described under Enteral Nutrition in Section 1: Covered Health Care
        Services (including when administered using a pump), infant formula, and donor breast milk. This
        exclusion does not apply when Medically Necessary for the treatment of Mental Health and
        Substance Use Disorders.
 3.     Nutritional or cosmetic therapy using high dose or mega quantities of vitamins, minerals or
        elements and other nutrition-based therapy. Examples include supplements and electrolytes except
        as described under Enteral Nutrition in Section 1: Covered Health Services. This exclusion does




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       not apply when Medically Necessary for the treatment of Mental Health and Substance Use
       Disorders.

  J. Personal Care, Comfort or Convenience
  1.   Television.
  2.   Telephone.
  3.   Beauty/barber service.
 4.    Guest service.
  5.   Supplies, equipment and similar incidental services and supplies for personal comfort. Examples
       include:
       •     Air conditioners, air purifiers and filters and dehumidifiers.
       •     Batteries and battery chargers. This exclusion does not apply to batteries for home blood
             glucose monitors and infusion pumps as described under Durable Medical Equipment in
             Section 1: Covered Health Care Services.
       •     Breast pumps. This exclusion does not apply to breast pumps for which Benefits are
             provided under the Health Resources and Sen./ices Administration (HRSA)requirement.
       •     Car seats.
       •     Chairs, bath chairs, feeding chairs, toddler chairs, chair lifts and recliners.
       •     Exercise equipment.
       •     Home modifications such as elevators, handrails and ramps.
       •     Hot and cold compresses.
       •     Hot tubs.
       •     Humidifiers.
       •     Jacuzzis.
       •     Mattresses.
       •     Medical alert systems.
       •     Motorized beds.
       •     Music devices.
       •     Personal computers.
       •     Pillows.
       •     Power-operated vehicles.
       •     Radios.
       •     Saunas.
             Stair lifts and stair glides.
            Strollers.
            Safety equipment.
             Treadmills.
             Vehicle modifications such as van lifts.
             Video players.




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       •     Whirlpools.

  K. Physical Appearance
  1.   Cosmetic Procedures. See the definition in Section 9: Defined Terms. Examples include:
       •     Pharmacological regimens, nutritional procedures or treatments.
       •     Scar or tattoo removal or revision procedures (such as salabrasion, chemosurgery and other
             such skin abrasion procedures).
       •     Skin abrasion procedures performed as a treatment for acne.
       •     Liposuction or removal of fat deposits considered undesirable, including fat accumulation
             under the male breast and nipple. This exclusion does not apply to liposuction for which
             Benefits are provided as described under Reconstructive Procedures in Section 1: Covered
             Health Care Services.
       •     Treatment for skin wrinkles or any treatment to improve the appearance of the skin.
       •     Treatment for spider veins except if Medically Necessary.
       •     Sclerotherapy treatment of veins except if Medically Necessary.
       •     Hair removal or replacement by any means, except for hair removal as part of genital
             reconstruction prescribed by a Physician for the treatment of gender dysphoria.
  2.   Replacement of an existing breast implant if the earlier breast implant was performed as a
       Cosmetic Procedure; however, Medically Necessary services related to complications for a non-
       covered Cosmetic Procedure are covered. Note: Replacement of an existing breast implant is
       considered reconstructive if the first breast implant followed mastectomy. See Reconstructive
       Procedures in Section 1: Covered Health Care Services.
  3.   Treatment of benign gynecomastia (abnormal breast enlargement in males).
  4.   Physical conditioning programs such as athletic training, body-building, exercise, fitness, or
       flexibility except when such exercise programs are part of an authorized treatment plan and.require
       the supervision of a licensed physical therapist, and are provided by an authorized provider acting
       within his or her license or as authorized under California law.
  5.   Weight loss programs whether or not they are under medical supervision. Weight loss programs for
       medical reasons are also excluded except as described under Obesity-Weight Loss Surgery in
       Section 1: Covered Health Care Services or when Medically Necessary for the treatment of Mental
       Health and Substance Use Disorders.
 6.    Wigs regardless of the reason for the hair loss.

  L. Procedures and Treatments
  1.   Removal of hanging skin on any part of the body. Examples include plastic surgery procedures
       called abdominoplasty and brachioplasty.
 2.    Medical and surgical treatment of excessive sweating (hyperhidrosis).
  3.   Medical and surgical treatment for snoring, except when provided as a part of treatment for
       documented obstructive sleep apnea.
 4.    Rehabilitation services and Manipulative Treatment to improve general physical conditions that are
       provided to reduce potential risk factors, where improvement is not expected, including routine,
       long-term or maintenance/preventive treatment.
  5.   Rehabilitation services for speech therapy that is not medically necessary, and not part of an
       approved treatment plan, and not provided by or under the direct supervision of Network provider




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          acting within the scope of his or her license under California law that is intended to address speech
          impairments.
  6.      Physiological treatments and procedures that result in the same therapeutic effects when
          performed on the same body region during the same visit or office encounter.
  7.      Biofeedback, except when Medically Necessary for the treatment of Mental Health and Substance
          Use Disorders, urinary incontinence, fecal incontinence or constipation for Member with organic
          neuromuscular impairment and part of an authorized treatment plan.
  8.      Upper and lower jawbone surgery, orthognathic surgery, and jaw alignment. This exclusion does
          not apply to reconstructive jaw surgery when there is a facial skeletal abnormality and associated
          functional medical impairment. This exclusion does not apply to Medically Necessary services
          described in Reconstructive Procedures and Temporomandibular Joint(TMJ) Services under
          Section 1: Covered Health Care Services.
  9.     Stand-alone multi-disciplinary tobacco cessation programs. These are programs that usually
         include health care providers specializing in tobacco cessation and may include a psychologist,
         social worker or other licensed or certified professionals. The programs usually include intensive
         psychological support, behavior modification techniques and medications to control cravings. This
         exclusion does not apply to health education counseling programs and materials, including
         programs for tobacco cessation, as described under Other Health Education Services for You in
         the section of the Combined Evidence of Coverage and Disclosure Form titled Our Responsibilities.
         This exclusion does not apply to counseling and interventions to prevent tobacco use and tobacco-
         related disease in adults and pregnant women counseling and interventions as described under
         Preventive Care Services in Section 1: Covered Health Care Services or when Medically
         Necessary for the treatment of Mental Health and Substance Use Disorders.
  10.     Helicobacter pylori (H. pylon) serologic testing except Medically Necessary consistent with
          professional practice.
  1 1.    Intracellular micronutrient testing.

  M. Providers
  1.     Services performed by a provider who is a family member by birth or marriage. Examples include a
         spouse, brother, sister, parent or child. This includes any service the provider may perform on
         himself or herself.
  2.      Services performed by a provider with your same legal address.
  3.     Services provided at a Freestanding Facility or diagnostic Hospital-based Facility without an order
         written by a Physician or other provider. Services which are self-directed to a Freestanding Facility
         or diagnostic Hospital-based Facility. Services ordered by a Physician or other provider who is an
         employee or representative of a Freestanding Facility or diagnostic Hospital-based Facility, when
         that Physician or other provider:
         •      Has not been involved in your medical care prior to ordering the service, or
         •      Is not involved in your medical care after the service is received.
         This exclusion does not apply to mammography.

  N. Reproduction
  1.      Health care services and related expenses for infertility treatments, including assisted reproductive
          technology, regardless of the reason for the treatment. This exclusion does not apply to Benefits as
          described under Fertility Preservation for latrogenic Infertility and Preimplantation Genetic Testing
         (PGT)and Related Services in Section 1: Covered Health Care Services.
  2.     The following services related to a Gestational Carrier or Surrogate:
         •      All costs related to reproductive techniques including:




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              •       Assisted reproductive technology.
              •       Artificial insemination.
              •       Intrauterine insemination.
              •       Obtaining and transferring embryo(s).
              •       Preimplantation Genetic Testing (PGT)and related services.
       •       Health care services including:
              •       Inpatient or outpatient prenatal care and/or preventive care.
              •       Screenings and/or diagnostic testing.
              •       Delivery and post-natal care.
               The exclusion for the health care services listed above does not apply when the Gestational
               Carrier or Surrogate is a Covered Person.
       •       All fees including:
              •      Screening, hiring and compensation of a Gestational Carrier or Surrogate including
                     surrogacy agency fees.
              •      Surrogate insurance premiums.
              •      Travel or transportation fees.
  3.    Costs of donor eggs and donor sperm.
 4.     Storage and retrieval of all reproductive materials. Examples include eggs, sperm, testicular tissue
        and ovarian tissue. This exclusion does not apply to short-term storage (less than one year) and
        retrieval of reproductive materials for which Benefits are provided as described under Fertility
        Preservation for latrogenic Infertility and Preimplantation Genetic Testing(PGT)and Related
        Services in Section 1: Covered Health Care Services.
  5.    The reversal of voluntary sterilization and voluntary sterilization.
 6.     Contraceptive supplies and services.
 7.     In vitro fertilization regardless of the reason for treatment. This exclusion does not apply to invitro
        fertilization for which Benefits are provided as described under Preimplantation Genetic Testing
       (PGT)and Related Services in Section 1: Covered Health Care Services.

 0. Services Provided under another Plan
  1.    Health care services for treatment of military service-related disabilities, when you are legally
        entitled to other coverage and facilities are reasonably available to you.
 2.     Health care services during active military duty.

 P. Transplants
  1.   If deemed experimental, health care services connected with the removal of an organ or tissue
       from you for purposes of a transplant to another person.(Donor costs that are directly related to
       organ removal are payable for a transplant through the organ recipient's Benefits under the
       Agreement.)
 2.     Health care services for transplants involving animal organs.
 3.    Transplant services not received from a Designated Provider. This exclusion does not apply to
       cornea transplants.




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  Q. Travel
  1.    Health care services provided in a foreign country, unless required as Emergency Health Care
        Services to treat Emergency Medical Condition or Urgent.
  2.    Travel or transportation expenses, even though prescribed by a Physician. Some travel expenses
        related to Covered Health Care Services received from a Designated Provider or other Network
        provider may be paid back as determined by us. This exclusion does not apply to ambulance
        transportation for which Benefits are provided as described under Ambulance Services in Section
        1: Covered Health Care Services. Also, the exclusion does not apply to qualified transportation
        costs as described under the Benefit Interpretation Policy Manual as to transportation relating to
        Gender Dysphoria at www.myuhc.com.

  R. Types of Care
  1.    Multi-disciplinary pain management programs provided on an inpatient basis for sharp, sudden
        pain or for worsened long term pain.
  2.    Custodial Care or maintenance care.
  3.    Domiciliary care.
  4.    Private Duty Nursing.
  5..   Respite care. This exclusion does not apply to respite care for which Benefits are provided as
        described under Hospice Care in Section 1: Covered Health Care Services.
 6.     Rest cures.
  7.    Services of personal care aides. This exclusion does not apply to Hospice care for which Benefits
        are provided as described under Hospice Care in Section 1: Covered Health Care Services.
  8.    Work hardening (treatment programs designed to return a person to work or to prepare a person
        for specific work).

  S. Vision and Hearing
  1.   Cost and fitting charge for eyeglasses and contact lenses. This exclusion does not apply to special
        contact lenses for aniridia and aphakia for which Benefits are provided as described under Vision
        Examinations in Section 1: Covered Health Care Services. This exclusion also does not apply to
        Vision Care Services for Covered Persons under the age of 19 for which Benefits are provided as
        described in Section 11: Pediatric Vision Care Services.
 2.     Implantable lenses used only to fix a refractive error (such as Intacs corneal implants).
 3.     Surgery that is intended to allow you to see better without glasses or other vision correction.
        Examples include radial keratotomy, laser and other refractive eye surgery.
 4.     Bone anchored hearing aids except when either of the following applies:
        •     You have craniofacial anomalies whose abnormal or absent ear canals prevent the use of a
              wearable hearing aid.
        •     You have hearing loss of sufficient severity that it would not be remedied enough by a
              wearable hearing aid.
        More than one bone anchored hearing aid per Covered Person who meets the above coverage
        criteria during the entire period of time you are enrolled under the Agreement.
        Repairs and/or replacement for a bone anchored hearing aid when you meet the above coverage
        criteria, other than for malfunctions.




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  T. All Other Exclusions
  1.   Health care services and supplies that do not meet the definition of a Covered Health Care Service.
        Covered Health Care Services are those health services, including services, supplies, or
        Pharmaceutical Products, which meet the following:
              •      Provided for the purpose of preventing, evaluating, diagnosing or treating a Sickness,
                     Injury, Mental Illness, substance-related and addictive disorders, condition, disease or
                     its symptoms.
              •      Medically Necessary.
              •      Described as a Covered Health Care Service in this Combined Evidence of Coverage
                     and Disclosure Form under Section 1: Covered Health Care Services and in the
                     Schedule of Benefits.
              •      Not otherwise excluded in this Combined Evidence of Coverage and Disclosure Form
                     under Section 2: Exclusions and Limitations.
              •      As otherwise required to be covered under the law.
 2.     Physical, psychiatric or psychological exams, testing, all forms of vaccinations and immunizations
        or treatments that are otherwise covered under the Agreement when:
       •      Required only for school, sports or camp, travel, career or employment, insurance, marriage
              or adoption.
       •      Related to judicial or administrative proceedings or orders. This exclusion does not apply to
              services that are determined to be Medically Necessary.
       •      Conducted for purposes of medical research. This exclusion does not apply to Covered
              Health Care Services provided during a clinical trial for which Benefits are provided as
              described under Clinical Trials in Section 1: Covered Health Care Services.
       •      Required to get or maintain a license of any type.
 3.     Health care services received after the date your coverage under the Agreement ends. This applies
        to all health care services, even if the health care service is required to treat a medical condition
        that started before the date your coverage under the Agreement ended.
 4.     Health care services the Member receives from a local, state or federal government agency except
        when coverage under this health plan is expressly required by federal or state law.
 5.     Charges in excess of the Allowed Amount or in excess of any specified limitation.
 6.     Long term (more than 30 days) storage. Examples include cryopreservation of tissue, blood and
        blood products.
 7.     Autopsy.
 8.     Foreign language and sign language interpretation services offered by or required to be provided
        by a Network or out-of-Network provider. This exclusion does not apply to interpretive services
        available in UnitedHealthcare Benefits Plan of California's language assistance program as
        required by California law.
 9.     Health care services related to a non-Covered Health Care Service: When a service is not a
        Covered Health Care Service, all services related to that non-Covered Health Care Service are
        also excluded. This exclusion does not apply to services we would otherwise determine to be
        Covered Health Care Services if the service treats complications that arise from the non-Covered
        Health Care Service.
        For the purpose of this exclusion, a "complication" is an unexpected or unanticipated condition that
        is superimposed on an existing disease and that affects or modifies the prognosis of the original
        disease or condition. Examples of a "complication" are bleeding or infections, following a Cosmetic
        Procedure, that require hospitalization.




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  10.   Health care services from an out-of-Network provider for non-emergent, sub-acute inpatient, or
        outpatient services at any of the following non-Hospital facilities: Alternate Facility, Freestanding
        Facility, Residential Treatment Facility, Inpatient Rehabilitation Facility, and Skilled Nursing Facility
        received outside of the Covered Person's state of residence. For the purpose of this exclusion the
        "state of residence" is the state where the Covered Person is a legal resident, plus any
        geographically bordering adjacent state or, for a Covered Person who is a student, the state where
        they attend school during the school year. This exclusion does not apply in the case of an
        Emergency or if authorization hasteen obtained in advance




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                      Section 3: When Coverage Begins
  How Do You Enroll?
  Eligible Persons must complete an enrollment form given to them by the Group. The Group will submit the
  completed forms to us, along with any required Premium. We will not provide Benefits for health care
  services that you receive before your effective date of coverage. Please refer to your employer Group for
  more information about contribution and amounts.

  What If You Are Hospitalized When Your Coverage Begins?
  We will pay Benefits for Covered Health Care Services when all of the following apply:
 •      You are an inpatient in a Hospital, Skilled Nursing Facility or Inpatient Rehabilitation Facility on the
        day your coverage begins.
 •      You receive Covered Health Care Services on or after your first day of coverage related to that
        Inpatient Stay.
 •      You receive Covered Health Care Services in accordance with the terms of the Agreement.
  These Benefits are subject to your previous carrier's obligations under state law or contract.
  You should notify us of your hospitalization within 48 hours of the day your coverage begins, or as soon
  as reasonably possible. For plans that have a Network Benefit level, Network Benefits are available only if
  you receive Covered Health Care Services from Network providers.

  What If You Are Eligible for Medicare?
  If you are a COBRA qualified beneficiary, retiree or have end state renal disease beyond 30 months, or in
  a situation when Medicare would pay first, your Benefits may be reduced if you are eligible for Medicare
  but do not enroll in Part B.
  Your Benefits may also be reduced if you are enrolled in a Medicare Advantage (Medicare Part C) plan
  but do not follow the rules of that plan. You should seek advice about whether you should enroll in
  Medicare Part B. Please see How Are Benefits Paid When You Are Medicare Eligible? in Section 8:
  General Legal Provisions for more information about how Medicare may affect your Benefits.

  Who Is Eligible for Coverage?
  Eligibility for enrollment is administered by the Group consistent with the Policy which includes this
  Combined Evidence of Coverage and Disclosure Form and Group Application.

  Eligible Person
  Eligible Person usually refers to an employee or Member of the Group who meets the eligibility rules.
  When an Eligible Person enrolls, we refer to that person as a Subscriber. For a complete definition of
  Eligible Person, Group and Subscriber, see Section 9: Defined Terms.
  Eligible Persons must live within the United States.

  Dependent
 Dependent generally refers to the Subscriber's spouse and children. When a Dependent enrolls, we refer
 to that person as an Enrolled Dependent. For a complete definition of Dependent and Enrolled
 Dependent, see Section 9: Defined Terms.
 Dependents of an Eligible Person may not enroll unless the Eligible Person is also covered under the
 Agreement.




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  When Do You Enroll and When Does Coverage Begin?
  Except as described below, Eligible Persons may not enroll themselves or their Dependents.

  Initial Enrollment Period
  When the Group purchases coverage under the Agreement from us, the Initial Enrollment Period is the
  first period of time when Eligible Persons can enroll themselves and their Dependents.
  Coverage begins on the date shown in the Agreement. We must receive the completed enrollment form
  and any required Premium within 31 days of the date the Eligible Person becomes eligible.

  Open Enrollment Period
 The Group sets the Open Enrollment Period. During the Open Enrollment Period, Eligible Persons can
 enroll themselves and their Dependents. An Open Enrollment Period extends from November 1, of the
 preceding calendar year, to January 31 of the benefit year, inclusive, and enrollment is effective based on
 a date agreed upon by the employer and United Healthcare.
 Coverage begins on the date identified by the Group. We must receive the completed enrollment form
 and any required Premium within 31 days of the date the Eligible Person becomes eligible.

  New Eligible Persons
 Coverage for a new Eligible Person and his or her Dependents begins on the date agreed to by the
 Group in accordance with the eligibility rules. We must receive the completed enrollment form and any
 required Premium within 31 days of the date the new Eligible Person first becomes eligible.

  Adding New Dependents
 Subscribers may enroll Dependents who join their family because of any of the following events:
 •      Birth.
 •      Legal adoption.
 •      Placement for adoption.
 •      Marriage.
 •      Legal guardianship.
 •      Court or administrative order.
 •      Registering a Domestic Partner.
 All newborn Dependent children of the Subscriber are covered from the moment of birth. All newly
 adopted Dependent children of the Subscriber are covered from and after the date on which the adoptive
 child's birth parent or other appropriate legal authority signs a written document, including, but not limited
 to, a health facility minor release report, a medical authorization form, or a relinquishment form, granting
 the subscriber or spouse the right to control health care for.the adoptive child or, absent this written
 document, on the date there exists evidence of the subscriber's or spouse's right to control the health
 care of the child placed for adoption. However, the Subscriber must complete an enrollment form for all
 newborn and all newly adopted Dependent children within 60 days of the event.
 Coverage for the Dependent begins on the date of the event. We must receive the completed enrollment
 form within 60 days of the event.

 Special Enrollment Period
 An Eligible Person and/or Dependent may also be able to enroll during a special enrollment period. A
 special enrollment period is not available to an Eligible Person and his or her Dependents if coverage
 under the prior plan ended for cause, or because premiums were not paid on a timely basis.




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  An Eligible Person and/or Dependent does not need to elect COBRA continuation coverage to preserve
  special enrollment rights. Special enrollment is available to an Eligible Person and/or Dependent even if
  COBRA is not elected.
  A special enrollment period applies to an Eligible Person and any Dependents when one of the following
  events occurs:
 •      Birth.
 •      Legal adoption.
 •      Placement for adoption.
 •      Marriage.
 •      Registering a Domestic Partner.
 •      Assumption of a parent-child relationship or guardianship.

  Late Enrollment
  In addition to a special enrollment period there are circumstances when an Eligible Person and/or
  Dependent who did not enroll during the Initial Enrollment Period or Open Enrollment Period may enroll if:
 •      The Eligible Employee (on his or her own behalf, or on behalf of any eligible Family Members)
        declined in writing to enroll in UnitedHealthcare when they were first eligible because they had
        other health care coverage;
 •      We cannot produce a written statement from the Employer Group or eligible employee stating that
        prior to declining coverage, the eligible employee (on his or her own behalf, or on behalf of any
        eligible Family Members) was provided with, and signed, acknowledgment of, an explicit written
        notice in boldface type specifying that failure to elect coverage with us during the Initial Enrollment
        period permits the Company to impose, beginning on the date the eligible employee (on his or her
        behalf, or on behalf of any eligible Dependents) elects coverage under the health plan, an
        exclusion of coverage under the health plan for a period of 12 months unless the eligible employee
        or Family Member can demonstrate that he or she meets the requirements for late enrollment.
 •      The other health care coverage is no longer available due to:
        •        The employee or eligible Family Member has exhausted COBRA continuation coverage
                 under another group health plan; or
        •        The termination of employment or reduction in work hours of a person through whom the
                 employee or eligible Family Member was covered; or
        •        The termination of the other health plan coverage; or
        •        The cessation of an employer's contribution toward the employee or eligible Family Member
                 coverage; or
        •        The death, divorce or legal separation of a person through whom the employee or eligible
                 Family Member was covered;
        •        The loss of coverage under the Healthy Families Program as a result of exceeding the
                 program's income or age limits, or loss of no share-of-cost Medi-Cal coverage; or loss of
                 coverage through the Covered California, California's Health Benefit Exchange; or
       •         The employee or eligible Family Member incurs a claim that would exceed a lifetime limit on
                 all benefits; or
        •        The employee or eligible Family Member previously declined coverage under the health
                 plan, but the employee or eligible Family Member becomes eligible for a Premium
                 assistance subsidy under Medicaid or Children's Health Insurance Program (CHIP), or the
                 AIM Program. Coverage will begin only if we receive the completed enrollment application




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              and any required health plan Premiums within 60 days of the date of the determination of
              subsidy eligibility; or
       •      The employee or eligible Family Member loses eligibility under Medicare or Children's Health
              Insurance Program (CHIP), the AIM Program, or the Medi-Cal program. Coverage will begin
              only if we receive the completed enrollment application and any,required health plan
              Premiums within 60 days of the date coverage ended.
 •     The Court has ordered health care coverage be provided for your legal spouse or minor child.
 •     Special Open Enrollment Period — You may enroll within 60 days if one of the following events
       happens to one of your family Members:
       •      The person loses Minimum Essential Coverage for a reason other than nonpayment of
              Premium or rescission of coverage.
       •      The person gains a Dependent or becomes a Dependent.
       •      The person's enrollment or non-enrollment in a plan is unintentional, inadvertent, or
              erroneous due to the plan's error, misrepresentation, or inaction.
       •      The health coverage issuer violated a material provision of the health care coverage
              contract.
       •      The person becomes eligible for membership due to a permanent move.
       •      The person is mandated to be covered as a Dependent according to a valid state or federal
              court order.
       •      The person has been released from incarceration.
       •      The person was receiving services from a contracting Provider under another health benefit
              plan for one of the conditions described in the Continuity of Care Conditions as defined in
              Section 9: Defined Terms and that Provider is no longer a network in the health benefit plan.
       •      The person is a Member of the reserve forces of the United States military.returning from
              active duty or a Member of the California- NatiarTal Guard returning from active duty services.
 If the employee or an eligible Family Member meets these conditions, the employee must request
 enrollment with UnitedHealthcare no later than 30 days following the termination of the other health plan
 coverage. We may require proof of loss of the other coverage, except for Dependent child special
 enrollment period. Enrollment will be effective on the date agreed to by the Employer Group under the
 terms of the signed Group Agreement or the first day of the month following receipt by UnitedHealthcare
 of a completed request for enrollment. This paragraph does not apply to the Dependent Child Special
 Enrollment Period.




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                        Section 4: When Coverage Ends
  General Information about When Coverage Ends
  As permitted by law, we may end the Agreement and/or all similar benefit plans at any time for the
  reasons explained in the Agreement.
  Your right to Benefits automatically ends on the date that coverage ends, even if you are hospitalized or
  are otherwise receiving medical treatment on that date. Please note that this does not affect coverage
  that is extended under Extended Coverage for Total Disability below.
  When your coverage ends, we will still pay claims for Covered Health Care Services that you received
  before the date your coverage ended. However, once your coverage ends, we will not pay claims for any
  health care services received after that date (even if the medical condition that is being treated occurred
  before the date your coverage ended). Please note that this does not affect coverage that is extended
  under Extended Coverage for Total Disability below.
  Unless otherwise stated, an Enrolled Dependent's coverage ends on the date the Subscriber's coverage
  ends.
  Please note that if you are subject to the Extended Coverage for Total Disability provision later in this
  section, entitlement to Benefits ends as described in that section.

  What Events End Your Coverage?
  Coverage ends on the earliest of the dates specified below:
 •      The Entire Agreement Ends
        Your coverage ends on the date the Agreement ends. In this event, the Group is responsible for
        notifying you that your coverage has ended.
 •      You Are No Longer Eligible
        Your coverage ends on the last day of the calendar month in which you are no longer eligible to be
        a Subscriber or Enrolled Dependent. Please refer to Section 9: Defined Terms for definitions of the
        terms "Eligible Person," "Subscriber," "Dependent" and "Enrolled Dependent."
 •      We Receive Notice to End Coverage
        The Group is responsible for providing the required notice to us to end your coverage. Your
        coverage ends on the last day of the calendar month in which we receive the required notice from
        the Group to end your coverage, or on the date requested in the notice, if later.
 •      Subscriber Retires or Is Pensioned
        The Group is responsible for providing the required notice to us to end your coverage. Your
        coverage ends the last day of the calendar month in which the Subscriber is retired or receiving
        benefits under the Group's pension or retirement plan.
        This provision applies unless there is specific coverage classification for retired or pensioned
        persons in the Group's Application, and only if the Subscriber continues to meet any applicable
        eligibility rules. The Group can provide you with specific information about what coverage is
        available for retirees.

  Renewal and Reinstatement(Renewal Provisions)
 Your employer's Group Agreement with UnitedHealthcare renews automatically, on a yearly basis,
 subject to all terms of the Agreement. UnitedHealthcare or your employer may change your health plan
 benefits and Premium at renewal. If the Agreement is terminated by UnitedHealthcare, reinstatement is
 subject to all terms and conditions of the Agreement. In accordance with UnitedHealthcare's Group




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  Subscriber Agreement, the employer Group is required to notify employees who are UnitedHealthcare
  Members of any such Amendment or modification.

  Termination of Coverage
  We have the right to terminate your coverage under this health plan in the following situations:
 •      For nonpayment of Premiums. Your coverage may be terminated if the employer Group did not pay
        the required Premiums.
        We will mail your employer a Notice of Start of Grace Period, no later than five business days after
        the last day of paid coverage. The Premium amount must be paid not later than 30 days from the
        date of the Notice.
 •      If payment is not received from your employer within 30 days of the date the Notice of Grace
        Period, coverage will be cancelled and we mail you a Notice of End of Coverage.

  Fraud or Intentional Misrepresentation of a Material Fact
  We will provide at least 30 days advance required notice of cancellation, rescission or nonrenewal to the
  Group that coverage will end on the date we identify in the notice because you committed an act or
  practice that constituted fraud, or an intentional misrepresentation of a material fact. Examples include
  knowingly providing incorrect information relating to another person's eligibility or status as a Dependent.
  You may appeal this decision during the notice period. The notice will contain information on how to
  appeal the decision.
  If we find that you have performed an act or practice that constitutes fraud, or have made an intentional
  misrepresentation of material fact we have the right to demand that you pay back all Benefits we paid to
  you, or paid in your name, during the time you were incorrectly covered under the Agreement.
 Under no circumstances will a Member be terminated due to health status or the need for health care
 services. Any Member who believes his or her enrollment has been terminated due to the Member's
 health status or requirements for health care services may request a review of the termination by the
 California Department of Managed Health Care. For more information, contact us at the telephone
 number on your ID card.

  Notice
  When we provide written notice regarding administration of the Agreement to an authorized
  representative of the Group, that notice is deemed notice to all affected Subscribers and their Enrolled
  Dependents. The Group is responsible for giving notice to you.
  We will provide notice to the Group and all affected Subscribers if either of the following occurs:
 •      For discontinuance of a particular health benefit plan. Your coverage may be terminated if we
        decide to cease offering a particular health benefit plan upon 90 days prior written notice to the
        California Department of Managed Health Care, the Group and all affected Subscribers covered
        under the health benefit plan. When a health benefit plan is discontinued, we will make all other
        health benefit plans offered to new Group business available to the Group without regard to the
        claims experience of health-related factors of insureds or individuals who may become eligible for
        the coverage.
 •      For discontinuance of all new and existing health benefit plans. Your coverage may be terminated if
        we decide to cease offering existing or new plans in the Group market in the State of California
        upon 180 days prior written notice to the California Department of Managed Health Care, the
        Group and all affected Subscribers covered under the health benefit plans.
 Coverage for a Disabled Dependent Child
 Coverage for an unmarried Enrolled Dependent child who is disabled will not end just because the child
 has reached 26 years old, the Limiting Age. We will extend the coverage for that child beyond the Limiting
 Age if both of the following are true:




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 •      The Enrolled Dependent child is not able to support him/herself because of mental, developmental,
        or physical disability.
 •      The Enrolled Dependent child depends mainly on the Subscriber for support.
  Coverage will continue as long as the Enrolled Dependent child is medically certified as disabled and
  dependent unless coverage otherwise ends in accordance with the terms of the Agreement. At least 90
  days prior to a disabled Dependent reaching the Limiting Age, we will send notice to you, the Subscriber,
  that coverage for the disabled Dependent will terminate at the end of the Limiting Age unless proof of
  such incapacity and dependency is provided to us. You must furnish us with proof of the medical
  certification of disability within 60 days of the date of receipt of our notice the child reached the Limiting
  Age. We will decide if the disabled Dependent meets the conditions above prior to the disabled
  Dependent reaching the Limiting Age. Otherwise, coverage will continue until we make a determination.
  We may require ongoing proof of a Dependent's incapacity and dependency, but not more frequently than
  annually after the two-year period following the Dependent's attainment of the Limiting Age. This proof
  may include supporting documentation from a state or federal agency or a written statement by a licensed
  psychologist, psychiatrist or other Physician to the effect that such disabled Dependent is incapable of
  self-sustaining employment by reason of physical or mental disabling Injury, illness or condition.
  If you are enrolling a disabled child for new coverage, we may request initial proof of incapacity and
  dependency of the child, and then yearly, to ensure that the child continues to meet the conditions above.
  You, as the Subscriber, must provide us with the requested information within 60 days of receipt of the
  request. The child must have been covered as a Dependent of the Subscriber or legal spouse under a
  previous health plan at the time the child reached the age limit.

  Extended Coverage for Total Disability
  Coverage when you are Totally Disabled on the date the entire Agreement ends will not end
  automatically. We will extend the coverage, only for treatment of the condition causing the Total Disability.
  Benefits will be paid until the earlier of either of the following:
 •      The Total Disability ends.
 •      Twelve months from the date coverage would have ended when the entire Agreement ends.

  Continuation of Coverage
  If your coverage ends under the Agreement, you may have the right to elect continuation coverage
 (coverage that continues on in some form) in accordance with federal or state law.
  Continuation coverage under COBRA (the federal Consolidated Omnibus Budget Reconciliation Act) is
  available only to Groups that are subject to the terms of COBRA. Contact your plan administrator to find
  out if your Group is subject to the provisions of COBRA.
  If you chose continuation coverage under a prior plan which was then replaced by coverage under the
  Agreement, continuation coverage will end as scheduled under the prior plan or in accordance with
  federal or state law, whichever is earlier.
  We are not the Group's designated "plan administrator as that term is used in federal law, and we do not
  assume any responsibilities of a "plan administrator" according to federal law.
  We are not obligated to provide continuation coverage to you if the Group or its plan administrator fails to
  perform its responsibilities under federal law. Examples of the responsibilities of the Group or its plan
  administrator are:
 •       Notifying you in a timely manner of the right to elect continuation coverage.
  Your Employer Group (or, if applicable, its COBRA administrator) will offer COBRA continuation coverage
  to qualified beneficiaries only after they have been notified that a qualifying event has happened. When
  the qualifying event is the end of employment or reduction of hours of employment, death of the
  Subscriber, or the Subscriber becoming entitled to Medicare benefits (under Part A, Part B, or both), your




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  Employer Group must notify its COBRA administrator of the qualifying event.(Similar rights may apply to
  certain retirees, legal spouses and Dependent children if your Employer Group commences a bankruptcy
  proceeding and these individuals lose coverage.)
  For the other qualifying events (divorce or legal separation of the Subscriber or a Dependent child losing
  eligibility for coverage as a Dependent child under the health plan), the Subscriber or enrolled Family
  Member has the responsibility to inform the Employer Group (or, if applicable, its COBRA administrator)
  within 60 days after the qualifying event happens. Please consult your Employer Group regarding its plan
  procedures for providing notice of qualifying events.

  Cal-Cobra including after Federal Cobra Exhaustion
  A Qualified Beneficiary is an individual who was covered under the Agreement and has also exhausted
  their continuation coverage under Federal law(COBRA)for which they were entitled to less than 36
  months of coverage. Extended continuation coverage under state law (Cal-COBRA) may be obtained for
  up to 36 months from the date that the COBRA continuation began.
 Cal-COBRA only applies when your former employer has two to 19 Eligible Employees who are not
 covered or eligible for federal COBRA coverage. This discussion is intended to inform you, in a summary
 fashion, of your rights and obligations under Cal-COBRA. However, your Employer Group is legally
 responsible for informing you of your specific rights under Cal-COBRA. And if your former Employer
 Group later qualifies for federal COBRA benefits and coverage, once you are enrolled on Cal-COBRA,
 your benefits will continue under Cal-COBRA. Therefore, please consult with your Employer Group
 regarding the availability and duration of Cal-COBRA continuation coverage.

  Cal-COBRA Qualifying Events for Subscribers
  If you are a Subscriber covered by this health plan, you have a right to choose Cal-COBRA continuation
  coverage if you lose your Group health coverage because of an initial qualifying event, described as:
        1. The termination of your employment (for reasons other than gross misconduct on your part); or
        2. The number of hours you work on a weekly basis are cut back to less than the number of hours
           required for continued Group health plan eligibility, as determined by your employer.
 Additionally, if you are determined to be disabled under Title II or Title XVI of the United States Social
 Security Act within 60 days of your initial qualifying event, you must notify your former employer of this
 determination within 60 days of the date of the determination letter and prior to the 36th month of Cal-
 COBRA coverage. You are required to pay to UnitedHealthcare 150 percent of the Group rate after the
 first 18 months and up to the month in which you become entitled to Medicare, but not to exceed a
 combined total of 36 months. Your coverage under Cal-COBRA will end upon your Medicare entitlement.
 In the event the Social Security Administration determines that you are no longer disabled, you have 30
 days from the date of the determination letter to contact UnitedHealthcare of this decision. Your
 termination date will be the later of 36 months from the date of your initial qualifying event or the first of
 the month following 31 days from the date of the final Social Security Administration determination.

 Cal-COBRA Qualifying Events for Legal Spouses
 If you are the legal spouse of a Subscriber covered by this health plan, you have the right to choose Cal-
 COBRA continuation coverage for up to 36 months based upon 110 percent of the Subscriber's former
 employer's health plan Group rates for yourself if you lose Group health coverage under this health plan
 for any of the following four reasons (also called a qualifying event):
        •     The death of the Subscriber;
        •     A termination of the Subscriber's employment (for reasons other than gross misconduct) or
              reduction in the Subscriber's number of hours worked are cut back to less than the number
              of hours required for continued Group health plan eligibility, as determined by the employer;
       •      Divorce or legal separation from the Subscriber; or




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        •      The Subscriber becomes entitled to Medicare. (In the case of a Subscriber who is
               determined to be disabled under the Social Security Act, the legal spouse will pay 110
               percent of the former employer's health plan Group rate after the first 18 months of
               continuation coverage and up to 36 months. In the case of a Subscriber who becomes
               entitled to Medicare and voluntarily terminates his or her Group health plan coverage, the
               legal spouse may have up to 36 months based upon 110 percent of the Subscriber's former
               employer's health plan Group rates).

  Cal-COBRA Qualifying Events for Dependent Children
  In the case of a Dependent child of a Subscriber enrolled in this health plan, he or she has the right to
  continuation coverage for up to 36 months based upon 110 percent of the Subscriber's former employer's
  health plan Group rates if Group health coverage under this health plan is lost for any of the following five
  reasons (also called a qualifying event):
        •      The death of the Subscriber;
        •      A termination of the Subscriber's employment(for reasons other than gross misconduct) or
               the number of the Subscriber's hours are cut back to less than the number of hours required
               for continued Group health plan eligibility, as determined by the employer;
        •      The Subscriber's divorce or legal separation;
        •      The Subscriber becomes entitled to Medicare; (In the case of a Subscriber who is
               determined to be disabled under the Social Security Act, the Dependent will pay 110 percent
               of the former employer's health plan Group rate after the first 18 months of continuation
               coverage and up to 36 months. In the case of a Subscriber who becomes entitled to
               Medicare and voluntarily terminates his or her Group health plan coverage, the Dependent
               may have up to 36 months based upon 110 percent of the Subscriber's former employer's
               health plan Group rates); or
        •      The Dependent child ceases to be a Dependent eligible for coverage under this health plan.

  Cal-COBRA Notification of Qualifying Events
  Under Cal-COBRA, as a condition of receiving Cal-COBRA benefits, the Member must provide
  UnitedHealthcare with written notification of the occurrence of the following qualifying events within 60
  days of the occurrence of the event:
        •      The Subscriber's death;
        •      Divorce or legal separation;
        •      The loss of Dependent status; or
        •      The covered employee's entitlement to Medicare.

 Notification Requirements and Election Period for Continuation
 Coverage under State Law(AB 1401)
 The Group will provide you with written notification of the right to continuation coverage within 30 days of
 when coverage ends under the Agreement. You must elect continuation coverage within 90 days of
 receiving this notification. You should get an election form from us and, once election is made, forward all
 monthly Premiums to us for payment to us.

 Terminating Events for Continuation Coverage under State Law(AB
 1401)
 Continuation coverage under the Agreement will end on the earliest of the following dates:
 •      36 months from the date your qualifying event.




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 •     The date after electing continuation coverage, that the Qualified Beneficiary first becomes entitled
       to Medicare.
 •     The date after electing continuation coverage that the Qualified Beneficiary has other Hospital,
       medical or surgical coverage, or is or becomes covered under another Group health plan.
 •     The date the Qualified Beneficiary is covered, becomes covered, or is eligible for coverage
       pursuant to Chapter 6A of the Public Health Service Act.
 •     The date coverage terminated under the Agreement for failure to make timely payment of the
       Premium.
 •     The date the Agreement ends.
 •     The date coverage would otherwise terminate under the Agreement as described in this section
       under the heading Events Ending Your Coverage.

  Continuity of Care
 If you are undergoing a course of treatment with a terminated Network provider for one of the medical
 conditions below, we may arrange, at your written request and subject to the Network provider's written
 agreement to accept the same contractual terms and conditions that were imposed upon the Network
 provider, prior to termination, for continuation of Covered Health Care Services rendered by the
 terminated Network provider for the time periods shown below. We must receive your request for
 Continuity of Care as soon as possible, but not later than 30 calendar days from the date you are notified
 in writing that your Network provider has been terminated. Co-payments, deductibles or other cost
 sharing components will be the same as you would have paid for a provider currently contracting with us.
 Exceptions to the 30 calendar day time frame will be considered for good cause. Continuity of Care forms
 are available by contacting us at the telephone number on your ID card.
 Continuity of care for Covered Health Care Services may be provided by a terminated Network provider to
 a Member who, at the time of the contract's termination, was receiving services from that provider for one
 of the conditions described below.
 Medical conditions and time periods for which treatment by a terminated Network provider may be
 covered under the Agreement are:
 •     An acute condition. An aciite condition is a medical condition, including medical and mental
       health, that involves a sudden onset of symptoms due to an illness, injury, or other medical
       problem that requires prompt medical attention and that has a limited duration. Completion of
       Covered Health Care Services will be provided for the duration of the acute condition.
 •     A serious chronic condition. A serious chronic condition is a medical condition due to a disease,
       illness, or other medical or mental health problem or medical or mental health disorder that is
       serious in nature, and that persists without full cure or worsens over an extended period of time or
       requires ongoing treatment to maintain remission or prevent deterioration. Completion of Covered
       Health Care Services will be provided for a period of time needed to complete a course of
       treatment and to arrange for a safe transfer to another Network provider, in consultation with you
       and the terminated Network provider or out-of-network provider and consistent with good
       professional practice. Completion of Covered Health Care Services under this provision will not
       exceed 12 months from termination date of the provider's agreement or 12 months from the
       effective date of coverage for the new Member when criteria are met.
 •     A Pregnancy. A Pregnancy is the three trimesters of Pregnancy and the immediate postpartum
       period. Completion of Covered Health Care Services will be provided for the duration of the
       Pregnancy.
       A terminal illness. A terminal illness is an incurable or irreversible condition that has a high
       probability of causing death within one year or less. Completion of Covered Health Care Services
       will be provided for the duration of a terminal illness, which may exceed 12 months from the




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               termination date of the provider's agreement or 12 months from the effective date of coverage for a
               new Member when criteria are met.
        •      The care of a newborn child between birth and age 36 months. Completion of Covered Health
               Care Services will not exceed 12 months from the termination date of the provider's agreement or
               12 months from the effective date of coverage for a new Member when criteria are met.
        •     Performance of a surgery or other procedure. Performance of a surgery or other procedure that
              has been recommended and documented by the Network provider to occur within 180 days of the
              termination date of the provider's agreement or within 180 days of the effective date of coverage for
              a new Member when criteria are met.
        This section does not apply to treatment by a provider or provider Group whose contract with us has been
        terminated or not renewed for reasons relating to medical disciplinary cause or reason, fraud or other
        criminal activity.
        In the event of carrier replacement, continuity of care for Covered Health Care Services may be provided
        by an out-of-network provider to a new Member who, at the time of his or her coverage became effective,
        was receiving services from that provider for one of the conditions described above under your out-of-
        network benefit. A completed Continuity of Care form must be received by UnitedHealthcare, but no later
        than 30 days from your effective date of coverage. Exceptions to the 30-calendar day time frame will be
        considered for good cause.
  For Continuity of care to apply to an out-of-network provider that is treating you for a condition outlined
  above, UnitedHealthcare may require your out-of-network provider whose services are continued for a
  newly covered Member to agree in writing to be subject to the same contractual terms and conditions that
  are imposed upon currently contracting Network providers providing similar services who are not
  capitated and who are practicing in the same or similar geographic area as the nonparticipating provider,
  including, but not limited to, credentialing, Hospital privileging, utilization review, peer review, and quality
  assurance requirements. If the out-of-network provider does not agree to comply or does not comply with
  these contractual terms and conditions, UnitedHealthcare is not required to continue the provider's
  services and your request for Continuity of Care may be denied.
                                                                               -_             _
  In the event you elect to continue to receive services by a terminated Network provider or from an out-of-
--nOtwork provider without receiving prior authorization from us, you may be financially responsible for the
  payment of all claims

        Appealing a Termination
        If you believe that we terminated your membership improperly, you may file a grievance to appeal the
        decision. Please refer to Section 6, Questions, Complaints and Appeals. You may also request the
        Department of Managed Health Care to review your termination.




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                          Section 5: How to File a Claim
  How Are Covered Health Care Services from Network Providers Paid?
  We pay Network providers directly for your Covered Health Care Services. If a Network provider bills you
  for any Covered Health Care Service, contact us. However, you are required to meet any applicable
  Deductible and to pay any required Co-payments and Co-insurance to a Network provider.

  How Are Covered Health Care Services from an Out-of-Network
  Provider Paid?
  When you receive Covered Health Care Services from an out-of-Network provider, you are responsible
  for requesting payment from us. You must file the claim in a format that contains all of the information we
  require, as described below.
  You should submit a request for payment of Benefits within 90 days after the date of service or as soon
  as reasonably possible, of receiving services and related supplies. If you don't provide this information to
  us within one year of the date of service, Benefits for that health care service will be denied or reduced,
  as determined by us. This time limit does not apply if you are legally incapacitated. If your claim relates to
  an Inpatient Stay, the date of service is the date your Inpatient Stay ends.
  After we receive your claim, we will send an acknowledgement letter within five days from receipt of the
  claim.

  Required Information
  When you request payment of Benefits from us, you must provide us with all of the following information:
 •      The Subscriber's name and address.
 •      The patient's name and age.
 •      The number stated on your ID card.
 •      The name and address of the provider of the service(s).
 •      The name and address of any ordering Physician.
 •      A diagnosis from the Physician.
 •      An itemized bill from your provider that includes the Current Procedural Terminology(CPT)codes
        or a description of each charge.
 •      The date the Injury or Sickness began.
 •      A statement indicating either that you are, or you are not, enrolled for coverage under any other
        health plan or program. If you are enrolled for other coverage you must include the name of the
        other carrier(s).
  The above information should be filed with us at the address on your ID card.
  When filing a claim for Outpatient Prescription Drug Benefits, your claims should be submitted to:
        Optum Rx
        PO Box 650629
        Dallas, TX 75265-0629

 Payment of Benefits
  We will pay Benefits within 45 days after we receive your request for payment that includes all required
  information. We will reimburse claims or any portion of any claim, whether in-state or out-of-state, for




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 Covered Health Care Services, as soon as possible, no later than 45 working days after receipt of the
 claim. However, a claim or portion of a claim may be contested or denied by us. In that case you will be
 notified in writing that the claim is contested or denied within 45 working days of receipt of the claim. The
 notice that the claim is being contested or denied will identify the portion of the claim that is contested or
 denied and the specific reasons including, for each reason, the factual and legal basis known at the time
 by us for contesting or denying the claim. If the reason is based solely on facts or solely on law, we will
 provide only the factual or the legal basis for contesting or denying the claim. We will provide a copy of
 such notice to each Member who received services pursuant to the claim that was contested or denied
 and the health care provider that provided the services at issue.
 If an uncontested claim is not reimbursed by delivery to your address of record within 45 working days
 after receipt, we will pay interest at the rate of 15% per annum beginning with the first calendar day after
 the 45-working-day period.
 If a Subscriber provides written authorization to allow this, all or a portion of any Allowed Amount due to a
 provider may be paid directly to the provider instead of being paid to the Subscriber. But we will not
 reimburse third parties that have purchased or been assigned Benefits by Physicians or other providers.
 Benefits will be paid to you unless either of the following is true:
 •     The provider notifies us that your signature is on file, assigning Benefits directly to that provider.
 •     You make a written request at the time you submit your claim.
 Allowed Amounts due to an out-of-Network provider for Covered Health Care Services that are subject to
 the No Surprises Act of the Consolidated Appropriations Act (P.L. 116-260) are paid directly to the
 provider.

 Assignment of Benefits
 You may not assign your Benefits under the Agreement or any cause of action related to your Benefits
 under the Agreement to an out-of-Network provider without our consent. When an assignment is not
 obtained, we will send the reimbursement directly to the Subscriber for reimbursement to an out-of-
 Network provider. We may, as we determine, pay an out-of-Network provider directly for services
 rendered to you. In the case of any such assignment of Benefits or payment to an out-of-Network
 provider, we have the right to offset Benefits to be paid to the provider by any amounts that the provider
 owes us.
 When you assign your Benefits under the Agreement to an out-of-Network provider with our consent, and
 the out-of-Network provider submits a claim for payment, you and the out-of-Network provider represent
 and warrant the following:
 •     The Covered Health Care Services were actually provided.
 •     The Covered Health Care Services were medically appropriate.
 Allowed Amounts due to an out-of-Network provider for Covered Health Care Services that are subject to
 the No Surprises Act of the Consolidated Appropriations Act(P.L. 116-260) are paid directly to the
 provider.
 Payment of Benefits under the Agreement shall be in cash or cash equivalents, or in a form of other
 consideration that we determine to be adequate. Where Benefits are payable directly to a provider, such
 adequate consideration includes the forgiveness in whole or in part of the amount the provider owes us,
 or to other plans for which we make payments where we have taken an assignment of the other plans'
 recovery rights for value.

 Deductible and Out-of-Pocket-Limit Accrual Balances
 Up-to-date Deductible and Out-of-Pocket Limit accrual balances will be provided to you as you use
 Benefits and will appear on your Explanation of Benefits and/or Health Statement or at any time by
 visiting www.myuhc.com, or by contacting us at the telephone number on your ID card.




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  You may choose to receive this information electronically by registering for paperless delivery at
  www.myuhc.com, or by contacting us at the telephone number on your ID card.




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          Section 6: Questions, Complaints and Appeals
  All complaints and appeals, including Pediatric Dental and Pediatric Vision, will be reviewed and resolved
  by us except for Mental Health and Substance-Related and Addictive Disorder Services.
 To resolve a question, complaint, or appeal for Mental Health and Substance-Related and Addictive
  Disorder Services, you can submit your complaint, or appeal to U.S. Behavioral Health Plan, California
 (USBHPC), see the behavioral supplement to your Combined Evidence of Coverage Form for USBHPC.

  What if You Have a Question?
  Call the telephone number shown on your ID card. Representatives are available to take your call during
  regular business hours, Monday through Friday.

  What if You Have a Complaint?
  Call the telephone number shown on your ID card. Representatives are available to take your call during
  regular business hours, Monday through Friday.
  If you would rather send your complaint to us in writing, the representative can provide you with the
  address or you can visit www.myuhc.com.
  If the representative cannot resolve the issue over the phone, he/she can help you prepare and submit a
  written complaint. We will notify you of our decision regarding your complaint within 30 days of receiving
  it.

  What to Do if You Disagree with Our Adverse Benefit Determination?
  If you disagree with our Adverse Benefit Determination, you may file a formal appeal. Our internal review
  appeals procedures are designed to deliver a timely response and resolution to your appeal. We will
  continue to provide coverage for the Covered Health Care Service under review until the Adverse Benefit
  Determination is resolved.
  An Adverse Benefit Determination is any of the following: a denial, reduction, or termination of, or a failure
  to provide or make payment(in whole or in part) for a Benefit, including any such denial, reduction,
  termination, or failure to provide or make payment that is based on a determination of a participant's or
  beneficiary's eligibility to participate in a plan, and including, a denial, reduction, or termination of, or a
  failure to provide or make payment (in whole or in part) for a Benefit resulting from the application of any
  utilization review, as well as a failure to cover an item or service for which Benefits are otherwise provided
  because it is determined to be an Experimental or Investigational Service or not Medically Necessary or
  appropriate. An adverse Benefit determination also includes any rescission of coverage (whether or not,
  in connection with the rescission, there is an adverse effect on any particular Benefit at that time).
  If you believe your Subscriber Agreement has been or will be wrongly canceled, rescinded or not
  renewed, please refer to Cancellation, Rescission or Non-Renewal in this Section to learn how to request
  a review by the Department of Managed Care(DMHC) Director.

  How Do You Appeal a Claim Decision?
  Post-service Claims
  Post-service claims are claims filed for payment of Benefits after medical care has been received.
  Pre-service Requests for Benefits
  Pre-service requests for Benefits are requests that require prior authorization or benefit confirmation prior
  to receiving medical care.
  How to Request an Appeal
  If you disagree with a pre-service request for Benefits determination, post-service claim determination or
  a rescission of coverage determination, you can contact us in writing to request an appeal.




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 Your request for an appeal should include:
 •      The patient's name and the identification number from the ID card.
 •      The date(s) of medical service(s).
 •      The provider's name.
 •      The reason you believe the claim should be paid.
 •      Any documentation or other written information to support your request for claim payment.
 Your first appeal request must be submitted to us within 180 days after you receive the denial of a pre-
 service request for Benefits or the claim denial.
 To initiate an appeal or request, call the telephone number on the ID card. You may also file an appeal
 using the Online Grievance form at www.myuhc.com.

 Appeal Process
 A qualified individual who was not involved in the decision being appealed will be chosen to decide the
 appeal. If your appeal is related to clinical matters, the review will be done in consultation with a health
 care professional with expertise in the field, who was not involved in the prior determination. We may
 consult with or ask medical experts to take part in the appeal process. You consent to this referral and the
 sharing of needed medical claim information. Upon request and free of charge, you have the right to
 reasonable access to and copies of all documents, records and other information related to your claim for
 Benefits. If any new or additional evidence is relied upon or generated by us during the determination of
 the appeal, we will provide it to you free of charge and in advance of the due date of the response to the
 adverse benefit determination.

 Appeals Determinations
 Pre-service Requests for Benefits and Post-service Claim Appeals
 For procedures related to urgent requests for Benefits, see Urgent Appeals that Require Immediate
 Action below.
 You will be provided written or electronic notification of the decision on your appeal as follows:
 •      For appeals of pre-service requests for Benefits as defined above, the appeal will take place and
        you will be notified of the decision within 30 days from receipt of a request for appeal of a denied
        request for Benefits.
 •      For appeals of post-service claims as defined above, the appeal will take place and you will be
        notified of the decision within 30 days from receipt of a request for appeal of a denied claim.
 Please note that our decision is based only on whether or not Benefits are available and Medically
 Necessary under the Agreement for the proposed treatment or procedure. For appeals involving the
 denial or modification of health care services related to Medical Necessity, UnitedHealthcare Benefits
 Plan of California's written response will include the specific reason for the decision, describe the criteria
 or guidelines or benefit provision on which the denial decision was based, and notification that upon
 request the Member may obtain a copy of the actual benefit provision, guideline protocol or other similar
 criterion on which the denial is based. For determinations denying or modifying health care services
 based on a finding that the services are not Covered Health Care Services, the response will specify the
 provisions in the Subscriber Agreement that exclude that coverage.                                      •
 You may have the right to external review through an Independent Review Organization (IRO) upon the
 completion of the internal appeal process. Instructions regarding any such rights, and how to access
 those rights, will be provided in our decision letter to you.
 Pre-Service Requests Determination Based on Medical Necessity
 Decisions to deny or modify requests for authorization of Covered Health Care Services for a Member,
 based on Medical Necessity, are made only by licensed Physicians or other appropriately licensed health




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  care professionals. The reviewer makes these decisions within at least the following time frame required
  by state law:
 •      Decisions to approve, modify or deny requests for authorization of Covered Health Care Services,
        based on Medical Necessity, will be made in a timely fashion appropriate for the nature of the
        Members condition, not to exceed five business days from our receipt of the information
        reasonably necessary and requested to make the decision.
 •      If the Member's condition poses an imminent and serious threat to their health, including, but not
        limited to, potential loss of life, limb or other major bodily function, or if lack of timeliness would be
        detrimental in regaining maximum function or to the Member's life or health, the decision will be
        rendered in a timely fashion appropriate for the nature of the Member's condition, but not later than
        72 hours after our receipt of the information reasonably necessary and requested by the reviewer
        to make the determination (an Urgent Request).
  If the decision cannot be made within these time frames because:
 •      We are not in receipt of all of the information reasonably necessary and requested; or
 •      Consultation by an expert reviewer is required; or
 •      The reviewer has asked that an additional examination or test be performed upon the Member,
        provided the examination or test is reasonable and consistent with good medical practice the
        reviewer will notify the Physician and the Member, in writing, upon the earlier of the expiration of
        the required time frame above or as soon as we become aware that they will not be able to meet
        the required time frame.
 The notification will specify the information requested but not received or the additional examinations or
 tests required, and the anticipated date on which a decision may be rendered following receipt of all
 reasonably necessary requested information. Upon receipt of all information reasonably necessary and
 requested by us, the reviewer shall approve, modify or deny the request for authorization within the time
 frame specified above as applicable.
  Concurrent Care Review
  If an on-going course of treatment was previously approved and a request is made to extend treatment, if
  urgent, your request will be decided in a timely manner appropriate for the nature of your condition not to
  exceed 72 hours from receipt.
  If the request to extend treatment is not an Urgent Request for Benefits, your request will be decided in a
  timely manner medically appropriate for the nature of your condition not to exceed five business days.
  Care will not be discontinued until your treating provider has been notified of our decision and a care plan
  has been agreed upon by your treating provider that is appropriate for your medical needs.
  We will provide continued coverage pending the outcome of an appeal. We will not reduce or terminate
  an ongoing course of treatment without providing advance notice and an opportunity for advance review.
  and a care plan, and a medically appropriate treatment plan agreed between us and the treating provider.
 The reviewer will notify requesting Providers of decisions to approve, modify or deny requests for
 authorization of health care services for Members within 24 hours of the decision. Members are notified of
 decisions to deny or modify requested health care services, in writing, within two business days of the
 decision. The written decision will include the specific reason(s)for the decision, the clinical reason(s) for
 modifications or denials based on a lack of Medical Necessity, or reference to the benefit provision on
 which the denial decision was based, and information about how to file an appeal of the decision with
 UnitedHealthcare Benefits Plan of California. In addition, the internal criteria or benefit interpretation
 policy, if any, relied upon in making this decision will be made available upon request by the Member.
 United Healthcare Benefits Plan of California's Appeals Process is outlined in this section.
 You may have the right to external review through an Independent Review Organization (IRO) upon the
 completion of the internal appeal process. Instructions regarding any such rights, and how to access
 those rights, will be provided in our decision letter to you.




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  Expedited Review Appeals Process
  Appeals involving an imminent and serious threat to your health, including, but not limited to, severe pain
  or the potential loss of life, limb or major bodily function will be immediately referred to UnitedHealthcare
  Benefits Plan of California's clinical review personnel. If your case does not meet the criteria for an
  expedited review, it will be reviewed under the standard appeal process. If your appeal requires expedited
  review, UnitedHealthcare Benefits Plan of California will immediately inform you of your review status and
  your right to notify the Department of Managed Health Care(DMHC)of the Grievance.
 You and the DMHC will be provided a written statement of the disposition or pending status of the
 expedited review no later than three calendar days from receipt of the Grievance. You are not required to
 participate in the UnitedHealthcare Benefits Plan of California appeals process prior to contacting the
 DMHC regarding your expedited appeal.

  Filing a Grievance
 To begin a quality of care review or other type of grievance, or for other questions relating to filing a
 grievance, including but not limited to those involving discrimination, contact us at the telephone number
 on your ID card, or at www.myuhc.com. You may also file grievance using the Online Grievance form at
 www.myuhc.com or write to the Appeals department at:
 Appeals & Grievances
 UnitedHealthcare Benefits Plan of California
 P.O. Box 30573
 Salt Lake City, UT 84130-0573
 This request will initiate the Grievance Review Process except in the case of "expedited reviews," as
 discussed below. You may submit written comments, documents, records and any other information
 relating to your grievance regardless of whether this information was submitted or considered in the initial
 determination. After receipt of your grievance:
        •      We will provide for a written acknowledgement within five calendar days of the receipt of
               your grievance. The acknowledgment shall provide you with the following information:
                            That the grievance has been received.
                            The date of receipt
                            The name of the Plan representative and the telephone number and address of
                            the plan representative who may be contacted about the grievance.
 You may obtain, upon request and free of charge, copies of all documents, records and other information
 relevant to your appeal. The appeal will be reviewed by an individual who is neither the individual who
 made the initial determination that is the subject of the appeal nor the subordinate of that person.
 All quality of clinical care and quality of service complaints are investigated by UnitedHealthcare Benefits
 Plan of California's Health Services department. UnitedHealthcare Benefits Plan of California conducts
 this quality review by investigating the complaint and consulting with your treating providers, and other
 UnitedHealthcare Benefits Plan of California internal departments. Medical records are requested and
 reviewed as necessary, and as such, you may need to sign an authorization to release your medical
 records. We will respond to your complaint in a manner appropriate to the clinical urgency of your
 situation. You will also receive written notification regarding the disposition of your quality of clinical care
 and/or quality of service review complaint within 30 calendar days of UnitedHealthcare Benefits Plan of
 California's receipt of your complaint. Please be aware that the results of the quality of clinical care review
 are confidential and protected from legal discovery in accordance with state law.
 Voluntary Mediation and Binding Arbitration
 If you are dissatisfied with UnitedHealthcare Benefits Plan of California's Appeal Process determination,
 you can request that we submit the appeal to voluntary mediation or binding arbitration before JAMS.
 Voluntary Mediation




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  In order to initiate voluntary mediation, either you or the agent acting on your behalf must submit a written
  request to us. If all parties mutually agree to mediation, the mediation will be administered by JAMS in
  accordance with the JAMS Mediation Rules and Procedures, unless all parties otherwise agree.
  Expenses for mediation will be shared equally by the parties. The Department of Managed Health Care
  will have no administrative or enforcement responsibilities with the voluntary mediation process.
  Binding Arbitration
  All disputes of any kind, including, but not limited to, claims relating to the delivery of services under the
   plan and claims for medical malpractice between the Member (including any heirs, successors or assigns
  of Member)and UnitedHealthcare Benefits Plan of California, except for claims subject to ERISA, will be
  submitted to Binding Arbitration. Medical malpractice includes any issues or allegations that medical
  services rendered under the health plan were unnecessary or unauthorized or were improperly,
  negligently or incompetently rendered. This means that disputes between the Member and
  UnitedHealthcare Benefits Plan of California will not be resolved by a lawsuit or by pursuing other court
  processes and remedies, except to the extent the Federal Arbitration Act provides for judicial review of
  arbitration proceedings. Under this provision, neither the Court nor any arbitrator may delay arbitration of
  disputes or refuse to order disputes to arbitration. The intent of this arbitration provision, and the parties,
  is to put litigation on hold so that issues can be resolved through the binding arbitration process. Any
  disputes about the scope of arbitration, about the arbitration itself or about whether an issue falls under
  this arbitration provision will be resolved by the arbitrator to avoid ambiguities and litigation costs.
  The Member and UnitedHealthcare Benefits Plan of California understand and agree that they are giving
  up their constitutional rights to have disputes decided in a court of law before a jury and are instead
  accepting the use of Binding Arbitration by a single arbitrator. The arbitration will be performed by JAMS
  or another arbitration service as the parties may agree in writing. The arbitration will be conducted under
  the JAMS Comprehensive Arbitration Rules and Procedures. The parties will attempt in good faith to
  agree to the appointment of an arbitrator, but if agreement cannot be reached within 30 days following the
  date demand for arbitration is made, the arbitrator will be chosen using the appointment procedures set
  out in the JAMS Comprehensive Arbitration Rules and Procedures. These rules may be viewed by the
  Member at the JAMS website, www.jamsadr.com. If the Member does not have access to the Internet,
  the Member may request a copy of the rules from UnitedHealthcare, and arrangements will be made for
  the Member to obtain a hard copy of the rules and procedures.
 Arbitration hearings will be held in Orange County, California or at a location agreed to in writing by the
 Member and United Healthcare Benefits Plan of California. The expenses of JAMS and the arbitrator will
 be paid in equal shares by the Member and UnitedHealthcare Benefits Plan of California. Each party will
 be responsible for any expenses related to discovery conducted by them and their own attorney fees. In
 cases of extreme hardship, UnitedHealthcare Benefits Plan of California may assume all or part of the
 Member's share of the fees and expenses of JAMS and the arbitrator, provided the Member submits a
 hardship application to JAMS and JAMS approves the application. The approval or denial of the hardship
 application will be determined solely by JAMS. The Member will remain responsible for his/ her own
 attorney fees, unless an award of attorney fees is allowable under the law and the arbitrator makes an
 award of attorney fees to the Member. Following the arbitration, the arbitrator will prepare a written award
 that includes the legal and factual reasons for the decision.
 Nothing in this Binding Arbitration provision is intended to prevent the Member or UnitedHealthcare
 Benefits Plan of California from seeking a temporary restraining order or preliminary injunction or other
 provisional remedies from a court. However, any and all other claims or causes of action, including, but
 not limited to those seeking damages, restitution, or other monetary relief, will be subject to this Binding
 Arbitration provision. Any claim for permanent injunctive relief will be stayed pending completion of the
 arbitration. The Federal Arbitration Act, 9 U.S.C. Sections 1-16, will apply to the arbitration.
 ALL PARTIES EXPRESSLY AGREE TO WAIVE THEIR CONSTITUTIONAL RIGHT TO HAVE
 DISPUTES BETWEEN THEM RESOLVED IN COURT BEFORE A JURY AND ARE INSTEAD
 ACCEPTING THE USE OF BINDING ARBITRATION.




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  Independent Medical Review
  If you believe that a health care service included in your coverage has been improperly denied, modified
  or delayed by UnitedHealthcare Benefits Plan of California, you may request an independent medical
  review (IMR) of the decision. IMR is available for denials, delays or modifications of health care services
  requested by you or your provider based on a finding that the requested service is Experimental or
  Investigational or is not Medically Necessary. Your case also must meet the statutory eligibility criteria
  and procedural requirements discussed below. If your Complaint or appeal pertains to a Disputed Health
  Care Service subject to Independent Medical Review (as discussed below), you must file your Complaint
  or appeal within 180 calendar days of receiving a denial notice.

  Eligibility for Independent Medical Review
  Experimental or Investigational Treatment Decisions
  If you suffer from a Life-Threatening or Seriously Debilitating condition, you may have the opportunity to
  seek IMR of UnitedHealthcare Benefits Plan of California's coverage decision regarding Experimental or
  Investigational therapies under California's Independent Medical Review System pursuant to Health and
  Safety Code Section 1370.4. "Life-Threatening" means either or both of the following:(a) diseases or
  conditions where the likelihood of death is high unless the course of the disease is interrupted;(b)
  diseases or conditions with potentially fatal outcomes, where the endpoint of clinical intervention is
  survival. "Seriously Debilitating" means diseases or conditions that cause major irreversible morbidity.
  To be eligible for IMR of Experimental or Investigational treatment, your case must meet all of the
  following criteria:
         1. Your Physician certifies that you have a Life-Threatening or Seriously Debilitating condition for
            which:
        •      Standard therapies have not been effective in improving your condition; or
        •      Standard therapies would not be medically appropriate for you; or
        •      There is no more beneficial standard therapy covered by UnitedHealthcare Benefits Plan of
               California than the proposed Experimental or Investigational therapy proposed by your
               Physician under the following paragraph.
        2. Either(a) your Physician has recommended a treatment, drug, device, procedure or other
           therapy that he or she certifies in writing is likely to be more beneficial to you than any available
           standard therapies, and he or she has included a statement of the evidence relied upon by the
           Physician in certifying his or her recommendation; or (b) you or your Non-Network Physician —
           who is a licensed, board-certified or board-eligible Physician qualified to practice in the
           specialty appropriate to treating your condition — has requested a therapy that, based on two
           documents of medical and scientific evidence identified in California Health and Safety Code
           Section 1370.4(d), is likely to be more beneficial than any available standard therapy. To
           satisfy this requirement, the Physician certification must include a statement detailing the
           evidence relied upon by the Physician in certifying his or her recommendation.(Please note
           that UnitedHealthcare Benefits Plan of California is not responsible for the payment of services
           rendered by out-of-Network Physicians who are not otherwise covered under your
           UnitedHealthcare Benefits Plan of California benefits).
        3. A UnitedHealthcare Benefits Plan of California has denied your request for a treatment or
           therapy recommended or requested pursuant to the above paragraph.
        4. The treatment or therapy recommended pursuant to Paragraph 2 above would be a Covered
           Health Care Service, except for UnitedHealthcare Benefits Plan of California's determination
           that the treatment, drug, device, procedure or other therapy is Experimental or Investigational.
  If you have a Life-Threatening or Seriously Debilitating condition and UnitedHealthcare Benefits Plan of
  California denies your request for Experimental or Investigational therapy, UnitedHealthcare Benefits Plan
  of California will send a written notice of the denial within five business days of the decision. The notice




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 will advise you of your right to request IMR, and include a Physician certification form and an application
 form with a preaddressed envelope to be used to request IMR from the DMHC.
  Disputed Health Care Services
 You may also request IMR of a Disputed Health Care Service. A Disputed Health Care Service is any
 health care service eligible for coverage and payment under your Subscriber Agreement that has been
 denied, modified or delayed in whole or in part by UnitedHealthcare Benefits Plan of California or one of
 its providers, due to a finding that the service is not Medically Necessary. (Note: Disputed Health Care
 Services do not encompass coverage decisions. Coverage decisions are decisions that approve or deny
 health care services substantially based on whether or not a particular service is included or excluded as
 a covered benefit under the terms and conditions of your health care coverage.)
 You are eligible to submit an application to the DMHC for IMR of a Disputed Health Care Service if you
 meet all of the following criteria:
        1. (a) Your provider has recommended a health care service as Medically Necessary; or(b) you
           have received Urgently Needed Services or Emergency Medical Condition that a provider
           determined were Medically Necessary; or(c) you have been seen by a Network Provider for
           the diagnosis or treatment of the medical condition for which you seek IMR;
       2. The health care service has been denied, modified or delayed by UnitedHealthcare Benefits
          Plan of California or one of its providers; and
       3. You have filed an appeal with UnitedHealthcare Benefits Plan of California regarding the
          decision to deny, delay or modify health care services and the disputed decision is upheld or
          the appeal remains unresolved after 30 calendar days (or three calendar days in the case of an
          urgent appeal requiring expedited review).(Note: If there is an imminent and serious threat to
          your health, the DMHC may waive the requirement that you complete the appeals process or
          participate in the appeals process for at least 30 calendar days if the DMHC determines that an
          earlier review is necessary.)
 You may apply to the DMHC for IMR of a Disputed Health Care Service within six months of any of the
 events or periods described above, or longer if the DMHC determines that the circumstance' s of your case
 warrant an IMR review. UnitedHealthcare Benefits Plan of California will provide you an IMR application
 form with any Grievance disposition letter that denies, modifies or delays, in whole or in part, health care
 services based on a finding that the service is not Medically Necessary. A decision not to participate in
 the IMR process may cause you to forfeit any statutory right to pursue legal action against
 UnitedHealthcare Benefits Plan of California regarding the Disputed Health Care Service. The IMR
 process is in addition to any other procedures or remedies that may be available to you.

 Independent Medical Review Procedures
 Applying for Independent Medical Review Procedures
 In the case of Experimental or Investigational coverage decisions, if you have a Life-Threatening or
 Seriously Debilitating condition, UnitedHealthcare Benefits Plan of California will include an application for
 IMR in its notice to you that the requested service has been denied and include a Physician certification
 form with a preaddressed envelope to the DMHC. Your Physician must provide the Physician certification
 and medical and scientific documentation required for Experimental and Investigational IMR, which may
 be included with your application, or mailed or faxed directly to the DMHC by your Physician. Either you
 or your Physician can provide the letter from UnitedHealthcare Benefits Plan of California or its Provider
 denying the request for Experimental or Investigational treatment.
 In the case of determinations that a Disputed Health Care Service is not Medically Necessary,
 UnitedHealthcare Benefits Plan of California will provide you with an IMR application form with any
 disposition letter resolving your appeal of the determination. Your application for IMR of a Disputed Health
 Care Service may include information or documentation regarding a provider's recommendation that the
 service is Medically Necessary, medical information that a service received on an urgent care or
 Emergency basis was Medically Necessary, and any other information you received from or gave to




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  UnitedHealthcare Benefits Plan of California or its providers that you believe is relevant in support of your
  position that the Disputed Health Care Service was Medically Necessary.
  Completed applications for IMR should be submitted to the DMHC. You pay no fee to apply for IMR. You,
  your Physician, or another designated representative acting on your behalf may request IMR. If there is
  any additional information or evidence you or your Physician wish to submit to the DMHC that was not
  previously provided to UHCBP of CA, you may include this information with the application for IMR. The
  DMHC fax number is (916)229-0465. You may also reach the DMHC by calling 1-888-466-2219.
  Accepted Applications for Independent Medical Review
  Upon receiving your application for IMR, the DMHC will review your request and notify you whether your
  case has been accepted. If your case is eligible for IMR, the dispute will be submitted to an Independent
  Medical Review (IMR) organization contracted with the DMHC for review by one or more expert
  reviewers, independent of UnitedHealthcare Benefits Plan of California, who will make an independent
  determination of whether or not the care should be provided. The IMR selects an independent panel of
  medical professionals knowledgeable in the treatment of your condition, the proposed treatment and the
  guidelines and protocols in the area of treatment under review. Neither you nor UnitedHealthcare Benefits
  Plan of Califomia will control the choice of expert reviewers.
  UnitedHealthcare Benefits Plan of California must provide the following documents to the IMR
  organization within three business days of receiving notice from the DMHC that you have successfully
  applied for an IMR:
         1. The relevant medical records in the possession of UnitedHealthcare Benefits Plan of California
            or its providers;
        2. All information provided to you by UnitedHealthcare Benefits Plan of California and any of its
           providers concerning UnitedHealthcare Benefits Plan of California and provider decisions
           regarding your condition and care (including a copy of UnitedHealthcare Benefits Plan of
           California's denial notice sent to you);
        3. Any materials that you or your provider submitted to UnitedHealthcare Benefits Plan of
           California and its providers in support of the request for the health care services;
        4. Any other relevant documents or information used by UnitedHealthcare Benefits Plan of
           California or its providers in determining whether the health care service should have been
           provided and any statement by UnitedHealthcare Benefits Plan of California or its providers
           explaining the reasons for the decision. The Plan shall provide copies of these documents to
           you and your provider unless any information in them is found by the DMHC to be privileged.
  If there is an imminent and serious threat to your health, UnitedHealthcare Benefits Plan of California will
  deliver the necessary information and documents listed above to the IMR organization within 24 hours of
  approval of the request for IMR.
  After submitting all of the required material to the IMR, UnitedHealthcare Benefits Plan of California will
  promptly issue you a notification that includes an annotated list of the documents submitted and offer you
  the opportunity to request copies of those documents from UnitedHealthcare Benefits Plan of California.
 If there is any information or evidence you or your provider wish to submit to the DMHC in support of IMR
 that was not previously provided to UnitedHealthcare Benefits Plan of California, you may include this
 information with your application to the DMHC. Also as required, you or your provider must provide to the
 DMHC or the IMR copies of any relevant medical records, and any newly developed or discovered
 relevant medical records after the initial documents are provided, and respond to any requests for
 additional medical records or other relevant information from the expert reviewers.
  Disapproval of a Prior Authorization Request of a Non-formulary Drugs
 If a Member objects to a disapproval of a prior authorization request of a "non-formulary" drug and a step
 therapy exception request, if applicable, through the prior authorization process, s/he, a representative, or
 the prescribing Provider can file a grievance seeking an external exception review. Information as to how
 to request a review will be included in the Member's notice of denial for prior authorization. We will




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  respond to the review within 24 hours of receipt by us of the request, if exigent, and within 72 hours of
  receipt if non-urgent. The external exception review process is in addition to the right of a Member to file a
  grievance or request for independent medical review administered by the DMHC.
  The Independent Medical Review Decision
  The independent review panel will render its analysis and recommendations on your IMR case in writing,
  and in layperson's terms to the maximum extent practical, within 30 calendar days of receiving your
  request for IMR and supporting information. The time may be adjusted under any of the following
  circumstances:
  In the case of a review of an Experimental or Investigational determination, if your Physician determines
  that the proposed treatment or therapy would be significantly less effective if not promptly initiated. In this
  instance, the analysis and recommendations will be rendered within seven calendar days of the request
  for expedited review. The review period can be extended up to three calendar days for a delay in
  providing required documents at the request of the expert. The organization shall complete its review and
  make its determination in writing and in layperson's terms to the maximum extent practicable, within 30
  days of the receipt of the application for review and supporting documentation, or within less time as
  prescribed by the director.
  If the disputed health care service has not been provided and the enrollee's provider or the Department
  certifies in writing that an imminent and serious threat to the health of the enrollee may exist, including,
  but not limited to, serious pain, the potential loss of life, limb or major bodily function or the immediate and
  serious deterioration of the health of the enrollee, the analyses and determinations of the reviewers shall
  be expedited and rendered within three days of the receipt of the information.
  Subject to the approval of the DMHC,the deadlines for analyses and determinations involving tooth
  regular and expedited reviews may be extended by the director for up to three days in extraordinary
  circumstances or for good cause.
 The IMR will provide the DMHC, you and your Physician with each of the experts' analyses and
 recommendations, and a description of the qualifications of each expert. The IMR will keep the names of
 the expert reviewers confidential, except in cases where the reviewer is called to testify and in response
 to court orders. In the case of an Experimental or Investigational determination, the experts' analyses will
 state the reasons the requested Experimental or Investigational therapy is or is not likely to be more
 beneficial for you than any available standard therapy and the reasons for recommending why the
 therapy should or should not be provided by UnitedHealthcare Benefits Plan of California, citing your
 specific medical condition, the relevant documents provided and the relevant medical and scientific
 evidence supporting the experts' recommendation. In the case of a review of a Disputed Health Care
 Service denied as not Medically Necessary, the experts' analyses will state whether the Disputed Health
 Care Service is Medically Necessary and cite your medical condition, the relevant documents in the
 record and the reviewers' relevant findings.
 The recommendation of the majority of the experts on the panel will prevail. If the experts on the panel
 are evenly divided as to whether the health care service should be provided, the panel's decision will be
 deemed to be in favor of coverage. If the majority of the experts on the panel does not recommend
 providing the health care service, UnitedHealthcare Benefits Plan of California will not be required to
 provide the service.
  When a Decision is Made
 The DMHC will immediately adopt the decision of the IMR upon receipt and will promptly issue a written
 decision to the parties that will be binding on UnitedHealthcare Benefits Plan of California.
 UnitedHealthcare Benefits Plan of California will promptly implement the decision when received from the
 DMHC. In the case of an IMR determination requiring reimbursement for services already rendered,
 United Healthcare Benefits Plan of California will reimburse either you or your provider — whichever
 applies — within five business days. In the case of services not yet rendered to you, UnitedHealthcare
 Benefits Plan of California will authorize the services within five business days of receiving the written
 decision from the DMHC, or sooner if appropriate for the nature of your medical condition, and will inform
 you and your Physician of the authorization.




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  UnitedHealthcare Benefits Plan of California will promptly reimburse you for reasonable costs associated
  with Urgently Needed Services or Emergency Medical Condition outside of UnitedHealthcare Benefits
  Plan of California's provider Network, if:
 •      The services are found by the IMR to have been Medically Necessary;
 •      The DMHC finds your decision to secure services outside of UnitedHealthcare Benefits Plan of
        California's provider Network prior to completing the UnitedHealthcare Benefits Plan of California
        Grievance process or seeking IMR was reasonable under the circumstances; and
 •      The DMHC finds that the Disputed Health Care Services were a covered benefit under the
        Subscriber Agreement.
  Health care services required by IMR will be provided subject to the terms and conditions generally
  applicable to all other benefits under your UnitedHealthcare Benefits Plan of California health plan.
  For more information regarding the IMR process, or to request an application, please call
  UnitedHealthcare Benefits Plan of California's Customer Care department.
  Review by the Department of Managed Health Care
 The California Department of Managed Health Care is responsible for regulating health care
 service plans. If you have a Grievance against your health plan, you should first telephone your
 health plan at 1-800-260-2773 or 711 (TTY)and use your health plan's Grievance process before
 contacting the department. Utilizing this Grievance procedure does not prohibit any potential legal
 rights or remedies that may be available to you. If you need help with a Grievance involving an
 Emergency, a Grievance that has not been satisfactorily resolved by your health plan, or a
 Grievance that has remained unresolved for more than 30 days, you may call the department for
 assistance. You may also be eligible for an Independent Medical Review (IMR). If you are eligible
 for IMR, the IMR process will provide an impartial review of medical decisions made by a health
 plan related to the Medical Necessity of a proposed service or treatment, coverage decisions for
 treatments that are Experimental or Investigational in nature and payment disputes for Emergency
 or urgent medical services. The department also has a toll-free telephone number (1-888-466-2219)
 and a TDHI line (1-877-688-9891)for the hearing- and speech-impaired. The department's Internet
 website http://www.dmhc.ca.gov/fileacomplaint.aspx has Complaint forms, IMR application forms
 and instructions online.
  Grievances Involving the Cancellation, Rescission or Non-Renewal of Subscriber
  Agreement
 If you believe that your enrollment or Subscriber Agreement has been, or will be improperly rescinded,
 canceled, or not renewed, you have the right to file a complaint.
 You can file a complaint with UnitedHealthcare Benefits Plan of California by contacting us at the
 telephone number on your ID card or visiting www.myuhc.com or by mail at:
 UnitedHealthcare Benefits Plan of California
 P.O. Box 30573
 Salt Lake City, UT 84130-0573
 •     You should file your complaint as soon as possible after you receive notice that your enrollment or
       Subscriber Agreement will be rescinded, canceled or not renewed. UnitedHealthcare Benefits Plan
       of California must give you a decision within three calendar days from receipt of your complaint
       regardless of whether your complaint is urgent or not. The Plan will provide its decision through a
       notice sent to you and the DMHC.
        You have at least or up to 180 days from the date of the notice to submit a grievance to the Plan
        when you think there is improper cancellation, rescission or non-renewal.
  Take your complaint to the California Department of Managed Health Care
 (DMHC)
 The DMHC oversees health care service plans in California licensed by the Department and protects the
 rights of Members. You can file a complaint with the DMHC instead of the Plan whether it is urgent or not.




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  If a proper complaint exists, the DMHC shall give notice to the Member and to us that it has been
  accepted within 48 hours of the determination that the complaint is proper. Within 30 calendar days of
  receipt or longer, if needed, the Director will send notice of its determination to the Member and to us.
  For Help
 Contaathe DMHC Help Center at the toll-free telephone number(1-888-466-2219) to receive assistance
  with this process, or submit an inquiry in writing to the DMHC, California Help Center, 980 9th Street,
 Suite 500, Sacramento, CA 95814-2725 or through the website: http://www.dmhc.ca.gov. The hearing
 and speech impaired may use the California Relay Service's toll-free telephone number 1-877-688-9891
 (TTY).




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                     Section 7: Coordination of Benefits
  Benefits When You Have Coverage under More than One Plan
  This section describes how Benefits under the Agreement will be coordinated with those of any other plan
  that provides benefits to you. The language in this section is based on California regulations.

  When Does Coordination of Benefits Apply?
  This Coordination of Benefits(COB) provision applies when a person has health care coverage under
  more than one Plan. Plan is defined below.
  The order of benefit determination rules below govern the order in which each Plan will pay a claim for
  benefits.
  •     Primary Plan. The Plan that pays first is called the Primary Plan. The Primary Plan must pay
        benefits in accordance with its Agreement terms without regard to the possibility that another Plan
        may cover some expenses.
  •     Secondary Plan. The Plan that pays after the Primary Plan is the Secondary Plan. The Secondary
        Plan may reduce the benefits it pays so that payments from all Plans do not exceed 100% of the
        total Allowable Expense. Allowable Expense is defined below.

  Definitions
  For purposes of this section, terms are defined as follows:
  A.    Plan. A Plan is any of the following that provides benefits or services for medical, pharmacy or
        dental care or treatment. If separate contracts are used to provide coordinated coverage for
        members of a group, the separate contracts are considered parts of the same plan and there is no
        COB among those separate contracts.
        1. Plan includes: group and non-group insurance contracts, health maintenance organization
           (HMO)contracts, closed panel plans or other forms of group or group-type coverage (whether
            insured or uninsured); medical care components of long-term care contracts, such as skilled
            nursing care; medical benefits under group or individual automobile contracts; and Medicare or
           any other federal governmental plan, as permitted by law.
        2. Plan does not include: hospital indemnity coverage insurance or other fixed indemnity
           coverage; accident only coverage; specified disease or specified accident coverage; limited
           benefit health coverage, as defined by state law; school accident type coverage; benefits for
           non-medical components of long-term care policies; Medicare supplement policies; Medicaid
           policies; or coverage under other federal governmental plans, unless permitted by law.
        Each contract for coverage under 1. or 2. above is a separate Plan. If a Plan has two parts and
        COB rules apply only to one of the two, each of the parts is treated as a separate Plan.
        The term "Plan" shall be construed separately with respect to each policy, contract, or other
        arrangement for benefits or services and separately with respect to that portion of any such policy,
        contract, or other arrangement which reserves the right to take the benefits or services of other
        Plans into consideration in determining its benefits and that portion which does not.
  B.    This Plan. This Plan means, in a COB provision, the part of the contract providing the health care
        benefits to which the COB provision applies and which may be reduced because of the benefits of
        other plans. Any other part of the contract providing health care benefits is separate from This Plan.
        A contract may apply one COB provision to certain benefits, such as dental benefits, coordinating
        only with similar benefits, and may apply another COB provision to coordinate other benefits.
  C.    Order of Benefit Determination Rules. The order of benefit determination rules determine
        whether This Plan is a Primary Plan or Secondary Plan when the person has health care coverage
        under more than one Plan. When This Plan is primary, it determines payment for its benefits first




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        before those of any other Plan without considering any other Plan's benefits. When This Plan is
        secondary, it determines its benefits after those of another Plan and may reduce the benefits it
        pays so that all Plan benefits do not exceed 100% of the total Allowable Expense.
  D.    Allowable Expense. Allowable Expense is a health care expense, including Deductibles, Co-
        insurance and Co-payments, that is covered at least in part by any Plan covering the person. When
        a Plan provides benefits in the form of services, the reasonable cash value of each service will be
        considered an Allowable Expense and a benefit paid. An expense that is not covered by any Plan
        covering the person is not an Allowable Expense. In addition, any expense that a provider by law or
        according to contractual agreement is prohibited from charging a Covered Person is not an
        Allowable Expense.
        The following are examples of expenses or services that are not Allowable Expenses:
        1. The difference between the cost of a semi-private hospital room and a private room is not an
           Allowable Expense unless one of the Plans provides coverage for private hospital room
           expenses.
        2. If a person is covered by two or more Plans that compute their benefit payments on the basis
           of usual and customary fees or relative value schedule reimbursement methodology or other
           similar reimbursement methodology, any amount in excess of the highest reimbursement
           amount for a specific benefit is not an Allowable Expense.
        3. If a person is covered by two or more Plans that provide benefits or services on the basis of
           negotiated fees, an amount in excess of the highest of the negotiated fees is not an Allowable
           Expense.
        4. If a person is covered by one Plan that calculates its benefits or services on the basis of usual
           and customary fees or relative value schedule reimbursement methodology or other similar
           reimbursement methodology and another Plan that provides its benefits or services on the
           basis of negotiated fees, the Primary Plan's payment arrangement shall be the Allowable
           Expense for all Plans. However, if the provider has contracted with the Secondary Plan to
           provide the benefit or service for a specific negotiated fee or payment amount that is different
           than the Primary Plan's payment arrangement and if the provider's contract permits, the
           negotiated fee or payment shall be the Allowable Expense used by the Secondary Plan to
           determine its benefits.
        5. The amount of any benefit reduction by the Primary Plan because a Covered Person has failed
           to comply with the Plan provisions is not an Allowable Expense. Examples of these types of
           plan provisions include second surgical opinions, precertification of admissions and preferred
           provider arrangements.
  E.    Closed Panel Plan. Closed Panel Plan is a Plan that provides health care benefits to Covered
        Persons primarily in the form of services through a panel of providers that have contracted with or
        are employed by the Plan, and that excludes benefits for services provided by other providers,
        except in cases of Emergency or referral by a panel member.
  F.    Custodial Parent. Custodial Parent is the parent awarded custody by a court decree or, in the
        absence of a court decree, is the parent with whom the child resides more than one half of the
        calendar year excluding any temporary visitation.

  What Are the Rules for Determining the Order of Benefit Payments?
  When a person is covered by two or more Plans, the rules for determining the order of benefit payments
  are as follows:
  A.    The Primary Plan pays or provides its benefits according to its terms of coverage and without
        regard to the benefits under any other Plan.




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  B.   Except as provided in the next paragraph, a Plan that does not contain a coordination of benefits
       provision that is consistent with this provision is always primary unless the provisions of both Plans
       state that the complying plan is primary.
       Coverage that is obtained by virtue of membership in a group that is designed to supplement a part
       of a basic package of benefits and provides that this supplementary coverage shall be in excess of
       any other parts of the Plan provided by the contract holder. Examples of these types of situations
       are major medical coverages that are superimposed over base plan hospital and surgical benefits
       and insurance type coverages that are written in connection with a Closed Panel Plan to provide
       Out-of-Network Benefits.
  C.   A Plan may consider the benefits paid or provided by another Plan in determining its benefits only
       when it is secondary to that other Plan.
  D.   Each Plan determines its order of benefits using the first of the following rules that apply:
       1. Non-Dependent or Dependent. The Plan that covers the person other than as a dependent,
          for example as an employee, Member, policyholder, subscriber or retiree is the Primary Plan
          and the Plan that covers the person as a dependent is the Secondary Plan. However, if the
          person is a Medicare beneficiary and, as a result of federal law, Medicare is secondary to the
          Plan covering the person as a dependent; and primary to the Plan covering the person as other
          than a dependent (e.g. a retired employee); then the order of benefits between the two Plans is
          reversed so that the Plan covering the person as an employee, Member, policyholder,
          subscriber or retiree is the Secondary Plan and the other Plan is the Primary Plan.
       2. Dependent Child Covered Under More Than One Coverage Plan. Unless there is a court
          decree stating otherwise, plans covering a dependent child shall determine the order of
          benefits as follows:
             a)     For a dependent child whose parents are married or are living together, whether or
                    not they have ever been married:
                   (1)     The Plan of the parent whose birthday falls earlier in the calendar year is the
                           Primary Plan; or
                   (2)     If both parents have the same birthday, the Plan that covered the parent
                           longest is the Primary Plan.
             b)     For a dependent child whose parents are divorced or separated or are not living
                    together, whether or not they have ever been married:
                   (1)     If a court decree states that one of the parents is responsible for the dependent
                           child's health care expenses or health care coverage and the Plan of that
                           parent has actual knowledge of those terms, that Plan is primary. If the parent
                           with responsibility has no health care coverage for the dependent child's health
                           care expenses, but that parent's spouse does, that parent's spouse's plan is the
                           Primary Plan. This shall not apply with respect to any plan year during which
                           benefits are paid or provided before the entity has actual knowledge of the
                           court decree provision.
                   (2)     If a court decree states that both parents are responsible for the dependent
                           child's health care expenses or health care coverage, the provisions of
                           subparagraph a) above shall determine the order of benefits.
                   (3)     If a court decree states that the parents have joint custody without specifying
                           that one parent has responsibility for the health care expenses or health care
                           coverage of the dependent child, the provisions of subparagraph a) above shall
                           determine the order of benefits.
                   (4)     If there is no court decree allocating responsibility for the child's health care
                           expenses or health care coverage, the order of benefits for the child are as
                           follows:




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                           (a)    The Plan covering the Custodial Parent.
                          (b)     The Plan covering the Custodial Parent's spouse.
                          (c)     The Plan covering the non-Custodial Parent.
                          (d)     The Plan covering the non-Custodial Parent's spouse.
              C)    For a dependent child covered under more than one plan of individuals who are not
                    the parents of the child, the order of benefits shall be determined, as applicable, under
                    subparagraph a)or b) above as if those individuals were parents of the child.
       3. Active Employee or Retired or Laid-off Employee. The Plan that covers a person as an
          active employee, that is, an employee who is neither laid off nor retired is the Primary Plan.
          The same would hold true if a person is a dependent of an active employee and that same
          person is a dependent of a retired or laid-off employee. If the other Plan does not have this
          rule, and, as a result, the Plans do not agree on the order of benefits, this rule is ignored. This
          rule does not apply if the rule labeled D.1. can determine the order of benefits.
       4. COBRA or State Continuation Coverage. If a person whose coverage is provided pursuant
          to COBRA or under a right of continuation provided by state or other federal law is covered
          under another Plan, the Plan covering the person as an employee, Member, subscriber or
          retiree or covering the person as a dependent of an employee, Member, subscriber or retiree is
          the Primary Plan, and the COBRA or state or other federal continuation coverage is the
          Secondary Plan. If the other Plan does not have this rule, and as a result, the Plans do not
          agree on the order of benefits, this rule is ignored. This rule does not apply if the rule labeled
          0.1. can determine the order of benefits.
       5. Longer or Shorter Length of Coverage. The Plan that covered the person the longer period
          of time is the Primary Plan and the Plan that covered the person the shorter period of time is
          the Secondary Plan.
       6. If the preceding rules do not determine the order of benefits, the Allowable Expenses shall be
          shared equally between the Plans meeting the definition of Plan. In addition, This Plan will not
          pay more than it would have paid had it been the Primary Plan.

  Effect on the Benefits of This Plan
  A.   When This Plan is secondary, it may reduce its benefits so that the total benefits paid or provided
       by all Plans are not more than the total Allowable Expenses. In determining the amount to be paid
       for any claim, the Secondary Plan will calculate the benefits it would have paid in the absence of
       other health care coverage and apply that calculated amount to any Allowable Expense under its
       Plan that is unpaid by the Primary Plan. The Secondary Plan may then reduce its payment by the
       amount so that, when combined with the amount paid by the Primary Plan, the total benefits paid or
       provided by all Plans for the claim do not exceed the total Allowable Expense for that claim. In
       addition, the Secondary Plan shall credit to its plan Deductible any amounts it would have credited
       to its Deductible in the absence of other health care coverage.
  B.   If a Covered Person is enrolled in two or more Closed Panel Plans and if, for any reason, including
       the provision of service by a non-panel provider, benefits are not payable by one Closed Panel
       Plan, COB shall not apply between that Plan and other Closed Panel Plans.
  C.   This Coverage Plan reduces its benefits as described below for Covered Persons who are eligible
       for Medicare when Medicare would be the Primary Plan. Medicare would be the Primary Plan if:
       •     The person is a COBRA qualifed beneficiary; and/or
       •     The person is a retiree; and/or
       •     The person has end stage renal disease, after 30 months of Medicare eligibility/entitlement;
             and/or
       •     Other instances where Medicare would pay first under Medicare Secondary Payer Rules.




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         Medicare benefits are determined as if the full amount that would have been payable under
         Medicare was actually paid under Medicare, even if:
        • The person is entitled but not enrolled in Medicare. Medicare benefits are determined as if the
             person were covered under Medicare Part B.
               The person is enrolled in a Medicare Advantage (Medicare Part C) plan and receives non-
               covered services because the person did not follow all rules-of that plan. Medicare benefits
               are determined as if the services were covered under Medicare Parts A and B.
               The person receives services from a provider who has elected to opt-out of Medicare.
               Medicare benefits are determined as if the services were covered under Medicare Parts A
               and B and the provider had agreed to limit charges to the amount of charges allowed under
               Medicare rules.
               The services are provided in any facility that is not eligible for Medicare reimbursements,
               including a Veterans Administration facility, facility of the Uniformed Services, or other facility
               of the federal government. Medicare benefits are determined as if the services were
               provided by a facility that is eligible for reimbursement under Medicare.
               The person is enrolled under a plan with a Medicare Medical Savings Account. Medicare
               benefits are determined as if the person were covered under Medicare Parts A and B.
        Important: If we are secondary to Medicare, we will pay Benefits under this Coverage Plan as if
        you were covered under primary Medicare for covered Part B benefits even if you do not enroll. As
        a result, your out-of-pocket costs will be higher.
        If you have not enrolled in Medicare, Benefits will be determined as if you timely enrolled in
        Medicare and obtained services from a Medicare participating provider if either of the following
        applies:
        •      You are eligible for, but not enrolled in, Medicare and this Coverage Plan is secondary to
               Medicare.
               You have enrolled in Medicare but choose to obtain services from a doctor that opts-out of
               the Medicare program.
        When calculating the Coverage Plan's Benefit in these situations, we use Medicare's approved
        amount or Medicare's limiting charge as the Allowable Expense.

  Right to Receive and Release Needed Information
  Certain facts about health care coverage and services are needed to apply these COB rules and to
  determine benefits payable under This Plan and other Plans. We may get the facts we need from, or give
  them to, other organizations or persons for the purpose of applying these rules and determining benefits
  payable under This Plan and other Plans covering the person claiming benefits.
  We need not tell, or get the consent of, any person to do this. Each person claiming benefits under This
  Plan must give us any facts we need to apply those rules and determine benefits payable. If you do not
  provide us the information we need to apply these rules and determine the Benefits payable, your claim
  for Benefits will be denied.

  Payments Made
  A payment made under another Plan may include an amount that should have been paid under This
  Plan. If it does, we may pay that amount to the organization that made the payment. That amount will
  then be treated as though it were a benefit paid under This Plan. We will not have to pay that amount
  again. The term "payment made" includes providing benefits in the form of services, in which case
  "payment made" means reasonable cash value of the benefits provided in the form of services.




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  Does This Plan Have the Right of Recovery?
  If the amount.of the payments we made is more than we should have paid under this COB provision, we
   may recover the excess from one or more of the persons we have paid or for whom we have paid; or any
  other person or organization that may be responsible for the benefits or services provided for you. The
  "amount of the payments made" includes the reasonable cash value of any benefits provided in the form
  of services.

  How Are Benefits Paid When This Plan is Secondary to Medicare?
  If This Plan is secondary to Medicare, then Benefits payable under This Plan will be based on Medicare's
  reduced benefits.




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                     Section 8: General Legal Provisions
  What Is Your Relationship with Us?
  It is important for you to understand our role with respect to the Group's Agreement and how it may affect
  you. We help finance or administer the Group's Agreement in which you are enrolled. We do not provide
  medical services or make treatment decisions. This means:
  •     We communicate to you decisions about whether the Group's Agreement will cover or pay for the
        health care that you may receive. The Agreement pays for Covered Health Care Services, which
        are more fully described in this Combined Evidence of Coverage and Disclosure Form.
  •     The Agreement may not pay for all treatments you or your Physician may believe are needed. If the
        Agreement does not pay, you will be responsible for the cost.
  We may use individually identifiable information about you to identify for you (and you alone) procedures,
  products or services that you may find valuable. We will use individually identifiable information about you
  as permitted or required by law, including in our operations and in our research. We will use de-identified
  data for commercial purposes including research.
  Please refer to our Notice of Privacy Practices for details.

  What Is Our Relationship with Providers and Groups?
  The relationships between us and Network providers and Groups are solely contractual relationships
  between independent contractors. Network providers and Groups are not our agents or employees.
  Neither we nor any of our employees are agents or employees of Network providers or the Groups.
  We do not provide health care services or supplies, or practice medicine. We arrange for health care
  providers to participate in a Network and we pay Benefits. Network providers are independent
  practitioners who run their own offices and facilities. Our credentialing process confirms public information
  about the providers' licenses and other credentials. It does not assure the quality of the services provided.
  They are not our employees nor do we have any other relationship with Network providers such as
  principal-agent or joint venture. We are not responsible for any act or omission of any provider.
  We will provide you with written notice within a reasonable time of any termination or breach of a Network
  Provider's contract if you may be materially and adversely affected by such termination or breach.
  We are not considered to be an employer for any purpose with respect to the administration or provision
  of benefits under the Group's Agreement. We are not responsible for fulfilling any duties or obligations of
  an employer with respect to the Group's Agreement.
  The Group is solely responsible for all of the following:
  •     Enrollment and classification changes (including classification changes resulting in your enrollment
        or the termination of your coverage).
  •     The timely payment of the Agreement Charge to us.
  •      Notifying you of when the Agreement ends.
  When the Group purchases the Agreement to provide coverage under a benefit plan governed by the
  Employee Retirement Income Security Act(''ERISA"), 29 U.S.C. §1001 et seq., we are not the plan
  administrator or named fiduciary of the benefit plan, as those terms are used in ERISA. If you have
  questions about your welfare benefit plan, you should contact the Group. If you have any questions about
  this statement or about your rights under ERISA, contact the nearest area office of the Employee Benefits
  Security Administration, U. S. Department of Labor.

  What Is Your Relationship with Providers and Groups?
  The relationship between you and any provider is that of provider and patient.




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  You are responsible for all of the following:
  •      Choosing your own provider.
  •      Paying, directly to your provider, any amount identified as a Member responsibility, including Co-
         payments, Co-insurance, any Deductible and any amount that exceeds the Allowed Amount.
  •     Paying, directly to your provider, the cost of any non-Covered Health Care Service.
  •     Deciding if any provider treating you is right for you. This includes Network providers you choose
        and providers that they refer.
  •      Deciding with your provider what care you should receive.
  Your provider is solely responsible for the quality of the services provided to you.
  The relationship between you and the Group is that of employer and employee, Dependent or other
  classification as defined in the Agreement.

  Statements by Group or Subscriber
  All statements made by the Group or by a Subscriber shall, in the absence of fraud, be deemed
  representations and not warranties. We will not use any statement made by the Group or by a Subscriber
  to void the Agreement including fraud or an intentional misrepresentation of a material fact, after twenty-
  four months from the date of issuance of the Agreement.

  Do We Pay Incentives to Providers?
  We pay Network providers through various types of contractual arrangements. Some of these
  arrangements may include financial incentives to promote the delivery of health care in a cost efficient
  and effective manner. These financial incentives are not intended to affect your access to health care.
  Examples of financial incentives for Network providers are:
  •     Bonuses for performance based on factors that may include quality, Member satisfaction and/or
        cost-effectiveness.
  •     Capitation - a group of Network providers receives a monthly payment from us for each Covered
        Person who selects a Network provider within the group to perform or coordinate certain health
        care services. The Network providers receive this monthly payment regardless of whether the cost
        of providing or arranging to provide the Covered Person's health care is less than or more than the
        payment.
  •     Bundled payments - certain Network providers receive a bundled payment for a group of Covered
        Health Care Services for a particular procedure or medical condition. The applicable Co-payment
        will be calculated based on the provider type that received the bundled payment. The Network
        providers receive bundled payments regardless of whether the cost of providing or arranging to
        provide the Covered Person's health care is less than or more than the payment. If you receive
        follow-up services related to a procedure where a bundled payment is made, an additional Co-
        payment may not be required if such follow-up services are included in the bundled payment. You
        may receive some Covered Health Care Services that are not considered part of the inclusive
        bundled payment and those Covered Health Care Services would be subject to the applicable Co-
        payment as described in the Schedule of Benefits.
  We use various payment methods to pay specific Network providers. From time to time, the payment
  method may change. If you have questions about whether your Network provider's contract with us
  includes any financial incentives, we encourage you to discuss those questions with your provider. You
  may also call us at the telephone number on your ID card. We can advise whether your Network provider
  is paid by any financial incentive, including those listed above.




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   Liability of Subscriber for Payment
  Members will not be required to pay any Network provider for amounts owed to that provider by
  UnitedHealthcare Benefits Plan of California (other than Co-payments/Co-insurance), even in the unlikely
  event that UnitedHealthcare Benefits Plan of California fails to pay the provider. Members are not
  financially responsible for payment of Emergency Health Care Services, beyond the Co-payments, Co-
  insurance, and Deductibles as provided in this Agreement. Members are liable, however, to pay Out-of-
  Network providers for any and all amounts owed to those providers not covered or excluded as provided
  in this Agreement.
  If you receive Covered Health Care Services in a Network contracting health care facility but from an Out-
  of-Network individual health professional, you are only required to pay the Co-payment/ Deductible
  amount specified in your Schedule of Benefits. A Network "contracting health facility" includes, but not
  limited to, a licensed Hospital; ambulatory surgery center or other outpatient setting, lab, radiology or
  imaging center. You should not be billed more than the amounts shown on your Schedule of Benefits.

  Are Incentives Available to You?
  Sometimes we may offer enhanced Benefits, or other incentives to encourage you to take part in various
  programs, including wellness programs, certain disease management programs, surveys, discount
  programs and/or programs to seek care in a more cost effective setting and/or from Designated
  Providers. In some instances, these programs may be offered in combination with a non-
  UnitedHealthcare entity. The decision about whether or not to take part in a program is yours alone.
  However, we recommend that you discuss taking part in such programs with your Physician. Contact us
  at www.myuhc.com or the telephone number on your ID card if you have any questions.

  Do We Receive Rebates and Other Payments?
  We may receive rebates for certain drugs that are administered to you in your home or in a Physician's
  office, or at a Hospital or Alternate Facility. This includes rebates for those drugs that are administered to
  you before you meet any applicable Deductible. We will account for any rebates and other retrospective
  cost and pricing arrangements for outpatient prescription drugs by verifying that the rebates and other
  retrospective cost and pricing arrangements for outpatient prescription drugs are applied by us to reduce
  your cost.

  Who Interprets Benefits and Other Provisions under the Agreement?
  We have the final authority to do all of the following:
  •     Interpret Benefits under the Agreement.
  •     Interpret the other terms, conditions, limitations and exclusions set out in the Agreement, including
        this Combined Evidence of Coverage and Disclosure Form, the Schedule of Benefits and any
        Riders and/or Amendments.
  •     Make factual determinations related to the Agreement and its Benefits.
  We may assign this authority to other persons or entities that provide services in regard to the
  administration of the Agreement.
  In certain circumstances, for purposes of overall cost savings or efficiency, we may offer Benefits for
  services that would otherwise not be Covered Health Care Services. The fact that we do so in any
  particular case shall not in any way be deemed to require us to do so in other similar cases.

  Who Provides Administrative Services?
  We provide administrative services or, as we determine, we may arrange for various persons or entities to
  provide administrative services, such as claims processing. The identity of the service providers and the
  nature of the services they provide may be changed from time to time as we determine. We are not




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  required to give you prior notice of any such change, nor are we required to obtain your approval. You
  must cooperate with those persons or entities in the performance of their responsibilities.

  Amendments to the Agreement
  To the extent permitted by law, we have the right to change, interpret, withdraw or add Benefits or end the
  Agreement with a 60-day advance notice.
  Any provision of the Agreement which, on its effective date, is in conflict with the requirements of state or
  federal statutes or regulations (of the jurisdiction in which the Agreement is delivered) is amended to
  conform to the minimum requirements of such statutes and regulations.
  No other change may be made to the Agreement unless it is made by an Amendment or Rider which has
  been signed by one of our officers and consistent with applicable notice requirements. All of the following
  conditions apply:
  •     Amendments and Riders to the Agreement are effective upon the Group's next anniversary date,
        except as otherwise permitted by law.
  •      No agent has the authority to change the Agreement or to waive any of its provisions.
  •      No one has authority to make any oral changes or Amendments to the Agreement.

  How Do We Use Information and Records?
  We will protect the privacy of protected health information. We also require Network providers to protect
  your protected health information. Protected health information is individually-identifiable information (oral,
  written, or electronic) about your health, health care services you receive, or payment for your health
  care. We may use your individually identifiable health information as follows:
  •     To administer the Agreement and pay claims.
  •     To identify procedures, products, or services that you may find valuable.
  •     As otherwise permitted or required by law.
  We may request additional information from you to decide your claim for Benefits. We will keep this
  information confidential. We may also use de-identified data for commercial purposes, including research,
  as permitted by law. More detail about how we may use or disclose your information is found in our Notice
  of Privacy Practices.
  By accepting Benefits under the Agreement, you authorize and direct any person or institution that has
  provided services to you to furnish us with all information or copies of records relating to the services
  provided to you, including provider billing and provider payment records. We have the right to request this
  information at any reasonable time. This applies to all Covered Persons, including Enrolled Dependents
  whether or not they have signed the Subscriber's enrollment form. We agree that such information and
  records will be considered confidential. Except as compelled by law such as for judicial actions, we may
  not disclose confidential medical information for Members without first obtaining a signed authorization.
  Please refer to our Notice of Privacy Practices that includes information on obtaining written consents and
  revocations.
  We have the right to release records concerning health care services when any of the following apply:
  •     Needed to put in place and administer the terms of the Agreement.
  •     Needed for medical review or quality assessment.
  •     Required by law or regulation.
  During and after the term of the Agreement, we and our related entities may use and transfer the
  information gathered under the Agreement in a de-identified format for commercial purposes, including
  research and analytic purposes. Please refer to our Notice of Privacy Practices.




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  For complete listings of your medical records or billing statements you may contact your health care
  provider. Providers may charge you reasonable fees to cover their costs for providing records or
  completing requested forms.
  If you request medical forms or records from us, we also may charge you reasonable fees to cover costs
  for completing the forms or providing the records.
  In some cases, as permitted by law, we will designate other persons or entities to request records or
  information from or related to you, and to release those records as needed. Our designees have the
  same rights to this information as we have.
  A STATEMENT DESCRIBING OUR POLICIES AND PROCEDURES FOR PRESERVING THE
  CONFIDENTIALITY OF MEDICAL RECORDS IS AVAILABLE AND WILL BE FURNISHED TO YOU
  UPON REQUEST.

  Do We Require Examination of Covered Persons?
  In the event of a question or dispute regarding your right to Benefits, we may require that a Network
  Physician of our choice examine you at our expense.

  Does UnitedHealthcare Offer a Translation Service?
  UnitedHealthcare uses a telephone translation service for almost 140 languages and dialects. In addition,
  if you contact us, our representatives are fluent in Spanish. Translated Member materials are available
  upon request. Interpretation services may also be available at the Network Provider office. Please contact
  the Network Provider for specific language interpretation availability. Timely interpretation services will be
  available at all points of contact where language assistance is needed. For further assistance, please
  contact your health plan at 1-800-624-8822 / TTY: 711.

  Does UnitedHealthcare Offer Hearing and Speech Impaired Telephone
  Lines?
  U nitedHealthcare has a dedicated telephone number for the hearing and speech-impaired. This phone
  number is 711 (TTY).

  How Is My Coverage Provided Under Extraordinary Circumstances?
  In the unfortunate event of a major disaster, epidemic, war, riot, civil insurrection or complete or partial
  destruction of facilities, our Network providers and Hospitals will do their best to provide the services you
  need. Under these extreme conditions, go to the nearest doctor or Hospital for Emergency Health Care
  Services. UnitedHealthcare will later provide appropriate reimbursement.

  Nondiscrimination Notice
  We do not exclude, deny Covered Health Care Services, or otherwise discriminate against any Member
  on the ground of race, color, national origin, ancestry, religion, sex, marital status, gender, gender
  identity, sexual orientation, age, or disability for participation in, or receipt of the Covered Health Care
  Services under, any of its health plans, whether carried out by UnitedHealthcare directly or through a
  Network provider or any other entity with which UnitedHealthcare arranges to carry out Covered Health
  Care Services under any of its health plans.
  This statement is in agreement with the provisions of Title VI of the Civil Rights Act of 1964, Section 504
  of the Rehabilitation Act of 1973, the Age Discrimination Act of 1975, and Regulations of the U.S.
  Department of Health and Human Services issued according to these statutes at Title 45 Code of Federal
  Regulations Parts 80, 84, and 91.
  If you think you were discriminated against, you may file a grievance with the Plan and, if not resolved,
  you can file a grievance with the Department of Managed Healthcare ("DMHC). For filing a grievance,
  please refer to Filing a Grievance under Section 6.




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  If you think you have been discriminated against on the basis of race, color, national origin, age, disability
  or sex, you can file a complaint with the U.S. Department of Health and Human Services.
                               Online: https://ocrportal.hhs.gov/ocr/portal/lobby.jsf
                 Complaint forms are available at http://www.hhs.gov/ocr/office/file/index.html.
                             Phone: Toll-free 1-800-368-1019, 800-537-7697(TDD)
                                 Mail: U.S. Dept. of Health and Human Services
                          200 Independence Avenue, SW Room 509F, HHH Building
                                             Washington, D.C. 20201

  Important Language Information:
  You can get translated written materials and an interpreter at no cost. These rights shall be available in
  the top 15 languages spoken by limited English-proficient individuals in California as determined by the
  State Department of Health Care Services.
  You can get an interpreter in any of the top 15 languages spoken by limited English-proficient individuals
  at no cost to help you talk with your doctor or health plan. To get help in your language, please call your
  health plan at:
                    UnitedHealthcare Benefits Plan of California 1-800-624-8822 / TTY: 711
  Language services and the availability of appropriate auxiliary aids and services, including qualified
  interpreters for individuals with disabilities and information in alternate formats, will be at no charge and
  provided in a timely manner, when those aids and services are necessary to ensure an equal opportunity
  to participate for individuals with disabilities. For further assistance, please contact your health plan at 1-
  800-624-8822 / TTY: 711.

  Public Policy Participation
  UnitedHealthcare Benefits Plan of California gives its Members the opportunity to participate in
  establishing its public policy. At least 51% of the Members of UnitedHealthcare Benefits Plan of
  California's Public Policy Committee are Subscribers/Members. If you are interested in participating in the
  establishment of UnitedHealthcare Benefits Plan of California's public policy, please contact us at the
  telephone number on your ID card.

  Is Workers' Compensation Affected?
  Benefits provided under the Agreement do not substitute for and do not affect any requirements for
  coverage by workers' compensation insurance.

  How Are Benefits Paid When You Are Medicare Eligible?
  Benefits under the Agreement are not intended to supplement any coverage provided by Medicare.
  Nevertheless, in some circumstances Covered Persons who are eligible for or enrolled in Medicare may
  also be enrolled under the Agreement.
  If you are eligible for or enrolled in Medicare, please read the following information carefully.
  If we are the secondary payer to Medicare as described in Section 7: Coordination of Benefits, we will pay
  Benefits as if you had enrolled in Medicare Part B even if you have not enrolled. As a result, you will be
  responsible for the costs that Medicare would have paid and you will incur a larger out-of-pocket cost.
  If you are enrolled in a Medicare Advantage (Medicare Part C) plan on a primary basis (Medicare pays
  before Benefits under the Agreement), you should follow all rules of that plan that require you to seek
  services from that plan's participating providers. When we are the secondary payer, we will pay any
  Benefits available to you under the Agreement as if you had followed all rules of the Medicare Advantage




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  plan. You will be responsible for any additional costs or reduced Benefits that result from your failure to
  follow these rules, and you will incur a larger out-of-pocket cost.

  Subrogation and Reimbursement
  Any demand upon a Member will be in accordance with California Civil Code Section 3040.
  Subrogation is the substitution of one person or entity in the place of another with reference to a lawful
  claim, demand or right. Immediately upon paying or providing any Benefit, we shall be subrogated to and
  shall succeed to all rights of recovery, under any legal theory for the reasonable value of any services and
  Benefits we provided to you, from any or all of the following listed below.
  In addition to any subrogation rights and in consideration of the coverage provided by this Subscriber
  Agreement, we shall also have an independent right to be reimbursed by you for the reasonable value of
  any services and Benefits we provide to you, from any or all of the following listed below.
  •     Third parties, including any person alleged to have caused you to suffer injuries or damages.
  •     Your employer.
  •     Any person or entity who is or may be obligated to provide benefits or payments to you, including
        benefits or payments for underinsured or uninsured motorist protection, no-fault or traditional auto
        insurance, medical payment coverage (auto, homeowners or otherwise), workers' compensation
        coverage, other insurance carriers or third party administrators.
  •     Any person or entity who is liable for payment to you on any equitable or legal liability theory.
  The following persons and entities are considered third parties:
  •     A person or entity alleged to have caused you to suffer a Sickness, Injury or damages, or who is
        legally responsible for the Sickness, Injury or damages.
  •     Any insurer or other indemnifier of any person or entity alleged to have caused or who caused the
        Sickness, Injury or damages.
  •     Your employer in a workers' compensation case or other matter alleging liability.
  •     Any person or entity who is or may be obligated to provide benefits or payments to you, including
        benefits or payments for underinsured or uninsured motorist protection, no-fault or traditional auto
        insurance, medical payment coverage (auto, homeowners or otherwise), workers' compensation
        coverage, other insurance carriers or third party administrators.
  •     Any person or entity against whom you may have any claim for professional and/or legal
        malpractice arising out of or connected to a Sickness or Injury you allege or could have alleged
        were the responsibility of any third party.
  •     Any person or entity that is liable for payment to you on any equitable or legal liability theory.
  You agree as follows:
  •     That you will cooperate with us in protecting our legal and equitable rights to subrogation and
        reimbursement in a timely manner, including, but not limited to:
        •      Providing any relevant information requested by us.
        •      Signing and/or delivering such documents as we or our agents reasonably request to secure
               the subrogation and reimbursement claim.
        •      Responding to requests for information about any accident or injuries.
        •      Making court appearances.
        •      Obtaining our consent or our agents' consent before releasing any party from liability or
               payment of medical expenses.




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  •     That failure to cooperate in this manner shall be deemed a breach of contract, and may result in
        the instigation of legal action against you.
  •     That we have the authority to resolve all disputes regarding.the interpretation of the language
        stated herein.
  •     That no court costs or attorneys' fees may be deducted.from our recovery without our express
        written consent; any so-called "Fund Doctrine" or "Common Fund Doctrine" or "Attorney's Fund
        Doctrine" shall not defeat this right, and we are not required to participate in or pay court costs or
        attorneys' fees to the attorney hired by you to pursue your damage/personal Injury claim.
  •     That regardless of whether you have been fully compensated or made whole, we may collect from
        you the proceeds of any full or partial recovery that you or your legal representative obtain, whether
        in the form of a settlement (either before or after any determination of liability) or judgment, with
        such proceeds available for collection to include any and all amounts earmarked as non-economic
        damage settlement or judgment.
  •     That benefits paid by us may also be considered to be benefits advanced.
  •     That you agree that if you receive any payment from any potentially responsible party as a result of
        an Injury or illness, whether by settlement (either before or after any determination of liability), or
        judgment, you will serve as a constructive trustee over the funds, and failure to hold such funds in
        trust will be deemed as a breach of your duties hereunder.
        That you or an authorized agent, such as your attorney, must hold any funds due and owing us, as
        stated herein, separately and alone, and failure to hold funds as such will be deemed as a breach
        of contract, and may result in the instigation of legal action against you.
        That you will not accept any settlement that does not fully compensate or reimburse us without our
        written approval, nor will you do anything to prejudice our rights under this provision.
 •      That you will assign to us all rights of recovery against Third Parties, to the extent of the reasonable
        value of services and Benefits we provided, plus reasonable costs of collection,
 •      That our rights will be considered as the first priority claim against Third Parties, including
        tortfeasors from whom you are seeking recovery, to be paid before any other of your claims are
        paid.
 •      That we may, at our option, take necessary and appropriate action to preserve our rights under
        these subrogation provisions, including filing suit in your name, which does not obligate us in any
        way to pay you part of any recovery we might obtain.
 •      That we shall not be obligated in any way to pursue this right independently or on your behalf.
 •      That in the case of your wrongful death, the provisions of this section will apply to your estate, the
        personal representative of your estate and your heirs or beneficiaries.
 •      That the provisions of this section apply to the parents, guardian, or other representative of a
        Dependent child who incurs a Sickness or Injury caused by a Third Party. If a parent or guardian
        may bring a claim for damages arising out of a minor's Injury, the terms of this subrogation and
        reimbursement clause shall apply to that claim.

  When Do We Receive Refunds of Overpayments?
  If we pay Benefits for expenses incurred on your account, you, or any other person or organization that
  was paid, must make a refund to us if any of the following apply:
 •      All or some of the expenses were not paid or did not legally have to be paid by you.
 •      All or some of the payment we made exceeded the Benefits under the Agreement.
 •      All or some of the payment was made in error.




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  The refund equals the amount we paid in excess of the amount we should-have paid under the
  Agreement. If the refund is due from another person or organization, you agree to help us get the refund
  when requested.
  If the refund is due from you and you do not promptly refund the full amount, we may recover the
  overpayment by reallocating the overpaid amount to pay, in whole or in part, your future Benefits that are
  payable under the Agreement If the refund is due from a person or organization other than you, we may
  recover the overpayment by reallocating the overpaid amount to pay, in whole or in part; (i) future
  Benefits that are payable in connection with services provided to other Covered Persons under the
  Agreement; or (ii) future Benefits that are payable in connection with services provided to persons under
  other plans for which we make payments, pursuant to a transaction in which our overpayment recovery
  rights are assigned to such other plans in exchange for such plans' remittance of the amount of the
  reallocated payment.
  The reductions will equal the amount of the required refund. We may have other rights in addition to the
  right to reduce future benefits.

  Is There a Limitation of Action?
  You cannot bring any legal action against us to recover reimbursement until you have completed all the
  steps in the appeal process described in Section 6: Questions, Complaints and Appeals. After completing
  that process, if you want to bring a legal action against us you must do so within three years of the date
  we notified you of our final decision on your appeal or you lose any rights to bring such an action against
  US.


  What Is the Entire Agreement?
  The Agreement, this Combined Evidence of Coverage and Disclosure Form, the Schedule of Benefits,
  the Group's Application, the Group Agreement, Supplement to the EOC such as, but not limited to,
  Behavioral Supplement, and other Amendments, if applicable, make up the entire Agreement that is
  issued to the Group.




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                                 Section 9: Defined Terms
  Agreement - the entire agreement issued to the Group that includes all of the following:
  •      Group Agreement.
  •      Combined Evidence of Coverage and Disclosure Form.
  •      Schedule of Benefits.
  •      Group Application.
  •      Amendments.
  •      Supplements to the EOC such as, but not limited to, the Behavioral Supplement.
  These documents make up the entire agreement that is issued to the Group.
  Agreement Charge - the sum of the Premiums for all Covered Persons enrolled under the Agreement.
  Air Ambulance - medical transport by rotary wing Air Ambulance or fixed wing Air Ambulance as defined
  in 42 CFR 414.605.
  Allowed Amounts - for Covered Health Care Services, incurred while the Agreement is in effect, Allowed
  Amounts are determined by us as shown in the Schedule of Benefits.
  Allowed Amounts are determined solely in accordance with our reimbursement policy guidelines or as
  required by law. We develop these guidelines as we determine, after review of all provider billings in
  accordance with one or more of the following methodologies:
  •      As shown in the most recent edition of the Current Procedural Terminology(CPT), a publication of
         the American Medical Association, and/or the Centers for Medicare and Medicaid Services(CMS).
  •      As reported by generally recognized professionals or publications.
  •      As used for Medicare.
  •     As determined by medical staff and outside medical consultants pursuant to other appropriate
        source or determination that we accept.
  Alternate Facility - a health care facility that is not a Hospital. It provides one or more of the following
  services on an outpatient basis, as permitted by law:
  •      Surgical services.
  •      Emergency Health Care Services for Emergency Medical Conditions.
  •      Rehabilitative, laboratory, diagnostic or therapeutic services.
  It may also provide Mental Health Care Services or Substance-Related and Addictive Disorders Services
  on an outpatient or inpatient basis.
  Amendment - any attached written description of added or changed provisions to the Agreement. It is
  effective only when signed by us. It is subject to all conditions, limitations and exclusions of the
  Agreement, except for those that are specifically amended.
  Ancillary Services - items and services provided by out-of-Network Physicians at a Network facility that
  are any of the following:
        •       Related to emergency medicine, anesthesiology, pathology, radiology, and neonatology;
        •      Provided by assistant surgeons, hospitalists, and intensivists;
        •      Diagnostic services, including radiology and laboratory services, unless such items and
               services are excluded from the definition of Ancillary Services as determined by the
               Secretary;
        •      Provided by such other specialty practitioners as determined by the Secretary; and




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        •      Provided by an out-of-Network Physician when no other Network Physician is available.
  Annual Deductible - the total of the Allowed Amount or the Recognized Amount when applicable you
  must pay for Covered Health Care Services before we will begin paying for Benefits. It does not include
  any amount that exceeds Allowed Amounts or Recognized Amounts when applicable. The Schedule of
  Benefits will tell you if-your plan is subject to payment of an Annual Deductible and how it applies.
  Assisted Reproductive Technology(ART)- the term for procedures involving the manipulation of
  human reproductive materials (such as sperm, eggs and/or embryos)to achieve Pregnancy. Examples of
  such procedures are:
  •     In vitro fertilization (IVF).
  •     Gamete intrafallopian transfer (GIFT).
  •     Pronuclear stage tubal transfer(PROST).
  •     Tubal embryo transfer(TET).
  •     Zygote intrafallopian transfer (ZIFT).
  Autism Spectrum Disorder - a condition marked by enduring problems communicating and interacting
  with others, along with restricted and repetitive behavior, interests or activities.
  Benefits - your right to payment for Covered Health Care Services that are available under the
  Agreement.
  Cellular Therapy - administration of living whole cells into a patient for the treatment of disease.
  Chronic Condition - A medical condition that is continuous or persistent over an extended period of time
  and requires ongoing treatment for its management.
  Co-insurance - the charge, stated as a percentage of the Allowed Amount or Recognized Amount when
  applicable, that you are required to pay for certain Covered Health Care Services.
  Congenital Anomaly - a physical developmental defect that is present at the time of birth, and that is
  identified within the first twelve months of birth.
  Co-payment - the charge, stated as a set dollar amount, that you are required to pay for certain Covered
  Health Care Services.
  Please note that for Covered Health Care Services, you are responsible for paying the lesser of the
  following:
  •     The Co-payment.
  •     The Allowed Amount or Recognized Amount when applicable.
  Cosmetic Procedures - procedures or services that are performed to alter or reshape normal structures
  of the body in order to improve appearance.
  Covered Health Care Service(s) - health care services, including services, supplies or Pharmaceutical
  Products, which meet the following:
  •     Provided for the purpose of preventing, evaluating, diagnosing or treating a Sickness, Injury,
        Mental Illness, Substance-Related and Addictive Disorders, condition, disease or its symptoms.
  •     Medically Necessary.
  •     Described as a Covered Health Care Service in this Combined Evidence of Coverage under
        Section 1: Covered Health Care Services and in the Schedule of Benefits.
  •     Not excluded in this Combined Evidence of Coverage and Disclosure Form under Section 2:
        Exclusions and Limitations.
  •     As otherwise required to be covered under the law.




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  Covered Person - the Subscriber or a Dependent, but this term applies only while the person is enrolled
  under the Agreement. We use "you" and "your" in this Combined Evidence of Coverage and Disclosure
  Form to refer to a Covered Person.
  Custodial Care - services that are any of the following non-Skilled Care services:
  •      Non health-related services such as help with daily living activities. Examples include eating,
         dressing, bathing, transferring and ambulating.
  •     Health-related services that can safely and effectively be performed by trained non-medical
        personnel and are provided for the primary purpose of meeting the personal needs of the patient or
        maintaining a level of function, as opposed to improving that function to an extent that might allow
        for a more independent existence.
  Definitive Drug Test - test to identify specific medications, illicit substances and metabolites and is
  qualitative or quantitative to identify possible use or non-use of a drug.
  Dependent - the Subscriber's legal spouse, Domestic Partner or a child of the Subscriber or the
  Subscriber's spouse or Subscriber's Domestic Partner. As described in Section 3: When Coverage
  Begins, eligibility for enrollment and qualification as a Dependent is administered by the Group consistent
  with the eligibility rules noted in the Policy which includes this Combined Evidence of Coverage and
  Disclosure Form and the Group Application. The term "child" includes:
  •     A natural child.
  •     A stepchild.
  •     A legally adopted child.
  •     A child placed for adoption.
  •     Any child for whom the Subscriber has assumed a parent-child relationship, in lieu of a parent-child
        relationship described above, as indicated by intentional assumption of parental status, or
        assumption of parental duties by the Subscriber, as certified by. the Subscriber at the time of
        enrollment of the child, and annually thereafter up to the age of 26 unless the child is disabled. The
        term child does not include foster children.
  •     A child for whom health care coverage is required through a Qualified Medical Child Support Order
        or other court or administrative order. The Group is responsible for determining if an order meets
        the criteria of a Qualified Medical Child Support Order.
  The following conditions apply:
  •     A Dependent includes a child listed above under age 26.
  •     A child is no longer eligible as a Dependent on the last day of the month during which the child
        reaches age 26 except as provided in Section 4: When Coverage Ends.
  •     Enrollment may not be denied based on any of the following facts:
        •      The child does not reside with the Subscriber.
        •      The child is born out of wedlock.
        •      The child is not claimed as a dependent on the Subscriber's federal or state income tax.
        •      The child lives outside the Service Area.
  A child who meets the requirements set forth above ceases to be eligible as a Dependent on the last day
  of the month during which the child reaches age 26.
  The Subscriber must reimburse us for any Benefits paid during a time a child did not satisfy these
  conditions.
  If the Subscriber is required by a court or administrative order to provide health coverage for the
  Subscriber's child, the child will be able to be enrolled regardless of any enrollment season restriction. We




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  will enroll the child upon application for enrollment by the custodial parent, the non-custodial parent, the
  Medi-Cal program, or the local child support agency.
  We will not cancel or revoke enrollment of the child, or eliminate coverage, unless one of the following
  happens:
  •     The Group receives satisfactory written evidence that the order requiring coverage is no longer in
        effect.
  •     The Group receives confirmation that the child is enrolled in other comparable coverage that will
        take effect not later than the effective date of disenrollment under this Agreement.
  •     The Group has eliminated dependent health coverage for all its Subscribers.
  •     The Subscriber is no longer eligible for coverage.
  We will notify both parents and any other person having custody of a child in writing at any time that
  health insurance for the child is terminated.
  When a child is enrolled in a plan of the non-custodial parent or a parent sharing custody or temporary
  control of the child, we will:
  •     Provide the custodial parent with any information needed to obtain Benefits and services for the
        child under this Agreement.
  •     Allow the custodial parent or the health care provider with the custodial parent's approval, to submit
        claims for Benefits, without the approval of the non-custodial parent.
  •     Make claim payments directly to the person or entity who submitted the claim, that is, the custodial
        parent, the health care provider, or the Medi-Cal program.
  Designated Dispensing Entity - a pharmacy, provider, or facility that has entered into an agreement with
  us, or with an organization contracting on our behalf, to provide Pharmaceutical Products for the
  treatment of specified diseases or conditions. Not all Network pharmacies, providers, or facilities are
  Designated Dispensing Entities.
  Designated Network Benefits - the description of how Benefits are paid for certain Covered Health Care
  Services provided by a provider or facility that we have identified as Designated Providers. The Schedule
  of Benefits will tell you if your plan offers Designated Network Benefits and how they apply.
  Designated Provider - a provider and/or facility that:
  •     Has entered into an agreement with us, or with an organization contracting on our behalf, to
        provide Covered Health Care Service for the treatment of specific diseases or condition; or
  •     We have identified through our designation programs as a Designated Provider. Such designation
        may apply to specific treatments, conditions and/or procedures.
  A Designated Provider may or may not be located within your geographic area. Not all Network Hospitals
  or Network Physicians are Designated Providers.
  You can find out if your provider is a Designated Provider by contacting us at www.myuhc.com or the
  telephone number on your ID card.
  Designated Virtual Network Provider - a provider or facility that has entered into an agreement with us,
  or with an organization contracting on our behalf, to deliver Covered Health Care Services through live
  audio with video technology or audio only.
  Domestic Partner - a person who has filed a declaration of domestic partnership with the California
  Secretary of State or a person who meets the eligibility requirements, as defined by the Enrolling Group,
  and the following:
  •     Is 18 years of age or older. An exception is provided to Eligible Persons and/or Dependents less
        than 18 years of age who have, in accordance with California law, obtained:




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               Written consent from the underage person's parents or legal guardian and a court order
               granting permission to the underage person to establish a domestic partnership.
               A court order establishing a domestic partnership if the underage person does not have a
               parent or legal guardian or a parent or legal guardian capable of consenting to the domestic
               partnership.
  •      Is mentally competent to consent to contract.
  •      Is unmarried or not a member of another domestic partnership.
  •     Is not related by blood to the Subscriber to a degree of closeness that would prohibit marriage in
        the state of residence.
  Durable Medical Equipment(DME)- medical equipment that is all of the following:
  •      Ordered or provided by a Physician for outpatient use primarily in a home setting.
  •      Used for medical purposes.
  •      Not consumable or disposable except as needed for the effective use of covered DME.
  •      Not of use to a person in the absence of a disease or disability.
  •     Serves a medical purpose for the treatment of a Sickness or Injury.
  •     Primarily used within the home.
  Eligible Person - an employee of the Group or other person connected to the Group who meets the
  eligibility rules in accordance with the Policy which includes this Combined Evidence of Coverage and
  Disclosure Form and the Group Application.
  Emergency - a serious medical or psychiatric condition or symptom resulting from Injury, Sickness or
  Mental Illness which is both of the following:
  •     Arises suddenly.
  •     In the judgment of a reasonable person, requires immediate care and treatment, generally received
        within 24 hours of onset, to avoid jeopardy to life or health.
  Emergency Medical Condition - a medical condition manifesting itself by acute symptoms of sufficient
  severity (including severe pain) such that the absence of immediate medical attention could reasonably
  be expected by the Covered Member to result in any of the following:
  •      placing the Member's health in serious jeopardy;
  •     serious impairment to bodily functions;
  •     serious dysfunction of any bodily organ or part;
  •     active labor, meaning labor at a time that either of the following would occur:
        •      there is inadequate time to effect safe transfer to another Hospital prior to delivery, or
        •      a transfer poses a threat to the health and safety of the Member or unborn child.
  An Emergency also includes a Psychiatric Emergency Medical Condition which is a mental disorder that
  manifests itself by acute symptoms of sufficient severity that it renders the Member as being either of the
  following:
  •     An immediate danger to himself or herself or others; or
  •     Immediately unable to provide for, or utilize, food, shelter, or clothing due to Mental disorder.
  Emergency Health Care Services - with respect to an Emergency:
  •     An appropriate medical screening exam (as required under section 1867 of the Social Security Act
        or as would be required under such section if such section applied to an Independent Freestanding




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        Emergency Department) that is within the capability of the emergency department of a Hospital, or
        an Independent Freestanding Emergency Department, as applicable, including Ancillary Services
        routinely available to the emergency department to evaluate such Emergency, and
  •     Such further medical exam and treatment, to the extent they are within the capabilities of the staff
        and facilities available at the Hospital or an Independent Freestanding Emergency Department, as
        applicable, as are required under section 1867 of the Social Security Act, or as would be required
        under such section if such section applied to an Independent Freestanding Emergency
        Department, to stabilize the patient (regardless of the department of the Hospital in which such
        further exam or treatment is provided). For the purpose of this definition, "to stabilize" has the
        meaning as given such term in section 1867(e)(3) of the Social Security Act(42 U.S.C.
        1395dd(e)(3)).
  •     Emergency Health Care Services include items and services otherwise covered under the
        Agreement when provided by an out-of-Network provider or facility (regardless of the department of
        the Hospital in which the items and services are provided) after the patient is stabilized and as part
        of outpatient observation, or an Inpatient Stay or outpatient stay that is connected to the original
        Emergency, unless each of the following conditions are met:
        a)       The attending Emergency Physician or treating provider determines the patient is able to
                 travel using nonmedical transportation or non-Emergency medical transportation to an
                 available Network provider or facility located within a reasonable distance taking into
                 consideration the patient's medical condition.
        b)       The provider furnishing the additional items and services satisfies notice and consent
                 criteria in accordance with applicable law.
        C)       The patient is in such a condition to receive information as stated in b) above and to
                 provide informed consent in accordance with applicable law.
        d)       The provider or facility satisfies any additional requirements or prohibitions as may be
                 imposed by state law.
        e)       Any other conditions as specified by the Secretary.
        The above conditions do not apply to unforeseen or urgent medical needs that arise at the time the
        service is provided regardless of whether notice and consent criteria has been satisfied.
  Enrolled Dependent - a Dependent who is properly enrolled under the Agreement.
  Experimental or Investigational Service(s) - medical, surgical, diagnostic, psychiatric, mental health,
  substance-related and addictive disorders or other health care services, technologies, supplies,
  treatments, procedures, drug therapies, medications, or devices that, at the time we make a
  determination regarding coverage in a particular case, are determined to be any of the following:
  1.    Not approved by the U.S. Food and Drug Administration (FDA)to be lawfully marketed for the
        proposed use and not identified as appropriate for proposed use in any of the following:
        •      AHFS Drug Information (AHFS DI) under therapeutic uses section;
        •      Elsevier Gold Standard's Clinical Pharmacology under the indications section;
        •      DRUGDEX System by Micromedex under the therapeutic uses section and has a strength
               recommendation rating of class I, class Ila, or class Ilb; or
        •      National Comprehensive Cancer Network(NCCN)drugs and biologics compendium
               category of evidence 1, 2A, or 26.
  2.    Subject to review and approval by any institutional review board for the proposed use.(Devices
        which are FDA approved under the Humanitarian Use Device exemption are not Experimental or
        Investigational.)
  3.    The subject of an ongoing clinical trial that meets the definition of a Phase I, II, or III clinical trial set
        forth in the FDA regulations, regardless of whether the trial is actually subject to FDA oversight.




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  4.    Only obtainable, with regard to outcomes for the given indication, within research settings.
  Exceptions:
  •     Clinical trials for which Benefits are available as described under Clinical Trials in Section 1:
        Covered Health Care Services.
  •     We may, as we determine, consider an otherwise Experimental or Investigational Service to be a
        Covered Health Care Service for that Sickness or condition if:
        •       You are not a participant in a qualifying clinical trial, as described under Clinical Trials in
                Section 1: Covered Health Care Services; and
        •       You have a Sickness or condition that is likely to cause death within one year of the request
                for treatment.
  Prior to such a consideration, we must first establish that there is sufficient evidence to conclude that,
  even though unproven, the service has significant potential as an effective treatment for that Sickness or
  condition.
  Freestanding Facility - an outpatient, diagnostic or ambulatory center or independent laboratory which
  performs services and submits claims separately from a Hospital.
  Gene Therapy - therapeutic delivery of nucleic acid (DNA or RNA)into a patient's cells as a drug to treat
  a disease.
  Genetic Counseling - counseling by a qualified clinician that includes:
        Identifying your potential risks for suspected genetic disorders;
        An individualized discussion about the benefits, risks and limitations of Genetic Testing to help you
        make informed decisions about Genetic Testing; and
        Interpretation of the Genetic Testing results in order to guide health decisions.
  Certified genetic counselors, medical geneticists and physicians with a professional society's certification
  that they have completed advanced training in genetics are considered qualified clinicians when Covered
  Health Care Services for Genetic Testing require Genetic Counseling.
  Genetic Testing - exam of blood or other tissue for changes in genes(DNA or RNA)that may indicate an
  increased risk for developing a specific disease or disorder, or provide information to guide the selection
  of treatment of certain diseases, including cancer.
  Gestational Carrier - a female who becomes pregnant by having a fertilized egg (embryo) implanted in
  her uterus for the purpose of carrying the fetus to term for another person. The Gestational Carrier does
  not provide the egg and is therefore not biologically related to the child.
  Group - the employer, or other defined or otherwise legally established group, to whom the Agreement is
  issued.
  Home Health Agency - a program or organization authorized by law to provide health care services in
  the home.
  Hospice — Specialized form of interdisciplinary health care for a Member with a life expectancy of a year
  or less due to a terminal illness. Hospice programs or services are designed to provide palliative care;
  alleviate the physical, emotional, social and spiritual discomforts of a Member who is experiencing the last
  phase of life due to the existence of a terminal disease; and provide supportive care to the primary
  caregiver and family of the Member receiving Hospice services.
  Hospital - an institution that is operated as required by law and that meets both of the following:
 •      It is mainly engaged in providing inpatient health care services, for the short term care and
        treatment of injured or sick persons. Care is provided through medical, diagnostic and surgical
        facilities, by or under the supervision of a staff of Physicians.




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  •      It has 24-hour nursing services.
  A Hospital is not mainly a place for rest, Custodial Care or care of the aged. It is not a nursing home,
  convalescent home or similar institution.
  Hospital-based Facility - an outpatient facility that performs services and submits claims as part of a
  Hospital.
  latrogenic Infertility - an impairment of fertility by surgery, radiation, chemotherapy, or other medical
  treatment affecting reproductive organs or processes.
  Independent Freestanding Emergency Department - a health care facility that:
  •     Is geographically separate and distinct and licensed separately from a Hospital under applicable
        state law; and
  •     Provides Emergency Health Care Services.
  Initial Enrollment Period - the first period of time when Eligible Persons may enroll themselves and their
  Dependents under the Agreement.
  Injury - damage to the body, including all related conditions and symptoms. •
  Inpatient Rehabilitation Facility - any.of the following that provides inpatient rehabilitation health care
  services (including physical therapy, occupational therapy and/or speech therapy), as authorized by law:
  •     A long term acute rehabilitation center,
  •     A Hospital, or
  •     A special unit of a Hospital designated as an Inpatient Rehabilitation Facility.
  Inpatient Stay - a continuous stay that follows formal admission to a Hospital, Skilled Nursing Facility or
  Inpatient Rehabilitation Facility.
  Intensive Outpatient Treatment - a structured outpatient treatment program.
  •     For Mental Health Care Services, the program may be freestanding or Hospital-based and provides
        services for at least three hours per day, two or more days per week.
  •     For Substance-Related and Addictive Disorders Services, the program provides nine to nineteen
        hours per week of structured programming for adults and six to nineteen hours for adolescents,
        consisting primarily of counseling and education about addiction related and mental health
        problems.
  Intermittent Care - skilled nursing care that is provided either:
  •     Fewer than seven days each week.
  •     Fewer than eight hours each day for periods of 21 days or less.
  Exceptions may be made in certain circumstances when the need for more care is finite and predictable.
  Limiting Age - The age established by the UnitedHealthcare Benefits Plan of California when a
  Dependent is no longer eligible to be an enrolled Family Member under the Subscriber's coverage. The
  Limiting Age is at least 26 years of age as established by federal law.
  Manipulative Treatment(adjustment)- a form of care provided by osteopaths for diagnosed muscle,
  nerve and joint problems. Body parts are moved either by hands or by a small instrument to:
        Restore or improve motion.
        Reduce pain.
        Increase function.
  Medically Necessary - health care services provided for the purpose of preventing, evaluating,
  diagnosing or treating a Sickness, Injury, disease or its symptoms, that are all of the following:




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  •      In accordance with Generally Accepted Standards of Medical Practice.
  •      Clinically appropriate, in terms of type, frequency, extent, site and duration, and considered
         effective for your Sickness, Injury, Mental Illness, substance-related and addictive disorders,
         disease or its symptoms.
  •      Known to be effective in improving health outcomes. For existing interventions, effectiveness is
         determined first by scientific evidence, then by professional standards, then by expert opinion. For
         new interventions, effectiveness is determined by scientific evidence.
  •      If more than one health intervention equally meets the requirements of the above, but one is more
         cost effective, the more cost effective one may be furnished in the most cost-effective manner that
         may be provided safely and effectively to the Member. "Cost-effective" does not necessarily mean
         the lowest price.
  Generally Accepted Standards of Medical Practice are standards that are based on credible scientific
  evidence published in peer-reviewed medical literature generally recognized by the relevant medical
  community, relying primarily on controlled clinical trials, or, if not available, observational studies from
  more than one institution that suggest a causal relationship between the service or treatment and health
  outcomes.
  If no credible scientific evidence is available, then standards that are based on Physician specialty society
  recommendations or professional standards of care may be considered. We have the right to consult
  expert opinion in determining whether health care services are Medically Necessary. The decision to
  apply Physician specialty society recommendations, the choice of expert and the determination of when
  to use any such expert opinion, shall be determined by us.
  We develop and maintain clinical policies that describe the Generally Accepted Standards of Medical
  Practice scientific evidence, prevailing medical standards and clinical guidelines supporting our
  determinations regarding specific services. These clinical policies (as developed by us and revised from
  time to time), are available to Covered Persons through www.myuhc.com or the telephone number on
  your ID card. They are also available to Physicians and other health care professionals on
  UnitedHealthcareOnline.
  Medically Necessary treatment of a Mental Health Care and Substance-Related and Addictive Disorder
  means a service or product addressing the specific needs of that patient, for the purpose of preventing,
  diagnosing or treating an illness, injury, condition, or its symptoms, including minimizing the progression
  of that illness, injury, condition, or its symptoms, in a manner that is all of the following:
  •     In accordance with the generally accepted standards of mental health and substance use disorder
        care.
  •      Clinically appropriate in terms of type, frequency, extent, site, and duration.
  •     Not primarily for the economic benefit of the health care service plan and subscribers or for the
        convenience of the patient, treating physician, or other health care provider.
  Medicare - Parts A, B, C and D of the insurance program established by Title XVIII, United States Social
  Security Act, as amended by 42 U.S.C. Sections 1394, et seq. and as later amended.
  Member - either the Subscriber Agreement holder or an Enrolled Dependent, but this term applies only
  while the person is enrolled under this Subscriber Agreement. References to "you" and "your" throughout
  this Subscriber Agreement are references to a Member.
  Mental Health Care Services - medically necessary services for the prevention, diagnosis and treatment
  of an illness, injury, condition, or its symptoms, including minimizing the progression of that illness, injury,
  condition or its symptoms, for a mental health condition that are listed in the most recent edition of the
  International Classification of Diseases or that is listed in the most recent edition of the Diagnostic and
  Statistical Manual of Mental Disorders.




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  Mental Health/Substance-Related and Addictive Disorders Designee - the organization or individual,
  designated by us, that provides or arranges Mental Health Care Services and Substance-Related and
  Addictive Disorders Services.
  Mental Illness - Mental Illness is defined as those mental health conditions that are listed in the most
  recent edition of the International Classification of Diseases or that is listed in the most recent edition of
  the Diagnostic and Statistical Manual of Mental Disorders.
  Mobility Device - A manual wheelchair, electric wheelchair, transfer chair or scooter.
  Network - when used to describe a provider of health care services, this means a provider that has a
  participation agreement in effect (either directly or indirectly) with us or with our affiliate to participate in
  our Network. This does not include those providers who have agreed to discount their charges for
  Covered Health Care Services. Our affiliates are those entities affiliated with us through common
  ownership or control with us or with our ultimate corporate parent, including direct and indirect
  subsidiaries.
  A provider may enter into an agreement to provide only certain Covered Health Care Services, but not all
  Covered Health Care Services, or to be a Network provider for only some of our products. In this case,
  the provider will be a Network provider for the Covered Health Care Services and products included in the
  participation agreement and an out-of-Network provider for other Covered Health Care Services and
  products. The participation status of providers will change from time to time.
  Network Benefits - the description of how Benefits are paid for Covered Health Care Services provided
  by Network providers and Network providers without a referral from your Primary Care Physician. The
  Schedule of Benefits will tell you if your plan offers Network Benefits and how Network Benefits apply.
  New Pharmaceutical Product - a Pharmaceutical Product or new dosage form of a previously approved
  Pharmaceutical Product. It applies to the period of time starting on the date the Pharmaceutical Product
  or new dosage form is approved by the U.S. Food and Drug Administration (FDA)and ends on the earlier
  of the following dates:
  •      The date it is placed on a tier by our PDL Management Committee.
  •      December 31st of the following calendar year.
  Open Enrollment Period - a period of time, after the Initial Enrollment Period, when Eligible Persons
  may enroll themselves and Dependents under the Agreement. The Group sets the period of time that is
  the Open Enrollment Period.
  Out-of-Network Benefits - the description of how Benefits are paid for Covered Health Care Services
  provided by out-of-Network providers. The Schedule of Benefits will tell you if your plan offers Out-of-
  Network Benefits and how Out-of-Network Benefits apply.
  Out-of-Pocket Limit - the maximum amount you pay every year. The Schedule of Benefits will tell you if
  your plan is subject to an Out-of-Pocket Limit and how the Out-of-Pocket Limit applies.
  Partial Hospitalization/Day Treatment/High Intensity Outpatient - a structured ambulatory program.
  The program may be freestanding or Hospital-based and provides services for at least 20 hours per
  week.
  Per Occurrence Deductible - the portion of the Allowed Amount or the Recognized Amount when
  applicable, (stated as a set dollar amount)that you must pay for certain Covered Health Care Services
  prior to, and in addition to, any Annual Deductible before we begin paying Benefits for those Covered
  Health Care Services.
  When a plan has a Per Occurrence Deductible, you are responsible for paying the lesser of the following:
         The applicable Per Occurrence Deductible.
         The Allowed Amount or the Recognized Amount when applicable.
  The Schedule of Benefits will tell you if your plan is subject to payment of a Per Occurrence Deductible
  and how the Per Occurrence Deductible applies.




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  Pharmaceutical Product(s)- U.S. Food and Drug Administration (FDA)- approved prescription
  medications or products administered in connection with a Covered Health Care Service by a Physician.
  Physician - any Doctor of Medicine or Doctor of Osteopathy who is properly licensed and qualified by
  law.
  Please Note: Any acupuncturist, audiologist, certified respiratory care practitioner, clinical social worker,
  dentist, dietitian, dispensing optician, marriage, family and child counselor, mental health clinical nurse
  specialist, nurse midwife, nurse practitioner, obstetrician/gynecologist, occupational therapist, optometrist,
  pharmacist, physical therapist, podiatrist, psychologist, psychiatric-mental health nurse, respiratory care
  practitioner, speech-language pathologist or other provider who acts within the scope of his or her license
  will be considered on the same basis as a Physician. The fact that we describe a provider as a Physician
  does not mean that Benefits for services from that provider are available to you under the Agreement.
  Pregnancy - includes all of the following:
  •     Prenatal care.
  •     Postnatal care.
  •     Childbirth.
  •     Any complications associated with Pregnancy.
  Preimplantation Genetic Testing (PGT)- a test performed to analyze the DNA from oocytes or embryos
  for human leukocyte antigen (HLA)typing for determining genetic abnormalities. These include:
        PGT-M: for monogenic disorder (formerly single-gene PGD)
        PGT-SR: for structural rearrangements (formerly chromosomal PGD)
  Premium - the periodic fee required for each Subscriber and each Enrolled Dependent, in accordance
  with the terms of the Agreement.
  Prescription Drug List(PDL) Management Committee - the committee that we designate for, among
  other responsibilities, placing Pharmaceutical Products into specific tiers.
  Presumptive Drug Test - test to determine the presence or absence of drugs or a drug class in which
  the results are indicated as negative or positive result.
  Primary Care Physician - a Physician who has a majority of his or her practice in general pediatrics,
  internal medicine, obstetrics/gynecology, family practice or general medicine.
  Private Duty Nursing - nursing care that is provided to a patient on a one-to-one basis by licensed
  nurses in an inpatient or home setting when any of the following are true:
  •     Services exceed the scope of Intermittent Care in the home.
  •     The service is provided to a Covered Person by an independent nurse who is hired directly by the
        Covered Person or his/ her family. This includes nursing services provided on an inpatient or
        homecare basis, whether the service is skilled or non-skilled independent nursing.
  •     Skilled nursing resources are available in the facility.
  •     The Skilled Care can be provided by a Home Health Agency on a per visit basis for a specific
        Purpose.
  Psychiatric EmergencyMedical Condition — A mental disorder where there are acute symptoms of
  sufficient severity to render either an immediate danger to yourself or others, or you are immediately
  unable to provide for use, food, shelter or clothing due to the mental disorder.
  Qualified Autism Service Paraprofessional — an unlicensed and uncertified individual who, as
  authorized under California law, meets all of the following criteria:
  •     Is supervised by a Qualified Autism Service Provider or Qualified Autism Service Professional at a
        level of clinical supervision that meets professionally recognized standards of practice.




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  •     Provides treatment and implementsservices pursuant to a treatment plan developed and approved
        by the Qualified Autism Service Provider.
  •     Meets the education and training qualifications described in Section 54342 of Title 17 of the
        California Code of Regulations.
  •     Has adequate education, training and experience, certified by a Qualified Autism Service Provider
        or an entity or group that employs Qualified Autism Service Providers.
  •     Is employed by the Qualified Autism Service Provider or an entity or Group that employs Qualified
        Autism Service Providers responsible for the autism treatment plan.
  Qualified Autism Service Professional - an individual who meets all of the following criteria:
  •     Provides Behavioral Health Treatment, which may include clinical case management and case
        supervision under the direction and supervision of a Qualified Autism Service Provider.
  •     Is supervised by a Qualified Autism Service Provider.
  •     Provides treatment pursuant to a treatment plan developed and approved by a Qualified Autism
        Service Provider.
  •     Is a behavioral service Provider who meets the education and experience qualifications described
        in Section 54342 of Title 17 of California Code of Regulations for an associate behavior analyst,
        behavior analyst, behavior management assistant, behavior management consultant, or behavior
        management program.
  •     Has training and experience in providing services for Autism Spectrum Disorder pursuant to
        Division 4.5(commencing with Section 4500) of the Welfare and Institutions Code or Title 14
       (commencing with Section 95000) of the Government Code.
        Is employed by the Qualified Autism Service Provider or an entity or Group that employs Qualified
        Autism Service Providers responsible for the autism treatment plan.
  Qualified Autism Service Provider — either of the following:
        A person that is certified by a national entity, such as the Behavior Analyst Certification Board, with
        a certification that is accredited by the National Commission for Certifying Agencies, and who
        designs, supervises, or provides treatment for Autism Spectrum Disorder, provided the services are
        within the experience and competence of the person who is nationally certified.
        A person licensed as a Physician and surgeon, physical therapist, occupational therapist,
        psychologist, marriage and family therapist, educational psychologist, clinical social worker,
        professional clinical counselor, speech-language pathologist, or audiologist pursuant to Division 2
       (commencing with Section 500) of the California Business and Professions Code who designs,
       supervises, or provides treatment for Autism Spectrum Disorder, provided the services are within
        the experience and competence of the licensee.
  Recognized Amount - the amount which Co-payment, Co-insurance and applicable deductible, is based
  on for the below Covered Health Care Services when provided by out-of-Network providers:
 •      Out-of-Network Emergency Health Care Services.
 •      Non-Emergency Covered Health Care Services received at certain Network facilities by out-of-
        Network Physicians, when such services are either Ancillary Services, or non-Ancillary Services
        that have not satisfied the notice and consent criteria of section 2799B-2(d) of the Public Health
        Service Act. For the purpose of this provision, "certain Network facilities" are limited to a hospital
       (as defined in 1861(e) of the Social Security Act), a hospital outpatient department, a critical access
        hospital (as defined in 1861(mm)(1) of the Social Security Act), an ambulatory surgical center
        described in section 1833(i)(1)(A) of the Social Security Act, and any other facility specified by the
       Secretary.
  The amount is based on California state law as follows:




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  •      The payment of the reasonable and customary value for the Covered Health Care Services
         rendered based upon satisfactorily credible information that is updated at least annually and takes
         into consideration:
               The provider's training, qualifications, and length of time in practice;
               The nature of the services provided;
               The fees usually charged by the provider;
               Prevailing provider rates charged in the general geographic area in which the services were
               rendered;
               Other aspects of the economics of the medical provider's practice that are relevant; and
               Any unusual circumstances in the case.
  The Recognized Amount for Air Ambulance services provided by an out-of-Network provider will be
  calculated based on the lesser of the qualifying payment amount as determined under applicable law or
  the amount billed by the Air Ambulance service provider. You will not pay more than the Network benefit
  level for cost-sharing as shown in the Schedule of Benefits.
  Note: Covered Health Care Services that use the Recognized Amount to determine your cost
  sharing may be higher or lower than if cost sharing for these Covered Health Care Services were
  determined based upon an Allowed Amount.
  Remote Physiologic Monitoring - the automatic collection and electronic transmission of patient
  physiologic data that are analyzed and used by a licensed Physician or other qualified health care
  professional to develop and manage a plan of treatment related to a chronic and/or acute health illness or
  condition. The plan of treatment will provide milestones for which progress will be tracked by one or more
  Remote Physiologic Monitoring devices. Remote Physiologic Monitoring must be ordered by a licensed
  Physician or other qualified health care professional who has examined the patient and with whom the
  patient has an established, documented, and ongoing relationship. Remote Physiologic Monitoring may
  not be used while the patient is inpatient at a Hospital or other facility. Use of multiple devices must be
  coordinated by one Physician.
  Residential Treatment Center - A residential facility that provides services in connection with the
  diagnosis and treatment of behavioral health conditions including but not limited to Mental Disorders and
  Substance-Related and Addictive Disorders.
  Rider - any attached written description of additional Covered Health Care Services not described in this
  Combined Evidence of Coverage and Disclosure Form. Covered Health Care Services provided by a
  Rider may be subject to payment of additional Premiums. Riders are effective only when signed by us
  and are subject to all conditions, limitations and exclusions of the Agreement except for those that are
  specifically amended in the Rider.
  Schedule of Benefits — A part of the Subscriber Agreement and Combined Evidence of Coverage and
  Disclosure Form along with the Outpatient Prescription Drug Schedule of Benefits, that provides benefit
  information specific to your health plan, including Co-payment/Co-insurance information.
  Secretary - as that term is applied in the No Surprises Act of the Consolidated Appropriations Act
  (P.L.116-260).
  Semi-private Room - a room with two or more beds. When an Inpatient Stay in a Semi-private Room is a
  Covered Health Care Service, the difference in cost between a Semi-private Room and a private room is
  a Benefit only when a private room is Medically Necessary, or when a Semi-private Room is not available.
  Service Area -the State of California or any other geographical area within the state designated in the
  Agreement within which Network provider services are rendered to Covered Members for Covered Health
  Care Services.
  Sickness - physical illness, disease or Pregnancy. The term Sickness as used in this Combined
  Evidence of Coverage and Disclosure Form includes Mental Illness or substance-related and addictive




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  disorders, regardless of the cause or origin of the Mental Illness or substance-related and addictive
  disorder.
  Skilled Care - skilled nursing, skilled teaching and skilled rehabilitation services when all of the following
  are true:
  •      Must be delivered or supervised by licensed technical or professional medical personnel in order to
         obtain the specified medical outcome, and provide for the safety of the patient.
  •      Ordered by a Physician.
  •      Not delivered for the purpose of helping with activities of daily living, including dressing, feeding,
         bathing or transferring from a bed to a chair.
  •      Requires clinical training in order to be delivered safely and effectively.
  •      Not Custodial Care, which can safely and effectively be performed by trained non-medical
         personnel.
  Skilled Nursing Facility - a Hospital or nursing facility that is licensed and operated as required by law.
  Specialist - a Physician who has a majority of his or her practice in areas other than general pediatrics,
  internal medicine, obstetrics/gynecology, family practice or general medicine. Specialists include
  Physicians with a specialty as follows: allergy, anesthesiology, dermatology, cardiology and other internal
  medicine specialist, neonatology, neurology, oncology, ophthalmology, orthopedics, pathology,
  psychiatry, radiology, any surgical specialty, otolaryngology, urology, and other designated as
  appropriate.
  Specialty Pharmaceutical Product - Pharmaceutical Products that are generally high cost,
  biotechnology drugs used to treat patients with certain illnesses.
  Subscriber - an Eligible Person who is properly enrolled under the Agreement. The Subscriber is the
  person (who is not a Dependent) on whose behalf the Agreement is issued to the Group.
  Substance-Related and Addictive Disorders Services - services for the prevention, diagnosis and
  treatment of alcoholism and substance-related and addictive disorders that are listed in the current edition
  of the International Classification of Diseases section on Mental and Behavioral Disorders or Diagnostic
  and Statistical Manual of the American Psychiatric Association.
  Surrogate - a female who becomes pregnant usually by artificial insemination or transfer of fertilized egg
  (embryo)for the purpose of carrying the fetus for another person.
  Telehealth/Telemedicine - live, interactive audio with visual transmissions of a Physician patient
  encounter from one site to another using telecommunications technology. The site may be a CMS defined
  originating facility or another location such as a Covered Person's home or place of work.
  Telehealth/Telemedicine does not include virtual care services provided by a Designated Virtual Network
  Provider.
  Total Disability or Totally Disabled - For Subscribers, the persistent inability to reliably engage in any
  substantially gainful activity by reason of any medically determinable physical or mental impairment
  resulting from an Injury or illness. For Dependents, Totally Disabled is the persistent inability to perform
  activities essential to the daily living of a person of the same age and sex by reason of any medically
  determinable physical or mental impairment resulting from an Injury or illness.
  Transitional Living - Mental health care services and substance-related and addictive disorders services
  provided through facilities, group homes and supervised apartments which provide 24-hour supervision,
  including those defined in the American Society of Addiction Medicine (A SAM)Criteria, and are either:
  •      Sober living arrangements such as drug-free housing or alcohol/drug halfway houses. They provide
         stable and safe housing, an alcohol/drug-free environment and support for recovery. They may be
         used as an addition to ambulatory treatment when it doesn't offer the intensity and structure
         needed to help you with recovery.




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  •     Supervised living arrangements which are residences such as facilities, group homes and
        supervised apartments. They provide Members with stable and safe housing and the opportunity to
        learn how to manage their activities of daily living. They may be used as an addition to treatment
        when it doesn't offer the intensity and structure needed to help you with recovery.
  Transitional Residential Recovery Services - Substance-Related and Addictive Disorder or chemical
  dependency treatment in a nonmedical transitional residential recovery setting. These settings provide
  counseling and support services in a structuredenvironment.
  Urgent Care Center - a facility that provides Covered Health Care Services that are required to prevent
  serious deterioration of your health. These services are required as a result of an unforeseen Sickness or
  Injury.
  Urgently Needed Services - Medically Necessary Covered Services-for a condition that requires prompt
  medical attention but is not an Emergency Medical Condition. These services must be Medically
  Necessary and cannot be delayed because of an unforeseen illness, injury or condition.
  NOTE: THIS COMBINED EVIDENCE OF COVERAGE AND DISCLOSURE FORM PROVIDES A
  DESCRIPTION OF THE COVERED HEALTH CARE SERVICES AVAILABLE TO YOU UNDER YOUR
  UNITEDHEALTHCARE BENEFITS PLAN OF CALIFORNIA. THE AGREEMENT BETWEEN
  UNITEDHEALTHCARE AND YOUR EMPLOYER CONTAINS ADDITIONAL TERMS SUCH AS
  PREMIUMS, LENGTH OF CONTRACT,AND GROUP TERMINATION. A COPY OF THE GROUP
  AGREEMENT WILL BE PROVIDED UPON REQUEST AND IS AVAILABLE AT UNITEDHEALTHCARE
  AND YOUR GROUP'S PERSONNEL OFFICE.




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                   Section 10: Pediatric Dental Services
  This section describes Benefits for Pediatric Dental Services for which Benefits are available for Covered
  Persons under the age of 19. Please refer to the attached Pediatric Dental Services Schedule of Benefits
  for details about:
  •     The amount you must pay for these Benefits for Pediatric Dental Services (including any Annual
        Deductible, Co-payment and/or Co-insurance).
  •     Any limit that applies to these Benefits for Pediatric Dental.
  •     Any limit that applies to the amount you are required to pay in a year(Out-of-Pocket Limit).
  •     Any responsibility you have for obtaining prior authorization or notifying us.
  Benefits terminate on the last day of the month the Covered Person reaches the age of 19.

  Benefits for Pediatric Dental Services
  Benefits are provided for the Dental Services stated in this Section when such services are:
  A.     Necessary for dental health and consistent with professionally recognized standards of practice.
  B.    Provided by or under the direction of a Dental Provider.
  C.     Not excluded as described below under Pediatric Dental Exclusions and Limitations.
  You may obtain a list of our Providers by going to our website at www.myuhc.com.
  Network Benefits:
  Benefits for Allowed Dental Amounts are determined as a percentage of the negotiated contract fee
  between us and the provider rather than a percentage of the provider's billed charge. Our negotiated rate
  with the provider is ordinarily lower than the provider's billed charge.
  A Network provider cannot charge you or us for any.service or supply that is not Necessary. If you agree
  to receive a service or supply that is not Necessary the Network provider may charge you. However,
  these charges will not be considered Covered Dental Services and Benefits will not be payable.
  Out-of-Network Benefits:
  Benefits for Allowed Dental Amounts from out-of-Network providers are determined as a percentage of
  the Usual and Customary fees. For specific cost shares, please refer to the Pediatric Dental Services
  Schedule of Benefits.
  Emergency Dental Services
  All contracted Network Providers render Emergency Dental Services twenty-four (24) hours a day, seven
 (7) days a week. You may contact your Network Provider, who will make arrangements for Emergency
  care.
  If you are unable to reach your Network Provider in an Emergency during normal business hours, you
  may call the number at the back of your ID card for instructions.
  If you are unable to reach your Network Provider in an Emergency after normal business hours, you may
  seek Emergency Dental Services from any licensed Dentist. Then, within 2 business days, you may call
  the number at the back of your ID card to notify us of the Emergency claim.
  Claims for Emergency Dental Services
  To receive reimbursement, you do not have to submit a claim form. All you have to do is send us, within
  90 days, the itemized bill, marked "PAID," along with a brief explanation of why the Emergency Dental
  Services were Necessary. We will provide reimbursement within 30 days of receipt. We will reimburse
  you for the cost of the Emergency Dental Services, less any Co-payment which may apply.
  All reimbursement requests should be mailed to:
  Dental Benefit Providers of California, Inc.




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  P.O. Box 30567
  Salt Lake City, Utah 84130-0567

  Covered Dental Services
  You are eligible for Benefits for Covered Dental Services listed in this Agreement if such Dental Services
  are Necessary and are provided by or under the direction of a Dental Provider.
  Benefits are available only for Necessary Dental Services. The fact that a Dental Provider has performed
  or prescribed a procedure or treatment, or the fact that it may be the only available treatment, for a dental
  disease does not mean that the procedure or treatment is a Covered Dental Service under this
  Agreement.
  For a list of specific Covered Dental Services, please refer to the Pediatric Dental Services Schedule of
  Benefits.

  Diagnostic and Preventive Benefits
  Benefits include:
  •     Initial and periodic oral examinations.
  •     Consultations, including specialist consultations.
  •     Topical fluoride treatment.
  •     Preventive dental education and oral hygiene instruction.
  •     Roentgenology (x-rays).
  •     Prophylaxis services (cleanings).
  •     Dental sealant treatments.
  •     Space maintainers, including removable acrylic and fixed band type.

  Restorative Benefits
  Benefits for restorations include:
  •     Amalgam, composite resin, acrylic, synthetic or plastic restorations for the treatment of caries.
  •     Micro filled resin restorations which are non-cosmetic.
  •     Replacement of restoration.
  •     Use of pins and pin build-up in conjunction with a restoration.
  •     Sedative base and sedative fillings.

  Oral Surgery Benefits
  Benefits for oral surgery include:
  •     Extractions, including surgical extractions.
  •     Removal of impacted teeth.
  •     Biopsy of oral tissues.
  •     Alveolectomies.
  •     Excision of cysts and neoplasms.
  •     Treatment of palatal torus.
  •     Treatment of mandibular torus.




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  •     Frenectomy.
  •     Incision and drainage of abscesses.
  •     Post-operative services, including exams, suture removal and treatment of complications.
  •     Root recovery (separate procedure).
  •     General anesthesia or intravenous/conscious sedation.

  Endodontic Benefits
  Benefits for endodontics include:
  •     Direct pulp capping.
  •     Pulpotomy and vital pulpotomy.
  •     Apexification filling with calcium hydroxide.
  •     Root amputation.
  •     Root canal therapy, including culture canal limited retreatment of previous root canal therapy as
        shown below.
  •     Apicoectomy
  •     Vitality tests.

  Periodontics Benefits
  Benefits for periodontics include:
  •     Emergency treatment, including treatment for periodontal abscess and acute periodontitis.
  •     Periodontal scaling and root planing, and subgingival curettage.
  •     Gingivectomy.
  •     Osseous or muco-gingival surgery.

  Crown and Fixed Bridge Benefits
  Benefits for crown and fixed bridge include:
  •     Crowns, including those made of acrylic, acrylic with metal, porcelain, porcelain with metal, full
        metal, gold onlay or three quarter crown, and stainless steel.
  •     Related dowel pins and pin build-up.
  •     Fixed bridges, which are cast, porcelain baked with metal, or plastic processed to gold.
  •     Recementation of crowns, bridges, inlays and onlays.
  •     Cast post and core, including cast retention under crowns.
  •     Repair or replacement of crowns, abutments or pontics.

  Removable Prosthetics Benefits
  Benefits for removable prosthetics include:
  •     Dentures, full maxillary, full mandibular, partial upper, partial lower, teeth, clasps and stress
        breakers.
        Office or laboratory relines or rebases.
        Denture repair.




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  •     Denture adjustment.
  •     Tissue conditioning.
  •     Denture duplication.
  •     Space maintainer.
  •     Stayplate.

  Fixed Prosthetics Benefits

  Oral and Maxillofacial Benefits

  Adjunctive Benefits

  Implant Service Benefits

  Medically Necessary Orthodontic Services
  Benefits for orthodontics when Medically Necessary to prevent disease and promote oral health, restore
  oral structures to health and function, and treat Emergency conditions. Medically necessary orthodontic
  services means orthodontic treatment needed to ensure normal chewing and speaking, as well as to treat
  cleft palate and severe malocclusion (the misalignment of teeth between upper and lower teeth). Benefits
  include services or supplies provided by a Dental Provider in order to diagnose or correct misalignment of
  the teeth or the bite. All orthodontic treatment should be prior authorized.

  Other Benefits:
  Other Covered Dental Services include:
  •     Local anesthetics.
  •     Oral sedatives when dispensed in a dental office by a practitioner acting within the scope of their
        licensure.
  •     Nitrous oxide when dispensed in a dental office by a practitioner acting within the scope of their
        licensu re.
  •     Emergency treatment
  •     Palliative treatment.

  Pediatric Dental Exclusions and Limitations
  Except as may be specifically provided in this Agreement under Benefits for Covered Dental Services,
  Benefits are not provided under this Agreement for the following:
  1.    Any Dental Service or Procedure not listed as a Covered Dental Service in this Agreement unless
        medically necessary.
  2.    Hospitalization or other facility charges.
  3.    Any Dental Procedure performed solely for cosmetic/aesthetic reasons.(Cosmetic procedures are
        those procedures that improve physical appearance.)
  4.    Procedures that are Experimental or Investigational or Unproven Services. This includes
        pharmacological regimens not accepted by the American Dental Association (ADA) Council on
        Dental Therapeutics. The fact that an Experimental, or Investigational or Unproven Service,
        treatment, device or pharmacological regimen is the only available treatment for a particular
        condition will not result in Benefits if the procedure is Experimental or Investigational or Unproven




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         in the treatment of that particular condition. Denials of coverage are subject to Independent Medical
         Review for Experimental and Investigational Therapies.
  5.     Dispensing of drugs/medications not normally supplied in a dental office.
  6.     Replacement of loss or theft of dentures or bridgework.
  7.     Expenses for Dental Procedures begun prior to the Covered Person becoming.enrolled for
         coverage provided through this Agreement.
  8.     Dental Services otherwise covered under the Agreement, but was provided after the date individual
         coverage under the Agreement terminates, including Dental Services for dental conditions arising
         prior to the date individual coverage under the Agreement terminates.
  9.     Billing,for incision and drainage if the involved abscessed tooth is removed on the same date of
         service.
  10.    Dental implants are excluded, but it is considered optional dental treatment. An optional benefit is a
         dental benefit that you choose to have upgraded. For example, when a filling would correct the
         tooth but you choose to have a full crown instead. If you choose to have an implant rather than a
         Covered Dental Service such as a denture or fixed bridge, we will pay our cost share of the
         Covered Dental Service and you will be responsible for the additional cost of the upgrade to a
         dental implant.
  1 1.   Orthodontic treatment unless medically necessary as described under Medically Necessary
         Orthodontic Services above.
  12.    Surgical removal of impacted teeth is Covered Dental Service only when evidence of pathology
         exists.
  13.    Benefits for crowns are limited as follows:
         •     Crowns will only be covered if there is not enough retentive quality left in the tooth to hold a
               filling. For example, if the buccal or lingual walls are either fractured or decayed to the extent
               that they will not hold a filling.
         •     Limited to five (5) units of crown per arch. Upon the sixth unit, treatment is a full mouth
               reconstruction. If you choose to have a full mouth reconstruction, we will pay our cost share
               of the Covered Dental Service and you will be responsible for the additional cost of the
               upgrade to a full mouth reconstruction.
  14.    Benefits for fixed bridge are limited as follows:
         •     Fixed bridges will be used only when a partial cannot satisfactorily restore the case. If fixed
               bridges are used when a partial could satisfactorily restore the case, it is considered optional
               treatment. An optional benefit is a dental benefit that you choose to have upgraded. If a fixed
               bridge is chosen, the covered benefit will be for a partial bridge.
         •     A fixed bridge is covered when it is Necessary to replace a missing permanent anterior tooth
               in a person sixteen (16) years of age or older and the patient's oral health and general dental
               condition permits. For children under the age of sixteen (16), it is considered optional dental
               treatment. If performed on a Member under the age of sixteen (16), the applicant must pay
               the difference in cost between the fixed bridge and a space maintainer.
         •     Fixed bridges used to replace missing posterior teeth are considered optional when the
               abutment teeth are dentally sound and would be crowned only for the purpose of supporting
               a pontic. An optional benefit is a dental benefit that you choose to have upgraded.
         •     Fixed bridges are optional when provided in connection with a partial denture on the same
               arch. An optional benefit is a dental benefit that you choose to have upgraded.
         •     Replacement of an existing fixed bridge is covered only when it cannot be made
               satisfactorily by repair.




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               If an optional benefit is chosen by the Covered Person, we will pay our cost share of the
               Covered Dental Service and the Covered Person will be responsible for the additional cost of
               the upgrade.
               Limited to five(5) units bridgework per arch. Upon the sixth unit, treatment is a full mouth
               reconstruction. If you choose to have a full mouth reconstruction, we will pay our cost share
               of the Covered Dental Service and you will be responsible for the additional cost of the
               upgrade to a full mouth reconstruction.
  15.    Benefits for removable prosthetics are limited as follows:
               Partial dentures will not be replaced within 60 months unless:
               It is Necessary due to natural tooth loss where the addition or replacement of teeth to the
               existing partial is not feasible; or
               The denture is unsatisfactory and cannot be made satisfactory.
        •      Covered Dental Services for partial dentures will be limited to the charges for a cast chrome
               or acrylic denture if this would satisfactorily restore an arch. If a more elaborate or precision
               appliance is chosen by the Covered Person and the Dental Provider, and is not Necessary
               to satisfactorily restore an arch, the Covered Person will be responsible for all additional
               charges.
        •      A removable partial denture is considered an adequate restoration of a case when teeth are
               missing on both sides of dental arch.
        •      Full upper and/or lower dentures are not to be replaced within 60 months unless the existing
               denture is unsatisfactory and cannot be made satisfactory by reline or repair.
        •       Covered Dental Services for complete dentures will be limited to the Benefit level for a
                standard procedure. If more personalized or specialized treatment is chosen by the Covered
                Person and the Dental Provider, the Covered Person will be responsible for all additional
              • charges.
        •      Office or laboratory relines or rebases are limited to one per arch in any 12 consecutive
               months.
        •      Tissue conditioning is limited to two per denture.
        •      Stayplates are a Covered Dental Service only when used as anterior space maintainers for
               children.

  Claims for Pediatric Dental Services
  When obtaining Dental Services from an out-of-Network provider, you will be required to pay all billed
  charges directly to your Dental Provider. You may then seek reimbursement from us. Information about
  claim timelines and responsibilities in this Combined Evidence of Coverage and Disclosure Form in
  Section 5: How to File a Claim apply to Covered Dental Services provided under this section of this
  Combined Evidence of Coverage and Disclosure Form.
  Time of Payment of Claim: Subject to due written proof of loss, all indemnities for loss for which this
  Agreement provides payment will be paid (to the Subscriber) as they accrue and any balance remaining
  unpaid at termination of the period of liability will be paid (to the Subscriber) immediately upon receipt of
  due written proof.
  Payment of Claims to the Subscriber:
  Subject to any written direction of the Subscriber in an application or otherwise all or a portion of any
  indemnities provided by this Agreement on account of Hospital, nursing, medical or surgical service may,
  at our option, and unless the Subscriber requests otherwise in writing not later than the time for filing
  proof of such loss, be paid directly to the Hospital or person providing such services, but it is not required
  that the service be provided by a particular Hospital or person.




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  Timely Access To Care
  The following standards are followed to ensure Member to obtain treatment in a timely manner.

                                   Standard Time Frame for Appointment

  Urgent appointments:                                    Within 48 hours

  Non-urgent appointments:                                Within 10 days


  Defined Terms for Pediatric Dental Services
  The following definitions are in addition to those listed in Section 9: Defined Terms of this Combined
  Evidence of Coverage and Disclosure Form:
  Allowed Dental Amounts - Allowed Dental Amounts for Covered Dental Services, incurred while the
  Agreement is in effect, are determined as stated below:
 •      For Network Benefits, when Covered Dental Services are received from Network Dental Providers,
        Allowed Dental Amounts are our contracted fee(s) for Covered Dental Services with that provider.
 •      For Out-of-Network Benefits, when Covered Dental Services are received from Out-of-Network
        Dental Providers, Allowed Dental Amounts are the Usual and Customary fees, as defined below.
  Covered Dental Service - a Dental Service or Dental Procedure for which Benefits are provided under
  this Agreement.
  Dental Provider - any dentist or dental practitioner who is duly licensed and qualified under the law of
  jurisdiction in which treatment is received to provide Dental Services, perform dental surgery or administer
  anesthetics for dental surgery.
  Dental Service or Dental Procedures - dental care or treatment provided by a Dental Provider to a
  Covered Person while the Agreement is in effect, provided such care or treatment is recognized as a
  generally accepted form of care or treatment according to prevailing standards of dental practice.
  Emergency - a dental condition or symptom resulting from dental disease which arises suddenly and, in
  the judgment of a reasonable person, requires immediate care and treatment, and such treatment is
  sought or received within 24 hours of onset.
  Necessary - Dental Services and supplies under this Agreement which are determined through case-by-
  case assessments of care based on accepted dental practices to be appropriate and are all of the
  following:
 •      Necessary to meet the basic dental needs of the Covered Person.
 •      Consistent in type, frequency and duration of treatment with scientifically based guidelines of
        national clinical, research, or health care coverage organizations or governmental agencies that
        are accepted by us.
 •      Consistent with the diagnosis of the condition.
 •      Required for reasons other than the convenience of the Covered Person or his or her Dental
        Provider.
 (For the purpose of this definition, the term life threatening is used to describe dental diseases or
 sicknesses or conditions, which are more likely than not to cause death within one year of the date of the
  request for treatment.)
  The definition of Necessary used in this Combined Evidence of Coverage and Disclosure Form relates
  only to Benefits under this Combined Evidence of Coverage and Disclosure Form and differs from the
  way in which a Dental Provider engaged in the practice of dentistry may define necessary.




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  Usual and Customary - Usual and Customary fees are calculated based on available data resources of
  competitive fees in that geographic area.
  Usual and Customary fees must not exceed the fees that the provider would charge any similarly situated
  payor for the same services.
  Usual and Customary fees are determined in accordance with our reimbursement policy guidelines. Our
  reimbursement policy guidelines are developed following evaluation and validation of all provider billings
  in accordance with one or more of the following methodologies:
  •     As indicated in the most recent edition of the Current Procedural Terminology (publication of the
        American Dental Association)
  •     As reported by generally, recognized professionals or publication.
  •     As used for Medicare.
  •     As determined by medical or dental staff and outside medical or dental consultants.




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              Section 11: Pediatric Vision Care Services
  This section describes Benefits for Pediatric Vision Care Services which Benefits are available for
  Covered Persons under the age of 19. Please refer to the attached Pediatric Vision Care Services
  Schedule of Benefits for details about:
  •     The amount you must pay for these Benefits for Pediatric Vision Care Services (including any
        Annual Deductible, Co-payment and/or Co-insurance).
  •     Any limit that applies to these Benefits for Pediatric Vision Care Services.
  •     Any limit that applies to the amount you are required to pay in a year(Out-of-Pocket Limit).
  •     Any responsibility you have for obtaining prior authorization or notifying us.
  Benefits terminate on the last day of the month the Covered Person reaches the age of 19.

  Routine Ophthalmologic Exam with Refraction
  A routine ophthalmologic examination of the condition of the eyes, principal vision functions and refraction
  according to the standards of care in your area, including:
  •     A patient history that includes reasons for the exam, patient medical/eye history, and current
        medications.
  •     Visual acuity with each eye and both eyes, far and near, with and without glasses or contact lenses
       (for example, 20/20 and 20/40).
  •     Cover test at 20 feet and 16 inches (checks how the eyes work together as a team).
  •     Ocular motility (how the eyes move) near point convergence (how well eyes move together for near
        vision tasks, such as reading), and depth perception (3D vision).
  •     Pupil reaction to light and focusing.
  •     Exam of the eye lids, lashes, and outside of the eye.
  •     Retinoscopy (when needed)- helps to determine the starting point of the refraction which
        determines the lens power of the glasses.
  •     Phorometry/Binocular testing — far and near: how well eyes work as a team.
  •     Tests of accommodation and/or near point refraction: how well you see at near point (for example,
        reading).
  •     Tonometry, when indicated: test pressure in eye (glaucoma check).
  •     Ophthalmoscopic examination of the internal eye.
  •     Visual Field testing.
  •     Biomicroscopy.
  •     Color vision testing.
  •     Diagnosis/prognosis.
  •     Specific recommendations.
  •     Dilation, if professionally indicated.
  Post exam procedures will be performed only when materials are required.

  Eyeglass Lenses
  Lenses that are mounted in eyeglass frames and worn on the face to correct visual acuity limitations.




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  You are eligible to choose only one of either eye glasses (Eyeglass Lenses and/or Eyeglass Frames) or
  Contact Lenses. If you choose more than one of these Vision Care Services, we will pay Benefits for only
  one Vision Care Service.
  Lenses include a choice of glass or plastic lenses, all lens powers (single vision, bifocal, trifocal,
  lenticular).
  Lens Extras
  Eyeglass Lenses. The following lens extras are covered in full:
  •      Standard scratch-resistant coating.
  •      Polycarbonate lenses.

  Eyeglass Frames
  A structure that contains eyeglass lenses, holding the lenses in front of the eyes and supported by the
  bridge of the nose.
  You are eligible to choose only one of either eye glasses (Eyeglass Lenses and/or Eyeglass Frames) or
  Contact Lenses. If you choose more than one of these Vision Care Services, we will pay Benefits for only
  one Vision Care Service.

  Contact Lenses
  Lenses worn on the surface of the eye to correct visual acuity limitations.
  Benefits include the fitting/evaluation fees, contacts and follow-up care.
  You are eligible to choose only one of either eye glasses (Eyeglass Lenses and/or Eyeglass Frames) or
  Contact Lenses. If you choose more than one of these Vision Care Services, we will pay Benefits for only
  one Vision Care Service.

  Necessary Contact Lenses
  Benefits are available when'a VisioriCare Prb—vider has determined a need for and has prescribed the
  contact lens. In general, contact lenses may be Necessary and appropriate when the use of contact
  lenses, in lieu of eyeglasses, will result in significantly better visual and/or improved binocular function,
  including avoidance of diplopia or suppression. Such determination will be. made by the Vision Care
  Provider and not by us.
  Contact lenses are necessary if you have any of the following:
  •      Keratoconus.
  •     Anisometropia.
  •      Irregular corneal/astigmatism.
  •     Aphakia.
  •      Facial deformity.
  •      Comeal deformity.
  •      Pathological myopia.
  •     Aniseikonia.
  •     Aniridia.
  •     Post-traumatic disorders.




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  Low Vision Service
  Low vision is a significant loss of vision but not total blindness. Ophthalmologists and optometrists
  specializing in low vision care can evaluate and prescribe optical devices, and provide training and
  instruction to maximize the remaining usable vision for Covered Persons with low vision. Covered low
  vision services will include a comprehensive low vision evaluation, low vision follow-up care and low
  vision items such as high-power spectacles, magnifiers and telescopes.

  Other Vision Services
  •   Ultraviolet protective coating.
  •     Polycarbonate lenses.
  •     Blended segment lenses.
  •     Intermediate vision lenses.
  •     Standard progressives.
  •     Premium progressives (Varilux, etc.)
  •     Photochromatic glass lenses.
  •     Plastic photosensitive lenses (transitions).
  •     Polarized lenses.
  •     Standard anti-reflective(AR)coating.
  •     Premium AR coating
  •     Ultra AR coating.
  •     Hi-index lenses.
  •     Tinted Lenses.
  •     Oversized Lenses.

  Pediatric Vision Exclusions
  Except as may be specifically provided in this Agreement under Benefits for Pediatric Vision Care
  Services, Benefits are not provided under this Agreement for the following:
  1.    Medical or surgical treatment for eye disease which requires the services of a Physician.
  2.    Non-prescription items (e.g. Plano lenses).
  3.    Replacement or repair of lenses and/or frames that have been lost or broken.
  4.    Optional Lens Extras not listed in Section 11: Pediatric Vision Care Services.
  5.    Missed appointment charges.
  6.    Applicable sales tax charged on Vision Care Services.

  Claims for Pediatric Vision Care Services
  When obtaining Vision Care Services from an out-of-Network Vision Care Provider, you will be required to
  pay all billed charges directly to your Vision Care Provider. You may then seek reimbursement from us.
  Information about claim timelines and responsibilities in this Combined Evidence of Coverage and
  Disclosure Form in Section 5: How to File a Claim applies to Vision Care Services provided under this
  section of the Combined Evidence of Coverage and Disclosure Form.




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  Reimbursement for Vision Care Services
  To file a claim for reimbursement for Vision Care Services provided by a non-UnitedHealthcare Vision
  Network Vision Care Provider, or for Vision Care Services covered as reimbursements (whether or not
  provided by a UnitedHealthcare Vision Network Vision Care Provider or an out-of-Network Vision Care
  Provider), you must provide all of the following information:
  •     Your itemized receipts.
  •     Covered Person's name.
  •     Covered Person's identification number from the ID card.
  •     Covered Person's date of birth.
  Send the above information to us:
  By mail:
        Claims Department
        P.O. Box 30978
        Salt Lake City, UT 84130]
  By facsimile (fax):
        248-733-6060

  Defined Terms for Pediatric Vision Care Services
  The following definitions are in addition to those listed in Section 9: Defined Terms of this Combined
  Evidence of Coverage and Disclosure Form:
  Covered Contact Lens Selection - a selection of available contact lenses that may be obtained from a
  UnitedHealthcare Vision Network Vision Care Provider on a covered-in-full basis, subject to payment of
  any applicable Co-payment.
  UnitedHealthcare Vision Network - any optometrist, ophthalmologist, optician or other person
  designated by us who provides Vision Care Services for which Benefits are available under the
  Agreement.
  Vision Care Provider - any optometrist, ophthalmologist, optician or other person who may lawfully
  provide Vision Care Services.
  Vision Care Service - any service or item listed in this Combined Evidence of Coverage and Disclosure
  Form under Benefits for Pediatric Vision Care Services.




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       Section 12: Outpatient Prescription Drug Services
   Understanding Your Outpatient Prescription Drug Benefit
  This brochure contains important information for our Members about the UnitedHealthcare outpatient
  prescription drug benefit. As part of UnitedHealthcare's commitment to you, we want to provide you with
  the tools and special programs that will help you better understand and utilize your Pharmacy and
  Prescription Drug Plan. In an effort to eliminate confusion, UnitedHealthcare has provided you with
  answers for your pharmacy questions such as:
  •      What is a Formulary/Prescription Drug List(PDL)?
  •      What is the difference between a Brand-name and Generic drug?
  •      Who can write my prescription?
  •      What happens in Emergency situations?
  •      What is the mail order pharmacy program?
  •      What is Prior Authorization?
  What else should I read to understand my pharmacy benefits?
  We want our Members to get the most from their prescription drug benefit plan, so please read this
  Supplement to the Combined Evidence of Coverage and Disclosure Form ("Supplement") carefully. You
  need to become familiar with the terms used for explaining your coverage, because understanding these
  terms is essential to understanding your benefit. Along with reading this publication, be sure to review
  your Pharmacy Schedule of Benefits. Your Pharmacy Schedule of Benefits provides the details of your
  particular pharmacy benefit plan, including the exclusions and limitations, applicable Co-payments and
  UnitedHealthcare's Prior Authorization process. Together, these documents explain your outpatient
  pharmacy coverage. These documents should be read completely and carefully for a comprehensive
  understanding of your outpatient pharmacy benefits.
  Your medical Combined Evidence of Coverage and Disclosure Form and Schedule of Benefits together
  with this Supplement to the Combined Evidence of Coverage and Disclosure Form and the Pharmacy
  Schedule of Benefits provide the terms and conditions of your benefit coverage. All applicants have a
  right to view these documents prior to enrollment.
  What is covered and not covered?
  UnitedHealthcare covers Medically Necessary Prescription Drug Products that are not otherwise excluded
  from coverage by UnitedHealthcare and Prior Authorization may be required. Refer to your Pharmacy
  Schedule of Benefits for a description of covered Prescription Drug Products as well as the limitations and
  exclusions for certain Prescription Drug Products.
  All Food and Drug Administration (FDA)approved contraceptive methods including drugs, and other
  products, including all FDA-approved contraceptive drugs and products available over the counter as
  prescribed by the Member's Network Provider. Contraceptive devices, products, and procedures
  including, but not limited to, management of side effects, counseling for continued adherence, and device
  insertion and removal are provided as described under Section 11: Preventive Care Services.
  What is a Formulary/ Prescription Drug List(PDL)?
   A PDL is a list that categorizes into Tiers medications or products and contains a broad range of U.S.
  Food and Drug Administration (FDA)approved Generic and Brand-name Prescription Drug Products that
  are covered under your prescription drug benefit. Please refer to your Pharmacy Schedule of Benefits for
  a description of the types of Prescription Drug Products provided at each Tier to know how the formulary
  (PDL)applies to your prescription drug benefit. This list is subject to our periodic review.
  Why are Formularies/(PDLs) necessary?
  Prescription costs continue to rise. PDLs list those Prescription Drug Products that offer value while
  maintaining quality of care to help reduce health care and Premium costs.




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  Who decides which Prescription Drug Products are on the Formulary (PDL)?
  Our Prescription Drug List(PDL) Management Committee makes tier placement on our behalf.
  The PDL Management Committee places FDA-approved Prescription Drug Product into tiers by
  considering a number of factors including clinical and economic factors. Clinical factors may include
  review of the place in therapy or use as compared to other similar product or services, site of care,
  relative safety or effectiveness of the Prescription Drug Product, as well as if certain supply limits or prior
  authorization requirements should apply. Economic factors may include the Prescription Drug Product's
  total cost including any rebates and evaluations of the cost effectiveness of the Prescription Drug
  Product.
  Some Prescription Drug Products are more cost effective for treating specific conditions as compared to
  others; therefore, a Prescription Drug Product may be placed on multiple tiers according to the condition
  for which the Prescription Drug Product was prescribed to treat, or according to whether it was prescribed
  by a Specialist.
  We may, from time to time, change the placement of a Prescription Drug Product among the tiers. These
  changes generally will happen quarterly, but no more than six times per calendar year. These changes
  may happen without prior notice to you.
  When considering a Prescription Drug Product for tier placement, the PDL Management Committee
  reviews clinical and economic factors regarding Covered Persons as a general population. Whether a
  particular Prescription Drug Product is appropriate for you is a determination that is made by you and
  your prescribing Physician.
  NOTE: The tier placement of a Prescription Drug Product may change, from time to time, based on the
  process described above. As a result of such changes, you may be required to pay more or less for that
  Prescription Drug Product. Please contact us at www.myuhc.com or the telephone number on your ID
  card for the most up-to-date tier placement.
  Please remember that the inclusion of a specific drug on the PDL does not guarantee that your licensed
  Physician will prescribe that drug for treatment of a particular condition.
  What if my outpatient Prescription Drug Product is not on the Formulary/(PDL)?
  Formularies/PDLs list alternative Prescription Drug Products, which are designed to be safe and effective.
  If your Prescription Drug Product is not listed on UnitedHealthcare's Formulary/PDL ask your licensed
  Physician or Network Pharmacist for an alternative Prescription Drug Product that is on the PDL and
  medically appropriate for you. Non-formulary (PDL)drugs may be Generic or Brand name drugs. For
  alternative Non-formulary (PDL} Prescription Drug Products, please review the Prior Authorization
  process in your Pharmacy Schedule of Benefits.
  How is a Prescription Drug Product added or deleted from the Formulary/PDL?
  A Prescription Drug Product must first demonstrate safety and effectiveness to be added to the PDL. Only
  after this is decided is the cost of the medication considered. Some Prescription Drug Products have
  similar safety and effectiveness, but one or two are available at a lower cost. In these cases, generally the
  least costly Prescription Drug Product is added to the Formulary (PDL).
  When does the Formulary (PDL)change? If a change occurs, will I have to pay
  more to use a drug I had been using?
  The National Pharmacy and Therapeutics Committee meets regularly, on a quarterly basis, to review the
  PDL and add or remove Prescription Drug Products. The PDL Management Committee meets quarterly
  to determine tier placement. If you are prescribed a Maintenance Medication, we will notify you 60 days
  prior to the change in Tiers that will result in a higher Co-payment. Tier changes that result in a higher
  copayment will occur no more than six times per plan year. You will receive a written notice 60 days prior
  to an increase in your Co-payment or Co-insurance due to the change in tier placement if it is moved to a
  higher tier. The notice will inform you:(a) the new tier, and (b) if prior authorization must be requested by
  your Physician and determined by UnitedHealthcare Benefits Plan of California to be Medically
  Necessary for the drugs to be covered. Please access www.myuhc.com through the internet or call us at




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  the telephone number on your ID card for the most up-to-date tier status. Tier changes that result in a
  lower copayment may occur at any time and would be for your benefit. No prior notice would be given to
  you.
  If you are currently taking a Prescription Drug Product which was approved by UnitedHealthcare for a
  specific medical condition and UnitedHealthcare removes that drug from the PDL, UnitedHealthcare will
  continue to cover that drug. It will be covered provided your licensed Physician continues to prescribe the
  drug for your specific medical condition and provided that the drug is appropriately prescribed and
  continues to be considered safe and effective for treatment of your medical condition. Continued
  coverage is subject to all terms and conditions of your UnitedHealthcare health plan, including the
  exclusions and limitations of your Pharmacy Schedule of Benefits.
  Step Therapy
  Since UnitedHealthcare offers a comprehensive Formulary (PDL), some Prescription Drug Products will
  not be covered until one or more Formulary (PDL)alternatives have been tried. Step therapy is a process
  whereby Prescription Drug Products or Pharmaceutical Products are filled with a medically appropriate
  but more affordable medication than was originally prescribed. Step therapy is designed to encourage the
  use of cost-effective Prescription Drug Products or Pharmaceutical Products when appropriate.
  Situations arise when it may be Medically Necessary for you to receive a certain medication without trying
  an alternative drug first. In these instances, your Network Physicians will need to request a Step Therapy
  exception through the Prior Authorization process and to provide evidence to UnitedHealthcare in the
  form of documents, lab results, records or clinical trials that establish the use of the requested
  Prescription Drug Products as Medically Necessary. Network Physicians may fax step therapy exception
  requests to UnitedHealthcare.
  We will grant a request for a step therapy exception within the following applicable time limits:
  •     In the case of a standard exception request, we will notify you or your designee or your Network
        Physician of the benefit determination no later than 72 hours following receipt of the. When we
        grant a standard exception request, we will provide coverage of the Prescription Drug Product for
        the duration of the prescription, including refills. If we fail to respond to you, your designee, or your
        Network Physician within the prescribed time limits, the request is deemed approved for the
        duration of the prescription, including refills.
  •     In the case of an expedited exception request based on exigent circumstances, we will notify you
        or your designee or your Network Physician of the benefit determination no later than 24 hours
        following receipt of the request. When we grant an exception based on exigent circumstances, we
        will provide coverage of the Prescription Drug Product (including refills) for the duration of the
        exigency. Exigent circumstances exist when you are suffering from a health condition that may
        seriously jeopardize your life, health, or ability to regain maximum function or when you are
        undergoing a current course of treatment using a Prescription Drug Product that is not on the
        Formulary (PDL). If we fail to respond to you, your designee, or your Network Physician within the
        prescribed time limits, the request is deemed approved for the duration of the prescription,
        including refills.
        External exception request review. If we deny a request for a standard exception or for an
       expedited exception, you, your designee, or your Network Physician may request that the original
       exception request and subsequent denial of such request be reviewed by an independent review
       organization. A denial of a request for an exception is subject to Independent Medical Review
       (IMR). The IMR process is described under Section 6: Questions, Complaints, Adverse Benefit
        Determinations and Appeals. The Independent Medical Review Organization will make a
       determination on the external exception request and notify you or your designee and your Network
       Physician of the benefit determination no later than 72 hours following receipt of the request, if the
       original request was a standard exception, and no later than 24 hours following its receipt of the
        request, if the original request was an expedited exception request. If the Independent Medical
        Review Organization grants an external exception review of a standard exception request, we will
        provide coverage of the Prescription Drug Product that is not on the Formulary (PDL)for the
       duration of the prescription. If the Independent Medical Review Organization grants an external




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        exception review of an expedited exception request, we will provide coverage of the Prescription
        Drug Product that is not on the Formulary (PDL)for the duration of the exigency.
  We will approve a step therapy exception request, or internal or external appeal of a denial, within the
  applicable time limits described above if the Network Physician submits necessary justification and
  supporting clinical documentation that satisfy any of the following criteria:
  •     The required Prescription Drug Product is contraindicated-or is likely, or expected, to cause an
        adverse reaction or physical or mental harm to you in comparison to the requested Prescription
        Drug Product, based on your known clinical characteristics and the known characteristics and
        history of your prescription drug regimen.
  •     The required Prescription Drug Product is expected to be ineffective based on your known clinical
        characteristics and the known characteristics and history of your prescription drug regimen.
  •     You have tried the required Prescription Drug Product while covered by your current or previous
        health coverage or Medicaid, and that Prescription Drug Product was discontinued due to lack of
        efficacy or effectiveness, diminished effect, or an adverse reaction. We may require the submission
        of documentation demonstrating that you tried the required Prescription Drug Product before it was
        discontinued.
  •     The required Prescription Drug Product is not clinically appropriate for you because the required
        drug is expected to do any of the following, as determined by the Network Physician:
        •      Worsen a comorbid condition.
        •      Decrease the capacity to maintain a reasonable functional ability in performing daily
               activities.
        •      Pose a significant barrier to adherence to, or compliance with, your drug regimen or plan of
               care.
  •     You are stable on the Prescription Drug Product selected by the Network Physician for the medical
        condition under consideration while covered by. your current or previous health coverage or
        Medicaid.
  If you change your health plan, we will not require you to repeat step therapy when the medical condition
  you are already being treated for by a Prescription Drug Product, provided the Prescription Drug Product
  is appropriately prescribed and considered safe and effective for your medical condition. You may
  determine whether a particular Prescription Drug Product or Pharmaceutical Product is subject to step
  therapy requirements through the Internet at www.myuhc.com or by calling the telephone number on your
  ID card.
  Generic Prescription Drugs
  What is the difference between Generic and Brand-name drugs?
  When a new drug is put on the market, for many years it is typically available only under a manufacturer's
  Brand-name. At first, this new drug is protected by a patent. Only after the patent expires are competing
  manufacturers allowed to offer the same drug. This type of drug is called a Generic drug.
  While the name of the drug may not be familiar to you, a Generic drug has the same medicinal benefits
  as its Brand- name competitor. In fact, a manufacturer must provide proof to the FDA that a Generic drug
  has the identical active chemical compound as the Brand-name product. A generic product must meet
  rigid FDA standards for strength, quality, purity, and potency.
  Only when a Generic drug meets these standards is it considered the brand name drug's equivalent.
  When the FDA approves a new Generic drug, UnitedHealthcare may choose to replace the Brand-name
  drug on the PDL with the Generic drug.
  If you or your provider selects a brand name drug when a generic drug equivalent is available, you will
  pay the difference in our contracted rate for the name drug and the generic equivalent plus the tier 1 Co-
  payment. The difference in cost does not apply to the out-of-pocket limit or any applicable drug




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  deductible. If you or your provider believes the brand drug is Medically Necessary, you can request an
  exception through the prior authorization process.
  NOTE: If you have a question about our PDL or a particular Prescription Drug Product, please contact
  UnitedHealthcare at 1-800-624-8822 or 711 (TTY)or visit UnitedHealthcare's web site at
  www.myuhc.com.
  Therapeutic substitution of medication (Prescription Drug Product)
  If there is no generic equivalent available for a specific Brand-name drug, your licensed Physician may
  prescribe a "therapeutic substitute" instead. Unlike a Generic, which has the identical active ingredient as
  the Brand name version, a therapeutic substitute has a chemical composition that is different but acts
  similarly in clinical and therapeutic ways when compared to competing Brand-name counterparts. If your
  licensed Physician specifies therapeutic substitution, you will receive the therapeutic substitution
  medication and pay the applicable Co-payment (refer to your Pharmacy Schedule of Benefits for the
  amount of your Co-payment).

  Filling Your Prescription
  Who can write my prescription?
  To be eligible for coverage, your Prescription Drug Product must be written by a licensed practitioner.

  How do I use my Prescription Drug Product benefit?
  Your outpatient Prescription Drug Product benefit helps to cover the cost for some of the outpatient
  medications prescribed by a licensed practitioner. Using your benefit is simple.
        Obtain your prescription from your licensed practitioner.
        Present your prescription for a covered outpatient Prescription Drug Product and UnitedHealthcare
        Member ID card at any UnitedHealthcare Network Pharmacy. If ordering by phone, be sure to
  •     mention that you are a UnitedHealthcare Member. Note that some Prescription Drug Products must
        be Prior Authorized by UnitedHealthcare.
  •     Pay the lower of the applicable Co-payment (refer to your Pharmacy Schedule of Benefits for the
        amount of your Co-payment)for a Prescription Unit or the Network Pharmacy's retail price for the
        Prescription Drug Product.
  •     Receive your medication.

  How much do I have to pay to get a prescription filled?
  Refer to your Pharmacy Schedule of Benefits for specific details and Co-payment amounts.

  Where do I go to fill a prescription?
  UnitedHealthcare has a well-established Network of pharmacies including most major pharmacy and
  supermarket chains as well as many independent pharmacies. For a listing of Network Pharmacies,
  contact us at 1-800-624-8822 or 711 (TTY)to help locate a Network Pharmacy near you or visit our web
  site at www.myuhc.com for an up-to-date list.

  When do I request a refill?
  Generally, you may refill a prescription when a minimum of 75 percent of the quantity is consumed based
  on the days' supply.

  What is a Maintenance Medication?
  A Maintenance Medication is a prescription drug anticipated to be used for six months or more to treat or
  prevent a chronic condition.




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  If you require Maintenance Medication, we may direct you to a mail order Pharmacy, other than for
  Specialty Drug Products, which are drugs requiring close monitoring and frequent dose modifications, HIV
  medications, controlled-substances and oral chemotherapy drugs, to obtain those Maintenance
  Medications.

  I take Maintenance Medication on a continuing basis. How can I have
  my prescriptions filled when I am on vacation?
  The most convenient and affordable way to obtain Maintenance Medications is to obtain a 90-day supply
  through our mail order Pharmacy Program (for additional details refer to the mail order Pharmacy
  Program section in this document). It is important to plan ahead, because it takes approximately seven
  days to receive your 90-day supply from the mail service program. Early refills for vacation are also
  available from Participating Pharmacies in certain circumstances — talk with your pharmacist about
  obtaining a vacation override. Our Customer Service can also help you with planning for your medication
  needs while traveling call 1-800-624-8822 or 711(M).

  What if I am sick and need a prescription when I'm away from home?
  If you are sick and need an outpatient Prescription Drug Product filled when away from home, you may
  visit one of our Network Pharmacies within our national pharmacy Network and receive the Prescription
  Drug Product for the applicable Co-payment. For the nearest Network pharmacy, contact us at 1-800-
  624-8822 or 711 (TTY) or visit our web site at www.myuhc.com.

  What happens in an Emergency situation?
  While in most circumstances you must fill your prescription at a Network Pharmacy, you may fill your
  prescription for an outpatient Prescription Drug Product at an Out-of-Network Pharmacy in an Emergency
  or Urgent situation. In such situations, you must pay the total cost of the Prescription Drug Product at the
  time you receive the Prescription Drug Product and you will be reimbursed by UnitedHealthcare for the
  cost of the Prescription Drug Product, less the applicable Co-payment. However, if UnitedHealthcare
  decides that you obtained the Prescription Drug Product from an Out —of-Network Pharmacy and it is
  determined the care did not meet the definitions of an Emergency Health Care Service or Urgently
  Needed Services, you will be responsible for the total cost of the Prescription Drug Product and
  UnitedHealthcare will not reimburse you.
  To obtain reimbursement for Emergency Health Care or Urgently Needed Prescription Drug Product, you
  m ust follow the instructions below under "How do I obtain reimbursement'?". You are only eligible for
  reimbursement for prescriptions related to urgent or Emergency situations as defined by
  UnitedHealthcare (refer to your medical Combined Evidence of Coverage and Disclosure Form) minus
  the applicable Co-payment.

  How do I obtain reimbursement?
  Contact the Customer Service department at 1-800-624-8822 or 711 (TTY)or visit UnitedHealthcare's
  web site at www.myuhc.com to obtain the Direct Reimbursement Form. Provide the following: Direct
  Member Reimbursement Form, copies of the prescription receipts showing the prescription number,
  name of the medication, date filled, pharmacy name, name of the Member for whom the prescription was
  written, proof of payment and a description of why a UnitedHealthcare Participating Pharmacy was not
  available. Send these documents to: UnitedHealthcare Pharmacy Department, P.O. Box 29077, Hot
  Springs, AR 71093.
  You should submit the Direct Reimbursement Form within 90 days, or as soon as reasonably possible
  from the date of service. Payment will be forwarded to you once your request for reimbursement is
  decided by UnitedHealthcare to be appropriate.




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  Emergency Override
  UnitedHealthcare will cover a 5-day Emergency supply of a medication once during a calendar year while
  a prior authorization review is in progress.

  When I fill a Prescription Drug Product, how much medication do I
  receive?
  For a single Co-payment, Members receive one Prescription Unit which represents a maximum of one
  month's (31-day supply) fill of outpatient prescription medication that can be obtained at one time. For
  most oral medications, a Prescription Unit is up to a 31-day supply of medication.
  Prescription Drug Products dispensed in quantities other than the 31-day supply maximum are listed
  below:
  •     Medications with quantity limitations: The Prescription Unit for some medications may be set at
        a smaller quantity to promote appropriate medication use and patient safety. These quantity limits
        are based on generally accepted pharmaceutical practices and the manufacturer's labeling. For
        example, antibiotics typically require less than a 31-day supply; and certain drugs such as
        controlled substances and migraine medications may be limited due to the expectation of patient
        need and in accordance with manufacturer's recommended dosages. Drugs with quantity
        limitations may be dispensed in greater quantities if Medically Necessary and Prior Authorized by
        UnitedHealthcare.
  •     Defined or pre-packaged units of medications: Prescription Drug Products such as inhalers,
        eye drops, creams, or other types of medications or Prescription Drug Products that are normally
        dispensed in pre-packaged or defined units of 31-day or less will be considered a single
        Prescription Unit.
  •     Medication obtained through UnitedHealthcare's Mail Order Program: If you use the
        UnitedHealthcare Mail Order Pharmacy, you will receive three Prescription Units or up to a 90-day
        supply of Maintenance Medications (except for pre-packaged medications or Prescription Drug
        Products as described above). When a Prescription Drug Product is packaged or designed to -
        deliver in a manner that provides more than a consecutive 31-day supply, the Co-payment that
        applies will reflect the number of days dispensed.

  UnitedHealthcare's Mail Order Pharmacy Program

  What is the Mail Order Pharmacy Program?
  UnitedHealthcare offers a Mail Order Pharmacy Program through Optum Rx®. The Mail Order Pharmacy
  Program provides convenient service and savings on Maintenance Medications that you may take on a
  regular basis by allowing you to purchase certain drugs for receipt by mail. You get quality medications
  mailed directly to your home or address of your choice within the United States, in a discreetly labeled
  envelope to ensure privacy and safety. Standard shipping and handling is at no additional charge.
  If you use our Mail Order Pharmacy Program, you will generally get your Maintenance Medication within
 (7)seven working days after receipt of your order. All orders are shipped in discreetly labeled envelopes
 for privacy and safety.
  Here's how to fill prescriptions through the Mail Order Pharmacy Program.
  1.   Call your licensed Physician to obtain a new prescription for each medication. When you call, ask
       the Physician to write the prescription for a 90-day supply which represents three Prescription Units
       with up to three additional refills. The doctor will tell you when to pick up the written prescription.
       (Note: Optum Rxe must have a new prescription to process any new Mail Order request.)
  2.    After picking up the prescription, complete the Mail Order Form included in your enrollment
        materials.(To obtain additional forms or for assistance in completing the form, call




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        UnitedHealthcare's Customer Service Department at 1-800-624-8822 or 711 (TTY). You can also
        find the form at the web site address www.optumrx.com.)
  3.    Enclose the prescription and appropriate Co-payment via check, money order, or credit card. Your
        Pharmacy Schedule of Benefits will have the applicable Co-payment for the Mail Order Pharmacy
        Program. Make the check or money order payable to Optum Rx®. No cash please.
  When you receive your prescription, you will get detailed instructions that tell you how to take the
  medication, possible side effects and any other important information about the medication. If you have
  questions, registered pharmacists are available to help you by calling Optum Rx® at 1-800-562-6223 or
  711 (TTY).
  Important Tip: If you are starting a new Prescription Drug Product, please request two prescriptions from
  your licensed Physician. Have one filled immediately at a Network Pharmacy while mailing the second
  prescription to UnitedHealthcare's Mail Order Pharmacy. Once you receive your medication through the
  Mail Order Pharmacy Program, you should stop filling the prescription at the Network Pharmacy.

  Designated Pharmacies
  What is a Designated Pharmacy?
  If you require certain Specialty Prescription Drug Products, we may direct you to a Designated Pharmacy
  with whom we have an arrangement to provide those Specialty Prescription Drug Products. There are
  both retail and mail pharmacies in the Designated Pharmacy network. Note that not all contracted retail
  pharmacies are in the Designated Pharmacy network. Only retail pharmacies that are in the Designated
  Pharmacy network will provide access to these Specialty Prescription Drug Products. If you choose not to
  obtain your Specialty Prescription Drug Product from the Designated Pharmacy, you may opt-out of the
  Designated Pharmacy program through the Internet at www.myuhc.com or by calling the telephone
  number on your ID card. If you want to opt-out of the program and fill your Specialty Prescription Drug
  Product at a non-Designated Pharmacy but do not inform us, you will be responsible for the entire cost of
  the Specialty Prescription Drug Product and no Benefits will be paid unless we authorize the use of a
  Network Pharmacy including in an urgent situation.

  Prior Authorization
  What is Prior Authorization?
  UnitedHealthcare covers Medically Necessary Prescription Drug Products when prescribed by a licensed
  Physician and Prior Authorization may be required. For example, medications when prescribed for
  cosmetic purposes, such as wrinkle creams, are not generally covered. Medication quantities may also be
  limited to ensure that they are being used safely and effectively, and Co-payments, exclusions and
  limitations vary. Please be sure to read your Pharmacy Schedule of Benefits, which describes the details
  of your prescription drug coverage, including the types of medications that require Prior Authorization,
  and that are limited or excluded. Prescriptions that require Prior Authorization will be charged at the
  applicable Co-payment if approved.
  If a contraceptive listed on the Prescription Drug List(PDL)is not available or is deemed medically
  inadvisable by the Covered Person's provider, we will provide coverage for a contraceptive that is not
  listed on the PDL without cost sharing. This includes all FDA- approved contraceptive drugs, devices, and
  other products for women, including all FDA- approved, contraceptive drugs, devices, and products
  available over the counter. Contraceptives for women when prescribed by a Network Physician include,
  but are not limited to, female condoms, emergency contraceptives (Next Choice TM, Next Choice One-
  Dose TM, Plan B One-Step®), and contraceptive film, foam and gel.
  •     If the FDA has approved one or more therapeutic equivalents, as that term is defined by the FDA,
        of a contraceptive drug, device, or product, at least one will be covered without cost sharing or
        medical management restrictions. If there is no therapeutic equivalent generic substitute available
        in the market, the brand name contraceptive will be covered without cost-sharing or medical
        management restrictions.




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  •     All FDA- approved contraceptives will be covered without cost-sharing or medical management
        restrictions when deemed Medically Necessary by the prescriber.
  •     Point-of-sale coverage for over-the-counter FDA-approved contraceptive drugs, devices and
        products will be provided at in-network pharmacies without cost sharing or medical management
        restrictions. A prescription will not be required-to trigger coverage of these products.
  A Covered Person or his/her provider may request an exception to the supply limits for Prescription Drug
  Products, including contraceptives. We will provide coverage for the Medically Necessary dosage and
  quantity of the Prescription Drug Product prescribed for the treatment of a medical condition consistent
  with professionally recognized standards of practice.
  Prescription Drug Products prescribed to prevent conception include, but are not limited to, diaphragms,
  cervical caps, contraceptive rings, contraceptive patches, and oral contraceptives (including emergency
  contraceptive pills).
  FDA- approved contraceptives for women when prescribed by a Network Physician include, but are not
  limited to, female condoms, emergency contraceptives (Next ChoiceTM, Next Choice One-Dose TM, Plan
  B One-Step®), and contraceptive film, foam and gel.
  A complete list of Preventive Care Medications covered under the Preventive Care Services benefit can
  be found at www.myuhc.com, under Pharmacy Information. The Preventive Care List is labeled "HCR
  Preventive Care" on the PDL (Prescription Drug List) used by your plan. Preventive Care Medications can
  be obtained at Network Pharmacies with a prescription from a Physician.
  We want to make sure our Members receive optimal care and appropriate medication use is a big part of
  maintaining your overall health. That is why we have systems in place to make sure your medication is
  Medically Necessary and prescribed according to treatment guidelines consistent with standard
  professional practice. We also want to make sure you are not taking more medication than you need or
  are taking medication for a longer period of time than is necessary, and that you are receiving follow-up
  care. UnitedHealthcare reserves the right to require Prior Authorization and/or limit the quantity of any
  prescription. The following is a list of factors that UnitedHealthcare takes into consideration when
  completing a Prior Authorization review:
  •     The prescription is for the treatment of a covered medical condition and the expected beneficial
        effects of the prescription outweigh the harmful effects.
  •     There is sufficient evidence to draw conclusions about the effect of the prescription on the medical
        condition being treated and on your health outcome.
  •     The prescription represents the most cost-effective method to treat the medical condition.
  •     The prescription drug is prescribed according to established, documented and approved indications
        that are supported by the weight of scientific evidence.
  What do I do if I need Prior Authorization?
  We understand that situations may arise in which it may be Medically Necessary to take a medication
  above the preset limits or for a particular condition/circumstance. In these instances, since your licensed
  Physician understands your medical history and health conditions, he/she can request Prior
  Authorization. We have made the process simple and easy. Your licensed Physician may electronically or
  by fax send the Prior Authorization request to Optum Rx®, which is UnitedHealthcare's pharmacy benefit
  manager. The Prior Authorization staff of qualified pharmacists and technicians is available Monday
  through Friday from 5:00 a.m. to 10:00 p.m. PST and Saturday from 6:00 a.m. to 3:00 p.m. PST to assist
  licensed Physicians. Most authorizations are completed within 24 hours. The most common reason for
  delay in the authorization process is insufficient information. Your licensed Physician may need to provide
  information on diagnosis and medication history and/or evidence in the form of documents, records or lab
  tests which establish that the use of the requested Prescription Drug Product meets plan criteria.
  When a Prescription Drug Product is not listed on the PDL, you or your representative may request an
  exception to gain access to the Prescription Drug Product if Medically Necessary and Prior Authorized. To




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   make a request, contact us in writing or call the toll-free number on your ID card. We will notify you of our
   determination during the required timeframe.
  •      In the case of a standard exception request, we will notify the Member or the Member's designee
         or the Member's prescribing provider of the Benefit determination no later than 72 hours following
         receipt of the prior authorization request for a Non-Formulary(PDL)drug. When we grant a
         standard exception request, we will provide coverage of the Prescription Drug Product for the
         duration of the prescription, including refills.
  •      In the case of an expedited exception request based on exigent circumstances, we will notify the
         Member or the Member's designee or the Member's prescribing provider of the Benefit
         determination no later than 24 hours following receipt of the Prior Authorization request for a Non-
         Formulary (PDL) drug. When we grant an exception based on exigent circumstances, we will
         provide coverage of the Prescription Drug Product(including refills) for the duration of the
         exigency. Exigent circumstances exist when a Member is suffering from a health condition that may
         seriously jeopardize the Member's life, health, or ability to regain maximum function or when the
         Member is undergoing a current course of treatment using a Prescription Drug Product that is not
         on the Formulary (PDL).
  •      External exception request review. If we deny a request for a standard exception or for an
         expedited exception, the Member, the Member's designee, or the Member's prescribing provider
         may request that the original exception request and subsequent denial of such request be reviewed
         by an independent review organization. We will provide notice of how to proceed with a request in
         the denial letter. A denial of a Prior Authorization request for a Non-Formulary (PDL)drug
         exception is subject to review by an Independent Review Organization (IRO). The Independent
         Review Organization will make a determination on the external exception request and notify the
         Member or the Member's designee and the prescribing provider of the Benefit determination no
         later than 72 hours following receipt of the request, if the original request was a standard exception,
         and no later than 24 hours following its receipt of the request, if the original request was an
         expedited exception request. If the Independent Review Organization grants an external exception
         review of a standard exception request, we will provide coverage of the Prescription Drug Product
         that is not on the Formulary (PDL). If the Independent Review Organization grants an external
         exception review of an expedited exception request, we will provide coverage of the Prescription
         Drug Product that is not on the Formulary (PDL)for the duration of the exigency. Please note that
         the external review process is in addition to the Member's right to file a grievance or request an
         independent review administered by the Department of Managed Health Care.
  •      For more information regarding filing a grievance and independent review administered by the
         Department of Managed Health Care, please refer to Section 6 of the Combined Evidence of
         Coverage and Disclosure Form for more information.

  Your Right to Request an Exception for Contraceptives
  In accordance with PPACA requirements, an exception process may apply to certain Prescription Drug
  Products prescribed for contraception if your Physician determines that a Prescription Drug Product
  alternative to a PPACA Zero Cost Share Preventive Care Medication is Medically Necessary for you.
  An expedited medication exception request may be available if the time needed to complete a standard
  exception request could significantly increase the risk to your health or ability to regain maximum function.
  If a request for an exception is approved by us, Benefits provided for the Prescription Drug Product will be
  treated the same as a PPACA Zero Cost Share Preventive Care Medication.
  For more information please visit[www.uhcprovidercom] under the following path: Resources Drug Lists
  and Pharmacy Additional Resources Patient Protection and Affordable Care Act $0 Cost-Share
  Preventive Medications Exemption Requests(Commercial Members).
  Does this plan limit or exclude certain drugs my health care provider may prescribe or encourage
  substitutions for some drugs?




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  Your UnitedHealthcare pharmacy benefit provides you access to a wide range of FDA-approved brand
  and generic medication. The Formulary (PDL)is developed with the input from licensed Physicians and
  pharmacists and is based on assessment of the drug's quality, safety, effectiveness and cost If a
  medication is not included on the Formulary (PDL), it may be because the Plan's Formulary (PDL)
  includes other drugs that are frequently prescribed for the same condition as those that are not included
  on the Formulary (PDL). For example, UnitedHealthcare may have an equivalent Generic medication on
  the Formulary(PDL)for the Brand-name medication prescribed by your licensed Physician. It is also
  important to remember there may be other options available for treating a particular medical condition.
  Non-Formulary (PDL) medications may require Prior Authorization and will be approved when Medically
  Necessary unless otherwise excluded by UnitedHealthcare as described in the Exclusions and
  Limitations Section of the Pharmacy Schedule of Benefits. Refer to the Section entitled "What do I do if I
  need Prior Authorization" in this document for additional information.
  What should I do if I want to appeal a Prior Authorization decision?
  As a UnitedHealthcare Member, you have the right to appeal any Prior Authorization decision. Contact
  Customer Service at 1-800-624-8822 or 711 (TTY)for details on the Prior Authorization or appeals
  process. Please refer to your medical Combined Evidence of Coverage and Disclosure Form for more
  details on the appeals process and the expedited review process.

  Rebates and Other Payments
  We may receive rebates for certain drugs included on the PDL. We may pass a portion of these rebates
  on to you, and they may be taken into account in determining your Co-payments and/or Co-insurance.
  We, and a number of our affiliated entities, conduct business with pharmaceutical manufacturers separate
  and apart from this Outpatient Prescription Drug Supplement. Such business may include, but is not
  limited to, data collection, consulting, educational grants and research. Amounts received from
  pharmaceutical manufacturers pursuant to such arrangements are not related to this Outpatient
  Prescription Drug Supplement. We are not required to pass on to you, and do not pass on to you, such
  amounts.

  Coupons, Incentives and Other Communications
  At various times, we may send mailings or provide other communications to you, your Physician, or your
  pharmacy that communicate a variety of messages, including information about Prescription and non-
  prescription Drug Products. These communications may include offers that enable you, as you determine,
  to purchase the described product at a discount. In some instances, non-UnitedHealthcare entities may
  support and/or provide content for these communications and offers. Only you and your Physician can
  determine whether a change in your Prescription and/or non-prescription Drug regimen is appropriate for
  your medical condition.

  Variable Co-payment Program
  Certain Specialty Prescription Drug Products are eligible for coupons or offers from pharmaceutical
  manufacturers or affiliates that may reduce the cost for your Prescription Drug Product. We may help you
  determine whether your Specialty Prescription Drug Product is eligible for this reduction. If you redeem a
  coupon from a pharmaceutical manufacturer or affiliate, your Co-payment and/or Co-insurance may vary.
  Please contact[www.myuhc.corn] or the telephone number on your ID card for an available list of
  Specialty Prescription Drug Products. If you choose not to participate, you will pay the Co-payment or Co-
  insurance as described in the Outpatient Prescription Drug Schedule of Benefits. The amount of the
  coupon will not count toward any applicable deductible or out-of-pocket limits.

  Special Programs
  We may have certain programs in which you may receive an enhanced benefit based on your actions
  such as adherence/compliance to medication or treatment regimens, and/or taking part in health
  management programs. You may access information on these programs by contacting us at
  www.myuhc.com or the telephone number on your ID card.




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  Maintenance Medication Program
  If you require certain Maintenance Medications, we may direct you to the mail order Network Pharmacy or
  Preferred 90 Day Retail Network Pharmacy to obtain those Maintenance Medications. If you choose not
  to obtain your Maintenance Medications from the mail order Network Pharmacy or Preferred 90 Day
  Retail Network Pharmacy, you may opt-out of the Maintenance Medication Program by contacting us at
  www.myuhc.com or the telephone number on your ID card.

  Prescription Drug Products Prescribed by a Specialist
  You may receive an enhanced or reduced Benefit, or no Benefit, based on whether the Prescription Drug
  Product was prescribed by a Specialist. You may access information on which Prescription Drug Products
  are subject to Benefit enhancement, reduction or no Benefit by contacting us at www.myuhc.com or the
  telephone number on your ID card.

  Definitions
  Ancillary Charge - a charge, in addition to the Co-payment and/or Co-insurance, that you must pay
  when a covered Prescription Drug Product is dispensed at your or the provider's request, when a
  Chemically Equivalent Prescription Drug Product is available.
  For Prescription Drug Products from Network Pharmacies, the Ancillary Charge is the difference between:
  •     The Prescription Drug Charge for the Prescription Drug Product.
  •     The Prescription Drug Charge for the Chemically Equivalent Prescription Drug Product.
  For Prescription Drug Products from out-of-Network Pharmacies, the Ancillary Charge is the difference
  between:
  •     The Out-of-Network Reimbursement Rate for the Prescription Drug Product.
  •     The Out-of-Network Reimbursement Rate for the Chemically Equivalent Prescription Drug Product.
  Annual Drug Deductible - the amount you are required to pay for covered Prescription Drug Products in
  a year before we begin paying for Prescription Drug Products. Refer to your Pharmacy Schedule of
  Benefits to see if you have an Annual Drug Deductible and how it applies.
  Brand-name - a Prescription Drug Product:(1) which is manufactured and marketed under airademark
  or name by a specific drug manufacturer; or (2) that we identify as a Brand-name product, based on
  available data resources including, but not limited to, data sources such as Medi-span or First DataBank,
  that classify drugs as either brand or generic based on a number of factors. You should know that all
  products identified as a "brand name" by the manufacturer, pharmacy, or your Physician may not be
  classified as Brand-name by us.
  Calendar Year — The time period beginning on January 1 and ending on December 31.
  Chemically Equivalent — when Prescription Drug Products contain the same active ingredient.
  Contract Year — The twelve-month period that begins on the first day of the month the Agreement
  become effective.
  Designated Pharmacy - a pharmacy that has entered into an agreement with us or with an organization
  contracting on our behalf, to provide specific Prescription Drug Products. This includes Specialty
  Prescription Drug Products. Not all Network Pharmacies are Designated Pharmacies.
  Generic - a Prescription Drug Product that is (1) the same as a Brand Name drug in dosage, safety,
  strength, how it is taken, quality, performance, and intended use. It contains the identical amounts of the
  same active ingredient(s) as the Brand Name product. This definition applies to FDA approved generic
  drugs.(2)that we identify as a Generic product based on available data resources. This includes, data
  sources such as Medi-Span, that classify drugs as either brand or generic based on a number of factors.
  Not all products identified as a "generic" by the manufacturer, pharmacy or your Physician will be
  classified as a Generic by us.




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  List of Preventive Medications - a list that identifies certain Prescription Drug.Products, which may
  include certain Specialty Prescription Drug Products, on the Prescription Drug List that are intended to
  reduce the likelihood of Sickness. You may find the List of Preventive Medications by contacting us at
  www.myuhc.com or the telephone number on your ID card.
  List of Zero Cost Share Medications - a list that identifies certain Prescription Drug Products on the
  Prescription Drug List that are available at zero cost share (no cost to you)when obtained from a retail
  Network Pharmacy. Certain Prescription Drug Products on the List of Zero Cost Share Medications may
  be available at a mail order Network Pharmacy. You may find the List of Zero Cost Share Medications by
  contacting us at[www.myuhc.com] or the telephone number on your ID card.
  Maintenance Medication - a Prescription Drug Product which is anticipated to be used for six months or
  more to treat or prevent a chronic condition. You may learn if a Prescription Drug Product is a
  Maintenance Medication through the Internet at www.myuhc.com or by calling Customer Service at the
  telephone number on your ID card.
  Maximum Allowable Amount - the maximum amount that should be paid for covered Prescription Drug
  Products in a Therapeutic Class. This amount is subject to our review and change from time to time and
  varies by Therapeutic Class.
  Network Pharmacy - a pharmacy that has:
  •     Entered into an agreement with us or an organization contracting on our behalf to provide
        Prescription Drug Products to Covered Persons.
  •     Agreed to accept specified reimbursement rates for dispensing Prescription Drug Products.
  •     Been designated by us as a Network Pharmacy.
  New Prescription Drug Product - a Prescription Drug Product or new dosage form of a previously
  approved Prescription Drug Product, for the period of time starting on the date the Prescription Drug
  Product or new dosage form is approved by the U.S. Food and Drug Administration (FDA)and ending on
  the earlier of the following dates:
  •     The date it is placed on a tier by our PDL Management Committee.
  •     December 31st of the following calendar year.
  Non-PDL Drug - A drug that is not included on the PDL.
  Out-of-Network Pharmacy — A pharmacy that has NOT contracted with UnitedHealthcare to provide
  outpatient prescription drugs to our Members.
  PPACA - Patient Protection and Affordable Care Act of 2010.
  PPACA Zero Cost Share Preventive Care Medications - the medications that are obtained at a
  Network Pharmacy with a Prescription Order or Refill from a Physician and that are payable at 100% of
  the Prescription Drug Charge (without application of any Co-payment, Co-insurance, Annual Deductible,
  Annual Drug Deductible, or Specialty Prescription Drug Product Annual Deductible) as required by
  applicable law under any of the following:
  •     Evidence-based items or services that have in effect a rating of "A" or "B" in the current
        recommendations of the United States Preventive Services Task Force.
  •     With respect to infants, children and adolescents, evidence-informed preventive care and
        screenings provided for in the comprehensive guidelines supported by the Health Resources and
        Services Administration.
  •     With respect to women, such additional preventive care and screenings as provided for in
        comprehensive guidelines supported by the Health Resources and Services Administration.
  You may find out if a drug is a PPACA Zero Cost Share Preventive Care Medication as well as
   information on access to coverage of Medically Necessary alternatives by contacting us at
  [www.myuhc.com] or the telephone number on your ID card.




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  Covered Health Care Services also include voluntary family planning and-all FDA- approved
  contraceptive drugs, devices, and other products for women as provided for in comprehensive guidelines
  supported by the Health Resources and Services Administration and as required by California law,
  including but not limited to the following services:
        •      Office visits, examinations, patient education and counseling on contraception (includes
               family planning counseling or consultations to obtain internally implanted time-release
               contraceptives or intrauterine devices).
        •      Follow-up services related to all FDA- approved contraceptive drugs, devices, and other
               products (including all FDA- approved over-the-counter drugs, devices, and other products)
               for women. Follow-up services include, but are not limited to, management of side effects,
               counseling for continued adherence, and device insertion and removal.
        •      Voluntary female sterilization procedures, including surgical sterilization (tubal ligation) and
               implantable sterilization.
  Benefits also include FDA- approved contraceptive drugs, devices, and products available over-the-
  counter when prescribed by a Network provider.
  Note: This plan covers up to a 12-month supply of FDA- approved, self-administered hormonal
  contraceptives when dispensed or furnished at one time by a Network provider, pharmacist, or at a
  location licensed or otherwise authorized to dispense drugs or supplies. This includes all FDA- approved
  contraceptive drugs, devices, and other products for women, including all FDA- approved, contraceptive
  drugs, devices, and products available over the counter. Contraceptives for women when prescribed by a
  Network Physician include, but are not limited to, female condoms, emergency contraceptives (Next
  ChoiceTM, Next Choice One-DoseTM, Plan B One-Step®), and contraceptive film, foam and gel. This
  also includes the following:
        •     If the FDA has approved one or more therapeutic equivalents, as that term is defined by the
              FDA, of a contraceptive drug, device, or product, at least one will be covered without cost-
              sharing or medical management restrictions. If there is no therapeutic equivalent generic
              substitute available in the market, the brand name contraceptive will be covered without
              cost-sharing or medical management restrictions.
        •      All FDA- approved contraceptives will be covered without cost-sharing or medical
               management restrictions when deemed Medically Necessary by the prescriber.
        •      Point-of-sale coverage for over-the-counter FDA- approved contraceptive drugs, devices and
               products will be provided at in-network pharmacies without cost sharing or medical
               management restrictions. A prescription will not be required to trigger coverage of these
               products.
  A Covered Person or his/her provider may request an exception to the supply limits for Prescription Drug
  Products, including contraceptives. We will provide coverage for the Medically Necessary dosage and
  quantity of the Prescription Drug Product prescribed for the treatment of a medical condition consistent
  with professionally recognized standards of practice.
        •     Prescription Drug Products prescribed to prevent conception include, but are not limited to,
              diaphragms, cervical caps, contraceptive rings, contraceptive patches, and oral
              contraceptives (including emergency contraceptive pills).
              FDA- approved contraceptives for women when prescribed by a Network Physician include,
              but are not limited to, female condoms, emergency contraceptives (Next ChoiceTM, Next
              Choice One-DoseTM, Plan B One-Step®), and contraceptive film, foam and gel.
  A complete list of Preventive Care Medications covered under the Preventive Care Services benefit can
  be found at www.myuhc.com, under Pharmacy Information. The Preventive Care List is labeled "HCR
  Preventive Care" on the PDL (Prescription Drug List) used by your plan. Preventive Care Medications can
  be obtained at Network Pharmacies with a prescription from a Physician.




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  Preferred 90 Day Retail Network Pharmacy - a retail pharmacy that we identify as a preferred
  pharmacy within the Network for Maintenance Medication.
  Prescription Drug Charge - the rate we have agreed to pay our Network Pharmacies for a Prescription
  Drug Product dispensed at a Network Pharmacy. The rate includes any applicable dispensingfee and
  sales tax.
  Prescription Drug List(PDL)- a list that categorizes into Tiers medications or products that have been
  approved by the U.S. Food and Drug Administration. This list is subject to our periodic review and
  modification (generally quarterly, but no more than six times per calendar year). The PDL does not
  include all prescription medications. You may determine to which Tier a particular Prescription Drug
  Product has been assigned through the Internet at www.myuhc.com or by calling at the telephone
  number on your ID card.
  Prescription Drug List(PDL) Management Committee - The committee that we designate for, among
  other responsibilities, classifying Prescription Drug Products into specific Tiers.
  Prescription Drug Product - a medication or product that has been approved by the U.S. Food and Drug
  Administration (FDA)and that can, under federal or state law, be dispensed only pursuant to a
  Prescription Order or Refill.
  A Prescription Drug Product includes a medication that is generally is appropriate for self-administration
  or administration by a non-skilled caregiver. For the purpose of Benefits under the Agreement, this
  definition includes:
  •     Inhalers (with spacers).
  •     Insulin.
  •     Certain vaccines/immunizations administered in a Network Pharmacy.
  •     Certain injectable medications administered in a Network Pharmacy.
  •     The following diabetic supplies:
        •      standard insulin syringes with needles;
        •      blood-testing strips - glucose;
        •      urine-testing strips - glucose;
        •      ketone-testing strips and tablets;
        •      lancets and lancet devices; and
        •      glucose meters, including continuous glucose monitors.
  Prescription Order or Refill - the directive to dispense a Prescription Drug Product issued by a duly
  licensed health care provider whose scope of practice allows issuing such a directive
  Prescription Unit — The maximum amount(quantity) of prescription medication that may be dispensed
  per single Co-payment. For most oral medication s, a Prescription Unit represents up to a 31-day supply
  of medication. The Prescription Unit for some medications may be set at a smaller quantity to promote
  appropriate medication use and patient safety. Quantity limits are based on generally accepted
  pharmaceutical practices and the manufacturer's labeling. Prescriptions that are normally dispensed in
  pre-packaged or commercially available units of 31 days or less will be considered a single Prescription
  Unit, including but not limited to, one inhaler, one vial of ophthalmic medication, one tube of topical
  ointment or cream.
  Prior Authorization — UnitedHealthcare's review process that decides whether a prescription drug is
  Medically Necessary and not otherwise excluded prior to the Member receiving the prescription drug.
  Specialty Prescription Drug Product - Prescription Drug Products that are generally high cost, self-
  administered biotechnology drugs used to treat patients with certain illnesses. Specialty Prescription Drug
  Products include certain drugs for fertility preservation and Preimplantation Genetic Testing (PGT)for




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  which Benefits are described in the Combined Evidence of Coverage and Disclosure Form under Fertility
  Preservation for latrogenic Infertility and Preimplantation Genetic Testing(PGT)and Related Services in
  Section 1: Covered Health Care Services. Specialty Prescription Drug Products may include drugs on the
  List of Preventive Medications. You may access a complete list of Specialty Prescription Drug Products
  by contacting us at www.myuhc.com or the telephone number on your ID card.
  Tier - The tiers for Outpatient Prescription Drugs are defined as follows, per California state law:
  •     Tier 1- consists of most Generic drugs and low-cost preferred Brand-name drugs.
  •     Tier 2 - consists of non-preferred Generic drugs, preferred Brand-name drugs and any other drugs
        recommended by our pharmacy and therapeutics committee based on safety, efficacy, and cost.
  •     Tier 3 — consists of non-preferred Brand-name drug or drugs that are recommended by our
        pharmacy and therapeutics committee based on safety, efficacy, and cost, or that generally have a
        preferred and often less costly therapeutic alternative at a lower tier.
  •     Tier 4 — consists of drugs that are biologics, drugs that the FDA or the manufacturer requires to be
        distributed through a Specialty Pharmacy, drugs that require the insured to have special training or
        clinical monitoring for self-administration, or drugs that cost the health insurer more than six
        hundred dollars ($600) net of rebates for a one-month supply.
  Therapeutic Class - a group or category of Prescription Drug Products with similar uses and/or actions.
  Therapeutically Equivalent - when Prescription Drug Products have essentially the same efficacy and
  adverse effect profile.
  Usual and Customary Charge - the usual fee that a pharmacy charges individuals for a Prescription
  Drug Product without reference to reimbursement to the pharmacy by third parties. This fee includes any
  applicable dispensing fee and sales tax.

  Pharmacy Listing
  For the most up to date list visit the web site at www.myuhc.com
  Questions? Call UnitedHealthcare Customer Service at 1-800-624-8822 or 711 (TTY).




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            Section 13: Consolidated Appropriations Act
                             Summary
  The Policy complies with the applicable provisions of the Consolidated Appropriations Act(the "Act")(P.L.
  116-260).
  No Surprises Act
  Balance Billing
  Under the Act, the No Surprises Act prohibits balance billing by out-of-Network providers in the following
  instances:
  •      When Ancillary Services are received at certain Network facilities on a non-Emergency basis from
         out-of-Network Physicians.
  •     When non-Ancillary Services are received at certain Network facilities on a non-Emergency basis
        from out-of-Network Physicians who have not satisfied the notice and consent criteria or for
        unforeseen or urgent medical needs that arise at the time a non-Ancillary Service is provided for
        which notice and consent has been satisfied as described in the Act.
  •      When Emergency Health Care Services are provided by an out-of-Network provider.
  •      When Air Ambulance services are provided by an out-of-Network provider.
  In these instances, the out-of-Network provider may not bill you for amounts in excess of your applicable
  Co-payment, Co-insurance or deductible (cost share). Your cost share will be provided at the same level
  as if provided by a Network provider and is determined based on the Recognized Amount.
  For the purpose of this Summary,"certain Network facilities" are limited to a hospital (as defined in
  1861(e) of the Social Security Act), a hospital outpatient department, a critical access hospital (as defined
  in 1861(mm)(1) of the Social Security Act), an ambulatory surgical center described in section
  1833(i)(1)(A) of the Social Security Act, and any other facility specified by the Secretary.
  Determination of Our Payment to the Out-of-Network Provider:
  When Covered Health Care Services are received from out-of-Network providers for the instances as
  described above, Allowed Amounts, which are used to determine our payment to out-of-Network
  providers, are based on one of the following in the order listed below as applicable:
  •     The reimbursement rate as determined by a state All Payer Model Agreement.
  •     The reimbursement rate as determined by state law.
  •     The initial payment made by us or the amount subsequently agreed to by the out-of-Network
        provider and us.
  •     The amount determined by Independent Dispute Resolution (IDR).
  Continuity of Care
  The Act provides that if you are currently receiving treatment for Covered Health Care Services from a
  provider whose network status changes from Network to out-of-Network during such treatment due to
  termination (non-renewal or expiration) of the provider's contract, you may be eligible to request
  continued care from your current provider under the same terms and conditions that would have applied
  prior to termination of the provider's contract for specified conditions and timeframes. This provision does
  not apply to provider contract terminations for failure to meet applicable quality standards or for fraud. If
  you would like help to find out if you are eligible for continuity of care Benefits, please call the telephone
  number on your ID card.
  Provider Directories
  The Act provides that if you receive a Covered Health Care Service from an out-of-Network provider and
  were informed incorrectly by us prior to receipt of the Covered Health Care Service that the provider was
  a Network provider, either through our database, our provider directory, or in our response to your




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  request for such information (via telephone, electronic, web-based or internet-based means), you may be
  eligible for cost sharing that would be no greater than if the service had been provided from a Network
  provider




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                           UnitedHealthcare Select Plus
            UnitedHealthcare Benefits Plan of California
                                   Schedule of Benefits
                                              Platinum
                                                 DH-99, $250




  Annual Deductible and Out-of-Pocket Limit
  Covered Person will generally have to meet a higher Annual Deductible and Out-of-Pocket Limit when an
  out-of-Network provider is chosen to provide Covered Health Care Services. Refer to 'Access to a
  Network provider' and 'How Do you Access Benefits?' for exceptions.

  IMPORTANT NOTICE - Limitations on Provider Network Availability
  Benefits are restricted to Covered Health Care Services provided by Network providers for the following:
  acupuncture, cellular and gene therapy, congenital heart disease surgeries, obesity - weight loss surgery,
  preventive care services, rehabilitation services - outpatient therapy and manipulative treatment (physical
  therapy, occupational therapy and manipulative treatment) transplantation services, and Virtual Care
  Services. This limitation does not apply to Emergency Health Care Services and telehealth services
  under the behavioral supplement.
  Enrolled Dependents who do not reside with the Subscriber and live outside the Service Area must see a
  Network Provider in order to obtain benefits for the Covered Health Care Services mentioned above,
  other than emergent/ urgent services.

  Directory Of Network Providers
  The current directory of Network providers is available online at www.myuhc.com. You may obtain a
  paper copy of the network provider directory at no cost by calling the telephone number shown on your ID
  card.

  Availability Of Telephone Triage or Screening Services
  Triage or screening services are the assessment of a Covered Person's health concerns and symptoms
  though communication, with a Physician, registered nurse or other qualified health professional acting
  within his or her scope of practice who is trained to screen or triage a Covered Person who may need
  care for the purpose of determining the urgency of the Covered Person's need for medical services. To
  access triage or screening services you should contact Customer Care during normal business hours at
  the telephone number on your ID card.
  In addition, you can call the number on the back of your card or log into myuhc.com to get connected with
  a health professional at any time. Here are some of the ways they can help you:
  •     Choose appropriate medical care.
  •     Provide guidance for current symptoms 24/7 (via a clinician).
  •     Find doctors or hospitals that meet your needs and preferences.
  •     Locate an urgent care center and other health resources in your area.




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   To use this convenient service, simply call the toll-free number on the back of your ID card or log into
   myuhc.com.
   Note: If you have a medical emergency, call 911 or go to the nearest emergency room.
   Although triage or screening services are available 24 hours per day, 7 days per week, it is not intended
   to replace or interfere with normal Physician/patient communication.

   Network Provider Accessibility Complaints:
   If you have a complaint regarding your ability to access Covered Health Care Services from a Network
   provider in a timely manner, call the telephone number shown on your ID card. If you would rather send
   your complaint to us in writing, the Customer Care representative can provide you with the appropriate
   address. If your complaint is not resolved, you may contact the Department of Managed Health Care
  (DMHC)Help Center at the toll-free telephone number (1-888-466-2219) to receive assistance with this
   process, or submit an inquiry in writing to the DMHC, California Help Center, 980 9th Street, Suite 500,
   Sacramento, CA 95814-2725or through the website: http://www.dmhc.ca.gov. The hearing-and speech-
   impaired may use the California Relay Service's toll-free telephone number 1-800-735-2929 or 1-888-
   877-5378 (TTY).

   Access To A Network Provider
   If medically appropriate care from a qualified provider cannot be provided within the Network, we will
   arrange for the required care with an available and accessible out-of-Network provider. You will only be
   responsible for paying the cost sharing in an amount equal to the cost sharing you would have otherwise
   paid for that service or a similar service if you had received the Covered Health Care Service from a
   Network provider.

   Type of Network Provider                               Maximum Travel Distance or Travel Time

   Hospital                                              15 miles or 30 minutes

   Primary Care Physician                                15 miles or 30 minutes

  Specialist                                             30 miles or 60 minutes

   Mental Health Care Services and Substance-            15 miles or 30 minutes
   Related and Addictive Disorders professionals

   Please refer to the "Timely Access to Care" standards in the Combined Evidence of Coverage and
   Disclosure Form.

   How Do You Access Benefits?

  Selecting a Network Primary Care Physician
  You must select a Network Primary Care Physician who is located in the geographic area of the
  permanent residence of the Subscriber. In general health care terminology, a Primary Care Physician
  may also be referred to as a PCP. A Network Primary Care Physician will be able to coordinate all
  Covered Health Care Services and promote continuity of care. If you are the custodial parent of an
  Enrolled Dependent child, you must select a Network Primary Care Physician who is located in the
  geographic area of the permanent residence of the Subscriber for that child.
  You may designate a Network Physician who specializes in pediatrics (including pediatric subspecialties,
  based on the scope of that provider's license under applicable state law) as the Network Primary Care
  Physician for an Enrolled Dependent child. You do not need a referral from a Primary Care Physician and
  may seek care directly from a Specialist, including a Physician who specializes in obstetrics or
  gynecology.




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  You may change your Network Primary Care Physician by calling the telephone number shown on your
  ID card or by going to www.myuhc.com. Changes are permitted once per month. Changes submitted on
  or before the last day of the month will be effective on the first day of the following month.
  Network Benefits apply to Covered Health Care Services that are provided by a Network Physician or
  other Network provider.
  Out-of-Network Benefits apply to Covered Health Care Services that are provided by an out-of-Network
  Physician or other out-of-Network provider, or Covered Health Care Services that are provided at an out-
  of-Network facility.
  Emergency Health Care Services provided by an out-of-Network provider will be reimbursed as set forth
  under Allowed Amounts as described at the end of this Schedule of Benefits. For Emergency Health Care
  Services in an emergency department of a Hospital, prior authorization is not required, regardless of
  whether the provider is a Network Provider under the plan, and subject to the same cost sharing required
  if the services were provided by Network Provider. You will not pay more than the Network cost sharing
  amount.
  Covered Health Care Services that are provided at a Network facility by an out-of-Network facility based
  Physician, or as a result of receiving services in a contracting facility, when not Emergency Health Care
  Services, will be reimbursed as set forth under Allowed Amounts in this Schedule of Benefits. You will not
  pay more than the Network cost sharing amount. The Network cost sharing amount means the same cost
  sharing that you would pay for the same Covered Health Care Services if they were received from a
  contracting individual health professional. Additionally the Network deductible and out-of-pocket limit
  apply for Covered Health Care Services rendered by an out-of-Network provider in a Network contracting
  health facility, or as a result of receiving services in a contracting facility, including a hospital, ambulatory
  surgery or other outpatient setting, laboratory and radiology or imagining center. When you receive
  Covered Health Care Services from a Network facility and as a result of which, you receive additional
  Covered Health Care Services from an out-of-Network individual health professional, you will not pay
  more than the Network cost sharing amount.
  Covered Health Care Services provided at certain Network facilities by an out-of-Network Physician,
  when not Emergency Health Care Services, will be reimbursed as set forth under Allowed Amounts as
  described at the end of this Schedule of Benefits. For these Covered Health Care Services, "certain
  Network facility" is limited to a hospital (as defined in 1861(e) of the Social Security Act), a hospital
  outpatient department, a critical access hospital (as defined in 1861(mm)(1) of the Social Security Act), an
  ambulatory surgical center as described in section 1833(0(1)(A) of the Social Security Act, and any other
  facility specified by the Secretary.
  Ground and Air Ambulance transport provided by an out-of-Network provider will be reimbursed as set
  forth under Allowed Amounts as described at the end of this Schedule of Benefits is subject to the same
  cost sharing required if the Covered Health Care Services were provided by a Network provider. You will
  not pay more than the Network cost sharing amount.
  An out-of-Network facility-based Physician may bill or collect the out-of-network cost sharing from you, if
  applicable, only when you consent in writing and that written consent demonstrates satisfaction of all the
  following criteria:
  •     At least 24 hours in advance of care, you consent in writing to receive Covered Health Care
        Services from the identified out-of-Network facility-based Physician.
  •     The consent must be obtained by the out-of-Network facility-based Physician in a document that is
        separate from the document used to obtain the consent for any other part of the care or procedure.
        The consent cannot be obtained by the facility or any representative of the facility. The consent
        cannot be obtained at the time of admission or at any time when you are being prepared for
        surgery or any other procedure.
  •     At the time consent is provided, the out-of-Network facility-based Physician must give you a written
        estimate of your total out-of-pocket cost of care. The written estimate must be based on the out-of-
        Network based Physician's billed charges for the Covered Health Service to be provided. The Out-




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        of-Network facility-based Physician cannot attempt to collect more than the estimated amount
        without receiving separate written consent from you or your authorized representative, unless
        circumstances arise during delivery of services that were unforeseeable at the time the estimate
        was given that would require the out-of-Network facility-based Physician to change the estimate.
  •     The consent must advise you that you may elect to seek care from a Network provider or may
        contact us in order to arrange to receive the Covered Health Care Service from a Network provider
        for lower out-of-pocket costs.
  •     The consent and estimate must be provided to you in the language spoken by you, if the language
        is a Medi-Cal threshold language, as defined in subdivision (d) of Section 128552 of the California
        Health and Safety Code.
  •     The consent must advise you that any costs incurred as a result of your use of the out-of-Network
        Benefit must be in addition to the Network cost-sharing amounts and may not count toward the
        annual Out-of-Pocket Limit on Network Benefits or a deductible, if any, for Network benefits.
  If you disagree with an Allowed Amounts determination, you can request an appeal. The complaint and
  appeals process is described under Section 6: Questions, Complaints and Appeals in the Evidence of
  Coverage. You may also call us at the telephone number on your ID card.
  You must show your identification card (ID card) every time you request health care services from a
  Network provider. If you do not show your ID card, Network providers have no way of knowing that you
  are enrolled under a UnitedHealthcare Policy. As a result, they may bill you for the entire cost of the
  services you receive.
  Additional information about the network of providers and how your Benefits may be affected
  appears at the end of this Schedule of Benefits.
  If there is a conflict between this Schedule of Benefits and any summaries provided to you by the Group,
  this Schedule of Benefits will control.

  Does Prior Authorization Apply?
  We require prior authorization for certain Covered Health Care Services. Network providers are
  responsible for obtaining prior authorization before they provide these services to you. You are not
  required to obtain prior authorization to obtain direct access to Covered Health Care Services for
  reproductive and sexual health care services.
  You do not need a referral to obtain Covered Health Care Services for women's reproductive and sexual
  health care services. Reproductive and sexual healthcare services include the following:
  •     Prevention or treatment of pregnancy. Maternity admissions.
  •     Inpatient hospital care for the first 48 hours following a normal vaginal delivery or 96 hours
        following a delivery by caesarean section, and post discharge follow up visit for mother and
        newborn.
  •     Prevention, diagnosis and treatment of an infectious, communicable or sexually transmitted
        disease, including HIV.
  •     Abortion.
  •     Treatment of rape or sexual assault, including medical care related to the diagnosis or treatment of
        the conditions and collection of medical evidence.
  Prior authorization is not required for the treatment of Mental Health and Substance-Related and
  Addictive Disorders Services by a health care provider at a school site.
  Prior authorization is not required for services provided by county behavioral health agencies to provide
  behavioral health care which will include stabilization medication, housing, and other enumerated
  services to adults who are currently experiencing a severe mental illness and have a diagnosis identified




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  in the disorder class schizophrenia and other psychotic disorders under a Community Assistance
  Recovery, and Empowerment Act, except for prescription drugs.
  We recommend that you confirm with us that all Covered Health Care Services have been prior
  authorized as required. Before receiving these services from a Network provider, you may want to call us
  to verify that the Hospital, Physician and other providers are Network providers and that they have
  obtained the required prior authorization. Network facilities and Network providers cannot bill you for
  services they do not prior authorize as required. You can call us at the telephone number on your ID card.
  When you choose to receive certain Covered Health Care Services from out-of-Network providers,
  you are responsible for obtaining prior authorization before you receive these services. Note that
  your obligation to obtain prior authorization is also applicable when an out-of-Network provider
  intends to admit you to a Network facility or to an out-of-Network facility or refers you to other
  Network or out-of-Network providers. Once you have obtained the authorization, please review it
  carefully so that you understand what services have been authorized and what providers are
  authorized to deliver the services that are subject to the authorization. Services for which you are
  required to obtain prior authorization are shown in the Schedule of Benefits table within each
  Covered Health Care Service category.
  To obtain prior authorization, call the telephone number on your ID card. This call starts the
  utilization review process.
  The utilization review process is a set of formal techniques designed to monitor the use of, or evaluate the
  clinical necessity, appropriateness, efficacy, or efficiency of, health care services, procedures or settings.
  Such techniques may include ambulatory review, prospective review, second opinion, certification,
  concurrent review, case management, discharge planning, retrospective review or similar programs.
  Please note that prior authorization timelines apply. Refer to the applicable Benefit description in
  the Schedule of Benefits table to find out how far in advance you must obtain prior authorization.
  For Covered Health Care Services that do not require you to obtain prior authorization, when you choose
  to receive services from out-of-Network providers, we urge you to confirm with us that the services you
  plan to receive are Covered Health Care Services. That's because in some instances, certain procedures
  may not be Medically Necessary or may not otherwise meet the definition of a Covered Health Care
  Service, and therefore are excluded. In other instances, the same procedure may meet the definition of
  Covered Health Care Services. By calling before you receive treatment, you can check to see if the
  service is subject to limitations or exclusions.
  If you request a coverage determination at the time prior authorization is provided, the determination will
  be made based on the services you report you will be receiving. If the reported services differ from those
  received, our final coverage determination will be changed to account for those differences, and we will
  only pay Benefits based on the services delivered to you.
  If you choose to receive a service that has been determined not to be a Medically Necessary Covered
  Health Care Service, you will be responsible for paying all charges and no Benefits will be paid. If you
  have a question regarding a determination of whether a service is Medically Necessary, call the
  telephone number on your ID card. If you disagree with a determination of whether a service is Medically
  Necessary, you can request an appeal. The complaint and appeals process is described under Section 6:
  Questions, Complaints and Appeals in the Evidence of Coverage. You may also call the telephone
  number on your ID card.
  Prior authorization is not required for FDA-approved biomarker testing for:
  •     An enrollee with advanced or metastatic stage 3 or 4 cancer.
  •     Cancer progression or recurrence in an enrollee with advanced or metastatic stage 3 or 4 cancer.
  Prior authorization, utilization management or utilization review are not required for abortion and abortion-
  related services.




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  Care Management
  When you seek pri.or authorization as required, we will work with you to put in place the care
  management process and to provide you with information about additional services that are available to
  you, such as.disease management programs, health education, and patient advocacy.

  Special Note Regarding Medicare
  If you are a COBRA qualified beneficiary, retiree or have end stage renal disease beyond 30 months, or
  in a situation when Medicare would pay first, the prior authorization requirements do not apply to you.
  Since Medicare is the primary payer, we will pay as secondary payer as described in Section 7:
  Coordination of Benefits. You are not required to obtain authorization before receiving Covered Health
  Care Services.




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  What Will You Pay for Covered Health Care Services?
  Benefits for Covered Health Care Services are described in the tables below.
  Annual Deductibles are calculated on a calendar year basis.
  Out-of-Pocket Limits are calculated on a calendar year basis.
  When Benefit limits apply, the limit stated refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Benefit limits are calculated on a calendar year basis unless otherwise specifically stated.
  Payment Term And Description                                        Amounts
  Annual Deductible
  The amount you pay for Covered Health Care Services per year Network
  before you are eligible to receive Benefits.                        $250 per Covered Person, not to
                                                                      exceed $500 for all Covered Persons
  Coupons: We may not permit certain coupons or offers from
                                                                      in a family.
  pharmaceutical manufacturers or an affiliate to apply to your
  Annual Deductible.                                                  Out-of-Network
  Amounts paid toward the Annual Deductible for Covered Health        $1,000   per Covered Person, not to
  Care Services that are subject to a visit or day limit will also be exceed   $2,000 for all Covered Persons
  calculated against that maximum    Benefit limit. As a result, the  in a family.
  limited Benefit will be reduced by the number of days/visits
  used toward meeting the Annual Deductible.
  When a Covered Person was previously covered under a group
  policy that was replaced by the group Policy, any amount
  already applied to that annual deductible provision of the prior
  policy will apply to the Annual Deductible provision under the
  Policy.
  The amount that is applied to the Annual Deductible is
  calculated on the basis of the Allowed Amount or the
  Recognized Amount when applicable. The Annual Deductible
  does not include any amount that exceeds the Allowed Amount.
  Details about the way in which Allowed Amounts are
  determined appear at the end of the Schedule of Benefits table.

  Per Occurrence Deductible
  The amount stated as a set dollar amount that you must pay for When a Per Occurrence Deductible
  certain Covered Health Care Services (prior to and in addition applies, it is listed below under each
  to any Annual Deductible) before we will begin paying for      Covered Health Care Service category.
  Benefits for those Covered Health Care Services.
  You are responsible for paying the lesser of the following:
  •     The applicable Per Occurrence Deductible.
 .      The Allowed Amount or the Recognized Amount when
        applicable.

  Out-of-Pocket Limit

  The maximum you pay per year for the Annual Deductible, Co- Network
  payments Co-insurance. Once you reach the Out-of-Pocket
                                                              $3,800 per Covered Person, not to




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  Payment Term And Description                                      Amounts
  Limit, Benefits are payable at 100% of Allowed Amounts during exceed $7,600 for all Covered Persons
  the rest of that year.                                        in a family.
  Details about the way in which Allowed Amounts are              An individual's payment toward the
  determined appear at the end of the Schedule of Benefits table. Out-of-Pocket Limit is limited to the
                                                                  $3,800 per Covered Person Out-of-
  The Out-of-Pocket Limit does not include any of the following
                                                                  Pocket Limit amount stated above.
  and, once the Out-of-Pocket Limit has been reached, you still
                                                                  After an individual meets this Out-of-
  will be required to pay the following:
                                                                  Pocket Limit amount, the Covered
         Any charges for non-Covered Health Care    Services.     Person    is no longer responsible for
                                                                  cost sharing for the rest of the year.
         The amount you are required to pay if you do not obtain
         prior authorization as required.                         Allowed amounts for out-of-Network
                                                                  Emergency. Health Care Services
         Charges that exceed Allowed Amounts, when applicable. accrue to the Out-of-Pocket Limit.
  Coupons: We may not permit certain coupons or offers from       Emergency Health Care Services
  pharmaceutical manufacturers or an affiliate to apply to your   include expenses for the emergency
  Out-of-Pocket Limit.                                            facility, professional services and
                                                                  emergency medical transportation.
                                                                    The Out-of-Pocket Limit includes the
                                                                    Annual Deductible.
                                                                    Out-of-Network
                                                                    $7,600 per Covered Person, not to
                                                                    exceed $15,200 for all Covered
                                                                    Persons in a family.
                                                                    An individual's payment toward the
                                                                    Out-of-Pocket Limit is limited to the
                                                                    $7,600 per Covered Person Out-of-
                                                                    Pocket Limit amount stated above.
                                                                    After an individual meets this Out-of-
                                                                    Pocket Limit amount, the Covered
                                                                    Person is no longer responsible for
                                                                    cost sharing for the rest of the year.
                                                                    Allowed amounts for out-of-Network
                                                                    Emergency Health Care Services
                                                                    accrue to the Out-of-Pocket Limit.
                                                                    Emergency Health Care Services
                                                                    include expenses for the emergency
                                                                    facility, professional services and
                                                                    emergency medical transportation.
                                                                    The Out-of-Pocket Limit includes the
                                                                    Annual Deductible.

  Co-payment
  Co-payment is the amount you pay (calculated as a set dollar amount)each time you receive certain
  Covered Health Care Services. When Co-payments apply, the amount is listed on the following pages
  next to the description for each Covered Health Care Service.
  Please note that for Covered Health Care Services, you are responsible for paying the lesser of:
  •     The applicable Co-payment.




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  Payment Term And Description                                    Amounts
  •     The Allowed Amount or the Recognized Amount when applicable.
  Details about the way in which Allowed Amounts are determined appear at the end of the Schedule of
  Benefits table.

  Co-insurance
  Co-insurance is the amount you pay (calculated as a percentage of the Allowed Amount or the
  Recognized Amount when applicable) each time you receive certain Covered Health Care Services.
  Details about the way in which Allowed Amounts are determined appear at the end of the Schedule of
  Benefits table.




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   When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
   Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service             What Is the Co-             Does the Amount Does the Annual
                                          payment or Co-              You Pay Apply to Deductible
                                          insurance You Pay?          the Out-of-Pocket Apply?
                                          This May Include a          Limit?
                                          Co-payment, Co-
                                          insurance or Both.
  1. Acupuncture Services

                                         Network
                                         $15 per visit                Yes               No

                                          Out-of-Network
                                          Out-of-Network Benefits Out-of-Network        Out-of-Network
                                          are not available.      Benefits are not      Benefits are not
                                                                  available.            available.

  2. Ambulance Services

                                    Prior Authorization Requirement
             In most cases, we will initiate and direct non-Emergency ambulance transportation.
   For Out-of-Network Benefits, if you are requesting non-Emergency Air Ambulance services (including any
   affiliated non-Emergency ground ambulance transport in conjunction with non-Emergency Air Ambulance
                  transport), you must obtain authorization as soon as possible before transport.

  Emergency Ambulance                     Network
  Allowed Amounts for ground and Air      Ground Ambulance
  Ambulance transport provided by an
                                         200/0                        Yes               Yes
  out-of-Network provider will be
  determined as described below under
  Allowed Amounts in this Schedule of    Air Ambulance
  Benefits.
                                         20%                          Yes               Yes

                                         Out-of-Network
                                         Same as Network              Same as Network   Same as Network

  Non-Emergency Ambulance                Network
  Ground or Air Ambulance, as we         Ground Ambulance
  determine appropriate.
                                         20%                          Yes               Yes
  Allowed Amounts for Air Ambulance
                                         Air Ambulance
  transport provided by an out-of-
  Network provider will be determined as 20%                          Yes               Yes
  described below under Allowed                                             -




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or, for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service               What Is the Co-            Does the Amount Does the Annual
                                            payment or Co-             You Pay Apply to Deductible
                                            insurance You Pay?         the Out-of-Pocket Apply?
                                            This May Include a         Limit?
                                            Co-payment, Co-
                                            insurance or Both.
  Amounts in this Schedule of Benefits.

                                            Out-of-Network
                                            Ground Ambulance
                                            50%                        Yes                   Yes
                                            Air Ambulance
                                            Same as Network            Same as Network       Same as Network

  3. Cellular and Gene
    ' Therapy


                                ' Network
                                  Depending upon where the Covered Health Care Service is provided,
                                  Benefits will be the same as those stated under each Covered Health
                                  Care Service category in this Schedule of Benefits.

                                     Out-of-Network           .
                                     Out-of-Network Benefits are not available.

  4. Clinical Trials

                                       Prior Authorization Requirement
  For Out-of-Network Benefits, you must obtain prior authorization as soon as the possibility of participation
    in a clinical trial arises. If you do not obtain prior authorization as required, you will be responsible for
                                    paying all charges and no Benefits will be paid.

  Depending upon the Covered Health         Network
  Care Service, Benefit limits are the      Depending upon where the Covered Health Care Service is
  same as those stated under the            provided, Benefits will be the same as those stated under each
  specific Benefit category in this         Covered Health Care Service category in this Schedule of
  Schedule of Benefits.                     Benefits.
  Co-payments and any deductible for
  Hospital - Inpatient Stay as stated in
  this Schedule of Benefits may apply.

                                            Out-of-Network




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service                What Is the Co-            Does the Amount Does the Annual
                                             payment or Co-             You Pay Apply to Deductible
                                             insurance You Pay?         the Out-of-Pocket Apply?
                                             This May Include a         Limit?
                                             Co-payment, Co-
                                             insurance or Both.
                                             Depending upon where the Covered Health Care Service is
                                             provided, Benefits will be the same as those stated under each
                                             Covered Health Care Service category in this Schedule of
                                             Benefits.

  5. Congenital Heart Disease(CHD)Surgeries

  Benefits under this section include only Network
  the inpatient facility charges for the
                                           Benefits will be the same as stated under Hospital - Inpatient
  CHD surgery. Depending upon where
                                           Stay in this Schedule of Benefits.
  the Covered Health Care Service is
  provided, Benefits for diagnostic                                                              •
  services, cardiac catheterization and
  non-surgical management of CHD will
  be the same as those stated under
  each Covered Health Care Service
  category in this Schedule of Benefits.
                                                 •

                                             Out-of-Network
                                             Out-of-Network Benefits are not available.

  6. Dental Services - Accident Only

                                             Network
                                             20%                        Yes                   Yes

                                             Out-of-Network
                                             Same as Network            Same as Network       Same as Network

  7. Diabetes Services

                                       Prior Authorization Requirement
      For Out-of-Network Benefits, you must obtain prior authorization before obtaining any DME for the
      management and treatment of diabetes that costs more than $1,000 (either retail purchase cost or
   cumulative retail rental cost of a single item). If you do not obtain prior authorization as required, you will
                       be responsible for paying all charges and no Benefits will be paid.

  Diabetes Self-Management and               Network




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service            What Is the Co-           Does the Amount Does the Annual
                                         payment or Co-            You Pay Apply to Deductible
                                         insurance You Pay?        the Out-of-Pocket Apply?
                                         This May Include a        Limit?.
                                         Co-payment, Co-
                                         insurance or Both.
  Training/Diabetic Eye Exams/Foot       Depending upon where the Covered Health Care Service is
  Care                                   provided, Benefits for diabetes self-management and
                                         training/diabetic eye exams/foot care will be the same as those
                                         stated under each Covered Health Care Service category in this
                                         Schedule of Benefits.

                                         Out-of-Network
                                         Depending upon where the Covered Health Care Service is
                                         provided, Benefits for diabetes self-management and
                                         training/diabetic eye exams/foot care will be the same as those
                                         stated under each Covered Health Care Service category in this
                                         Schedule of Benefits.

  8. Diabetes Treatment

  Coverage for diabetes equipment and    Network
  supplies, prescription items and       Depending upon where the Covered Health Care Service is
  diabetes self-management training      provided, Benefits for diabetes equipment will be the same as
  programs when provided by or under     those stated under Durable Medical Equipment(DME), Orthotics
  the direction of a Physician.          and Supplies and in the Outpatient Prescription Drug Schedule
                                         of Benefits.
  Diabetes equipment and supplies are
  limited to blood glucose monitors and    Out-of-Network
  blood glucose testing strips, blood      Depending upon where the Covered Health Care Service is
  glucose monitors designed to assist      provided, Benefits for diabetes equipment will be the same as
  the visually impaired, insulin pumps     those stated under Durable Medical Equipment(DME), Orthotics
  and all related necessary supplies;      and Supplies and in the Outpatient Prescription Drug Schedule
  ketone urine testing strips, lancets and of Benefits.
  lancet puncture devices, pen delivery
  systems for the administration of
  insulin, podiatric devices to prevent or
  treat diabetes-related complications,
  insulin syringes, visual aids, excluding
  eyewear, to assist the visually impaired
  with proper dosing of insulin.


  9. Durable Medical Equipment(DME), Orthotics and
     Supplies

                                         Network




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service                 What Is the Co-            Does the Amount Does the Annual
                                              payment or Co-             You Pay Apply to Deductible
                                              insurance You Pay?         the Out-of-Pocket Apply?
                                              This May Include a         Limit?
                                              Co-payment, Co-
                                              insurance or Both.
                                              20%                        Yes             Yes

                                              Out-of-Network
                                              Out-of-Network Benefits Out-of-Network     Out-of-Network
                                              are not available.      Benefits are not   Benefits are not
                                                                      available.         available.

  10. Emergency Health Care Services - Outpatient

  Note: If you are confined in an out-of- Network
  Network Hospital after you receive      20%                            Yes             Yes, after the Per
  outpatient Emergency Health Care                                                       Occurrence
  Services, you must notify us within one                                                Deductible of $150
  business day or on the same day of                                                     per visit is satisfied
  admission if reasonably possible. We
  may elect to transfer you to a Network
  Hospital as soon as it is medically
  appropriate to do so. If you choose to
  stay in the out-of-Network Hospital
  after the date we decide a transfer is
  medically appropriate, Network
  Benefits will not be provided. Out-of-
  Network Benefits may be available if
  the continued stay is determined to be
  a Covered Health Care Service.
  If you are admitted as an inpatient to a
  Hospital directly from the Emergency
  room, the Benefits provided as
  described under Hospital - Inpatient
  Stay will apply. You will not have to pay
  the Emergency Health Care Services
  Co-payment, Co-insurance and/or
  deductible.
  Allowed Amounts for Emergency
  Health Care Services provided by an
  out-of-Network provider will be
  determined as described below under
  Allowed Amounts in this Schedule of                                             -
  Benefits.




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service              What Is the Co-           Does the Amount Does the Annual
                                           payment or Co-            You Pay Apply to Deductible
                                           insurance You Pay?        the Out-of-Pocket Apply?
                                           This May Include a        Limit?
                                           Co-payment, Co-
                                           insurance or Both.
                                           Out-of-Network
                                           Same as Network           Same as Network    Same as Network

  11. Enteral Nutrition

                                           Network
                                           20%                       Yes                 Yes

                                           Out-of-Network
                                           50%                       Yes                 Yes

  12. Fertility Preservation for latrogenic Infertility

                                      Prior Authorization Requirement
  For Out-of-Network Benefits, you must obtain prior authorization as soon as possible. If you do not obtain
   _ .prior authorization as required, the amount you are required to pay will be increased to 50% of the
                                               Allowed Amount.

                                           Network
                                           20%                       Yes                Yes

                                           Out-of-Network
                                           50%                       Yes                Yes

  13. Gender Dysphoria

                                           Network
                                           Depending upon where the Covered Health Care Service is
                                           provided, Benefits will be the same as those stated under each
                                           Covered Health Care Service category in this Schedule of
                                           Benefits and in the Outpatient Prescription Drug Rider.

                                           Out-of-Network
                                           Depending upon where the Covered Health Care Service is
                                           provided, Benefits will be the same as those stated under each
                                           Covered Health Care Service category in this Schedule of
                                           Benefits and in the Outpatient Prescription Drug Rider.




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed-the Allowed Amount.
  Covered Health Care Service              What Is the Co-             Does the Amount Does the Annual
                                           payment or Co-              You Pay Apply to Deductible
                                           insurance You Pay?          the Out-of-Pocket Apply?
                                           This May Include a          Limit?
                                           Co-payment, Co-
                                           insurance or Both.
  14. Habilitative Services

                                      Prior Authorization Requirement
  For Out-of-Network Benefits for a scheduled admission, you must obtain prior authorization five business
  days before admission, or as soon as is reasonably possible for non-scheduled admissions. If you do not
  obtain prior authorization as required, the amount you are required to pay will be increased to 50% of the
                                               Allowed Amount.
    In addition, for Out-of-Network Benefits, you must contact us 24 hours before admission for scheduled
                admissions or as soon as is reasonably possible for non-scheduled admissions.

  There is no limit on habilitative services Network
  including but not limited occupational, Inpatient
  physical and speech therapy for the        Depending upon where the Covered Health Care Service is
  Medically Necessary treatment of a         provided, Benefits will be the same as those stated under each
  health condition, including pervasive      Covered Health Care Service category in this Schedule of
  developmental disorder or Autism           Benefits.
  Spectrum Disorders.

                                           Outpatient
                                           $15 per visit               Yes               No

                                           Out-of-Network
                                           Inpatient
                                           Depending upon where the Covered Health Care Service is
                                           provided, Benefits will be the same as those stated under each
                                           Covered Health Care Service category in this Schedule of
                                           Benefits.

                                           Outpatient
                                           50%                         Yes               Yes
                                           For all therapies, except
                                           for physical therapy,
                                           occupational therapy
                                           and Manipulative
                                           therapy.
                                           Physical therapy,
                                           occupational therapy
                                           and Manipulative




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or, for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service               What Is the Co-          Does the Amount Does the Annual
                                            payment or Co-           You Pay Apply to Deductible
                                            insurance You Pay?       the Out-of-Pocket Apply?
                                            This May Include a       Limit?
                                            Co-payment, Co-
                                            insurance or Both.
                                            therapy:
                                            Out-of-Network Benefits Out-of-Network        Out-of-Network
                                            are not available.      Benefits are not      Benefits are not
                                                                    available.            available.

  15. Hearing Aids

  Limited to $2,500 every year. Benefits Network
  are further limited to a single purchase 20%                       Yes                  Yes
  per hearing impaired ear every three
  years. Repair and/or replacement of a
  hearing aid would apply to this limit in
  the same manner as a purchase.

                                            Out-of-Network
                                            50%                      Yes                  Yes

  16. Home Health Care

                                      Prior Authorization Requirement
     For Out-of-Network Benefits, you must obtain prior authorization five business days before receiving
    services or as soon as is reasonably possible. If you do not obtain prior authorization as required, the
              amount you are required to pay will be increased to 50% of the Allowed Amount.

  Limited to 100 visits per year. One visit Network
  equals up to four hours of skilled care 20%                        Yes                  Yes
  services.
  This visit limit does not include any
  service which is billed only for the
  administration of intravenous infusion.
  To receive Network Benefits for the
  administration of intravenous infusion,
  you must receive services from a
  provider we identify.

                                            Out-of-Network
  For Out-of-Network benefits, Allowed      50%                      Yes                  Yes
  Amounts are limited to $150 per visit.




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service             What Is the Co-            Does the Amount Does the Annual
                                          payment or Co-             You Pay Apply to Deductible
                                          insurance You Pay?         the Out-of-Pocket Apply?
                                          This May Include a         Limit?
                                          Co-payment, Co-
                                          insurance or Both.
  17. Hospice Care

                                     Prior Authorization Requirement
  For Out-of-Network Benefits, you must obtain prior authorization five business days before admission for
    an Inpatient Stay in a hospice facility or as soon as is reasonably possible. If you do not obtain prior
   authorization as required, the amount you are required to pay will be increased to 50% of the Allowed
                                                    Amount.
  In addition, for Out-of-Network Benefits, you must contact us within 24 hours of admission for an Inpatient
                                            Stay in a hospice facility.

                                          Network
                                          20%                        Yes                 Yes

                                          Out-of-Network
                                          50%                        Yes                 Yes

  18. Hospital - Inpatient Stay

                                     Prior Authorization Requirement
  For Out-of-Network Benefits for a scheduled admission, you must obtain prior authorization five business
  days before admission, or as soon as is reasonably possible for non-scheduled admissions. If you do not
  obtain prior authorization as required, the amount you are required to pay will be increased to 50% of the
                                                Allowed Amount.
    In addition, for Out-of-Network Benefits, you must contact us 24 hours before admission for scheduled
                admissions or as soon as is reasonably possible for non-scheduled admissions.

                                          Network
                                          20%                        Yes                 Yes

                                          Out-of-Network
                                          50%                        Yes                 Yes

  19. Lab, X-Ray and Diagnostic - Outpatient

                                     Prior Authorization Requirement
        For Out-of-Network Benefits for Genetic Testing, sleep studies, stress echocardiography and




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence ofCoverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service               What Is the Co-           Does the Amount Does the Annual
                                            payment or Co-            You Pay Apply to Deductible
                                            insurance You Pay?        the Out-of-Pocket Apply?
                                            This May Include a        Limit?
                                            Co-payment, Co-
                                            insurance or Both.
    transthoracic echocardiogram, you must obtain prior authorization five business days before scheduled
   services are received. If you do not obtain prior authorization as required, the amount you are required to
                              pay will be increased to 50% of the Allowed Amount.

  Lab Testing - Outpatient                 Network
                                           20% at a freestanding      Yes                 Yes
                                           lab or in a Physician's
                                           office
                                           30% at a Hospital-        Yes                  Yes
                                           based lab

                                 .         Out-of-Network
                                           Out-of-Network Benefits Out-of-Network         Out-of-Network
                                           are not available.      Benefits are not       Benefits are not
                                                                   available.             available.



  X-Ray and Other Diagnostic Testing Network
  - Outpatient                       20% at a freestanding
                                                               Yes                        Yes
                                     diagnostic center or in a
                                     Physician's office
                                           30% at an outpatient
                                           Hospital-based            Yes                  Yes
                                           diagnostic center

                                           Out-of-Network
                                           50% at a freestanding     Yes                  Yes
                                           diagnostic center or in a
                                           Physician's office
                                           50% at an outpatient      Yes                  Yes
                                           Hospital-based
                                           diagnostic center

  20. Major Diagnostic and Imaging - Outpatient

                                      Prior Authorization Requirement
     For Out-of-Network Benefits for CT, PET scans, MRI, MRA, and nuclear medicine, including nuclear




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   When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
   Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service              What Is the Co-           Does the Amount Does the Annual
                                           payment or Co-            You Pay Apply to Deductible
                                           insurance You Pay?        the Out-of-Pocket Apply?
                                           This May Include a        Limit?
                                           Co-payment, Co-
                                           insurance or Both.
   cardiology, you must obtain prior authonzation five business days before scheduled services are received
    or, for non-scheduled services, within one business day or as soon as is reasonably possible. If you do
   not obtain prior authorization as required, the amount you are required to pay will be increased to 50% of
                                               the Allowed Amount.

                                           Network
                                           20% at a freestanding     Yes                  Yes
                                           diagnostic center or in a
                                           Physician's office
                                           30% at an outpatient      Yes                  Yes
                                           Hospital-based
                                           diagnostic center

                                           Out-of-Network
                                           50% at a freestanding     Yes                  Yes
                                       -   diagnostic center or in a
                                           Physician's office
                                           50% at an outpatient      Yes                  Yes
                                           Hospital-based
                                           diagnostic center

  21. Mental Health Care and Substance-Related and
      Addictive Disorders Services

                                      Prior Authorization Requirement
   For Out-of-Network Benefits for a scheduled admission for Mental Health Care and Substance-Related
  and Addictive Disorders Services (including an admission for services at a Residential Treatment facility),
    you must obtain prior authorization five business days before admission, or as soon as is reasonably
                                   possible for non-scheduled admissions.
   In addition, for Out-of-Network Benefits, you must obtain prior authorization before the following services
       are received: Partial Hospitalization/Day Treatment/High Intensity Outpatient; Intensive Outpatient
  Treatment programs; outpatient electro-convulsive treatment; psychological testing; transcranial magnetic
             stimulation; Intensive Behavioral Therapy, including Applied Behavior Analysis (ABA).
   If you do not obtain prior authorization as required, the amount you are required to pay will be increased
                                         to 50% of the Allowed Amount.

                                           Network




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  'When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
   Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognize,d Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service               What Is the Co-          Does the Amount Does the Annual
                                            payment or Co-           You Pay Apply to Deductible
                                            insurance You Pay?       the Out-of-Pocket Apply?
                                            This May Include a       Limit?
                                            Co-payment, Co-
                                            insurance or Both.
  Network or Out-of-Network Covered        Inpatient
  Health Care Services, when authorized 20%                          Yes             Yes
  for specified adult persons who petition
                                           Outpatient Office Visits
  a civil court to create a voluntary CARE
  agreement or a court-ordered CARE        $15  per visit            Yes             No
  plan are covered at zero cost share,
  except for prescription drugs.
  Schoolsite outpatient Mental Health      All Other Outpatient
  and Substance-Related and Addictive Services
  Disorders Services are covered without 20% for Partial             Yes             Yes
  deductible, Co-insurance, Co-payment,    Hospitalization/Intensive
  or any other cost-sharing requirement. Outpatient Treatment
  Outpatient Office Visits include:
  Diagnostic evaluations, assessment,
  treatment planning, treatment and/or
  procedures, individual/group
  counseling, individual/group
  evaluations and treatment, referral
  services, and medication management
  All Other Outpatient Office Visits
  include but not limited to:
  Partial Hospitalization/ Day Treatment,
  Intensive Outpatient Treatment, crisis
  intervention,
  electro-convulsive therapy,
  psychological testing, facility charges
  for day treatment centers, Behavioral
  Health Treatment for pervasive
  developmental disorder or Autism
  Spectrum Disorders, laboratory
  charges, or other Partial
  Hospitalization/ Day Treatment and
  Intensive Outpatient Treatment, and
  psychiatric observation.

                                            Out-of-Network
                                            Inpatient




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required,to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized.Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible foramounts that exceed the Allowed Amount.
  Covered Health Care Service             What Is the Co-             Does the Amount Does the Annual
                                          payment or Co-              You Pay Apply to Deductible
                                          insurance You Pay?        • the Out-of-Pocket Apply?
                                          This May Include a          Limit?
                                          Co-payment, Co-
                                          insurance or Both.
                                         50%                        Yes                 Yes
                                         Outpatient Office Visits
                                         50%                      Yes                   Yes
                                         All Other Outpatient
                                         Services                  Yes                  Yes
                                         50% for Partial
                                         Hospitalization/Intensive
                                         Outpatient Treatment

  22. Obesity - Weight Loss Surgery

                                    Prior Authorization Requirement
  For Covered Health Care Services required to be received at a Designated Provider and performed by a
   Designated Physician, you must obtain prior authorization as soon as reasonably possible if obesity -
  weight loss surgery arises. In addition, you should contact us 24 hours before admission for an Inpatient
                                                    Stay.
   It is important that you notify us regarding your intention to have surgery. Your notification will
      open the opportunity to become enrolled in programs that are designed to achieve the best
                                           outcomes for you.

  Obesity-weight loss surgery must be     Network
  received from a Designated Provider.    Depending upon where the Covered Health Care Service is
                                          provided, Benefits will be the same as those stated under each
                                          Covered Health Care Service category in this Schedule of
                                          Benefits.




                                         Out-of-Network
                                         Out of-Network Benefits are not available.


                     '
  23. Ostomy Supplies

                                          Network




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service              What Is the Co-            Does the Amount Does the Annual
                                           payment or Co-             You Pay Apply to Deductible
                                           insurance You Pay?         the Out-of-Pocket Apply?
                                           This May Include a         Limit?
                                           Co-payment, Co-
                                           insurance or Both.
                                           20%                        Yes             Yes

                                           Out-of-Network
                                           Out-of-Network Benefits Out-of-Network     Out-of-Network
                                           are not available.      Benefits are not   Benefits are not
                                                                   available.         available.

  24. Pharmaceutical Products - Outpatient

                                           Network
  Administered on an outpatient basis in   20%                        Yes             Yes
  a Hospital, Alternate Facility or
  Physician's office.
   Certain coupons from pharmaceutical
   manufacturers or an affiliate may
   reduce the costs of your Specialty
  Pharmaceutical Products. Your Co-
   payment and/or Co-insurance may
   vary when you use a coupon. Contact
  [www.myuhc.com] or the telephone
   number on your ID card for an
  available list of Specialty
  Pharmaceutical Products and the
  applicable Co-payment and/or Co-
  insurance.
  The amount of the coupon will count
  toward any applicable deductible and
  towards the Out-of-Pocket Limit until
  any applicable deductible is met,
  except when not allowed by state or
  federal law.

                                           Out-of-Network
                                           50%                        Yes             Yes

  25. Physician Fees for Surgical and Medical Services

  Covered Health Care Services             Network
  provided by an out-of-Network            20%                        Yes             Yes




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Dut-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service               What Is the Co-           Does the Amount Does the Annual
                                            payment or Co-            You Pay Apply to Deductible
                                            insurance You Pay?        the Out-of-Pocket Apply?
                                            This May Include a        Limit?
                                            Co-payment,'Co-
                                            insurance or Both.
  Physician in certain Network facilities
  will apply the same cost sharing (Co-
  payment, Co-insurance and applicable
  deductible) as if those services were
  provided by a Network provider;
  however, Allowed Amounts will be
  determined as described below under
  Allowed Amounts in this Schedule of
  Benefits.

                                            Out-of-Network
                                            50%                       Yes                 Yes

  26. Physician's Office Services - Sickness and Injury

                                            Network _ _                                    --               -
                                            $15 for a Primary Care    Yes                 No
                                            Physician office visit
                                            $30 for a Specialist
                                            office visit              Yes                 No




                                            Out-of-Network
                                            50%                       Yes                Yes

  27. Pregnancy - Maternity Services

                                     Prior Authorization Requirement
     For Out-of-Network Benefits, you must obtain prior authorization as soon as reasonably possible if the
   Inpatient Stay for the mother and/or the newborn will be more than 48 hours for the mother and newborn
       child following a normal vaginal delivery, or more than 96 hours for the mother and newborn child
  following a cesarean section delivery. If you do not obtain prior authorization as required, the amount you
                       are required to pay will be increased to 50% of the Allowed Amount.

                                            Network




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,lor specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts.-The Allowed Amounts provision near the-end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service               What Is the Co-            Does the Amount Does the Annual
                                            payment or Co-             You Pay Apply to Deductible
                                            insurance You Pay?         the Out-of-Pocket Apply?
                                            This May Include a         Limit?
                                            Co-payment, Co-
                                            insurance or Both.
  We pay for Covered Health Care            Benefits will be the same as those stated under each Covered
  Services incurred if you participate in   Health Care Service category in this Schedule of Benefits except
  the California Prenatal Screening         that an Annual Deductible will not apply for a newborn child
  Program, a statewide prenatal testing     whose length of stay in the Hospital is the same as the mother's
  program administered by the State         length of stay. Benefits for office visits for prenatal care received
  Department of Health Services. There      from a Network provider are covered without cost sharing during
  is no cost share for this Benefit.        the entire course of the Covered Person's pregnancy.
  All maternity items and services that The first postnatal/postpartum visit is covered at no charge.
  are recommended preventive care and
  are required to be covered under the
  Affordable Care Act will be provided
  without cost share. Please refer to
  Preventive Care Services below.

                                            Out-of-Network
                                            Benefits will be the same as those stated under each Covered
                                            Health Care Service category in this Schedule of Benefits except
                                            that an Annual Deductible will not apply for a newborn child
                       •                    whose length of stay in the Hospital is the same as the mother's
                                            length of stay.

  28. Preimplantation Genetic Testing (PGT)and Related
      Services                                                                             -

                                      Prior Authorization Requirement
  For Out-of-Network Benefits, you must obtain prior authorization as soon as possible. If you do not obtain
     prior authorization as required, the amount you are required to pay will be increased to 50% of the
                                              Allowed Amount.

                                            Network
                                            20%                       Yes                      Yes

                                            Out-of-Network
                                            50%                       Yes                      Yes

  29. Preventive Care Services

  Physician office services                 Network




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of,Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure-Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service              What Is the Co-           Does the Amount Does the Annual
                                           payment or Co-            You Pay Apply to Deductible
                                           insurance YOu Pay?        the Out-of-Pocket Apply?
                                           This-Mayinclude a         Limit?
                                           Co-payment, Co-
                                           insurance or Both.
                                           None                      Yes                  No

                                           Out-of-Network
                                           Out-of-Network Benefits Out-of-Network         Out-of-Network
                                           are not available.      Benefits are not       Benefits are not
                                                                   available.             available.

  Lab, X-ray or other preventive tests     Network
                                           None                      Yes                  No

                                           Out-of-Network
                                           Out-of-Network Benefits Out-of-Network         Out-of-Network
                                           are not available.      Benefits are not       Benefits are not
                                                                   available.             available.

  Breast pumps                             Network                                    _     -
                              _
                                           None                      Yes                  No

                                          Out-of-Network
                                          Out-of-Network Benefits Out-of-Network          Out-of-Network
                                          are not available.      Benefits are not        Benefits are not
                                                                  available.              available.

  30. Prosthetic Devices

                                     Prior Authorization Requirement
   For Out-of-Network Benefits, you must obtain prior authorization before obtaining prosthetic devices that
       exceed $1,000 in cost per device. If you do not obtain prior authorization as required, you will be
                       responsible for paying all charges and no Benefits will be paid.

                                          Network
                                          20%                        Yes                  Yes

                                          Out-of-Network
                                          50%                        Yes                  Yes

  31. Reconstructive Procedures




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   When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
   Network Benefits unless otherwise specifically stated.
   Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
   Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
   Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
   Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits.will tell you
   when you are responsible for amounts that exceed the Allowed Amount.
   Covered Health Care Service               What Is the Co-             Does the Amount Does the Annual
                                             payment or Co-              You Pay Apply to Deductible
                                             insurance You Pay?          the Out-of-Pocket Apply?
                                             This May Include a          Limit?
                                             Co-payment, Co-
                                             insurance or Both.
                                        Prior Authorization Requirement
    For Out-of-Network Benefits, you must obtain prior authorization five business days before a scheduled
    reconstructive procedure is performed or, for non-scheduled procedures, within one business day or as
    soon as is reasonably possible. If you do not obtain prior authorization as required, the amount you are
                       required to pay will be increased to 50% of the Allowed Amount.
      In addition, for Out-of-Network Benefits, you must contact us 24 hours before admission for scheduled
        inpatient admissions or as soon as is reasonably possible for non-scheduled inpatient admissions.

                                             Network
                                             Depending upon where the Covered Health Care Service is
                                             provided, Benefits will be the same as those stated under each
                                             Covered Health Care Service category in this Schedule of
                                             Benefits.
                                                                                               _
                                 --      -   Out-of-Network
                                             Depending upon where the Covered Health Care Service is
                                             provided, Benefits will be the same as those stated under each
                                             Covered Health Care Service category in this Schedule of
                                             Benefits.

  32. Rehabilitation Services - Outpatient Therapy and
      Manipulative Treatment

  Limited per year as follows:               Network
                                             $15 per visit               Yes              No
  •       24 Manipulative Treatments.
  Visit limits are not applied to
  occupational therapy, physical therapy
  or speech therapy for the Medically
  Necessary treatment of a health
  condition, including pervasive
  developmental disorder or Autism
  Spectrum Disorders

                                             Out-of-Network
                                             For all therapies, except
                                             for physical therapy,
                                             occupational therapy
                                             and Manipulative




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.                              .
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage.and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will telLyou
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service             What Is the Co-            Does the Amount Does the Annual
                                          payment or Co-             You Pay Apply to Deductible
                                          insurance You Pay?         the Out-of-Pocket Apply?
                                          This May Include a         Limit?
                                          Co-payment, Co-
                                          insurance or Both.
                                          treatment:
                                          50%
                                                                     Yes                 Yes
                                          Physical therapy,
                                          occupational therapy
                                          and Manipulative
                                          treatment:
                                          Out-of-Network Benefits Out-of-Network         Out-of-Network
                                          are not available.      Benefits are not       Benefits are not
                                                                  available.             available.

  33. Scopic Procedures - Outpatient Diagnostic and
      Therapeutic

                                          Network
                                          20% at a freestanding      Yes                 Yes
                                          center or in a
                                          Physician's office
                                          30% at an outpatient
                                          Hospital-based center      Yes                Yes


                                          Out-of-Network
                                          50% at a freestanding      Yes                Yes .
                                          center or in a
                                          Physician's office
                                          50% at an outpatient
                                          Hospital-based center      Yes                Yes

  34. Skilled Nursing Facility/Inpatient Rehabilitation Facility
      Services

                                     Prior Authorization Requirement
  For Out-of-Network Benefits for a scheduled admission, you must obtain prior authorization five business
  days before admission, or as soon as is reasonably possible for non-scheduled admissions. If you do not
  obtain prior authorization as required, the amount you are required to pay will be increased to 50% of the
                                               Allowed Amount.




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits,will tell you
  when you are responsible for amounts that exceed-the Allowed Amount.
  Covered Health Care Service              What Is the Co-            Does the Amount Does the Annual
                                           payment or Co-             You Pay Apply to Deductible
                                           insurance You Pay?         the Out-of-Pocket Apply?
                                           This May Include a         Limit?
                                           Co-payment, Co-
                                           insurance or Both.
    In addition, for Out-of-Network Benefits, you must contact us 24 hours before admission for scheduled
                admissions or as soon as is reasonably possible for non-scheduled admissions.

  Limited to 100 days per year in a        Network
  Skilled Nursing Facility.                Skilled Nursing Facility
                                                                      Yes               Yes
  No limits for Inpatient Rehabilitation   20%
  Facility Services.
                                           Inpatient Rehabilitation
                                           Facility Services
                                           20%                        Yes               Yes

                                           Out-of-Network
                                           Skilled Nursing Facility
                                                                      Yes               Yes
                                           50%
                                           Inpatient Rehabilitation
                                           Facility Services
                                           50%                        Yes               Yes

  35. Surgery - Outpatient

                                       Prior Authorization Requirement
                                                                                                   •
    For Out-of-Network Benefits for cardiac catheterization, pacemaker insertion, implantable cardioverter
  defibrillators, diagnostic catheterization and electrophysiology implant and sleep apnea surgery, you must
       obtain prior authorization five business days before scheduled services are received or, for non-
   scheduled services, within one business day or as soon as is reasonably possible. If you do not obtain
      prior authorization as required, the amount you are required to pay will be increased to 50% of the
                                                 Allowed Amount.

  Vasectomy services or procedures are     Network
  covered without deductible, Co-          20% at an ambulatory       Yes               Yes
  insurance, Co-payment, or any other      surgical center or in a
  cost-sharing requirement unless          Physician's office
  required for an HSA compatible high
                                           30% at an outpatient
  deductible health plan (HDHP).
                                           Hospital-based surgical yes                  Yes
                                           center

                                           Out-of-Network




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are ,required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service                What Is the Co-           Does the Amount Does the Annual
                                             payment or Co-            You Pay Apply to Deductible
                                             insurance You Pay?        the Out-of-Pocket Apply?
                                             This May Include a        Limit?
                                             Co-payment, Co-
                                             insurance or Both.
  For Out-of-Network Benefits, Allowed       50% at an ambulatory      Yes                 Yes
  Amount for Facility Fees is limited to     surgical center or in a
  $760 per date of service.                  Physician's office
                                             50% at an outpatient    Yes                   Yes
                                             Hospital-based surgical
                                             center

  36. Temporomandibular Joint(TMJ)Services

                                         Prior Authorization Requirement
   For Out-of-Network Benefits, you must obtain prior authorization five business days before TMJ services
   are performed during an Inpatient Stay in a Hospital. If you do not obtain prior authorization as required,
             the amount you are required to pay will be increased to 50% of the Allowed Amount.
    In addition, for Out-of-Network Benefits, you must contact us 24 hours before admission for scheduled
                                              inpatient admissions.

                                             Network
                                             Depending upon where the Covered Health Care Service is
                                             provided, Benefits will be the same as those stated under each
                                             Covered Health Care Service category in this Schedule of
                                     °       Benefits.

                                             Out-of-Network
                                             Depending upon where the Covered Health Care Service is
                                             provided, Benefits will be the same as those stated under each
                                             Covered Health Care Service category in this Schedule of
                                             Benefits.

  37. Therapeutic Treatments - Outpatient
                                                                    ,
                                         Prior Authorization Requirement
   For Out-of-Network Benefits, you must obtain prior authorization for the following outpatient therapeutic
  services five business days before scheduled services are received or, for non-scheduled services, within
  one business day or as soon as is reasonably possible. Services that require prior authorization: dialysis,
     intensity modulated radiation therapy and MR-guided focused ultrasound. If you do not obtain prior
    authorization as required, the amount you are required to pay will be increased to 50% of the Allowed
                                                  Amount.




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   When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
   Network Benefits unless otherwise specifically stated.
   Amounts which you are required to pay as shown below in the Schedule of Benefits are-based on
   Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
   Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
   Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
   when you are responsible for amounts that exceed the AlloWediAmount.
   Covered Health Care Service              What Is the Co-           Does the Amount Does the Annual
                                            payment or Co-            You Pay Apply to Deductible
                                            insurance You Pay?        the Out-of-Pocket Apply?
                                            This,May Include a        Limit?
                                            Co-payment, Co-
                                            insurance or Both.
                                            Network
                                            20%                       Yes                Yes

                                            Out-of-Network
                                            50%                       Yes                Yes

  38. Transplantation Services



  For Network Benefits, transplantation     Network
  services must be received from a          Depending upon where the Covered Health Care Service is
  Designated Provider. We do not            provided, Benefits will be the same as those stated under each
  require that cornea transplants be        Covered Health Care Service category in this Schedule of
  received from a Designated Provider in    Benefits.
  order for you to receive Network                                                        _
  Benefits.
  . .        _ _ _          _ _         _    -   -                     --

                                            Out-of-Network
                                            Out-of-Network Benefits are not available.

  39. Urgent Care Center Services

                                            Network
                                            $50 per visit             Yes                No

                                            Out-of-Network
                                            50%                       Yes                Yes

  40. Urinary Catheters

                                            Network
                                            20%                       Yes                Yes

                                            Out-of-Network
                                            Out-of-Network Benefits Out-of-Network       Out-of-Network
                                            are not available.      Benefits are not     Benefits are not
                                                                    available.           available.

  41. Virtual Care Services




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in'the definition of
  Recognized Amount.in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service                 What Is the Co-           Does the Amount Does the Annual
                                              payment or Co-            You Pay Apply to Deductible
                                              insurance You Pay?        the Out-of-Pocket Apply?
                                              This May Include a        Limit?
                                              Co-payment, Co-
                                              insurance or Both.
  Benefits are available only when            Network
  services are delivered through a            None                      Yes              No
  Designated Virtual Network Provider.
  You can find a Designated Virtual
  Network Provider by contacting us at
  www.myuhc.com or the telephone
  number on your ID card.

                                              Out-of-Network •
                                              Out-of-Network Benefits Out-of-Network     Out-of-Network
                                              are not available.      Benefits are not   Benefits are not
                                                                      available.         available.

  42. Vision Exams

  Limited to 1 exam per calendar year         Network
                                              $15 per visit             Yes              No
  This Benefit is limited to adults (age 19
  and older). Benefits for routine vision
  examinations for Covered Persons
  under age 19 are provided as
  described in the Pediatric Vision Care
  Services Schedule of Benefits.

                                              Out-of-Network
                                              50%                       Yes              Yes


  Additional Benefits Required By California Law
  43. Abortion and Abortion related Services

                                              Network
                                              None
                                                                        Yes              Yes


                                              Out-of-Network
                                              None
                                                                        Yes              Yes




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or,for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined EvidenceW Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed-the Allowed Amount.
  Covered Health Care Service          What Is the Co-            Does the Amount Does the Annual
                                       payment or Co-             You Pay Apply to Deductible
                                       insurance You Pay?         the Out-of-Pocket. Apply?
                                       This May Include a         Limit?
                                       Co-payment, Co-
                                       insurance or Both.
  44. Dental Anesthesia Services

                                         Network
  For Network and Out-of-Network                                  Yes               Yes
                                         200/0
  services, other than pediatric dental,
  depending upon where the Covered
  Health Care Service is provided,
  Benefits will be the same as those
  stated under each Covered Health
  Care Service category in this Schedule
  of Benefits.

                                       Out-of-Network
                                       50%
                                                                  Yes               Yes

  45. Home Test Kits for Sexually Transmitted Diseases

                                       Network
                                       Depending upon where the Covered Health Care Service is
                                       provided, Benefits will be the same as those stated under each
                                       Covered Health Care Service category in this Schedule of
                                       Benefits.

                                       Out-of-Network
                                       Depending upon where the Covered Health Care Service is
                                       provided, Benefits will be the same as those stated under each
                                       Covered Health Care Service category in this Schedule of
                                       Benefits.

  46. Mastectomy Services

                                       Network
                                       Depending upon where the Covered Health Care Service is
                                       provided, Benefits will be the same as those stated under each
                                       Covered Health Care Service category in this Schedule of
                                       Benefits.

                                       Out-of-Network




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or, for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service          What Is the Co-              Does the Amount Does the Annual
                                       payment or Co-               You Pay Apply to Deductible
                                       insurance You Pay?           the Out-of-Pocket Apply?
                                       This May Include a           Limit?
                                       Co-payment, Co-
                                       insurance or Both.
                                       Depending upon where the Covered Health Care Service is
                                       provided, Benefits will be the same as those stated under each
                                       Covered Health Care Service category in this Schedule of
                                       Benefits.

  47. Off-Label Drug Use and Experimental or Investigational
      Services

                                       Network
                                       Depending upon where the Covered Health Care Service is
                                       provided, Benefits will be the same as those stated under each
                                       Covered Health Care Service category in this Schedule of
                                       Benefits.

                                       Out-of-Network
                                       Depending upon where the Covered Health Care Service is
                                       provided, Benefits will be the same as those stated under each
                                       Covered Health Care Service category in this Schedule of
                                       Benefits.

  48. Osteoporosis Services

                                       Network
                                       Depending upon where the Covered Health Care Service is
                                       provided, Benefits will be the same as those stated under each
                                       Covered Health Care Service category in this Schedule of
                                       Benefits.

                                       Out-of-Network
                                       Depending upon where the Covered Health Care Service is
                                       provided, Benefits will be the same as those stated under each
                                       Covered Health Care Service category in this Schedule of
                                       Benefits.

  49. Specialized Footwear

                                       Network
                                       200/0
                                                                    Yes             Yes




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  When Benefit limits apply, the limit refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Amounts or, for specific Covered Health Care Services as described in the definition of
  Recognized Amount in the Combined Evidence of Coverage and Disclosure Form, Recognized
  Amounts. The Allowed Amounts provision ,near the end of this Schedule of Benefits will tell you
  when you are responsible for amounts that exceed the Allowed Amount.
  Covered Health Care Service             What Is the Co-            Does the Amount Does the Annual
                                          payment or Co-             You Pay Apply to Deductible
                                          insurance You Pay?         the Out-of-Pocket Apply?
                                          This May Include a         Limit?    .
                                          Co-payment, Co-
                                          insurance or Both.
                                          Out-of-Network
                                          50%
                                                                     Yes                Yes


  50. Telehealth Services

                                          Network
                                          Depending upon where the Covered Health Care Service is
                                          provided, Benefits will be the same as those stated under each
                                          Covered Health Care Service category in this Schedule of
                                          Benefits.




                                          Out-of-Network
                                          Depending upon where the Covered Health Care Service is
                                          provided, Benefits will be the same as those stated under each
                                          Covered Health Care Service category in this Schedule of
                                          Benefits.

                                      •




  Allowed Amounts
  Allowed Amounts are the amount we determine that we will pay for Benefits.
  •     For Network Benefits for Covered Health Care Services provided by a Network provider, except for
        your cost sharing obligations, you are not responsible for any difference between Allowed Amounts
        and the amount the provider bills.
  •     For Out-of-Network Benefits, except as described below, you are responsible for paying, directly to
        the out-of-Network provider, any difference between the amount the provider bills you and the
        amount we will pay for Allowed Amounts.




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        •     For Covered Health Care Services that are Ancillary Services received at certain
              Network facilities on a non-Emergency basis from out-of-Network Physicians, you are
              not responsible, and the out-of-Network provider may not bill you, for amounts in excess of
              your Co-payment, Co-insurance, or deductible which is based on the Recognized Amount as
              defined in the Combined Evidence of Coverage and Disclosure Form.
        •     For Covered Health Care Services that are non-Ancillary Services received at certain
              Network facilities on a non-Emergency basis from out-of-Network Physicians who
              have not satisfied the notice and consent criteria or for unforeseen or urgent medical
              needs that arise at the time a non-Ancillary Service is provided for which notice and
              consent has been satisfied as described below, you are not responsible, and the out-of-
              Network provider may not bill you, for amounts in excess of your Co-payment, Co-insurance,
              or deductible which is based on the Recognized Amount as defined in the Combined
              Evidence of Coverage and Disclosure Form.
        •     For Covered Health Care Services that are Emergency Health Care Services provided by
              an out-of-Network provider, you are not responsible, and the out-of-Network provider may
              not bill you, for amounts in excess of your applicable Co-payment, Co-insurance, or
              deductible which is based on the Recognized Amount as defined in the Combined Evidence
              of Coverage and Disclosure Form.
              For Covered Health Care Services that are Air Ambulance services provided by an out-
              of-Network provider, you are not responsible, and the out-of-Network provider may not bill
              you, for amounts in excess of your applicable Co-payment, Co-insurance, or deductible
              which is based on the rates that would apply if the service was provided by a Network
              provider which is based on the Recognized Amount as defined in the Combined Evidence of
              Coverage and Disclosure Form.
  Allowed Amounts are determined in accordance with our reimbursement policy guidelines or as required
  by law, as described in the Combined Evidence of Coverage and Disclosure Form.

  Network Benefits
  Allowed Amounts are based on the following:
 •      When Covered Health Care Services are received from a Network provider, Allowed Amounts are
        our contracted fee(s) with that provider.
 •      When Covered Health Care Services are received from an out-of-Network provider as arranged by
        us, including when there is no Network provider who is reasonably accessible or available to
        provide Covered Health Care Services, Allowed Amounts are an amount negotiated by us or an
        amount permitted by law. Please contact us if you are billed for amounts in excess of your
        applicable Co-insurance, Co-payment, or any deductible. We will not pay excessive charges or
        amounts you are not legally obligated to pay.
  IMPORTANT NOTICE: Covered Health Care Services for Emergency air ambulance provided by an out-
  of-Network provider are subject to the same cost sharing required if the services were provided by a
  Network provider. You will not pay more than the Network cost sharing amount.
  Out-of-Network facility-based Physicians at a Network facility that are not chosen by you, or as a
  result of receiving services in a contracting facility, may not bill you for any difference between
 the Physician's billed charges and the Allowed Amounts described here. Network cost sharing
 (Co-payments, Co-insurance, or deductible) count toward the Annual Deductible and Out-of-
 Pocket Limit.

  Out-of-Network Benefits
  When Covered Health Care Services are received from an out-of-Network provider as described
  below, Allowed Amounts are determined as follows:




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  •    For non-Emergency Covered Health Care Services received at Network facilities from an
       out-of-Network Physician that is NOT chosen by you, or as a result of receiving services in a
       contracting facilityrthe Allowed Amount is based on the greater of 125% of the published rates
       allowed by the Centers for Medicare and Medicaid Services(CMS)or the average contracted rate
       for the same or similar service within the geographic market.
  •    For non-Emergency Covered Health Care Services received at certain.Network facilities
       from out-of-Network Physicians when such services are either Ancillary Services, or non-
       Ancillary Services that have not satisfied the notice and consent criteria of section 2799B-2(d) of
       the Public Health Service Act with respect to a visit as defined by the Secretary (including non-
       Ancillary Services that have satisfied the notice and consent criteria but unforeseen, urgent medical
       needs arise at the time the services are provided), the Allowed Amount is based on one of the
       following in the order listed below as applicable:
      •       The amount determined by Independent Dispute Resolution (IDR).
       For the purpose of this provision, "certain Network facilities" are limited to a hospital (as defined in
       1861(e) of the Social Security Act), a hospital outpatient department, a critical access hospital (as
       defined in 1861(mm)(1) of the Social Security Act), an ambulatory surgical center as described in
       section 1833(i)(1)(A) of the Social Security Act, and any other facility specified by the Secretary.
       IMPORTANT NOTICE: For Ancillary Services, non-Ancillary Services provided without notice and
       consent, and non-Ancillary Services for unforeseen or urgent medical needs that arise at the time a
       service is provided for which notice and consent has been satisfied, you are not responsible, and
       an out-of-Network Physician may not bill you, for amounts in excess of your applicable Co-
       payment, Co-insurance, or deductible which is based on the Recognized Amount as defined in the
       Combined Evidence of Coverage and Disclosure Form.
  •    For Emergency Health Care Services provided by an out-of-Network provider, the Allowed
       Amount is based on one of the following as applicable:
      •      The reimbursement rate as determined by California state law as follows.
             •      The payment of the reasonable and customary value for the Covered Health Care
                    Services rendered based upon satisfactorily credible information that is updated at
                    least annually and takes into consideration;
                           The provider's training, qualifications, and length of time in practice;
                           The nature of the services provided;
                           The fees usually charged by the provider;
                           Prevailing provider rates charged in the general geographic area in which the
                           services were rendered;
                           Other aspects of the economics of the medical provider's practice that are
                           relevant; and
                           Any unusal circumstances in the case.
      •      The amount determined by Independent Dispute Resolution (IDR).
      IMPORTANT NOTICE: You are not responsible, and an out-of-Network provider may not bill you,
      for amounts in excess of your applicable Co-payment, Co-insurance, or deductible which is based
      on the Recognized Amount as defined in the Combined Evidence of Coverage and Disclosure
      Form.
  •   For Air Ambulance transportation provided by an out-of-Network provider, the Allowed
      Amount is based on one of the following in the order listed below as applicable:
             The initial payment made by us or the amount subsequently agreed to by the out-of-Network
             provider and us.




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               The amount determined by Independent Dispute Resolution (IDR).
               Air Ambulance transporation provided by an out-of-Network provider is subject to the
               same cost sharing required if the Covered Health Care Services were provided by a
               Network provider. You will not pay more than the Network cost sharing amount.
         IMPORTANT NOTICE: You are not responsible, and an out-of-Network providermay not bill you,
         for amounts in excess of your Co-payment, Co-insurance, or deductible which is based on the
         rates that would apply if the service was provided by a Network provider which is based on the
         Recognized Amount as defined in the Combined Evidence of Coverage and Disclosure Form.
  •      For Emergency ground ambulance transportation provided by an out-of-Network provider,
         the Allowed Amount, which includes mileage, is a rate agreed upon by the out-of-Network provider
         or, unless a different amount is required by applicable law, determined based upon the median
         amount negotiated with Network providers for the same or similar service.
         IMPORTANT NOTICE: Out-of-Network providers may bill you for any difference between the
         provider's billed charges and the Allowed Amount described here.
               2. When Covered Health Care Services are received from an out-of-Network provider,
               except as described above, Allowed Amounts are determined based on the
               reimbursement rate as determined by California state law as follows:
  •      The payment of the reasonable and customary value for the Covered Health Care Services
         rendered based upon satisfactorily credible information that is updated at least annually and takes
  •      into consideration:
        •      The provider's training, qualifications, and length of time in practice;
        •      The nature of the services provided;
        •      The fees usually charged by the provider;
        •      Prevailing provider rates charged in the general geographic area in which the services were
               rendered;
        •      Other aspects of the economics of the medical provider's practice that are relevant; and
        •      Any unusal circumstances in the case.
         IMPORTANT NOTICE: Out-of-Network providers may bill you for any difference between the
         provider's billed charges and the Allowed Amount described here. This includes non-Ancillary
         Services when notice and consent is satisfied as described under section 2799B-2(d) of the Public
         Health Service Act.

  Provider Network
  We arrange for health care providers to take part in a Network. Network providers are independent
  practitioners. They are not our employees. It is your responsibility to choose your provider.
  Our credentialing process confirms public information about the providers' licenses and other credentials
  but does not assure the quality of the services provided.
   Before obtaining services you should always verify the Network status of a provider to be certain that the
 . provider is a UnitedHealthcare Core Network provider. A provider's status may change. You can verify the
   provider's status by calling the telephone number on your ID card. A directory of providers is available by
   contacting us at www.myuhc.com or the telephone number on your ID card to request a copy. If you
   receive a Covered Health Care Service from an out-of-Network provider and were informed incorrectly by
   us prior to receipt of the Covered Health Care Service that the provider was a Network provider, either
   through our database, our provider directory, or in our response to your request for such information (via
   telephone, electronic, web-based or internet-based means), you may be eligible for cost sharing (Co-
   payment, Co-insurance and applicable deductible) that would be no greater than if the service had been
   provided from a Network provider.




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  It is possible that you might not be able to obtain services from a particular Network provider. The network
  of providers is subject to change. Or you might find that a particular Network provider may not be
  accepting new patients. If a provider leaves the Network or is otherwise not available to you, you must
  choose another Network provider to get Network Benefits. However, if you are currently receiving
  treatment for Covered Health Care Services from a provider whose network status changes from Network
  to out-of-Network during such treatment due to termination (non-renewal or expiration) of the provider's
  contract, you may be eligible to request continued care from your current provider under the same terms
  and conditions that would have applied prior to termination of the provider's contract for specified
  conditions and timeframes. This provision does not apply to provider contract terminations for failure to
  meet applicable quality standards or for fraud. If you would like help to find out if you are eligible for
  continuity of care Benefits, please call the telephone number on your ID card.
  If you are currently undergoing a course of treatment using an out-of-Network Physician or-health care
  facility, you may be eligible to receive transition of care Benefits. This transition period is available for
  specific medical services and for limited periods of time. If you have questions regarding this transition of
  care reimbursement policy or would like help to find out if you are eligible for transition of care Benefits,
  please call the telephone number on your ID card.
  Do not assume that a Network provider's agreement includes all Covered Health Care Services. Some
  Network providers contract with us to provide only certain Covered Health Care Services, but not all
  Covered Health Care Services. Some Network providers choose to be a Network provider for only some
  of our products. Refer to your provider directory or contact us for help.

  Second Medical Opinion
  A second medical opinion is a reevaluation of your condition or health care treatment by an appropriately
  qualified Physician or appropriately qualified health care professional. When a second opinion is
  requested by you or by a Network Physician or health professional that is treating you, we will authorize a
  second opinion by an appropriately qualified health care professional. The Physician or appropriately
  qualified health care professional acting within his or her scope of practice, must possess the clinical
  background necessary for examining the illness or condition associated with the request for a second
  medical opinion. Second medical opinions will be provided or authorized in the following circumstances:
  •     When you question the reasonableness or necessity of recommended surgical procedures;
  •     When you question a diagnosis or treatment plan for a condition that threatens loss of life, loss of
        limb, loss of bodily function, or substantial impairment (including, but not limited to, a chronic
        condition);
  •     When the clinical indications are not clear, or are complex and confusing; When a diagnosis is in
        doubt due to conflicting test results;
  •     When the treating Physician is unable to diagnose the condition;
  •     When the treatment plan in progress is not improving your medical condition within an appropriate
        period of time given the diagnosis, and you request a second opinion regarding the diagnosis or
        continuance of the treatment;
  •     When you have attempted to follow the treatment plan or consulted with the initial treating
        Physician and still have serious concerns about the diagnosis or treatment.
  In most cases, you or your treating Physician or health care professional will request a second medical
  opinion without consulting us. However, in the event that we approve a request by you for a second
  medical opinion, you shall be responsible only for the costs of applicable co-payments that are required
  for similar referrals.
  The second medical opinion will be documented in a consultation report, which will be made available to
  you and your treating Physician or health care professional. It will include any recommended procedures
  or tests that the Physician or health care professional giving the second opinion believes are appropriate.




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   Please Note: The fact that an appropriately qualified Physician or health care professional gives a
  second medical opinion and recommends a particular treatment, diagnostic test or service does not
  necessarily mean that the recommended action is medically necessary or a Covered Health Care
  Service. If the recommended action is not Medically Necessary or is not a Covered Health Care Service,
  you will also remain responsible for paying any appropriate fees to the Physician or health care
  professional that performs that recommended action.

 'Designated Providers
  If you have a medical condition that we believe needs special services, we may direct you to a
  Designated Provider chosen by us. If you require certain complex Covered Health Care Services for
  which expertise is limited, we may direct you to a Network facility or provider that is outside your local
  geographic area. If you are required to travel to obtain such Covered Health Care Services from a
  Designated Provider, we may reimburse certain travel expenses.
  In both cases, Network Benefits will only be paid if your Covered Health Care Services for that condition
  are provided by or arranged by the Designated Provider chosen by us.
  You or your Network Physician must notify us of special service needs(such as transplants or cancer
  treatment) that might warrant referral to a Designated Provider. If you do not notify us in advance, and if
  you receive services from an out-of-Network facility (regardless of whether it is a Designated Provider) or
  other out-of-Network provider, Network Benefits will not be paid. Out-of-Network Benefits may be
  available if the special needs services you receive are Covered Health Care Services for which Benefits
  are provided under the Policy.

  Health Care Services from Out-of-Network Providers Paid as Network
  Benefits
  If specific Covered Health Care Services are not available from a Network provider, you may be eligible
  for Network Benefits when Covered Health Care Services are received from out-of-Network providers. In
  this situation, your Network Physician will notify us and, if we confirm that care is not available from a
  Network provider, we will work with you and your Network Physician to coordinate care through an.out-of-
  Network provider. ____                       -

  Limitations on Selection of Providers
  If we determine that you are using health care services in a harmful or abusive manner, or with harmful
  frequency, your selection of Network providers may be limited. If this happens, we may require you to
  select a single Network Physician to provide and coordinate all future Covered Health Care Services.
  If you don't make a selection within 31 days of the date we notify you, we will select a single Network
  Physician for you.
  If you do not use the selected Network Physician, Covered Health Care Services will be paid as Out-of-
  Network Benefits.




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                               Pediatric Dental Services
  Accessing Pediatric Dental Services
  Network and Out-of-Network Benefits
  Network Benefits - these Benefits apply when you choose to obtain Covered Dental Services from a
  Network Dental Provider. You generally are required to pay less to the provider than you would pay for
  services from an out-of-Network provider. Network Benefits are determined based on the 2023 Plan Year
  Covered California Schedule of Benefits. In no event, will you be required to pay a Network Dental
  Provider an amount for a Covered Dental Service that is greater than the cost share established on the
  2023 Plan Year Covered California Schedule of Benefits.
  In order for Covered Dental Services to be paid as Network Benefits, you must obtain all Covered Dental
  Services directly from or through a Network Dental Provider.
  You must always check the participation status of a provider prior to seeking services. From time to time,
  the participation status of a provider may change. You can check the participation status by contacting us
  and/or the provider. We can provide help in referring you to Network Dental Provider.
  We will make available to you a Directory of Network Dental Providers. You can also call us at the
  number stated on your identification (ID) card to determine which providers participate in the Network.
  Out-of-Network Benefits - these Benefits apply when you decide to obtain Covered Dental Services
  from out-of-Network Dental Providers. You generally are required to pay more to the provider than for
  Network Benefits at the pre-established Covered California out-of-network percentage for covered
  services. Out-of-Network Benefits are determined based on the Usual and Customary fee for similarly
  situated Network Dental Providers for each Covered Dental Service. The actual charge made by an out-
  of-Network Dental Provider for a Covered Dental Service may exceed the Usual and Customary fee. You
  may be required to pay an out-of-Network Dental Provider an amount for a Covered Dental Service that is
  greater than the Usual and Customary fee. When you obtain Covered Dental Services from out-of-
  Network Dental Providers, you must file a claim with us to be reimbursed for Allowed Dental Amounts.

  What Are Covered Dental Services?
  Benefits are available only for Necessary Dental Services. The fact that a Dental Provider has performed
  or prescribed a procedure or treatment, or the fact that it may be the only available treatment for a dental
  disease, does not mean that the procedure or treatment is a Covered Dental Service under this Schedule
  of Benefits.
  IMPORTANT: If you opt to receive dental services that are not Covered Dental Services under this
  Schedule of Benefits, a Network Dental Provider may charge you his or her usual and customary rate for
  those services. Prior to providing a patient with dental services that are not Covered Dental Services, the
  dentist should provide to the patient a treatment plan that includes each anticipated service to be
  provided and the estimated cost of each service. If you would like more information about dental
  coverage options, you may call the telephone number on your ID card. To fully understand your
  coverage, you may wish to carefully review the Section 10: Pediatric Dental Services in the Combined
  Evidence of Coverage and Disclosure Form and this Schedule of Benefits.

  What Is a Pre-Treatment Estimate?
  If the charge for a Dental Service is expected to exceed $500 or if a dental exam reveals the need for
  fixed bridgework, you may notify us of such treatment before treatment begins and receive a pre-
  treatment estimate. If you desire a pre-treatment estimate, you or your Dental Provider should send a
  notice to us, via claim form, within 20 calendar days of the exam. If requested, the Dental Provider must
  provide us with dental x-rays, study models or other information necessary to evaluate the treatment plan
  for purposes of benefit determination.




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  If the proposed treatment is a Covered Dental Service, we will estimate the amount of payment. The
  estimate of Benefits payable will be sent to the Dental Provider and willte subject to all terms, conditions
  and provisions of the Policy. Clinical situations that can be effectively treated by a less costly, clinically
  acceptable alternative procedure will be assigned a benefit based on the less costly procedure.
  A pre-treatment estimate of Benefits is not an agreement to pay for expenses. This procedure lets you
  know in advance approximately what portion of the expenses will be considered for payment.

  Does Pre-Authorization Apply?
  Pre-authorization is required for orthodontic services. Speak to your Dental Provider about obtaining a
  pre-authorization before Dental Services are provided. If you do not obtain a pre-authorization, we have a
  right to deny your claim for failure to complywith this requirement.

  Benefits
  When Benefit limits apply, the limit stated refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Benefit limits are calculated on a calendar year basis unless otherwise specifically stated.
  Each child is responsible for the individual deductible unless the family deductible has been met. Once a
  child's individual deductible or the family deductible is reached, cost sharing applies until the child's out-
  of-pocket limit is reached.
  Cost sharing payments made by each individual child for Network covered services accrue to the child's
  out-of-pocket limit. Once the child's individual out-of-pocket limit has been reached, the plan pays all
  costs for covered services for that child.
  When there are two or more children in this plan, cost sharing payments made by each individual child for
  Network services contribute to the family Network deductible, if applicable, as well as the family out-of-
  pocket limit.
  When there are two or more children in this plan, cost sharing payments made by each individual child for
  out-of-network services contribute to the family out-of-network deductible if applicable—
                                                                                          , and do not
  accumulate to the out-of-pocket limit.




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  Benefit Description
  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  Diagnostic Services - Out-of-Network(Subject to payment of the Annual Deductible.)

  Evaluations(Checkup Exams)             None                        50%
  D0120 - Periodic oral evaluation.
         Limited to once every 6
         months.
  D0140 - Limited oral evaluation -
  problem focused.
         Limited to once per patient.
  D0145 - Oral Evaluation for a
  patient under three years of age
  and counseling with primary
  caregiver.
  Limited to once every 6 months.
  D0150 - Comprehensive oral
  evaluation - new or established
  patient.
  D0160 - Detailed and extensive
  oral evaluation - problem focused,
  by report.
  D0170 - Re-Evaluation, Limited,
  Problem Focused (established
  patient; not post-operative visit).
         Limited to 6 times in a 3
         month period
         Limited to a maximum of
         12 in a 12-month period
  D0171 - Re-evaluation - post
  operative office visit.
         Limited to 6 times in a 3
         month period
         Limited to a maximum of
         12 in a 12-month period
  D0180 - Comprehensive
  periodontal evaluation - new or
  established patient.




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which ,is
  Benefit Description and        You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?       . Coinsurance or Co-Payment. Allowed Dental Amounts.

        Limited to once per patient
        for an initial evaluation
  00210 - Intraoral Comprehensive
  series of radiographic images.
         Limited to once every 36
         months
  D0220 - Intraoral - periapical -•
  first radiographic images.
        Limited to a maximum of
        20 periapicals in a 12-
        month period
  D0230 - Intraoral - Periapical -
  Each Additional Radiographic
  Image
        Limited to a maximum of
        20 periapicals in a 12-
        month period
  00240 - Intraoral - Occlusal
  Radiographic Image
        Limited to a maximum of 2
        in a 6-month period
  D0250 - Extraoral - 2D projection
  radiographic image created using
  a stationary radiation source and
  detector
        Limited to once per date of
        service
  00251 - Extraoral posterior dental
  radiographic image
        Limited to once per date of
        service
  00270 - Bitewing - Single
  Radiographic Image
        Limited to once per date of
        service
  D0272 - Bitewings - Two
  Radiographic Images
        Limited to once every 6




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  Amounts which you are,required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of        -
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

         months
  D0273 - Bitewings - Three
  Radiographic Images
        Limited to once every 6
        months
  D0274 - Bitewings - Four
  Radiographic Images
        Limited to once every 6
        months
  D0277 - Vertical Bitewings - 7 to
  8 Radiographic Images
        Limited to once every 6
        months
  D0310 - Sialography
  D0320 - Temporomandibular
  Joint Arthrogram, including
  Injection
        Limited to a maximum of 3
        per date of service
  D0322 - Tomographic Survey
        Limited to twice in a 12-
        month period per provider
  D0330 - Panoramic Radiographic
  I mage
        Limited to once in a 36-
        month period
  00340 - 20 Cephalometric
  radiographic image - acquisition,
  measurement and analysis
        Limited to twice in a 12-
        month period
  00350 - 2D oral/ facial
  photographic image obtained
  intra-orally or extra-orally
        Limited to a maximum of 4
        per date of service
  D0419 - Assessment of salivary




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  flow by measurement.
  D0431 - Adjunctive pre-diagnostic
  test that aids in detection of
  mucosal abnormalities including
  premalignant and malignant
  lesions, not to include cytology or
  biopsy procedures
  00460 - Pulp vitality tests
  D0470 - Diagnostic Casts
         Limited to once per
         provider
  00502 - Other oral pathology
  procedures, by report
  D0601 - Caries risk assessment
  and documentation, with a finding
  of low risk
  00602 - Caries risk assessment
  and documentation, with a finding
  of moderate risk
  D0603 - Caries risk assessment
  and documentation, with a finding
  of high risk
  00701 — Panoramic radiographic
  image — image capture only
  00702 — 2-0 cephalometric
  radiographic image — image
  capture only
  D0703 - 2-0 oral/facial
  photographic image obtained
  intra-orally or extra-orally - image
  capture only
  00705 — extra-oral posterior
  dental radiographic image —
  image capture only
  D0706 — intraoral - occlusal
  radiographic image — image
  capture only
  00707 — intraoral - periapical
  radiographic image — image




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on,
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  capture only
  D0708 — intraoral - bitewing
  radiographic image — image
  capture only
  00709 — intraoral —
  comprehensive series of
  radiographic images — image
  capture only
  00801 — 3D dental surface scan -
  direct
  D0802 — 3D dental surface scan
  indirect
  D0803 — 3D facial surface scan -
  direct
  D0804 — 3D facial surface scan -
  indirect
  00999 - Unspecified diagnostic
  procedure, by report
  09311 — Consultation with a
  medical health care professional
  D9995 - Teledentistry -
  synchronous; real time encounter
  09996 - Teledentistry -
  asynchronous; information stored
  and forwarded to dentist for
  subsequent review

  Preventive Services - Out-of-Network (Subject to payment of the Annual Deductible.)

  D1110 - Prophylaxis - adult.        None                        50%
        Limited to once in a 12-
        month period.
  01120 - Prophylaxis - child.
        Limited to once in a 6-
        month period.
  D1206 - Topical application of
  fluoride varnish
        Limited to once in a 6-
        month period




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   Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
   Allowed Dental Amounts.

                                      *                       Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which .is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  D1208 - Topical application of
  fluoride - excluding varnish
         Limited -to once in a 6-
         month period
  D1310 - Nutritional counseling for
  control of dental disease
         Covered in conjunction
         with your Periodic Oral
         Evaluation
  01320 - Tobacco counseling for
  the control and prevention of oral
  disease
         Covered in conjunction
         with your Periodic Oral
         Evaluation
   01321 - Counseling for the
   control and prevention of adverse
   oral, behavioral, and systemic
   health effects associated with
  'high-risk substance use.
  01330 - Oral hygiene instructions
         Covered in conjunction
         with your Periodic Oral
         Evaluation
  D1351 - Sealant - Per Tooth
        Limited to once per tooth
        every 36 months
        regardless of surfaces                                    -
        sealed
  D1352 - Preventive Resin
  Restoration in a Moderate to High
  Caries Risk patient - Permanent
  Tooth
        Limited to once per tooth
        every 36 months
        regardless of surfaces
        sealed
  01353 - Sealant repair - per tooth
  D1354 - Interim Caries Arresting
  Medicament Application Per




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  Tooth
  D1355 - Caries preventive
  medicament application - per
  tooth
  D1510 - Space maintainer - fixed,
  unilateral - per quadrant.
          Limited to 1 per quadrant
          per patient.
  01516- Space maintainer -fixed
  - bilateral, maxillary.
  01517- Space maintainer -fixed
  - bilateral, mandibular.
  D1520 - Space maintainer -
  removable, unilateral - per
  q uadrant.
          Limited to 1 per quadrant
          per patient.
  01526- Space maintainer -
  removable - bilateral, maxillary.
  D1527 - Space maintainer -
  removable - bilateral, mandibular.
  D1551 - Re-cement or re-bond
  bilateral space maintainer —                                                     -
  maxillary
          Limited to once per
          quadrant per patient
  01552 - Re-cement or re-bond
  bilateral space maintainer -
  mandibular
          Limited to once per
          quadrant per patient
  01553 - Re-cement or re-bond
  bilateral space maintainer - per
  quadrant
          Limited to once per
          q uadrant per patient
  01556- Removal of fixed
  unilateral space maintainer - per




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                             Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits -The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  quadrant                                                                         ,

         Limited to once per
         quadrant per patient
  D1557 - Removal of fixed bilateral
  space maintainer - maxillary
         Limited to once per
         quadrant per patient
  D1558 - Removal of fixed bilateral
  space maintainer - mandibular
         Limited to once per
         quadrant per patient
  D1575 - Distal shoe space
  maintainer - fixed - unilateral
         Limited to once per
         quadrant per patient

  Minor Restorative Services - Out-of-Network(Subject to payment of the Annual Deductible.)

  Amalgam Restorations (Silver         20%                        50%
  Fillings)
  The following services are not
  subject to a frequency limit.
  02140 - Amalgams - one surface,
  primary or permanent.
  D2150 - Amalgams - two
  surfaces, primary or permanent.
  02160 - Amalgams - three
  surfaces, primary or permanent.
  D2161 - Amalgams - four or more
  surfaces, primary or permanent.

  Composite Resin Restorations         20%                        50%
 (Tooth Colored Fillings)
  The following services are not
  subject to a frequency limit.
  D2330 - Resin-based composite -
  one surface, anterior.
  02331 - Resin-based composite -




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  two surfaces, anterior.
  D2332 - Resin-based composite -
  three surfaces, anterior.
  02335 - Resin-based composite -
  four or more surfaces or involving
  incisal angle, (anterior).
  02390 - Resin-Based Composite
  Crown, Anterior
  D2391 - Resin-Based Composite
  - One Surface, Posterior
  02392 - Resin-Based Composite
  - Two Surfaces, Posterior
  D2393 - Resin-Based Composite
  - Three Surfaces, Posterior
  D2394 - Resin-Based Composite
  - Four or More Surfaces,
  Posterior

  .Crowns/Inlays/Onlays
    _   __              - Out-of-Network (Subject to payment of the Annual Deductible)- " -   --




  The following services are subject 50%                            50%
  to a limit of one time every 60
  months.
  D2542 - Onlay - metallic - two
  surfaces.
  D2543 - Onlay - metallic - three
  surfaces.
  D2544 - Onlay - metallic - four or
  more surfaces.
  02710 - Crown - Resin-Based
  Composite (indirect)
  D2712 - Crown - 3/4 Resin-Based
  Composite (indirect)
  02721 - Crown - Resin With
  Predominantly Base Metal
  02740 - Crown -
  porcelain/ceramic.
  02750 - Crown - porcelain fused
  to high noble metal.




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are'based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay'Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  D2751 - Crown - porcelain fused
  to predominately base metal.                                    .
  D2752 - Crown - porcelain fused
  to noble metal.
  02753 - Crown - porcelain fused
  to titanium and titanium alloys.
  D2780 - Crown - 3/4 cast high
  noble metal.
  02781 - Crown - 3/4 cast
  predominately base metal.
  02783 - Crown - 3/4
  porcelain/ceramic.
  D2790 - Crown - full cast high
  noble metal.
  02791 - Crown - full cast
  predominately base metal.
  D2792 - Crown - full cast noble
  metal.
  D2794 - Crown - titanium and
  titanium alloys.
  D2910 - Recement Inlay, Onlay
  Or Partial Coverage Restoration
  D2915 - Recement cast or
  prefabricated post and core
  D2921 — Reattachment of tooth
  fragment — incisal edge or cusp
  D2930 - Prefabricated stainless
  steel crown - primary tooth.
  D2931 - Prefabricated stainless
  steel crown - permanent tooth.
  D2932 - Prefabricated Resin
  Crown
  D2933 - Prefabricated Stainless
  Steel Crown With Resin Window
  The following services are not
  subject to a frequency limit.
  D2510 - Inlay - metallic - one




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Coinsurance or Co-Payment. Allowed Dental Amounts.

  surface.
  D2520 - Inlay - metallic - two
  surfaces.
  D2530 - Inlay - metallic - three
  surfaces.
  D2910 - Re-cement or re-bond
  inlay.
  D2920 - Re-cement or re-bond
  crown.

  The following service is not          50%                         50%
  subject to a frequency limit.
  D2940 - Protective restoration.
  D2941 - Interim therapeutic
  restoration - primary dentition.
  D2949 - Restorative foundation
  for an indirect restoration.

  The following service is limited to 50%                           50%
  one time per tooth every 60
  months.
  D2928 - Prefabricated
  porcelain/ceramic crown -
  permanent tooth
  D2929 - Prefabricated porcelain/
  ceramic crown - primary tooth.
  D2950 - Core buildup, including
  any pins when required.

  The following service is limited to 50%                           50%
  one time per tooth every 60
  months.
  D2951 - Pin retention - per tooth,
  in addition to restoration.
  D2952 - Post and Core in addition
  to Crown, indirectly fabricated
  D2953 - Each additional indirectly
  fabricated post - same
  D2955 - Post removal




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   Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
   Allowed Dental Amounts.

                                                               Out-of-Network Benefits - The
   What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
   Benefit'Description and        You Pay Which May Include a Shown as a Percentage of
  .Frequency-LimitationS?       - Coinsurance or Co-Payment. Allowed Dental Amounts.

   D2957 - Each additional
   prefabricated post - same tooth

  The following service is not         50%                        50%
  subject to a frequency limit.
  D2954 - Prefabricated post and
  core in addition to crown.
  02971 - Additional procedures to
  construct new crown under
  existing partial denture framework

  The following service is not         50%                        50%
  subject to a frequency limit.
  D2980 - Crown repair
  necessitated by restorative
  material failure.
  02981 - Inlay repair necessitated
  by restorative material failure.
  D2982 - Onlay repair
  necessitated by restorative
  material failure.

  Endodontics - Out-of-Network(Subject to payment of the Annual Deductible.)

  The following service is not         20%                        50%
  subject to a frequency limit.
   D3110 - Pulp cap - direct
  (excluding final restoration)
   D3120 - Pulp cap - indirect
  (excluding final restoration)
   D3220 - Therapeutic pulpotomy
  (excluding final restoration).

  The following service is not         20%                        50%
  subject to a frequency limit.
  D3221 - Pulpal Debridement,
  Primary and Permanent Teeth
  D3222 - Partial pulpotomy for
  apexogenesis - permanent tooth
  with incomplete root
  development.




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   Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
   Allowed Dental Amounts.                                                      .

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  The following service is not           20%                        50%
  subject to a frequency limit.
  03230 - Pulpal therapy
  (resorbable filling) - anterior
   primary tooth (excluding final
   restoration).
  03240 - Pulpal therapy
  (resorbable filling) - posterior,
   primary tooth (excluding final
   restoration).

  The following service is not           20%                        50%
  subject to a frequency limit.
  D3310 - Endodontic therapy
  anterior tooth (excluding final
  restoration).
  03320 - Endodontic therapy,
  premolar tooth (excluding final
  restoration).                                                                             .
  D3330 - Endodontic therapy,                                              .
  Premolar tooth (excluding final
  restoration).
  D3331 - Treatment of root canal
  obstruction; non-surgical access.
  D3333 - Internal root repair of
  perforation defects.
  D3346 - Retreatment of previous
  root canal therapy - anterior.
  03347 - Retreatment of previous
  root canal therapy - premolar
  D3348 - Retreatment of previous
  root canal therapy - molar.

  The following service is not           20%                        50%
  subject to a frequency limit.
  D3351 -
  Apexification/recalcification -
  initial visit.
  03352 -
  Apexification/recalcification/pulpal




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  regeneration - interim medication
  replacement.
  D3353 -          '
  Apexification/recalcification - final
  visit.

  The following service is not            20%                        50%
  subject to a frequency limit.
  D3410 - Apicoectomy - anterior.
   D3421 - Apicoectomy - premolar
  (first root).
  03425 - Apicoectomy - molar
  (first root).
  03426 - Apicoectomy (each
  additional root).
  D3428 - Bone graft in conjunction
  with periradicular surgery - per
  tooth, single site
  D3429 - Bone graft in conjunction
  with periradicular surgery - each
  additional contiguous tooth in the
  same surgical site
  D3430 - Retrograde filing - per
  root.
  03431 - Biologic materials to aid
  in soft and osseous tissue
  regeneration, in conjunction with
  periradicular surgery
  D3450 - Root amputation - per
  root.
  D3471 - Surgical repair of root
  resorption - anterior.
  D3472 - Surgical repair of root
  resorption - premolar.
  D3473 - Surgical repair of root
  resorption - molar.
  D3501 - Surgical exposure of root
  surface without apicoectomy or
  repair of root resorption - anterior.




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  03502 - Surgical exposure of root
  surface without apicoectomy or
  repair of root resorption -
  premolar.
  D3503 - Surgical exposure of root
  surface without apicoectomy or
  repair of root resorption - molar.

  The following service is not          20%                        50%
  subject to a frequency limit.
  D3910 - Surgical procedure for
  isolation of tooth with rubber dam.
  D3911 - Intraorifice barrier.
  D3920 - Hemisection (including
  any root removal), not including
  root canal therapy.
  03999 - Unspecified endodontic
  procedure, by report
                                       '
  Periodontics - Out-of-Network (Subject to payment of the Annual Deductible.)

  The following services are limited 20%                           50%
  to a frequency of one every 36
  months.
  D4210 - Gingivectomy or
  gingivoplasty - four or more
  contiguous teeth or tooth
  bounded spaces per quadrant.
  04211 - Gingivectomy or
  gingivoplasty - one to three
  contiguous teeth or tooth
  bounded spaces per quadrant.

  The following service is limited to 20%                          50%
  one every 36 months.
  04240 - Gingival flap procedure,
  including root planing - four or
  more contiguous teeth or tooth
  bounded spaces per quadrant.
  04241 - Gingival flap procedure,
  including root planing - one to
  three contiguous teeth or tooth




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  bounded spaces per quadrant.
  04249 - Clinical crown
  lengthening - hard tissue.

  The following service is limited to 20%                                 50%
  one every 36 months.
  04260 - Osseous surgery
  (including flap entry and closure)-
  four or more contiguous teeth or
  tooth bounded spaces per
  quadrant.
  04261 - Osseous surgery
  (including flap entry and closure),
  one to three contiguous teeth or
   bounded teeth spaces per
  q uadrant.
  D4263 - Bone replacement graft -
  retained natural tooth - first site in
  quadrant. .
  04265 - Biologic materials to aid                                                 .
  in soft and osseous tissue
  regeneration.

  The following service is not             20%                            50%
  subject to a frequency limit.
  D4270 - Pedicle soft tissue graft                                                 ,
  procedure.                                                          .

  The following service is not             20%                            50%
  subject to a frequency limit.
  D4273 - Autogenous connective
  tissue graft procedure, per first
  tooth implant or edentulous tooth
  position in graft.
  04275 - Non-autogenous
  connective tissue graft first tooth
  implant.
  D4277 - Free soft tissue graft
  procedure - first tooth.
  04278 - Free soft tissue graft
  procedure - each additional




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                             Out-of-Network Benefits - The
  WhatAre the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and      You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?       Co-insurance or Co-Payment. Allowed Dental Amounts.

  contiguous tooth.
  D4322 - Splint - intra-coronal;
  natural teeth or prosthetic crowns.
  D4323 - Splint - extra-coronal;
  natural teeth or prosthetic crowns.

  The following services are limited 20%                           50%
  to one time per quadrant every 24
  months.
  D4341 - Periodontal scaling and
  root planing - four or more teeth
                                                                    •
  per quadrant.
  04342 - Periodontal scaling and
  root planing - one to three teeth
  per quadrant.
  D4346 - Scaling in presence of
  generalized moderate or severe
  gingival inflammation - full mouth,
  after oral evaluation.

  The following service is limited to 20%                          50%
  a frequency to one per lifetime.
  D4355 - Full mouth debridement
  to enable a comprehensive
  periodontal oral evaluation and
  diagnosis on a subsequent visit.
  04381 - Localized delivery of
  antimicrobial agents via a
  controlled release vehicle into                             •
  diseased crevicular tissue, per
  tooth.
  D4920 - Unscheduled Dressing
  Change (by someone other than
  treating Dentist).

  The following service is limited to 20%                          50%
  four times every 12 months in
  combination with prophylaxis.
  D4910 - Periodontal
  maintenance.




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  Removable Dentures - Out-of-Network(Subject to payment of the Annual Deductible.)

  The following services are limited 50%                         50%
  to a frequency of one every 60
  months.
  D5110 - Complete denture -
  maxillary.
  D5120 - Complete denture -
  mandibular.
  D5130 - Immediate denture -
  maxillary.
  D5140 - Immediate denture -
  mandibular.
  D5211 - Maxillary partial denture -
  resin base (including
  retentive/clasping materials,
  rests, and teeth).
  D5212 - Mandibular partial
  denture - resin base (including
  retentive/clasping materials,
  rests, and teeth).
  D5213 - Maxillary partial denture -
  cast metal framework with resin
  denture bases (including
  retentive/clasping materials, rests
  and teeth).
  D5214 - Mandibular partial
 denture - cast metal framework
  with resin denture bases
 (including retentive/clasping
  materials, rests and teeth).
  D5221 - Immediate maxillary
  partial denture - resin base
 (including retentive/clasping
  materials, rests and teeth).
  D5222 - Immediate mandibular
  partial denture - resin base
 (including retentive/clasping
  materials, rests and teeth).
  D5223 - Immediate maxillary
  partial denture - cast metal




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   Amounts which you are required to pay as shown-below in_the Schedule of Benefits are based on
   Allowed Dental Amounts.

                                                               Out-of-Network Benefits - The
   What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
   Benefit Description and       You Pay Which May Include a Shown as a Percentage of
   Frequency Limitations?        CO-insurance or Co-Payment. Allowed Dental Amounts.

  framework with resin denture
  bases (including
  retentive/clasping materials, rests
  and teeth).
  05224 - Immediate mandibular
  partial denture - cast metal
  framework with resin denture
  bases (including
  retentive/clasping materials, rests
  and teeth).
   D5227 - Immediate maxillary
   partial denture - flexible base
  (including any clasps, rests, and
  teeth).
   D5228 - Immediate mandibular
   partial denture - flexible base
  (including any clasps, rests, and
   teeth).
  D5282 - Removable unilateral
  partial denture - one piece cast
  metal (including retentive/clasping
  materials, rests, and teeth),
  maxillary.
  D5283 - Removable unilateral
  partial denture - one piece cast
  metal (including retentive/clasping
  materials, rests, and teeth),
  mandibular.
  D5284 - Removable unilateral
  partial denture - one piece flexible
  base (including retentive/clasping
  materials, rests, and teeth)- per
  quadrant.
  05286 - Removable unilateral
   partial denture - one piece resin
  (including retentive/clasping
   materials, rests, and teeth) - per
   quadrant.
  05862 - Precision attachment, by
  report
  D5863 - Overdenture - Complete
  Maxillary




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   Amounts which you are required to pay as shown below in Ole -Schedule of Benefits are based on
   Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  05864 - Overdenture - Partial
  Maxillary
  D5865 - Overdenture - Complete
  Mandibular
  05866 - Overdenture - Partial
  Mandibular
  D5899 - Unspecified removable
  prosthodontic procedure, by
  report

  The following services are not       50%                        50%
  subject to a frequency limit.
  05410 - Adjust complete denture
  - maxillary.
  D5411 - Adjust complete denture
  - mandibular.
  D5421 - Adjust partial denture -
  maxillary.
  05422 - Adjust partial denture -
  mandibular.
  D5511 - Repair broken complete
  denture base - mandibular.
  05512 - Repair broken complete
  denture base - maxillary.
  05520 - Replace missing or
   broken teeth - complete denture
  (each tooth).
  D5611 - Repair resin partial
  denture base - mandibular.
  D5612 - Repair resin partial
  denture base - maxillary.
  05621 - Repair cast partial
  framework - mandibular.
  05622 - Repair cast partial
  framework - maxillary.
  D5630 - Repair or replace broken
  retentive/clasping materials - per
  tooth.
  05640 - Replace broken teeth -




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  per tooth.
  D5650 - Add tooth to existing
  partial denture.           .
  05660 - Add clasp to existing
  partial denture.

  The following services are limited 50%                              50%
  to rebasing performed more than
  6 months after the initial insertion
  with a frequency limitation of one
  time per 12 months.                                             •
  05710 - Rebase complete
  maxillary denture.
  D5711 - Rebase complete
  mandibular denture.
  05720 - Rebase maxillary partial
  denture.
  D5721 - Rebase mandibular
  partial denture.
  05725 - Rebase hybrid
  prosthesis.
  05730 - Reline complete
  maxillary denture (direct).
  D5731 - Reline complete
  mandibular denture (direct).
  D5740 - Reline maxillary partial
  denture (direct).
  05741 - Reline mandibular partial
  denture (direct).
  D5750 - Reline complete
  maxillary denture (indirect).
  D5751 - Reline complete
  mandibular denture (indirect).
  D5760 - Reline maxillary partial
  denture (indirect).
  D5761 - Reline mandibular partial
  denture (indirect).
  05876 - Add metal substructure




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit,Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  to acrylic full denture (per arch).

  The following services are not         50%                         50%
  subject to a frequency limit.
  D5765 - Soft liner for complete or
  partial removable denture -
  indirect.
 D5850 - Tissue conditioning
 (maxillary).
 D5851 - Tissue conditioning
 (mandibular).

  Maxillofacial Prosthetics - Covered when medically necessary. Out-of-Network (Subject to
  payment of the Annual Deductible.)

  D5911 - Facial moulage                50%                          50%
 (sectional)
 05912 - Facial moulage
 (complete)
  D5913 - Nasal prosthesis
  D5914 - Auricular prosthesis
  05915 - Orbital prosthesis
  05916 - Ocular prosthesis
  D5919 - Facial prosthesis
  D5922 - Nasal septal prosthesis
  D5923 - Ocular prosthesis,
  interim
  D5924 - Cranial prosthesis
  D5925 - Facial augmentation
  implant prosthesis
  D5926 - Nasal prosthesis,
  replacement
  D5927 - Auricular prosthesis,
  replacement
  D5928 - Orbital prosthesis,
  replacement
  D5929 - Facial prosthesis,




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are;based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the-Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  replacement
  D5931 - Obturator prosthesis,
  surgical
  05932 - Obturator prosthesis,
  definitive
  D5933 - Obturator prosthesis,
  modification
  D5934 - Mandibular resection
  prosthesis with guide flange
  D5935 - Mandibular resection
  prosthesis without guide flange
  D5936 - Obturator prosthesis,
  interim
  D5937 - Trismus appliance (not
  for TMD treatment)
  D5951 - Feeding aid
  05952 - Speech aid prosthesis,
  pediatric
  D5953 - Speech aid prosthesis,
  adult
  D5954 - Palatial augmentation
  prosthesis
  D5955 - Palatial lift prosthesis,
  definitive
  D5958 - Palatial lift prosthesis,
  interim
  05959 - Palatial lift prosthesis,
  modification
  D5960 - Speech aid prosthesis,
  modification
  05982 - Surgical stent
  D5983 - Radiation carrier
  D5984 - Radiation shield
  D5985 - Radiation cone locator
  05986 - Fluoride gel carrier
  D5987 - Commissure splint




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  Amounts Which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. -Allowed Dental Amounts.

  D5988 - Surgical splint
  D5991 - Vesiculobullous disease
  medicament carrier
  D5999 - Unspecified maxillofacial
  prosthesis, by report

  Bridges(Fixed partial dentures(FPD))- Out-of-Network(Subject to payment of the Annual
  Deductible.)

  The following services are not       50%                         50%
  subject to a frequency limit.
  D6210 - Pontic - cast high noble
  metal.
  D6211 - Pontic - cast
  predominately base metal.
  D6212 - Pontic - cast noble metal.
  D6214 - Pontic - titanium and
  titanium alloys.
  D6240 - Pontic - porcelain fused
  to high noble metal.
  D6241 - Pontic 7 porcelain fused
  to predominately base metal.
  D6242 - Pontic - porcelain fused
  to noble metal.
  D6243 - Pontic - porcelain fused
  to titanium and titanium alloys.
  D6245 - Pontic -
  porcelain/ceramic.
  D6251 - Pontic - Resin with
  Predominantly Base Metal.

  The following services are not       50%                         50%
  subject to a frequency limit.
  D6545 - Retainer - cast metal for
  resin bonded fixed prosthesis.
  D6548 - Retainer -
  porcelain/ceramic for resin
  bonded fixed prosthesis.




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  The following services are limited 50%                          50%
  to one time every 60 months.
  D6721 - Crown - Resin with
  Predominantly Base Metal.
  06740 - Retainer crown -
  porcelain/ceramic.
  06750 - Retainer crown -
  porcelain fused to high noble
  metal.
  06751 - Retainer crown -
  porcelain fused to predominately
  base metal.
  06752 - Retainer crown -
  porcelain fused to noble metal.
  D6753 - Retainer crown -
  porcelain fused to titanium and
  titanium alloys.
  D6780 - Retainer crown - 3/4 cast
  high noble metal.
  06781 - Retainer crown - 3/4 cast
  predominately base metal.
  06782 - Retainer crown - 3/4 cast
  noble metal.
  D6783 - Retainer crown - 3/4
  porcelain/ceramic.
  06784 - Retainer crown - 3/4
  titanium and titanium alloys.
  06790 - Retainer crown - full cast
  high noble metal.
  D6791 - Retainer crown - full cast
  predominately base metal.
  D6792 - Retainer crown - full cast
  noble metal.

  The following service is not         50%                        50%
  subject to a frequency limit.
  06930 - Re-cement or re-bond
  FPD.




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                               Out-of-Network Benefits - The
   What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  =Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?         Co-insurance or Co42ayment. Allowed Dental Amounts.

  The following services are not        50%                         50%
  subject to a frequency limit.
  06980 - FPD repair necessitated
  by restorative material failure.

  Oral Surgery - Out-of-Network(Subject to payment of the Annual Deductible.)

  The following service is not          20%                         50%
  subject to a frequency limit.
  07111 - Extraction, Coronal
  Remnants - Primary Tooth.
  07140 - Extraction, erupted tooth
  or exposed root.

  The following services are not        20%                         50%
  subject to a frequency limit.
  D7210 - Surgical removal of
  erupted tooth requiring removal of
  bone, sectioning of tooth, and
  including elevation of
  mucoperiosteal flap, if indicated.
  07220 - Removal of impacted
  tooth - soft tissue.
  07230 - Removal of impacted
  tooth - partially bony.
  07240 - Removal of impacted
  tooth - completely bony.                                                      •
  D7241 - Removal of impacted
  tooth - completely bony with
  unusual surgical complications.
  D7250 - Surgical removal or
  residual tooth roots.
  07251 - Coronectomy -
  intentional partial tooth removal.
  D7260 - Oral Antral Fistula
  Closure.
  D7261 - Primary closure of a
  sinus perforation.

  The following service is not          20%                         50%




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The AmOunt Amount You Pay Which-is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  subject to a frequency limit.
  D7270 - Tooth reimplantation
  and/or stabilization of accidentally
  evulsed or displaced tooth.

  The following service is not           20%                        50%
  subject to a frequency limit.
  D7280 - Surgical access
  exposure of an unerupted tooth.
  D7283 - Placement of device to
  facilitate eruption of impacted
  tooth:
  D7285 - Incisional Biopsy of Oral
  Tissue - Hard (bone, tooth).
  D7286 - Incisional Biopsy of Oral
  Tissue - Soft.
  07290 - Surgical repositioning of
  teeth.                                  .
  D7291 - Transseptal
  fiberotomy/supra crestal
  fiberotomy by report.

  The following services are not         20%                        50%
  subject to a frequency limit.
  D7310 - Alveoloplasty in
  conjunction with extractions - four
  or more teeth or tooth spaces, per
  quadrant.
  D7311 - Alveoloplasty in
  conjunction with extraction - one
  to three teeth or tooth spaces, per
  quadrant.
  07320 - Alveoloplasty not in
  conjunction with extractions - four
  or more teeth or tooth spaces, per
  q uadrant.
  D7321 - Alveoloplasty not in
  conjunction with extractions - one
  to three teeth or tooth space, per
  quadrant.
  07340 - Vestibuloplasty - ridge




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency,Limitations?        Co-insurance or CozPayrnent. Allowed Dental Amounts.

  extension (secondary
  epithelialization).
  D7350 - Vestibuloplasty - ridge
  extension (including soft tissue
  grafts, muscle reattachment,
  revision of the soft tissue
  attachment and management of
  hypertrophied and hyperplastic
  tissue).
  D7410 - Excision of Benign
  Lesion up to 1.25 cm.
  D7411 - Excision of Benign
  Lesion greater than 1.25 cm.
  D7412 - Excision of Benign
  Lesion - Complicated.
  07413 - Excision of malignant
  lesion up to 1.25 cm.
  D7414 -.Excision of malignant
  lesion greater than 1.25 cm.
  D7415 - Excision of malignant
  lesion, complicated.
  D7440 - Excision of malignant
  tumor - lesion diameter up to 1.25
  cm.
  D7441 -Excision of malignant
  tumor - lesion diameter greater
  than 1.25 cm.
  D7450 - Removal of Benign
  Odontogenic Cyst or Tumor -
  Lesion Diameter up to 1.25 cm.
  D7451 - Removal of Benign
  Odontogenic Cyst or Tumor -
  Lesion Diameter greater than
  1.25 cm.
  07460 - Removal of Benign
  Nonodontogenic Cyst or Tumor -
  Lesion Diameter Up to 1.25 cm.
  D7461 - Removal of Benign
  Nonodontogenic Cyst or Tumor -
  Lesion Diameter greater than




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits -.The
  What Are the'Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown at a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  1.25 cm.
  D7465 - Destruction of Lesion(s)
  by Physical or Chemical Method,
  by report.

  The following service is not         20%                         50%
  subject to a frequency limit.
  D7471 - removal of lateral
  exostosis (maxilla or mandible).
  D7472 - Removal of Torus
  Palatinus.
  D7473 - Removal of Torus
  Mandibularis.
  D7485 - Surgical Reduction of
  Osseous Tuberosity.
  D7490 - Radical Resection of
  Maxilla or Mandible.

  The following services are not       20%                         50%
  subject to a frequency limit.
  D7509 - Marsupialization of
  odontogenic cyst
  D7510 - Incision and drainage of
  abscess, intraoral soft tissue.
  D7511 - Incision and Drainage of
  Abscess - Intraoral Soft Tissue -
  Complicated (includes drainage
  of multiple fascial spaces).
  D7520- Incision and Drainage of
  Abscess - Extraoral Soft Tissue.
  D7521 - Incision and Drainage of
  Abscess - Extraoral Soft Tissue -
  Complicated (includes drainage
  of multiple fascial spaces).
  D7530 - Removal of foreign body
  from mucosa, skin, or
  subcutaneous alveolar tissue.
  D7540 - Removal of reaction
  producing foreign bodies,
  m usculoskeletal system.




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  07550 - Partial
  ostectomy/sequestrectomy-for
  removal of non-vital bone.
  07560 - Maxillary sinusotomy for
  removal of tooth fragment or
  foreign body.
  D7610 - Maxilla - open reduction
 (teeth immobilized, if present).
  07620 - Maxilla - closed
  reduction (teeth immobilized, if
  present).
  D7630 - Mandible - open
  reduction (teeth immobilized, if
  present).
  07640 - Mandible - closed
  reduction (teeth immobilized, if
  present).
  D7650 - Malar and/ or zygomatic
  arch - open reduction.
  D7660 - Maier and/ or zygomatic
  arch - closed reduction.
  07670 - Alveolus - closed
  reduction, may include
  stabilization of teeth.
  D7671 - Alveolus - open
  reduction, may include
  stabilization of teeth.
  07680 - Facial bones -
  complicated reduction with
  fixation and multiple surgical                                                .
  approaches.
  D7710 - Maxilla - open reduction.
  07720 - Maxilla - closed
  reduction.
  D7730 - Mandible - open
  reduction.
  07740 - Mandible - closed
  reduction.
  07750 - Malar and/ or zygomatic




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed!Dental.Amounts.

  arch - open reduction.
  D7760 - Malar and/ or zygomatic
  arch - closed reduction.
  D7770 - Alveolus - open
  reduction stabilization of teeth.
  D7771 - Alveolus - closed
  reduction stabilization of teeth.
  D7780 - Facial bones -
  complicated reduction with
  fixation and multiple surgical
  approaches.
  D7810 - Open reduction of
  dislocation.
  D7820 - Closed reduction of
  dislocation.
  D7830 - Manipulation under
  anesthesia.
  D7840 - Condylectomy.
  D7850 - Surgical discectomy,
  with/ without implant.
  D7852 - Disc repair.
  D7854 - Synovectomy.
  D7856 - Myotomy.
  D7858 - Joint reconstruction.
  D7860 Arthrostomy.
  D7865 - Arthroplasty.
  D7870 - Arthrocentesis.
  D7871 - Non-arthroscopic lysis
  and lavage.
  D7872 - Arthroscopy - diagnosis,
  with or without biopsy.
  07873 - Arthroscopy - surgical:
  lavage and lysis of adhesions.
  D7874 - Arthroscopy - surgical:
  disc repositioning and
  stabilization.




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  Amounts-which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  D7875 - Arthroscopy - surgical:
  synovestomy.
  D7876 - Arthroscopy - surgical:'
  discectomy.
  D7877 - Arthroscopy - surgical:
  debridement.
  07880 - Occlusal orthotic device,
  by report.
  07881 - Occlusal orthotic device,
  by adjustment.
  07899 - Unspecified TMD
  therapy, by report.
  D7910 - Suture of recent small
  wounds up to 5 cm.
  07911 - Complicated suture - up
  to 5 cm.
  07912 - Complicated suture -
  greater than 5 cm.
  07920 - Skin graft (identify defect
  covered, location and type of
  graft)
  D7922 — Placement of intra-
  socket biographical dressing to
  aid in hemostasis or clot
  stabilization, per site.
  07940 - Osteoplasty - for
  Orthognathic deformities.
  D7941 - Osteotomy - mandibular
  rami.
  D7943 - Osteotomy - mandibular
  rami with bone graft; includes
  obtaining the graft
  07944 - Osteotomy - segmented                      •
  or subapical
  07945 - Osteotomy - body of
  mandible
  07946 - LeFort I (maxilla - total)
  07947 - LeFort I (maxilla -




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   Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
   Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
   What Are the Procedure Codes, Network Benefits -The Amount Amount You Pay Which is
   Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  'Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  segmented)
  07948 - LeFort II or LeFortill
  (osteoplasty of facial bones for
   midface hypoplasia or retrusion) -
   without bone graft
  D7949 - LeFort II or LeFort Ill -
  with bone graft
  D7950 - Osseous,
  osteoperiosteal, or cartilage graft
  of mandible or facial bones -
  autogenous or nonautogenous,
  by report
  D7951 - Sinus augmentation with
  bone or bone substitutes via a
  lateral open approach
  07952 - Sinus augmentation with
  bone or bone substitute via a
  vertical approach
  D7953 - Bone replacement graft
  for ridge preservation - per site.
  D7955 - Repair of maxillofacial
  soft and/ or hard tissue defect.
   D7961 - Buccal/labial frenectomy
  (frenulectomy).
   D7962 - Lingual frenectomy
  (frenulectomy).
  07963 - Frenuloplasty.
  D7970 - Excision of Hyperplastic
  Tissue - Per Arch.
  D7971 - Excision of pericoronal
  gingiva.
  07972 - Surgical Reduction of
  Fibrous Tuberosity.
  07979 - Non-surgical
  Sialolithotomy.
  07980 - Surgical Sialolithotomy.
  D7981 - Excision of salivary
  gland, by report.




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  Amounts which you are required to pay as shown below in.the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are-the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  D7982 - Sialodochoplasty.
  D7983 - Closure of salivary
  fistula.
  D7990 - Emergency tracheotomy.
  D7991 - Coronoidectomy.
  D7995 - Synthetic graft -
  mandible or facial bones, by
  report.
  D7997 - Appliance removal (not
  by dentist who placed appliance),
  includes removal of arch bar.
  D7999 - Unspecified oral surgery
  procedure, by report.

  Adjunctive Services -(Not subject to payment of the Annual Deductible.)

  The following service is not        20%                          50%
  subject to a frequency limit;
  however, it is covered as a
  separate Benefit only if no other
  services (other than the exam
  and radiographs) were done on
  the same tooth during the visit.
  D9110 - Palliative treatment of
  dental pain - per visit

  Covered only when clinically        20%                          50%
  Necessary.
  D9120 - Fixed partial denture
  sectioning
  D9210 - Local Anesthesia not in
  conjunction with Operative or
  Surgical Procedures
  D9211 - Regional block
  anesthesia
  D9212 - Trigeminal division block
  anesthesia
  09215 - Local anesthesia in
  conjunction with operative or
  surgical procedures




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   Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
   Allowed Dental Amounts.

                                                               Out-of-Network Benefits - The
   What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
   Benefit Description and       You Pay Which May Include a Shown as a Percentage of
   Frequency Limitations?        Coinsurance or Co-Payment. Allowed Dental-Amounts.

   D9219 - Evaluation for moderate
   sedation, deep sedation or
   general anesthesia
   D9222 - Deep sedation/general
   anesthesia - first 15 minutes.
   D9223 - Deep sedation/general
   anesthesia - each Subsequent 15
   minute increment.
  09230 - Inhalation of Nitrous
  Oxide/Anxioloysis, Analgesia.
   D9239 - Intravenous moderate
  (conscious) sedation/anesthesia -
  first 15 minutes.
   D9243 - Intravenous Moderate
  (Conscious) Sedation/Analgesia -
   Each 15 Minute Increment.
   D9248 - Non-Intravenous
   Conscious Sedation.
   D9610 - Therapeutic parenteral
   drug single administration.
  09612 - Therapeutic parenteral
  drug, two or more
  administrations, different
  medications.

   Covered only when clinically         20%                         50%
   Necessaty.
  D9310 - Consultation (diagnostic
  service provided by a dentist or
  Physician other than the
  practitioner providing treatment).
  D9410 - House/ Extended care
  facility call.
  D9420 - Hospital or ambulatory
  surgical center call.
   D9430 - Office Visit - Observation
  (during regularly scheduled
   hours)- no other services
   performed.
  D9440 - Office Visit - after




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed .Dental Amounts.

  regularly scheduled hours.
  D9910 —Application of
  desensitizing medicament.
  D9930 - Treatment of
  Complications (post-surgical) -
  Unusual Circumstances, by
  report.
  D9950 - Occlusion analysis -
  mounted case.
  09951 - Procedure Occlusal
  Adjustment - Limited.
  D9952 - Occlusal Adjustment -
  Complete.
  09997 - Dental Case
  Management — patients with
  special health care need.
  D9999 - Unspecified adjunctive
  procedure, by report.

  The following is limited to one       20%                         50%
  guard every 12 months.
  D9944 - Occlusal guard - hard
  appliance, full arch.
  D9945 - Occlusal guard - soft
  appliance, full arch.
  D9946 - Occlusal guard - hard
  appliance, partial arch.

  Implant Procedures - Out-of-Network (Subject to payment of the Annual Deductible.)

  The following services are limited 50%                            50%
  to one time every 60 months.
  06010 - Surgical placement of
  implant body: endosteal implant.
  06011 - Second stage implant
  surgery
  D6012 - Surgical placement of
  interim implant body for
  transitional prosthesis; endosteal




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   Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
   Allowed Dental Amounts.

                                                               Out-of-Network Benefits - The
   What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
   Benefit Description and       You Pay Which May Include a   Shown as a Percentage of
   Frequency Limitations?        Coinsurance or Co-Payment. Allowed Dental Amounts.

   implant
   D6013 - Surgical placement of
   mini implant
  D6040 - Surgical placement of
  eposteal implant.
  D6050 - Surgical placement:
  transosteal implant.
  06055 - Connecting bar - implant
  supported or abutment supported.
  06056 - Prefabricated abutment -
  includes modification and
  placement.
  D6057 - Custom fabricated
  abutment - includes placement.
   D6058 - Abutment supported
   porcelain/ceramic crown.
  06059 - Abutment supported
   porcelain fused to metal crown
  (high noble metal).
  06060 - Abutment supported
   porcelain fused to metal crown
  (predominately base metal).
   D6061 - Abutment supported
   porcelain fused to metal crown
  (noble metal).
  D6062 - Abutment supported cast
  metal crown (high noble metal).
  06063 - Abutment supported cast
  metal crown (predominately base
  metal).
  06064 - Abutment supported cast
  metal crown (noble metal).
  D6065 - Implant supported
  porcelain/ceramic crown.
  06066 - Implant supported crown
  - porcelain fused to high noble
  alloys.
  D6067 - Implant supported crown




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  Amounts which you are requiredlo pay as shown below in the Schedule of Benefits are based on
  AlloWed‘Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  - high noble alloys.
  D6068 - Abutment supported
  retainer for porcelain/ceramic
  FPD.
  06069 - Abutment supported
  retainer for porcelain fused to
  metal FPD (high noble metal).
  D6070 - Abutment supported
  retainer for porcelain fused to
  metal FPD (predominately base
  metal).
  06071 - Abutment supported
  retainer for porcelain fused to
  metal FPD (noble metal).
  06072 - Abutment supported
  retainer for cast metal FPD (high
  noble metal).             .
  D6073 - Abutment supported
  retainer for cast metal FPD
 (predominately base metal).
  D6074 - Abutment supported
  retainer for cast metal FPD (noble
  metal).
  06075 - Implant supported
  retainer for ceramic FPD.
  06076 - Implant supported
  retainer for FPD - porcelain fused
  to high noble alloys.
  06077 - Implant supported
  retainer for metal FPD - high
  noble alloys.
  D6080 - Implant maintenance
  procedure.
  D6081 - Scaling and debridement
  in the presence of inflammation or
  mucositis of a single implant,
  including cleaning of the implant
  surfaces, without flap entry and
  closure.
  06082 - Implant supported crown




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.                     .

                                                               Out-of-Network Benefits - The
   What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  •Benefit Description and       You Pay Which May Include a Shown as a Percentage of
   Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  - porcelain fused to predominantly
  base alloys.
  ,06083 - Implant supported crown
   - porcelain fused to noble alloys.
  D6084 - Implant supported crown
  - porcelain fused to titanium and
  titanium alloys.
  D6085 — Interim implant crown
  06086 - Implant supported crown
  - predominantly base alloys.
  06087 - Implant supported crown
  - noble alloys.
  D6088 - Implant supported crown
  - titanium and titanium alloys.
  06090 - Repair implant supported
  prosthesis, by report.
  D6091 - Replacement of semi-
  precision or precision attachment
  of implant/abutment supported
  prosthesis, per attachment.
  D6092 - Recement
  implant/abutment supported
  crown.
  06093 - Recement
  implant/abutment supported fixed
  partial denture.
  06094 - Abutment supported
  crown - titanium and titanium
  alloys
  06095 - Repair implant abutment,
  by report.
  06096 - Remove broken implant
  retaining screw.
  06097 - Abutment supported
  crown - porcelain fused to
  titanium and titanium alloys.
  06098 - Implant supported
  retainer - porcelain fused to
  predominantly base alloys.




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  Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which Mayinclude a Shown as aRercentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

  D6099 - Implant supported
  retainer for FPD - porcelain fused
  to noble alloys.
  D6100 - Surgical removal of
  implant body.
  D6101 - Debridement pen-implant
  defect.
  D6102 - Debridement and
  osseous contouring of a peri-
  implant defect.
  D6103 - Bone graft for repair perk
  implant defect.
  06104 - Bone graft at time of
  implant replacement.
  D6105 - Removal of implant body
  not requiring bone removal or flap
  elevation
  D6110 - Implant/Abutment
  supported removable denture for
  edentulous arch - maxillary.
  06111 - Implant/Abutment
  supported removable denture for
  edentulous arch - mandibular.
  D6112 - Implant/abutment
  supported removable denture for
  partially edentulous arch -
  maxillary.
  06113- Implant/abutment
  supported removable denture for
  partially edentulous arch -
  mandibular.
  06114 - Implant/abutment
  supported fixed denture for
  edentulous arch - maxillary.
  D6115 - Implant/abutment
  supported fixed denture for
  edentulous arch - mandibular.
  D6116 - Implant/abutment
  supported fixed denture for
  partially edentulous arch -




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   Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
   Allowed Dental Amounts.

                                                               Out-of-Network Benefits - The
   What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  ,Benefit Description and       You Pay Which May Include a Shown as a Percentage of
   Frequencytimitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

   maxillary.
  D6117 -implant/abutment
  supported fixed denture for
  partially edentulous arch -
  mandibular.
  D6118 - Implant/abutment
  supported interim fixed denture
  for edentulous arch - mandibular.
  D6119 - Implant/abutment
  supported interim fixed denture
  for edentulous arch - maxillary.
  06120 - Implant supported
  retainer - porcelain fused to
  titanium and titanium alloys.
   D6121 - Implant supported
   retainer for metal FPD -
   predominantly base alloys.
  06122 - Implant supported
  retainer for metal FPD - noble
  alloys.
  06123 - Implant supported
  retainer for metal FPD - titanium
  and titanium alloys.
  D6190 - Radiographic/surgical
  implant index, by report.
  06191 .- Semi-precision abutment
  - placement.
  D6192 - Semi-precision
  attachment - placement.
  06194 — Abutment supported
  retainer crown for FPD — titanium
  and titanium alloys.
  D6195 - Abutment supported
  retainer - porcelain fused to
  titanium and titanium alloys.
  06197- Replacement of
  restorative material used to close
  an access opening of a screw-
  retained implant supported
  prosthesis, per implant




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  Amounts which you are required to pay as shown below in,the Schedule of Benefits are based on
  Allowed Dental Amounts.

                                                              Out-of-Network Benefits - The
  What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
  Benefit Description and       You Pay Which May Include a Shown as a Percentage of
  Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental.Amounts.

  06198 - Remove interim implant
  component
  06199 - Unspecified implant
  procedure, by report.

  Medically Necessary Orthodontics - Out-of-Network(Subject to payment of the Annual
  Deductible.)
  Benefits for comprehensive orthodontic treatment are approved by us, only in those instances that are
  related to an identifiable syndrome such as cleft lip and or palate, Crouzon's Syndrome, Treacher-Collins
  Syndrome, Pierre-Robin Syndrome, hemi-facial atrophy, hemi-facial hypertrophy; or other severe
  craniofacial deformities which result in a physically handicapping malocclusion as determined by our
  dental consultants. Benefits are not available for comprehensive orthodontic treatment for crowded
  dentitions (crooked teeth), excessive spacing between teeth, temporomandibular joint(TMJ) conditions
  and/or having horizontal/vertical (overjet/overbite) discrepancies.
  All orthodontic treatment must be prior authorized.
  Benefits will be paid in equal monthly installments over the course of the entire orthodontic treatment
  plan, starting on the date that the orthodontic bands or appliances are first placed, or on the date a one-
  step orthodontic procedure is performed.
  Services or supplies furnished by a Dental Provider in order to diagnose or correct misalignment of the
  teeth or the bite. Benefits are available only when the service or supply is determined to be medically
  Necessary.

  The following services are not        50%                               50%
  subject to a frequency limitation
  as long as benefits have been
  prior authorized.
  D8010 - Limited orthodontic     .
  treatment of the primary dentition.
  08020 - Limited orthodontic
  treatment of the transitional
  dentition.
  08030 - Limited orthodontic
  treatment of the adolescent
  dentition.
  D8070 - Comprehensive
  orthodontic treatment of the
  transitional dentition.
  D8080 - Comprehensive
  orthodontic treatment of the
  adolescent dentition.
  D8210 - Removable appliance




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   Amounts which you are required to pay as shown below in the Schedule of Benefits are based on
   Allowed Dental Amounts.

                                                               Out-of-Network Benefits - The
   What Are the Procedure Codes, Network Benefits - The Amount Amount You Pay Which is
   BenefitDescription and        You Pay Which May Include a Shown as &Percentage of
   Frequency Limitations?        Co-insurance or Co-Payment. Allowed Dental Amounts.

   therapy.
   D8220 - Fixed appliance therapy.
   D8660 - Pre-orthodontic
   treatment visit.
  08670 - Periodic orthodontic
  treatment visit.
   D8680 - Orthodontic retention.
  D8681 - Removable orthodontic
  appliance.
  D8695 - Removal of fixed
  orthodontic appliances for
  reasons other than completion of
  treatment.
  D8696 - Repair of orthodontic
  appliance - maxillary.
  D8697 - Repair of orthodontic
  appliance - mandibular.
  08698 - Re-cement or re-bond
  fixed retainer - maxillary.
  D8699 - Re-cement or re-bond
  fixed retainer - mandibular.
  D8701 - Repair of fixed retainer,
  includes reattachment - maxillary.
  D8702 - Repair of fixed retainer,
  includes reattachment -
  mandibular.
  08703 - Replacement of lost or
  broken retainer — maxillary.
  D8704 - Replacement of lost or
  broken retainer — mandibular.
  D8999 - Unspecified orthodontic
  procedure, by report.

  Administration of these plan designs must comply with the requirements of the pediatric dental Essential
  Health Benefit(EHB) benchmark plan, including coverage of services in circumstances of medical
  necessity as defined in the Early Periodic Screening, Diagnosis and Treatment(EPSDT) benefit.




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                          Pediatric Vision Care Services
  Benefits for Pediatric Vision Care Services
  Benefits are available for pediatric Vision Care Services from a UnitedHealthcare Vision Network or out-
  of-Network Vision Care Provider. To find a UnitedHealthcare Vision Network Vision Care Provider, you
  may call the provider locator service at 1-800-839-3242. You may also access a listing of
  UnitedHealthcare Vision Network Vision Care Providers on the Internet at www.myuhcvision.com.
  When you obtain Vision Care Services from an out-of-Network Vision Care Provider, you will be required
  to pay all billed charges at the time of service. You may then seek payment from us as described in the
  Combined Evidence of Coverage and Disclosure Form in Section 5: How to File a Claim and in this Rider
  under Section 3: Claims for Pediatric Vision Care Services. Reimbursement will be limited to the amounts
  stated below.
  When obtaining these Vision Care Services from a UnitedHealthcare Vision Network Vision Care
  Provider, you will be required to pay any Co-payments at the time of service.

  Network Benefits:
  Benefits for Vision Care Services are determined based on the negotiated contract fee between us and
  the Vision Care Provider. Our negotiated rate with the Vision Care Provider is ordinarily lower than the
  Vision Care Provider's billed charge.

  Out-of-Network Benefits:
  Benefits for Vision Care Services from out-of-Network providers are determined as a percentage of the
  provider's billed charge.
  Out-of-Pocket Limit - any amount you pay in Co-insurance for Vision Care Services under this Rider
  applies to the Out-of-Pocket Limit stated in the Schedule of Benefits.

  Annual Deductible
  Benefits for pediatric Vision Care Services provided under this Rider are not subject to any Annual
  Deductible stated in the Schedule of Benefits.

  What Are the Benefit Descriptions?
  Benefits
  When Benefit limits apply, the limit stated refers to any combination of Network Benefits and Out-of-
  Network Benefits unless otherwise specifically stated.
  Benefit limits are calculated on a calendar year basis unless otherwise specifically stated.

  Frequency of Service Limits
  Benefits are provided for the Vision Care Services described below, subject to Frequency of Service limits
  and Co-payments and Co-insurance stated under each Vision Care Service in the Schedule of Benefits
  below.

  Vision Care Service           What Is the Frequency Network Benefit - The          Out-of-Network
                                of Service?           Amount You Pay                 Benefit - The Amount
                                                      Based on the                   You Pay Based on
                                                      Contracted Rate                Billed Charges




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  Vision Care Service            What Is the Frequency Network Benefit - The         Out-of-Network
                                 of Service?           Amount You Pay                Benefit - The Amount
                                                       Based on the                  You Pay Based on
                                                       Contracted Rate               Billed Charges

  Routine Vision Exam or             Once per year.                 None                50% of the billed
  Refraction only in lieu ofa                                                              charge.
  complete exam                                             Not subject to payment
                                                                 of the Annual       Not subject to payment
                                                                  Deductible,             of the Annual
                                                                                           Deductible.

  Eyeglass Lenses                    Once per year.

  •       Single Vision                                             20%                 50% of the billed
                                                                                           charge.
                                                            Not subject to payment
                                                                 of the Annual       Not subject to payment
                                                                  Deductible.             of the Annual
                                                                                           Deductible.

  •       Bifocal                                                   20%                 50% of the billed
                                                                                           charge.
                                                            Not subject to payment
                                                                 of the Annual       Not subject to payment
                                                                  Deductible.             of the Annual
                                                                                           Deductible.

  •       Trifocal                                                  20%                .50% of the billed
                                                                                           charge.       ._
      _     _-                        -
                                      _ -- Not subject to payment
                                                of the Annual                        Not subject to payment
                                                 Deductible.                              of the Annual
                                                                                           Deductible.

  •       Lenticular                                                20%                 50% of the billed
                                                                                           charge.
                                                            Not subject to payment
                                                                 of the Annual       Not subject to payment
                                                                  Deductible.             of the Annual
                                                                                           Deductible.

  Lens Extras

  •       Polycarbonate lenses       Once per year.                 None                     None
                                                            Not subject to payment   Not subject to payment
                                                                 of the Annual            of the Annual
                                                                  Deductible.              Deductible.

  •       Standard scratch-          Once per year.                 None                     None
          resistant coating
                                                            Not subject to payment   Not subject to payment
                                                                 of the Annual            of the Annual




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  Vision Care Service           What Is the Frequency Network Benefit - The           Out-of-Network
                                of Service?           Amount You Pay                  Benefit - The Amount
                                                      Based on the                    You Pay Based on
                                                      Contracted Rate                 Billed Charges

                                                                    Deductible.            Deductible.

  •    Blended Segment               Once per year.                   None                    None
       Lenses
                                                             Not subject to payment   Not subject to payment
                                                                  of the Annual            of the Annual
                                                                   Deductible.              Deductible.

  •    Intermediate Vision           Once per year.                   None                    None
       Lenses
                                                            Not subject to payment    Not subject to payment
                                                                 of the Annual             of the Annual
                                                                  Deductible.               Deductible.

  •    Progressive Lenses            Once per year.                   None                    None
       •       Standard                                     Not subject to payment    Not subject to payment
       •       Premium                                           of the Annual             of the Annual
                                                                  Deductible.               Deductible.
      •        Select
      .        Ultra

  •    Photochromic Glass           Once per year.                    None                    None
       Lenses
                                                            Not subject to payment    Not subject to payment
           -              -     -    --- - —      —         — of the-Annual —              of the Annual
                                                                  Deductible.               Deductible.

  •    Plastic Photosensitive       Once per year.                    None                    None
       Lenses
                                                            Not subject to payment    Not subject to payment
                                                                 of the Annual             of the Annual
                                                                  Deductible.               Deductible.

  •    Polarized Lenses             Once per year.                    None                    None
                                                            Not subject to payment    Not subject to payment
                                                                 of the Annual             of the Annual
                                                                  Deductible.               Deductible.

  •    Hi-Index Lenses              Once per year.                    None                    None
                                                            Not subject to payment    Not subject to payment
                                                                 of the Annual             of the Annual
                                                                  Deductible.               Deductible.

  •    Anti-Reflective              Once per year.                    None                    None
       Coating
                                                            Not subject to payment    Not subject to payment
       •       Standard                                          of the Annual             of the Annual




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  Vision Care Service              What Is the Frequency Network Benefit - The Out-of-Network
                                   of Service?           Amount You Pay        'Benefit - The Amount
                                                         Based on the           You Pay Based on
                                                         Contracted Rate        Billed Charges

         •      Premium                                              Deductible.            Deductible.
         •      Ultra

  •      Ultra Violet Coating          Once per year.                  None                  . None
                                                              Not subject to payment   Not subject to payment
                                                                   of the Annual            of-the Annual
                                                                    Deductible.              Deductible.

  Eyeglass Frames                      Once per year.

  •      Eyeglass frames with                                          20%               50% of the billed
         a retail cost up to                                                                charge.
         $130.                                                Not subject to payment
                                                                   of the Annual       Not subject to payment
                                                                    Deductible.             of the Annual
                                                                                             Deductible.

  •      Eyeglass frames with                                          20%               50% of the billed
         a retail cost of $130 -                                                            charge.
         160.                                                 Not subject to payment
                                                                   of the Annual       Not subject to payment
                                                                    Deductible.             of the Annual
                                                                                             Deductible.
                                          __                                                     - • - — --
                           . __
  •---   Eyeglats-frames with                                          20%               50% of the billed
         a retail cost of $160 -                                                               charge.
         200.                                                 Not subject to payment
                                                                   of the Annual       Not subject to payment
                                                                    Deductible.             of the Annual
                                                                                             Deductible.

  •      Eyeglass frames with                                          20%               50% of the billed
         a retail cost of $200 -                                                            charge.
         250.                                                 Not subject to payment
                                                                   of the Annual       Not subject to payment
                                                                    Deductible.             of the Annual
                                                                                             Deductible.

  •      Eyeglass frames with                                          20%               50% of the billed
         a retail cost greater                                                              charge.
         than $250.                                           Not subject to payment
                                                                   of the Annual       Not subject to payment
                                                                    Deductible.             of the Annual
                                                                                             Deductible.

  Contact Lenses and
  Fitting & Evaluation




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  Vision Care Service         What Is the Frequency Network Benefit - The          Out-of-Network
                              of Service?           Amount You Pay                 Benefit - The Amount
                                                    Based on the                   You Pay Based on
                                                    Contracted Rate                Billed Charges

  •    Contact Lens Fitting        Once per year.                 None                      None
       & Evaluation
                                                          Not subject to payment   Not subject to payment
                                                               of the Annual            of the Annual
                                                                Deductible.              Deductible.

  •    Covered Contact         Limited to a 12 month              20%                 50% of the billed
       Lens Selection                 supply.                                            charge.
                                                          Not subject to payment
                                                               of the Annual       Not subject to payment
                                                                Deductible.             of the Annual
                                                                                         Deductible.

  Necessary Contact            Limited to a 12 month              20%                 50% of the billed
  Lenses                              supply.                                            charge.
                                                          Not subject to payment
                                                               of the Annual       Not subject to payment
                                                                Deductible,             of the Annual
                                                                                         Deductible.

  Low Vision Care Services: Once every 24 months.
  Note that Benefits for these
  services will be paid as
  reimbursements. When
  obtaining these Vision Care
  Services, you will be
  required to pay all billed
  charges at the time of
  service. You may then
  obtain reimbursement from
  us. Reimbursement will be
  limited to the amounts
  stated.

  •    Low vision testing                                         None                25% of the billed
                                                                                         charge.
                                                          Not subject to payment
                                                               of the Annual       Not subject to payment
                                                                Deductible.             of the Annual
                                                                                         Deductible.

  •    Low vision therapy                                         25%                 25% of the billed
                                                                                         charge.
                                                          Not subject to payment
                                                               of the Annual       Not subject to payment
                                                                Deductible.             of the Annual
                                                                                         Deductible.    .

  •    Low vision Follow-up- Four visits in any 5 year            25%                 25% of the billed




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  Vision Care Service        What Is the Frequency Network Benefit - The         Out-of-Network
                             of Service?           Amount You Pay                Benefit - The Amount
                                                   Based on the                  You Pay Based on
                                                   Contracted Rate               Billed Charges

       Care                         period.             Not subject to payment           charge.
                                                             of the Annual
                                                              Deductible.        Not subject to payment
                                                                                      of the Annual
                                                                                       Deductible.

  •    Low vision aid such       Once per year.                 25%                 25°/0.of the billed
       as high-power                                                                     charge.
       spectacles,                                      Not subject to payment
       magnifiers and                                        of the Annual       Not subject to payment
       telescopes                                             Deductible.             of the Annual
                                                                                       Deductible.




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                            Outpatient Prescription Drug
  Payment Information

  Payment Term And Description                           Amounts
  latrogenic Infertility and Preimplantation
  Genetic Testing (PGT) Maximum Policy Benefit

  The maximum amount we will pay for any                 $5,000 per Covered Person.
  combination of covered Prescription Drug Products
  for latrogenic Infertility and Preimplantation Genetic
  Testing (PGT)during the entire period of time you
  are enrolled for coverage under the Policy.

  Co-payment and Co-insurance

  Co-payment
                                                         For Prescription Drug Products at a retail Network
  Co-payment for a Prescription Drug Product at a
                                                         Pharmacy, you are responsible for paying the
  Network Pharmacy is a specific dollar amount.
                                                         lowest of the following:
  Co-insurance
                                                         •      The applicable Co-payment and/or Co-
  Co-insurance for a Prescription Drug Product at a             insurance.
  Network Pharmacy is a percentage of the
  Prescription Drug Charge.                              •      The Network Pharmacy's Usual and
                                                                Customary Charge for the Prescription Drug
  Co-payment and Co-insurance                                   Product.
  Your Co-payment and/or Co-insurance is                 •      The Prescription Drug Charge for that
  determined by the Prescription Drug List(PDL)                 Prescription Drug Product.
  Management Committee's tier placement of a
  Prescription Drug Product.                         For Prescription Drug Products from a mail order
                                                     Network Pharmacy, you are responsible for paying
  We may cover multiple Prescription Drug Products the lower of the following:
  for a single Co-payment and/or Co-insurance if the
  combination of these multiple products provides a ' The applicable Co-payment and/or Co-
  therapeutic treatment regimen that is supported by        insurance.
  available clinical evidence. You may determine     •      The Prescription Drug Charge for that
  whether a therapeutic treatment regimen qualifies         Prescription Drug Product.
  for a single Co-payment and/or Co-insurance by
  contacting us at www.myuhc.com or the telephone See the Co-payments and/or Co-insurance stated
  number on your ID card.                            in the Benefit Information table for amounts.
  Your Co-payment and/or Co-insurance may be             You are not responsible for paying a Co-payment
  reduced when you participate in certain programs       and/or Co-insurance for PPACA Zero Cost Share
  which may have specific requirements for               Preventive Care Medications.
  participation and/or activation of an enhanced level   You are not responsible for paying a Co-payment
  of Benefits associated with such programs. You         and/or Co-insurance for Prescription Drug Products
  may access information on these programs and           on the List of Preventive Medications.
  any applicable prior authorization, participation or
  activation requirements associated with such           You are not responsible for paying a Co-payment
  programs by contacting us at www.myuhc.com or          and/or Co-insurance for Prescription Drug Products
  the telephone number on your ID card.                  on the List of Zero Cost Share Medications.




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  Payment Term And Description                            Amounts
  Your Co-payment and/or Co-insurance for insulin
  will not exceed the amount allowed by applicable
  law.
  Special Programs: We may have certain
  programs in which you may receive a reduced or
  increased Co-payment and/or Co-insurance based
  on your actions such as adherence/compliance to
  medication or treatment regimens, and/or
  participation in health management programs. You
  may access information on these programs by
  contacting us at www.myuhc.com or the telephone
  number on your ID card.
  Co-payment/Co-insurance Waiver Program: If
  you are taking certain Prescription Drug Products,
  including, but not limited to, Specialty Prescription
  Drug Products, and you move to certain lower tier
  Prescription Drug Products or Specialty
  Prescription Drug Products, we may waive your Co-
  payment and/or Co-insurance for one or more
  Prescription Orders or Refills.
  Variable Co-payment Program:
  Certain coupons from pharmaceutical
  manufacturers or an affiliate may reduce the costs
  of your Specialty Prescription Drug Products. Your
  Co-payment and/or Co-insurance may vary when
  you use a coupon. Contact www.myuhc.com or the
  telephone number on your ID card for an available
  list of Specialty Prescription Drug Products and the
  applicable Co-payment and/or Co-insurance.
  Prescription Drug Products Prescribed by a
  Specialist: You may receive a reduced or
  increased Co-payment and/or Co-insurance based
  on whether the Prescription Drug Product was
  prescribed by a Specialist. You may access
  information on which Prescription Drug Products
  are subject to a reduced or increased Co-payment
  and/or Co-insurance by contacting us at
  www.myuhc.com or the telephone number on your
  ID card.
  NOTE: The tier status of a Prescription Drug
  Product can change from time to time. These
  changes generally happen quarterly but no more
  than six times per calendar year, based on the PDL
  Management Committee's tiering decisions. When
  that happens, you may pay more or less for a
  Prescription Drug Product, depending on its tier
  placement. Please contact us at www.myuhc.com
  or the telephone number on your ID card for the
  most up-to-date tier status.




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  Payment Term And Description                         Amounts
  Coupons: We may not permit you to use certain
  coupons or offers from pharmaceutical
  manufacturers or an affiliate to reduce your Co-
  payment and/or Co-insurance.




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   Benefit Information
   The amounts you are required to pay as shown below in the Outpatient Prescription Drug
   Schedule of Benefits are based on the Prescription Drug Charge.


                                                        What Is the Co-payment or Co-
                                                        insurance You Pay?
                                                        This May Include a Co-payment, Co-insurance
                                                        or Both

   Description and Supply Limits
  Specialty Prescription Drug Products

  The following supply limits apply.                    Your Co-payment and/or Co-insurance is
                                                        determined by the PDL Management Committee's
  As written by the provider, up to a consecutive 31-
                                                        tier placement of the Specialty Prescription Drug
  day supply of a Specialty Prescription Drug
                                                        Product. All Specialty Prescription Drug Products
  Product, unless adjusted based on the drug
                                                        on the Prescription Drug List are placed on Tier 1,
   manufacturer's packaging size, or based on supply
                                                       Tier 2, Tier 3, or Tier 4. Please contact us at
  limits, or as allowed under the Smart Fill Program.
                                                        www.myuhc.com or the telephone number on your
  You are not responsible for paying a Co-payment       ID card to find out tier status.
  for PPACA Zero Cost Share Preventive Care
                                                        For a Tier 1 Specialty Prescription Drug Product:
  Medications.
                                                       $10 per Prescription Order or Refill.
  A 12-month supply at $0 cost may be provided for
                                                        For a Tier 2 Specialty Prescription Drug Product:
  FDA- approved, self-administered hormonal
                                                       $150 per Prescription Order or Refill.
  contraceptives. This includes all FDA- approved
  contraceptive drugs, devices, and other products      For a Tier 3 Specialty Prescription Drug Product:
  for women, including all FDA- approved,              $250 per Prescription Order or Refill.
  contraceptive drugs, devices, and products
  available over the counter. Contraceptives for       For a Tier 4 Specialty Prescription Drug Product:
  women when prescribed by a Network Physician         25% per Prescription Order or Refill.
  include, but are not limited to, female condoms,     Co-payment maximum of $250("Cap")for up to a
  emergency contraceptives (Next ChoiceTM, Next 31-day supply of an orally administered anticancer
  Choice One-DoseTM, Plan B One-Step®), and             medication for a plan design not defined as a High
  contraceptive film, foam and gel. This also includes Deductible Health Plan regardless of any
  the following:                                       Deductible. For a High Deductible Health Plan, the
                                                       Deductible must be satisfied before the $250 Cap
  •       If the FDA has approved one or more
                                                       applies, and if there is a separate prescription drug
          therapeutic equivalents, as that term is
                                                       deductible, the Cap applies once the drug
          defined by the FDA, of a contraceptive drug,
                                                       deductible is met. Please refer to the Combined
          device, or product, at least one will be
                                                       Evidence of Coverage and Disclosure Form,
         covered without cost-sharing or medical
                                                       Section 10: Definitions, for the definition of a High
          management restrictions. If there is no
                                                       Deductible Health Plan.
         therapeutic equivalent generic substitute
         available in the market, the brand name       In addition, a $500 Cap applies to any prescription
         contraceptive will be covered without cost-   drug (other than oral cancer).
         sharing or medical management restrictions.
                                                       If there is a Deductible, the Cap applies once it is
  •      All FDA- approved contraceptives will be      met and if there is a separate prescription drug
         covered without cost-sharing or medical       deductible, the Cap applies once the drug
          management restrictions when deemed          deductible is met.




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  The amounts you are required to pay as shown below in the Outpatient Prescription Drug
  Schedule of Benefits are based on the Prescription Drug Charge.


                                                          What Is the Co-payment orCo-
                                                          insurance You Pay?
                                                          This May Include a Co-payment, Co-insurance
                                                          or Both

  Description and Supply Limits
         Medically Necessary by the prescriber.           All cost sharing applies to the out-of-pocket limit.
  •     Point-of-sale coverage for over-the-counter
        FDA-approved contraceptive drugs, devices
        and products will be provided at in-network
        pharmacies without cost sharing or medical
        management restrictions. A prescription will
        not be required to trigger,coverage of these
        products.
  When a Specialty Prescription Drug Product is
  packaged or designed to deliver in a manner that
  provides more than a consecutive 31-day supply,
  the Co-payment and/or Co-insurance that applies
  will reflect the number of days dispensed or days
  the drug will be delivered.
  If a Specialty Prescription Drug Product is provided
  for less than or more than a 31-day supply, the Co-
  payment and/or Co-insurance that applies will
  reflect the number of days dispensed.
  We designate certain Network Pharmacies to be
  Preferred Specialty Network Pharmacies. We may
  periodically change the Preferred Specialty
  Network Pharmacy designation of a Network
  Pharmacy. These changes may occur without prior
  notice to you unless required by law. You may
  determine whether a Network Pharmacy is a
  Preferred Specialty Network Pharmacy by
  contacting us at www.myuhc.com or by the
  telephone number on your ID card.

  Prescription Drugs from a Retail Network
  Pharmacy

  The following supply limits apply:
                                                         Your Co-payment and/or Co-insurance is
  As written by the provider, up to a consecutive 31-
                                                         determined by the PDL Management Committee's
  day supply of a Prescription Drug Product, unless
                                                         tier placement of the Prescription Drug Product. All
  adjusted based on the drug manufacturer's
                                                         Prescription Drug Products on the Prescription
  packaging size, or based on supply limits.
                                                         Drug List are placed on Tier 1, Tier 2, Tier 3, or Tier
  You are not responsible for paying a Co-payment        4. Please contact us at www.myuhc.com or the
  for PPACA Zero Cost Share Preventive Care              telephone number on your ID card to find out tier
  Medications.                                           status.




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  The amounts you are required to pay as shown below in the Outpatient Prescription Drug
  Schedule of Benefits are based on the Prescription Drug Charge.


                                                         What Is the Co-payment or Co-
                                                         insurance You Pay?
                                                         This May Include a Co-payment, Co-insurance
                                                         or Both

  Description and Supply Limits
  A 12-month supply at $0 cost may be provided for Fora Tier 1 Prescription Drug Product: $10 per
  FDA- approved, self-administered hormonal            Prescription Order or Refill.
  contraceptives. This includes all FDA- approved
                                                       For a Tier 2 Prescription Drug Product: $35 per
  contraceptive drugs, devices, and other products
                                                       Prescription Order or Refill.
  for women, including all FDA- approved,
  contraceptive drugs, devices, and products           For a Tier 3 Prescription Drug Product: $70 per
  available over the counter. Contraceptives for       Prescription Order or Refill.
  women when prescribed by a Network Physician
  include, but are not limited to, female condoms,     For a Tier 4 Prescription Drug Product: 25% per
  emergency contraceptives (Next ChoiceTM, Next        Prescription   Order or Refill.
  Choice One-DoseTM, Plan B One-Step®), and            Co-payment maximum of $250("Cap")for up to a
  contraceptive film, foam and gel. This also includes 31-day supply of an orally administered anticancer
  the following:                                       medication for a plan design not defined as a High
                                                       Deductible Health Plan regardless of any
  •      If the FDA has approved one or more
                                                       Deductible. For a High Deductible Health Plan, the
         therapeutic equivalents, as that term is
                                                       Deductible must be satisfied before the $250 Cap
         defined by the FDA, of a contraceptive drug,
                                                       applies, and if there is a separate prescription drug
         device, or product, at least one will be
                                                       deductible, the Cap applies once the drug
         covered without cost-sharing or medical
                                                       deductible is met. Please refer to the Combined
         management restrictions. If there is no
                                                       Evidence of Coverage and Disclosure Form,
         therapeutic equivalent generic substitute
                                                       Section 10: Definitions, for the definition of a High
         available in the market, the brand name
                                                       Deductible Health Plan.
         contraceptive will be covered without cost-
         sharing or medical management restrictions. In addition, a $500 Cap applies to any prescription
                                                       drug (other than oral cancer).
  •      All FDA- approved contraceptives will be
         covered without cost-sharing or medical       If there is a Deductible, the Cap applies once it is
         Management restrictions when deemed           met and if there is a separate prescription drug
         Medically Necessary by the prescriber,        deductible, the Cap applies once the drug
                                                       deductible is met.
  •      Point-of-sale coverage for over-the-counter
         FDA-approved contraceptive drugs, devices All cost sharing applies to the out-of-pocket limit.
         and products will be provided at in-network
         pharmacies without cost sharing or medical
         management restrictions. A prescription will
         not be required to trigger coverage of these
         products.
  When a Prescription Drug Product is packaged or
  designed to deliver in a manner that provides more
  than a consecutive 31-day supply, the Co-payment
  and/or Co-insurance that applies will reflect the
  number of days dispensed or days the drug will be
  delivered.




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  The amounts you are required to pay as shown below in the Outpatient Prescription Drug
  Schedule of Benefits are based on the Prescription Drug Charge.


                                                         What Is the Co-payment or Co-
                                                         insurance You Pay?
                                                         This May Include a Co-payment, Co-insurance
                                                         or Both

  Description and Supply Limits
  Prescription Drug Products from a Mail Order
  Network Pharmacy or Preferred 90 Day Retail
  Network Pharmacy

  The following supply limits apply:
                                                         Your Co-payment and/or Co-insurance is
  •     As written by the provider, up to a              determined by the PDL Management Committee's
        consecutive 90-day supply of a Prescription      tier placement of the Prescription Drug Product. All
        Drug Product, unless adjusted based on the
                                                         Prescription Drug Products on the Prescription
        drug manufacturer's packaging size, or
                                                         Drug List are placed on Tier 1, Tier 2, Tier 3, or Tier
        based on supply limits. These supply limits
                                                         4. Please contact us at www.myuhc.com or the
        do not apply to Specialty Prescription Drug
                                                         telephone number on your ID card to find out tier
        Products. Specialty Prescription Drug            status.
        Products from a mail order Network
        Pharmacy are subject to the supply limits        For up to a 90-day supply at a mail order Network
        stated above under the heading Specialty         Pharmacy or Preferred 90 Day Retail Network
        Prescription Drug Products.                      Pharmacy, you pay:
  You may be required to fill the first Prescription     For a Tier 1 Prescription Drug Product: $25 per
  Drug Product order and obtain 2 refills through a      Prescription Order or Refill.
  retail pharmacy before using a mail order Network
                                                         For a Tier 2 Prescription Drug Product: $87.50 per
  Pharmacy.
                                                         Prescription Order or Refill.
  To maximize your Benefit, ask your Physician to
                                                        For a Tier 3 Prescription Drug Product: $175 per
  write your Prescription Order or Refill for a 90-day
                                                        Prescription Order or Refill.
  supply, with refills when appropriate. You will be
  charged a Co-payment and/or Co-insurance based For a Tier 4 Prescription Drug Product: 25% per
  on the day supply dispensed for any Prescription      Prescription Order or Refill.
  Orders or Refills sent to the mail order Network
                                                        Co-payment maximum of $250("Cap")for up to a
  Pharmacy or Preferred 90 Day Retail Network
                                                        31-day supply of an orally administered anticancer
  Pharmacy. Be sure your Physician writes your
                                                        medication for a plan design not defined as a High
  Prescription Order or Refill for a 90-day supply, not
  a 30-day supply with three refills.                   Deductible  Health Plan regardless of any
                                                        Deductible. For a High Deductible Health Plan, the
                                                        Deductible must be satisfied before the $250 Cap
                                                        applies, and if there is a separate prescription drug
                                                        deductible, the Cap applies once the drug
                                                        deductible is met. Please refer to the Combined
                                                        Evidence of Coverage and Disclosure Form,
                                                        Section 10: Definitions, for the definition of a High
                                                        Deductible Health Plan.
                                                         In addition, a $1,250 Cap applies to any
                                                         prescription drug (other than oral cancer).
                                                         If there is a Deductible, the Cap applies once it is




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  The amounts you are required to pay as shown below in the Outpatient Prescription Drug
  Schedule of Benefits are based on the Prescription Drug Charge.


                                                          What Is the Co-payment or Co-
                                                          insurance You Pay?
                                                          This May Include a Co-payment, Co-insurance
                                                          or Both

  Description and Supply Limits
                                                          met and if there is a separate prescription drug
                                                          deductible, the Cap applies once the drug
                                                          deductible is met.
                                                          All cost sharing applies to the out-of-pocket limit.

  This Schedule of Benefits provides specific details about your Prescription Drug Product benefit, as well
  as the exclusions and limitations. Together this document and the Supplement to the Combined Evidence
  of Coverage and Disclosure Form as well as the medical Combined Evidence of Coverage and
  Disclosure Form determine the exact terms and conditions of your Prescription Drug Product coverage.

  What Do I Pay When I fill a Prescription?
  The amount you pay for any of the following under this Pharmacy Schedule of Benefits will not be
  included in calculating any Out-of-Pocket Limit stated in your medical Schedule of Benefits:
  •     Any non-covered drug product. You are responsible for paying 100% of the cost (the amount the
        pharmacy charges you)for any non-covered drug product and our contracted rates will not be
        available to you.
  For Prescription Drug Products at a Network Retail pharmacy, you will pay the lower of the applicable Co-
  payment for a Prescription Unit, or the Network Pharmacy's retail price for the Prescription Drug Product.
  For Prescription Drug Products from Mail Order, you are responsible for paying the lower of either the
  applicable Co-payment or a Network Pharmacy's retail price for the Prescription Drug Product.
  You will pay only a Co-payment when filling a prescription at a UnitedHealthcare Network Pharmacy. You
  will pay a Co-payment every time a prescription is filled. Your Co-payments are as shown in the grid
  above.
  NOTE: The Tier status of a prescription drug can change periodically. Tier status changes resulting in
  higher Co-payments occur six times per calendar year or Contract or Plan Year. We will notify you 60
  days prior to the change in tiers that will result in a higher co-payment. Tier changes resulting in lower Co-
  payments may occur at any time and would be for your benefit. No prior notice would be given to you.
  When Tier status changes occur, you may pay more or less for a prescription drug depending on the Tier
  placement. You may access PDL and Specialty Medication, Tier placement and Co-payments by
  contacting Customer Service Department 1-800-624-8822 or 711 (TTY) or visiting UnitedHealthcare's
  Web site at www.myuhc.com.
  You will receive a written notice 60 days prior to an increase in your Co-payment due to the change in
  Tier placement to move to a higher Tier. The notice will inform you of the new Tier; and if Prior
  Authorization must be requested by your Network Physician and determined by UnitedHealthcare to be
  Medically Necessary for the drug to be covered if not previously obtained.




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  If A Brand-Name Drug Becomes Available as a Generic
  If a Generic drug becomes available for a Brand-name drug, your Brand-name drug's Tier placement may
  change, and therefore your Co-payment may change. Please refer to "PRIOR AUTHORIZATION" if you
  are currently taking a prescription drug that requires Prior Authorization under the benefit plan.

  What Happens When a Biosimilar Product Becomes Available for a
  Reference Product?
  If a biosimilar becomes available for a reference product(a biological Prescription Drug Product), the tier
  placement of the reference product may change. Therefore, your Co-payment and/or Co-insurance may
  change and an Ancillary Charge may apply, or you will no longer have Benefits for that particular
  reference product.

  Prior Authorization
  Before certain Prescription Drug Products are dispensed to you, your Physician, your pharmacist or you
  are required to obtain prior authorization from us or our designee. The reason for obtaining prior
  authorization from us is to determine whether the Prescription Drug Product, in accordance with our
  approved guidelines, is each of the following:
  •     It meets the definition of a Covered Health Care Service.
  •     It is not an Experimental or Investigational or Unproven Service.
  Certain Prescription Drug Products may be subject to prior authorization due to the following:
  •     They have an approved biosimilar or a biosimilar and Therapeutically Equivalent to another
        covered Prescription Drug Product.

  Prior Authorization and Step Therapy Exception Process
  Certain Prescription Drug Products require a Prior Authorization or step therapy exception process using
  criteria based upon U.S. Food and Drug (FDA)approved indications or medical findings. When
  Prescription Drug Products are dispensed at a Network Pharmacy, your prescribing provider, or the
  pharmacist, are responsible for obtaining Prior Authorization from us. Please refer to the Step Therapy
  provision in the Combined Evidence of Coverage and Disclosure Form for additional information.
  For a list of the Prescription Drug Products that require UnitedHealthcare's Prior Authorization, please
  contact UnitedHealthcare's Customer Service department at 1-800-624-8822 or 711 (TTY)or view online
  at www.myuhc.com.

  Prescription Drug Products Covered by Your Benefit
  When prescribed by your Network Physician as Medically Necessary and filled at a Network Pharmacy,
  subject to all the other terms and conditions of this outpatient prescription drug benefit, the following
  medications are covered:
  •     Disposable all-in-one pre-filled insulin pens, insulin cartridges and needles for non-disposable pens
        devices are covered when Medically Necessary in accordance with UnitedHealthcare's Prior
        Authorization process.
  •     Federal Legend Drugs: Any medicinal substance which bears the legend: "Caution: Federal law
        prohibits dispensing without a prescription."
  •     Generic Drugs: Comparable Generic drugs may be substituted for Brand-name drugs. For Brand-
        name drugs that have FDA approved equivalents, a prescription may be filled with a Generic drug
        unless a specific Brand-name drug is Medically Necessary and Prior Authorized by
        U nitedHealthcare. Prior Authorization is necessary even if a licensed Physician writes "Dispense
        as Written" or "Do Not Substitute" on your prescription. If you choose to use a Prescription Drug




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         Product not included on the PDL and not Prior Authorized by UnitedHealthcare, you will be
         responsible for the full retail price of the medication.
  •      If the requested drug is Medically Necessary, it may-be Prior Authorized by UnitedHealthcare. If it
         is approved, you will only pay your applicable Tier Co-payment.
  •     Miscellaneous Prescription Drug Coverage: For the purposes of determining coverage, the
        following items are considered prescription drug benefits and are covered when Medically
        Necessary: glucagons, insulin, insulin syringes, blood glucose test strips, lancets and lancet
        devices, inhaler extender devices, urine test strips, ketone testing strips and tablets, glucose
        meters (including continuous glucose monitors), certain vaccines/immunizations administered in a
        Network Pharmacy, certain injectable medications administered in a Network Pharmacy, and
        anaphylaxis prevention kits. See the medical Combined Evidence of Coverage and Disclosure
        Form for coverage of other injectable medication and equipment for the treatment of asthma in
        Section 1: Covered Health Care Services.
  •     Oral Contraceptives: All FDA-approved contraceptives, drugs, devices, and products are covered
        at $0 cost sharing subject to Therapeutic Equivalents that may be prescribed and may be subject
        to Prior Authorization. A Member may receive a 12-month supply of an FDA-approved, self-
        administered hormonal contraceptive dispensed or furnished at one time by a provider or from a
        contracted pharmacy that has agreed to dispense or furnish FDA-approved contraceptives in
        accordance with state and federal law. This includes all FDA-approved contraceptive drugs,
        devices, and other products for women, including all FDA-approved, contraceptive drugs, devices,
        and products available over the counter. Contraceptives for women from a Network Physician
        include, but are not limited to, female condoms, emergency contraceptives (Next ChoiceTM, Next
        Choice One-DoseTM, Plan B One-Step®), and contraceptive film, foam and gel. This also includes
        the following:
        •      If the FDA has approved one or more therapeutic equivalents, as that term is defined by the
               FDA, of a contraceptive drug, device, or product, at least one will be covered without cost-
               sharing or medical management restrictions. If there is no therapeutic equivalent generic
               substitute available in the market, the brand name contraceptive will be covered without
               cost-sharing or medical management restrictions.
        •      All FDA- approved contraceptives will be covered without cost-sharing or medical
               management restrictions when deemed Medically Necessary by the prescriber.
        •      Point-of-sale coverage for over-the-counter FDA- approved contraceptive drugs, devices and
               products will be provided at in-network pharmacies without cost sharing or medical
               management restrictions. A prescription will not be required to trigger coverage of these
               products.
        Over-the-counter birth control devices require a prescription from your provider. To determine
        whether the Plan's contracted pharmacy provides for a pharmacist to dispense FDA-approved
        contraceptives directly, please contact the contracted pharmacy or call the Plan at the number
        shown on your card. Please refer to the medical Evidence of Coverage and to your Outpatient
        Prescription Drug Supplement for more information.
  •     State Restricted Drugs: Any medicinal substance that may be dispensed by prescription only
        according to State law.

  Exclusions and Limitations
  While the prescription drug benefit covers most Prescription Drug Products, there are some that are not
  covered or limited. These Prescription Drugs Products are listed below. Some of the following excluded
  drugs may be covered under your medical benefit. Please refer to Section 2: of your medical Combined
  Evidence of Coverage and Disclosure Form entitled "Exclusions and Limitations" for more information
  about medications covered by your medical benefit.




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  •    Administered Prescription Drug Products: Drugs or medicines delivered or administered to the
       Member by the prescriber or the prescriber's staff are not covered. Injectable drugs are covered
       under your medical benefit when administered during a Physician's office visit. Refer to Section 1
       of your medical Combined Evidence of Coverage and Disclosure Form titled "Covered Health Care
       Services" for more information about medications covered under your medical benefit.
  •    Compounded medication: Any Medicinal substance that has at least one ingredient that is Federal
       Legend-or State Restricted in a therapeutic amount. Compounded medications are not covered
       unless Prior Authorized as Medically Necessary by UnitedHealthcare.
  •    Diagnostic drugs: Drugs used for diagnostic purposes are not covered. Refer to Section 2 of your
       medical Combined Evidence of Coverage and Disclosure Form for information about medications
       covered for diagnostic tests, services and treatment.
  •    Dietary or nutritional products and food supplements: Any product for which the primary use is a
       source of nutrition, nutritional supplements, or dietary management of disease, and prescription
       medical food products even when used for the treatment of Sickness or Injury, except to avert the
       development of serious physical or mental disabilities or to promote normal development or
       function as a consequence of phenylketonuria (PKU).
  •    Enhancement medications when prescribed for the following non-medical conditions are not
       covered: weight loss, hair growth, sexual performance, athletic performance, cosmetic or
       convenience purposes, anti-aging for cosmetic purposes, and mental performance. This exclusion
       does not exclude coverage for drugs when Prior Authorized as Medically Necessary to treat morbid
       obesity or diagnosed medical conditions affecting memory, including but not limited to, Alzheimer's
       dementia or when Medically Necessary for the treatment of Mental Health Care and Substance-
       Related and Addictive Disorders treatment.
  •    Growth hormone for children with familial short stature (short stature based upon heredity and not
       caused by a diagnosed medical condition) unless Medically Necessary and Prior Authorized by us.
  •    Injectable medications: Except as described under the section "Prescription Drug Products
       Covered By Your Benefit", injectable medications including, but not limited to, infusion therapy,
       allergy serum, certain immunization agents and blood products are not covered as an outpatient
       prescription drug benefit. However, these medications are covered under your medical benefit as
       described in and according to the terms and conditions of your medical Combined Evidence of
       Coverage and Disclosure Form. Outpatient injectable medications administered in the Physician's
       office (except insulin) are covered as a medical benefit when part of a medical office visit.
       Injectable medications may be subject to UnitedHealthcare's Prior Authorization requirements. For
       additional information, refer to Section 1 of your medical Combined Evidence of Coverage and
       Disclosure Form under "Covered Health Care Services".
  •   Infertility: All forms of prescription medication when prescribed for the treatment of infertility are not
      covered. If your employer has purchased coverage for infertility treatment, prescription medications
      for the treatment of infertility may be covered under that benefit. Please refer to Section 1 of your
      medical Combined Evidence of Coverage and Disclosure Form entitled "Covered Health Care
      Services" for additional information. This exclusion does not apply to Prescription Drug Products
      prescribed to treat latrogenic Infertility and Preimplantation Genetic Testing (PGT)as described in
      the Combined Evidence of Coverage and Disclosure Form under "Covered Health Care Services".
  •   Inpatient Prescription Drug Products: Medications administered to a Member while an inpatient in a
      hospital or while receiving Skilled Nursing Care as an inpatient in a Skilled Nursing Facility are not
      covered under this Pharmacy Schedule of Benefits. Please refer to Section 1 of your medical
      Combined Evidence of Coverage and Disclosure Form entitled "Covered Health Care Services" for
      information on coverage of prescription medications while hospitalized or in a Skilled Nursing
      Facility. Outpatient prescription drugs are covered for Members receiving Custodial Care in a rest
      home, nursing home, sanitarium, or similar facility if they are obtained from a Network Pharmacy in
      accordance with all the terms and conditions of coverage set forth in this Schedule of Benefits and
      in the Pharmacy Supplement to the Combined Evidence of Coverage and Disclosure Form. When




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       a Member is receiving Custodial Care in any facility, relatives, friends or caregivers may purchase
       the medication prescribed by a Network Physician at a Network Pharmacy, and pay the applicable
       Co-payment on behalf of the Member.
  •    Investigational or Experimental drugs: Medication prescribed for Experimental or Investigational
       therapies are not covered, unless required by an external, independent review panel pursuant to
       California Health and Safety Code Section 1370.4. Further information about Investigational and
       Experimental procedures and external review by an independent panel can be found in the medical
       Combined Evidence of Coverage and Disclosure Form in Section 1: Covered Health Care Services
       and Section 6: Questions, Complaints and Appeals for appeal rights.
  •    Prescription Drug Products, including New Prescription Drug Products or new dosage forms, that
       we determine do not meet the definition of a Covered Health Care Service.
  •    Non-covered medical condition: Prescription Drug Products for the treatment of a non-covered
       medical condition are not covered. This exclusion does not exclude Medically Necessary
       Prescription Drug Products directly related to non-covered services when complications exceed
       follow-up care, such as life-threatening complications of cosmetic surgery.
  •    Off-label drug use: Off-label drug use means that the Provider has prescribed a drug approved by
       the Food and Drug Administration (FDA)for a use that is different than that for which the FDA
      approved the drug. UnitedHealthcare excludes coverage for Off Label Drug Use, including off label
      self-injectable drugs, except as described in the medical Combined Evidence of Coverage and
      Disclosure Form and any applicable Attachments. If a drug is prescribed for off-label drug use, the
       drug and its administration will be covered only if it satisfies the following criteria: (1) The drug is
      approved by the FDA.(2) The drug is prescribed by a Network licensed health care professional.
      (3) The drug is Medically Necessary to treat the medical condition. (4) The drug has been
       recognized for treatment of a medical condition by one of the following:(a) The American Hospital
       Formulary Service Drug Information,(b) One of the following compendia, if recognized by the
      federal Centers for Medicare and Medicaid Services as part of an anticancer chemotherapy
       regimen; (i) The Elsevier Gold Standard's Clinical Pharmacology; (ii) The National Comprehensive
      Cancer Network Drug and Biologics Compendium; (iii) The Thompson Micromedex DRUGDEX
      System, or (c) Two articles from major peer reviewed medical journals that present data supporting
      the proposed off-label drug use or uses as generally safe and effective unless there is clear and
      convincing contradictory evidence presented in major peer-reviewed medical journal. Nothing in
      this section shall prohibit UnitedHealthcare from use of a PDL, Co-payment, technology
      assessment panel, or similar mechanism as a means for appropriately controlling the utilization of a
      drug that is prescribed for a use that is different from the use for which that drug has been
      approved for marketing by the FDA. Denial of a drug as investigational or experimental will allow
      the Member to use the Independent Review System as defined in the medical Combined Evidence
      of Coverage and Disclosure Form.
  •   Over-the-Counter Drugs: Drugs available over-the-counter do not require a Prescription Order or
      Refill by federal or state law before being dispensed unless we have designated the over-the-
      counter medication as eligible for coverage as if it were a Prescription Drug Product and it is
      obtained with a Prescription Order or Refill from a Physician. Prescription Drug Products that are
      available in over-the-counter form or made up of components that are available in over-the-counter
      form or equivalent. Certain Prescription Drug Products that we have determined are
      Therapeutically Equivalent to an over-the-counter drug or supplement. Such determinations may
      be made up to six times during a calendar year. We may decide at any time to reinstate Benefits
      for a Prescription Drug Product that was previously excluded under this provision. This exclusion
      does not apply to over-the-counter drugs used for tobacco cessation. This exclusion does not apply
      to FDA- approved contraceptive drugs, devices, and other products for women, including all FDA-
      approved, contraceptive drugs, devices, and products available over the counter (contraceptives
      for women when prescribed by a Network Physician include, but are not limited to, female
      condoms, emergency contraceptives (Next ChoiceTM, Next Choice One-DoseTM, Plan B One-
      Stepe), and contraceptive film, foam and gel). This also does not apply to the following:




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             If the FDA has approved one or more therapeutic equivalents, as that term is defined by the
             FDA, of a contraceptive drug, device, or product, at least one will be covered without cost-
             sharing or medical management restrictions. If there is no therapeutic equivalent generic
             substitute available in the market, the brand name contraceptive will be covered without
             cost-sharing or medical management restrictions.
             All FDA- approved contraceptives will be covered without cost-sharing or medical
             management restrictions when deemed Medically Necessary by the prescriber.
             Point-of-sale coverage for over-the-counter FDA- approved contraceptive drugs,devices and
             products will be provided at in-network pharmacies without cost sharing or medical
             management restrictions. A prescription will not be required to trigger coverage of these
             products.
  •    Prescription Drug Products that are comprised of active ingredients that are available over-the-
       counter are not covered except when Medically Necessary. Certain prescription drug products that
       are Therapeutically Equivalent to over the counter drugs or supplement are not covered unless
       Medically Necessary and Prior Authorized. This exclusion does not apply to coverage of an entire
       class of prescription drugs when one drug within that class becomes available over the counter.
  •    Prescription Drug Products for the amount dispensed (days' supply or quantity limit) which exceeds
       the supply limit are not covered.
  •    Prescription Drug Product to the extent payment or benefits are provided by the local, state or
       federal government except as otherwise provided by law.
  •    Prescription Drug Products prescribed by a dentist or drugs when prescribed for dental treatment
       are not covered.
  •    Prescription Drug Products when prescribed solely for the purpose to shorten the duration of a
       common cold are not covered.
  •    Prescription Drug Product when packaged or designed to deliver in a manner that provides more
       than a consecutive 31-day supply, the Co-payment that applies will reflect the number of days
       dispensed.
  •    Prescription Drug Products prescribed solely to treat hair loss.
  •    Prior to Effective Date: Drugs or medicines purchased and received prior to the Member's effective
       date or subsequent to the Member's termination are not covered.
  •    Replacement of Prescription Drug Products: Lost, stolen, or destroyed Prescription Drug
       Products are not covered.
  •    Saline and irrigation solutions: Saline and irrigation solutions are not covered unless Medically
       Necessary, depending on the purpose for which they are prescribed, as part of the home health or
       durable medical equipment benefit. Refer to your medical Combined Evidence of Coverage and
       Disclosure Form Section 1: Covered health Care Services for additional information.
  •    Smoking cessation products unless they are FDA-approved tobacco cessation drugs and products,
       both of which are provided as a preventive benefit at $0 cost sharing subject to certain exception.
       Certain Prescription Drug Products for tobacco cessation that exceed the minimum number of
       drugs required to be covered under the Patient Protection and Affordable Care Act(PPACA)in
       order to comply with essential health benefits requirements. For information on UnitedHealthcare's
       smoking cessation program, refer to the medical Combined Evidence of Coverage and Disclosure
       Form in Section 1: Covered Health Care Services or contact Customer Service or visit our web site
       at www.myuhc.com.
  •    Therapeutic devices or appliances including, but not limited to, support garments and other non-
       medical substances, certain insulin pumps and related supplies (these services are provided as
       durable medical equipment). For further information on certain therapeutic devices and appliances
       that are covered under your medical benefit, refer to your medical Combined Evidence of Coverage




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       and Disclosure Form in Section 1: Covered Health Care Services under subsections, for example,
       Diabetes Treatment, Durable Medical Equipment(DME), Orthotics and Supplies, or Home Health
       Care.
  •    Unit/Convenience Dosage Forms: Unit doses, pre-packaged medications, individual packets etc.
       are not covered unless available in that form only, prior authorized and medically necessary.
  •    Worker's Compensation: Prescription Drug Products for which the cost is recoverable under any
       Workers' Compensation or Occupational Disease Law or any state or government agency, or
       medication furnished by any other drug or medical service for which no charge is made to the
       patient is not covered. Further information about Workers Compensation can be found in the
       medical Combined Evidence of Coverage and Disclosure Form in Section 8: General Legal
       Provisions under "Subrogation and Reimbursement".




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                                       Care Cash Rider
            UnitedHealthcare Benefits Plan of California
  This Rider to the Combined Evidence of Coverage and Disclosure Form (Certificate) is issued to the
  Group and provides a description of The Care Cash program.
  Because this Rider is part of a legal document(the Group Agreement), we want to give you information
  about the document that will help you understand it Certain capitalized words have special meanings.
  We have defined these words in the Certificate of Coverage in Section 9: Defined Terms.
  When we use the words "we,""us," and "our in this document, we are referring to UnitedHealthcare
  Benefits Plan of California. When we use the words "you" and "your" we are referring to eligible Covered
  Persons.

  Care Cash Program
  Care:Cash is a program that provides access to a prefunded debit card that may be used for certain
  eligible expenses as defined by the program to help with cost share obligations.
  For example, an eligible expense may include certain medical expenses when you choose to seek care in
  a more cost-effective setting.
  You can find more information about the Care Cash program by contacting us at www.myuhc.com.




  Jessica Paik, President




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                                      Real Appeal Rider
            UnitedHealthcare Benefits Plan of California
  This Rider to the Combined Evidence of Coverage and Disclosure Form (Certificate) provides Benefits for
  virtual obesity counseling services for eligible Covered Persons through Real Appeal. There are no
  deductibles, Co-payments or Co-insurance you must meet or pay for when receiving these services.

  Real Appeal
  Real Appeal provides a virtual lifestyle intervention for weight-related conditions to eligible Covered
  Persons 13 years of age or older. Real Appeal is designed to help those at risk from obesity-related
  diseases.
  This intensive, multi-component behavioral intervention provides 52 weeks of support. This support
  includes one-on-one coaching with a live virtual coach and online group participation with supporting
  video content. The experience will be personalized for each individual through an introductory online
  session.
  These Covered Health Care Services will be individualized and may include the following:
  •     Virtual support and self-help tools: Personal one-on-one coaching, group support sessions,
        educational videos, tailored kits, integrated web platform and mobile applications.
  •     Education and training materials focused on goal setting, problem-solving skills, barriers and
        strategies to maintain changes.
  •     Behavioral change counseling by a specially trained coach for clinical weight loss.
  If you would like information regarding these Covered Health Care Services, you may contact us through
  www.realappealcom, https://member.realappealcom or at the number shown on your ID card.




  Jessica Paik, President




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                     Travel and Lodging Prograrn)Rider
            UnitedHealthcare Benefits Plan of California
  This Rider to the Combined Evidence of Coverage and Disclosure Form (Certificate) provides a Covered
  Person with a travel and lodging allowance related to the Covered Health Care Service that is not
  available in the Covered Person's state of residence due to law or regulation when such services are
  received in another state, as legatly permissible.
  Because this Rider is part of a legal document(the Group Agreement), we want to give you information
  about the document that will help you understand it. Certain capitalized words have special meanings.
  We have defined these words in the Certificate of Coverage in Section 9: Defined Terms.
  When we use the words "we,""us," and "our" in this document, we are referring to UnitedHealthcare
  Benefits Plan of California. When we use the words "you" and "your," we are referring to people who are
  Covered Persons, as that term is defined in Section 9: Defined Terms.




  Travel and Lodging Program
  The Travel and Lodging Program provides support for the Covered Person under the Agreement as
  described above. The program provides an allowance for reasonable travel and lodging expenses for a
  Covered Person and travel companion when the Covered Person must travel at least 50 miles from their
  address, as reflected in our records, to receive the Covered Health Care Service.
  This program provides an allowance for incurred reasonable travel and lodging expenses only and is
  independent of any existing medical coverage available for the Covered Person. An allowance of up to
  $2,000 per Covered Person per year will be provided for travel and lodging expenses incurred as a part of
  the Covered Health Care Service. Lodging expenses are further limited to $50 per night for the Covered
  Person, or $100 per night for the_Covered,Person.with a travel companion.
  Please remember to save travel and lodging receipts to submit for reimbursement. If you would like
  additional information regarding the Travel and Lodging Program, you may contact us at www.myuhc.com
  or the telephone number on your identification (ID) card.
  UnitedHealthcare Benefits Plan of California




  Jessica Paik, President




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                       UnitedHealthcare Rewards Rider
            UnitedHealthcare Benefits Plan of California
  This Rider to the Combined Evidence of Coverage and Disclosure Form (Certificate) is issued to the
  Group and provides a description of the UnitedHealthcare Rewards wellness program.
  Because this Rider is part of a legal document"(the Group Agreement), we want to give you information
  about the document that will help you understand it. Certain capitalized words have special meanings.
  We have defined these words in the Certificate of Coverage in -Section 9: Defined Terms.
  When we use the words "we," "us," and "our" in this document, we are referring to UnitedHealthcare
  Benefits Plan of California. When we use the words "you" and "your" we are referring to the Subscriber or
  their Enrolled Dependent spouse.




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  UnitedHealthcare Rewards Program
  The Group has implemented a program that rewards you for completing certain wellness criteria, as
  described below. You may choose to complete any, or all, of the below wellness criteria to earn a reward.
  If you are unable to meet a standard related to a health factor for a reward underthe program, then you
  might qualify for an opportunity to earn the same reward by different means. You can call us at the
  telephone number listed on yourlD card, and we will work with you (and, if necessary, with your
  Physician) to find another way for you to earn the same reward.
  You may receive one or more of the following:
  •      An activation credit that may be applied towards a device ordeposited in your Health Savings
         Account(HSA) or distributed in other incentive types as applicable, administered by us.
  •      A device credit.
  •      Another type of incentive to help encourage you to participate in the program, administered as
         determined by us.
  Activity Targets
  You may also receive a reward when you meet one or more of the activity targets listed below, based on
  the device you choose to track activity.

  Activity Marker                     Activity Target                      Reward

  Participation - Fitness             15 minutes of activity as            You can earn rewards for one or
                                      designated by the program or         multiple activity markers.
                                      5,000 steps per day

  Active - Fitness                    30 minutes or more of activity as
                                      designated by the program or
                                      10,000 or more steps per day

  Other Health-Related Actions        One or more actions and/or
  and/or Activities                   activities defined by us and aimed
                                      at the following:
                                     •       Health education;
                                     •      Improving health; or
                                     •       Maintaining health

  You may access your actions and/or activity tracking and rewards on the mobile application or
  www.myuhc.com.
  If you have not achieved any of the above daily activity targets, you may be eligible to earn a reward for
  synchronizing or otherwise providing your daily actions and/or activities as defined by the program. This
  reward may not be provided if any of the activity targets are met.
  The maximum reward will not exceed 30% of the cost of coverage for all programs combined, as
  applicable.
  Rewards
  Rewards listed above, when earned, will be credited to a Health Savings Account(HSA)or distributed in
  other reward types as applicable, administered by us.
  Device




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  A device, which includes an application, approved by us is used to track actions and/or activities towards
  earning a reward. If you choose to use a non-compatible device, you may be eligible to earn a reward;
  however, the reward may be limited.
  UnitedHealthcare Benefits Plan of California




  Jessica Paik, President




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                                       Important Notices
  Women's Health and Cancer Rights Act of 1998
  As required by the Women's Health and Cancer Rights Act of 1998. Benefits under the Policy are
  provided for mastectomy, including reconstruction and surgery to achieve symmetry between the breasts,
  prostheses, and complications resulting from a mastectomy (including lymphedema).
  If you are receiving Benefits in connection with a mastectomy, Benefits are also provided for the following
  Covered,Health Care Services, as you determine appropriate with your attending Physician:
  •      All stages of reconstruction of the breast on which the mastectomy was performed.
  •      Surgery and reconstruction of the other breast to produce a symmetrical appearance.
  •      Prostheses and treatment of physical complications of the mastectomy, including lymphedema.
  The amount you must pay for such Covered Health Care Services (including Co-payments, Co-insurance
  and any deductible) are the same as are required for any other Covered Health Care Service. Limitations
  on Benefits are the same as for any other Covered Health Care Service.

  Statement of Rights under the Newborns' and Mothers' Health Protection Act
  Under Federal law, group health plans and health insurance issuers offering group health insurance
  coverage generally may not restrict Benefits for any Hospital length of stay in connection with childbirth
  for the mother or newborn child to less than 48 hours following a vaginal delivery, or less than 96 hours
  following a delivery by cesarean section. However, the plan or issuer may pay for a shorter stay if the
  attending provider (e.g. your Physician, nurse midwife, or physician assistant), after consultation with the
  mother, discharges the mother or newborn earlier.
  Also, under Federal law, plans and issuers may not set the level of Benefits or out-of-pocket costs so that
  any later portion of the 48-hour (or 96-hour) stay is treated in a manner less favorable to the mother or
  newborn than any earlier portion of the stay.
  In addition, a plan or issuer may not, under Federal law, require that a Physician or other health care
  provider obtain authorization for prescribing a length of stay of up to 48 hours (or 96 hours). However, to
  use certain providers or facilities, or to reduce your out-of-pocket costs, you may be required to obtain
  prior authorization. For information on prior authorization, contact your issuer.

  Notice of Transition of Care
  As required by the No Surprises Act of the Consolidated Appropriations.Act(P.L. 116-260), group health •
  plans must provide Benefits for transition of care. If you are currently undergoing a course of treatment
  with a Physician or health care facility that is out-of-Network under this new plan, you may be eligible to
  receive transition of care Benefits. This transition period is available for specific medical services and for
  limited periods of time. If you have questions regarding this transition of care reimbursement policy or
  would like help to find out if you are eligible for transition of care Benefits, please call the telephone
  number on your ID card.




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   Claims and Appeal Notice
   This Notice is provided to you in order to describe our responsibilities under Federal law for
   making benefit determinations and your right to appeal adverse benefit determinations. To the
   extent that state law provides you with more generous timelines or opportunities for appeal, those
   rights also apply to you. Please refer to your benefit documents for information about your rights
   under state law.

   Benefit Determinations
  Post-service Claims
  Post-service claims are those claims that are filed for payment of Benefits after medical care has been
  received. If your post-service claim is denied, you will receive a written notice from us within 30 days of
  receipt of the claim, as long as all needed information was'provided with the claim. We will notify you
  within this 30 day period if additional information is needed to process the claim, and may request a one-
  time extension not longer than 15 days and pend your claim until all information is received.
  Once notified of the extension, you then have 45 days to provide this information. If all of the needed
  information is received within the 45-day time frame, and the claim is denied, we will notify you of the
  denial within 30 days after the information is received. If you don't provide the needed information within
  the 45-day period, your claim will be denied.
  A denial notice will explain the reason for denial, refer to the part of the plan on which the denial is based,
  and provide the claim appeal procedures.
  If you have prescription drug Benefits and are asked to pay the full cost of a prescription when you fill it at
  a retail or mail-order pharmacy, and if you believe that it should have been paid under the Policy, you
  may submit a claim for reimbursement according to the applicable claim filing procedures. If you pay a
  Co-payment and believe that the amount of the Co-payment was incorrect, you also may submit a claim
  for reimbursement according to the applicable claim filing procedures. When you have filed a claim, your
  claim will be treated under the same procedures for post-service group health plan claims as described in
  this section.
  Pre-service Requests for Benefits
  Pre-service requests for Benefits are those requests that require notification or approval prior to receiving
  medical care. If you have a pre-service request for Benefits, and it was submitted properly with all needed
  information, we will send you written notice of the decision from us within 15 days of receipt of the
  request. If you filed a pre-service request for Benefits improperly, we will notify you of the improper filing
  and how to correct it within five days after the pre-service request for Benefits was received. If additional
  information is needed to process the pre-service request, we will notify you of the information needed
  within 15 days after it was received, and may request a one-time extension not longer than 15 days and
  pend your request until all information is received. Once notified of the extension you then have 45 days
  to provide this information. If all of the needed information is received within the 45-day time frame, we
  will notify you of the determination within 15 days after the information is received. If you don't provide the
  needed information within the 45-day period, your request for Benefits will be denied. A denial notice will
  explain the reason for denial, refer to the part of the plan on which the denial is based, and provide the
  appeal procedures.
  If you have prescription drug Benefits and a retail or mail order pharmacy fails to fill a prescription that
  you have presented, you may file a pre-service health request for Benefits according to the applicable
  claim filing procedure. When you have filed a request for Benefits, your request will be treated under the
  same procedures for pre-service group health plan requests for Benefits as described in this section.

  Urgent Requests for Benefits that Require Immediate Attention
  Urgent requests for Benefits are those that require notification or a benefit determination prior to receiving
  medical care, where a delay in treatment could seriously jeopardize your life or health, or the ability to
  regain maximum function or, in the opinion of a Physician with knowledge of your medical condition, could




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  cause severe pain. In these situations, you will receive notice of the benefit determination in writing or
  electronically within 72 hours after we receive all necessary information, taking into account the
  seriousness of your condition.
  If you filed an urgent request for Benefits improperly, we will notify you of the improper filing and how to
  correct it within 24 hours after the urgent request was received. If additional information is needed to
  process the request, we will notify you of the•information needed within 24 hours after the request was
  received. You then have 48 hours to provide the requested information.
  You will be notified of a benefit determination no later than 48 hours after:
  •      Our receipt of the requested information.
  •      The end of the 48-hour period within which you were to provide-the additional information, if the
         information is not received within that time.
  A denial notice will explain the reason for denial, refer to the part of the plan on which the denial is based,
  and provide the claim appeal procedures.

  Concurrent Care Claims
  If an on-going course of treatment was previously approved for a specific period of time or number of
  treatments, and your request to extend the treatment is an urgent request for Benefits as defined above,
  your request will be decided within 24 hours, provided your request is made at least 24 hours prior to the
  end of the approved treatment. We will make a determination on your request for the extended treatment
  within 24 hours from receipt of your request.
  If your request for extended treatment is not made at least 24 hours prior to the end of the approved
  treatment, the request will be treated as an urgent request for Benefits and decided according to the
  timeframes described above. If an on-going course of treatment was previously approved for a specific
  period of time or number of treatments, and you request to extend treatment in a non-urgent
  circumstance, your request will be considered a new request and decided according to post-service or
  pre-service timeframes, whichever applies.

  Questions or Concerns about Benefit Determinations
  If you have a question or concern about a benefit determination, you may informally call us at the
  telephone number on your ID card before requesting a formal appeal. If the representative cannot resolve
  the issue to your satisfaction over the phone, you may submit your question in writing. However, if you
  are not satisfied with a benefit determination as described above, you may appeal it as described below,
  without first informally contacting a representative. If you first informally contact us and later wish to
  request a formal appeal in writing, you should again contact us and request an appeal. If you request a
  formal appeal; a representative will proyide you with the appropriate address.
  If you are appealing an urgent claim denial, please refer to Urgent Appeals that Require Immediate Action
  below and contact us immediately.

  How Do You Appeal a Claim Decision?
  If you disagree with a pre-service request for Benefits determination or post-service claim determination
  or a rescission of coverage determination after following the above steps, you can contact us in writing to
  formally request an appeal.
  Your request for an appeal should include:
  •     The patient's name and the identification number from the ID card.
  •     The date(s) of medical service(s).
  •     The provider's name.
  •     The reason you believe the claim should be paid.




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  •      Any documentation or other written information to support your request for claim payment.
  Your first appeal request must be submitted to us within 180 days after you receive the claim denial of
  pre-service request for benefits or a claim denial.

  Appeal Process
  A qualified individual who was not.involved in the decision being appealed will be chosen to decide the
  appeal. If your appeal is related to clinical matters, the review will be done in consultation with a health
  care professional with expertise in the field, who was not involved in the prior determination. We may
  consult with, or ask medical experts to take part in the appeal process. You consent to this referral and
  the sharing of needed medical claim information. Upon request and free of charge, you have the right to
  reasonable access to and copies of all documents, records, and other information related to your claim for
  Benefits. If any new or additional evidence is relied upon or generated by us during the determination of
  the appeal, we will provide it to you free of charge in advance of the due date of the response to the
  adverse benefit determination.

  Appeals Determinations
  Pre-service Requests for Benefits and Post-service Claim Appeals
  You will be provided written or electronic notification of the decision on your appeal as follows:
  •     For appeals of pre-service requests for Benefits as shown above, the first level appeal will take
        place and you will be notified of the decision within 30 days from receipt of a request for appeal of a
        denied request for Benefits. However, if your state requires two levels of appeal, the first level
        appeal will take place and you will be notified of the decision within 15 days.
        If your state requires a second level appeal, it must be submitted to us within 60 days from receipt
        of the first level appeal decision. The second level appeal will take place and you will be notified of
        the decision within 15 days from receipt of a request for review of the first level appeal decision.
  •     For appeals of post-service claims as shown above, the first level appeal will take place and you
        will be notified of the decision within 30 days from receipt of a request for appeal of a denied claim.
        However, if your state requires two levels of appeal, the first level appeal will take place and your
        will be notified of the decision within 30 days.
        If your state requires a second level appeal, it must be submitted to us within 60 days from the
        receipt of the first level appeal decision. The second level appeal will take place and you will be
        notified of the decision within 30 days from receipt of a request for review of the first level appeal
        decision.
  For procedures related to urgent requests for Benefits, see Urgent Appeals that Require Immediate
  Action below.
  Please note that our decision is based only on whether or not Benefits are available under the Policy for
  the proposed treatment or procedure. The decision to obtain the proposed treatment or procedure
  regardless of our decision is between you and your Physician.

  Urgent Appeals that Require Immediate Action
  Your appeal may require urgent action if a delay in treatment could increase the risk to your health, or the
  ability to regain maximum function, or cause severe pain. In these urgent situations:
  •     The appeal does not need to be submitted in writing. You or your Physician should call us as soon
        as possible.
  •     We will provide you with a written or electronic determination within 72 hours following receipt of
        your request for review of the determination, taking into account the seriousness of your condition.
  •     If we need more information from your Physician to make a decision, we will notify you of the
        decision by the end of the next business day following receipt of the required information.




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  The appeal process for urgent situations does not apply to prescheduled treatments, therapies, or
  surgeries.




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  HEALTH PLAN NOTICES OF PRIVACY PRACTICES
  MEDICAL INFORMATION PRIVACY NOTICE

  THIS NOTICE DESCRIBES HOW MEDICAL INFORMATION ABOUT YOU MAY BE USED AND
  DISCLOSED AND HOW YOU CAN GET ACCESS TO THIS INFORMATION.
  PLEASE REVIEW IT CAREFULLY.
  Effective January 1, 2024:
  We2 are required by law to protect the privacy of your health information. We are also required to send
  you this notice, which explains how we may use information about you and when we can give out or
  "disclose" that information to others. You also have rights regarding your health information that are
  described in this notice. We are required by law to abide by the terms of this notice.
  The terms "information" or "health information" in this notice include any information we maintain that
  reasonably can be used to identify you and that relates to your physical or mental health care condition,
  the provision of health care to you, or the payment for such health care. We will comply with the
  requirements of applicable privacy laws related to notifying you in the event of a breach of your health
  information.
  We have the right to change our privacy practices and the terms of this notice. If we make a material
  change to our privacy practices, we will provide to you, in our next annual distribution, either a revised
  notice or information about the material change and how to obtain a revised notice. We will provide you
  with this information either by direct mail or electronically, in accordance with applicable law. In all cases,
  if we maintain a website for your particular health plan, we will post the revised notice on your health plan
  website, such as www.myuhc.com. We have the right to make any revised or changed notice effective for
  information we already have and for information that we receive in the future.
  UnitedHealth Group collects and maintains oral, written and electronic information to administer our
  business and,to,provide.products,.services and information of importance to our enrollees:Me maintain
  physical, electronic and procedural security safeguards in the handling and maintenance of our enrollee's
  information, in accordance with applicable state and federal standards, to protect against risks such as
  loss, destruction or misuse.




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   How We Collect, Use, and Disclose Information
  We collect, use, and disclose your health information to provide that information:
  •     To you or someone who has the legal right to act for you (your personal representative) in order to
        administer your rights as described in this notice.
  •     To the Secretary of the Department of Health and Human Services, if necessary, to make sure
        your privacy is protected.
  We have the right to collect, use, and disclose health information for your treatment, to pay for your
  health care and to operate our business. For example, we may use or disclose your health information:
  •     For Payment of premiums due us, to determine your coverage, and to process claims for health
        care services you receive, including for subrogation or coordination of other benefits you may have.
        For example, we may tell a doctor whether you are eligible for coverage and what percentage of
        the bill may be covered.
  •     For Treatment. We may collect, use, and disclose health information to aid in your treatment or the
        coordination of your care. For example, we may collect information from, or disclose information to
        your physicians or hospitals to help them provide medical care to you.
  •     For Health Care Operations. We may collect, use, and disclose health information needed to
        operate and manage our business activities related to providing and managing your health care
        coverage. For example, we might talk to your physician to suggest a disease management or
        wellness program that could help improve your health or we may analyze data to determine how
        we can improve our services. We may also de-identify health information in accordance with
        applicable laws. After that information is de-identified, the information is no longer subject to this
        notice and we may use the information for any lawful purpose.
  •     To Provide You Information on Health Related Programs or Products such as alternative
        medical treatments and programs or about health-related products. and services, subject to limits
        imposed by law.
  •     For Plan Sponsors. If your coverage is through an employer sponsored group health plan, we
        may share summary health information and enrollment and disenrollment information with the plan
        sponsor. In addition, we may share other health information with the plan sponsor for plan
        administration purposes if the plan sponsor agrees to special restrictions on its use and disclosure
        of the information in accordance with federal law.
  •      For Underwriting Purposes. We may collect, use, and disclose your health information for
        .underwriting purposes; however, we will not use or disclose your genetic information for such.
         purposes.
  •     For Reminders. We may use or disclose health information to send you reminders about your
        benefits or care, such as appointment reminders with providers who provide medical care to you.
  •     For Communications to You. We may communicate, electronically or via telephone, these
        treatment, payment or health care operation messages using telephone numbers or email
        addresses you provide to us.
  We may collect, use, and disclose your health information for the following purposes under limited
  circumstances:
  •     As Required by Law. We may disclose information when required to do so by law.
  •     To Persons Involved with Your Care. We may collect, use, and disclose your health information
        to a person involved in your care or who helps pay for your care, such as a family member, when
        you are incapacitated or in an emergency, or when you agree or fail to object when given the
        opportunity. If you are unavailable or unable to object, we will use our best judgment to decide if
        the disclosure is in your best interests. Special rules apply regarding when we may disclose health




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       information to family members and others involved in a deceased individual's care. We may
       disclose health information to any persons involved, prior to the death, in the care or payment for
       care of a deceased individual, unless we are aware that doing so would be inconsistent with a
       preference previously expressed by the deceased.
  •    For Public Health Activities such as reporting or preventing disease outbreaks to a public health
       authority,
  •    For Reporting Victims of Abuse, Neglect or Domestic Violence to government authorities that
       are authorized by law to receive such information, including a social service or protective service
       agency.
  •    For Health Oversight Activities to a health oversight agency for activities authorized by law, such
       as licensure, governmental audits and fraud and abuse investigations.
  •    For Judicial or Administrative Proceedings such as in response to a court order, search warrant
       or subpoena.
  •    For Law Enforcement Purposes. We may disclose your health information to a law enforcement
       official for purposes such as providing limited information to locate a missing person or report a
       crime.
  •    To Avoid a Serious Threat to Health or Safety to you, another person, or the public, by, for
       example, disclosing information to public health agencies or law enforcement authorities, or in the
       event of an emergency or natural disaster.
  •    For Specialized Government Functions such as military and veteran activities, national security
       and intelligence activities, and the protective services for the President and others.
  •    For Workers' Compensation as authorized by, or to the extent necessary to comply with, state
       workers compensation laws that govern job-related injuries or illness.
  •    For Research Purposes such as research related to the review of certain treatments or the
       prevention of disease or disability, if the research study meets federal privacy law requirements.
  •    To Provide Information Regarding Decedents. We may disclose information to a coroner or
       medical examiner to identify a deceased person, determine a cause of death, or as authorized by
       law. We may also disclose information to funeral directors as needed to carry out their duties.
  •    For Organ Procurement Purposes. We may collect, use, and disclose information to entities that
       handle procurement, banking or transplantation of organs, eyes or tissue to facilitate donation and
       transplantation.
  •   ..To Correctional Institutions or Law Enforcement Officials if you are an inmate of a correctional
        institution or under the custody of a law enforcement official, but only if needed (1)for the institution
        to provide you with health care; (2) to protect your health and safety or the health and safety of
        others; or (3)for the safety and security of the correctional institution.
  •    To Business Associates that perform functions on our behalf or provide us with services if the
       information is needed for such functions or services. Our business associates are required, under
       contract with us, and according to federal law, to protect the privacy of your information and are not
       allowed to collect, use, and disclose any information other than as shown in our contract and as
       permitted by federal law.
  •    Additional Restrictions on Use and Disclosure. Certain federal and state laws may require
       special privacy protections that restrict the use and disclosure of certain health information,
       including highly confidential information about you. Such laws may protect the following types of
       information:
       1. Alcohol and Substance Abuse
       2. Biometric Information




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        3. Child or Adult Abuse or Neglect, including Sexual Assault
        4. Communicable Diseases
        5. Genetic Information
        6. HIV/AIDS
        7. Mental Health
        8. Minors' Information
        9. Prescriptions
        10. Reproductive Health
        11. Sexually Transmitted Diseases
  If a use or disclosure of health information described above in this notice is prohibited or materially limited
  by other laws that apply to us, it is our intent to meet the requirements of the more stringent law.
  Except for uses and disclosures described and limited as stated in this notice, we will use and disclose
  your health information only with a written authorization from you. This includes, except for limited
  circumstances allowed by federal privacy law, not using or disclosing psychotherapy notes about you,
  selling your health information to others, or using or disclosing your health information for certain
  promotional communications that are prohibited marketing communications under federal law, without
  your written authorization. Once you give us authorization to release your health information, we cannot
  guarantee that the recipient to whom the information is provided will not disclose the information. You
  may take back or "revoke" your written authorization at any time in writing, except if we have already
  acted based on your authorization. To find out where to mail your written authorization and how to revoke
  an authorization, call the phone number listed on your health plan ID card.

  What Are Your Rights
  The following are your rights with respect to your health information:
  •     You have the right to ask to restrict uses or disclosures of your information for treatment,
        payment, or health care operations. You also have the right to ask to restrict disclosures to family
        members or to others who are involved in your health care or payment for your health care. We
        may also have policies on dependent access that authorize your dependents to request certain
        restrictions. Please note that while we will try to honor your request and will permit requests
        consistent with our policies, we are not required to agree to any restriction.
  •     You have the right to ask to receive confidential communications of information in a different
   •    manner or at a different place (for example, by sending information to a p.o. Box instead of your
        home address). We will accommodate reasonable requests in accordance with applicable state.
        and federal law.ln certain circumstances, we will accept your verbal request to receive confidential
        communications, however; we may also require you confirm your request in writing. In addition, any
        requests to change or cancel a previous confidential communication request must be made in
        writing. Mail your request to the address listed below.
        You have the right to see and get a copy of certain health information we maintain about you
        such as claims and case or medical management records. If we maintain your health information
        electronically, you will have the right to request that we send a copy of your health information in an
        electronic format to you. You can also request that we provide a copy of your information to a third
        party that you identify. In some cases, you may receive a summary of this health information. You
        must make a written request to inspect and copy your health information or have your information
        sent to a third party. Mail your request to the address listed below. In certain limited circumstances,
        we may deny your request to inspect and copy your health information. If we deny your request,
        you may have the right to have the denial reviewed. We may charge a reasonable fee for any
        copies.




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  •      You have the right to ask to amend certain health information we maintain about you such as
         claims and case or medical management records, if you believe the health information about you is
         wrong or incomplete. Your request must be in writing and provide the reasons for the requested
         amendment. Mail your request to the address listed below. If we deny your request, you may have
         a statement of your disagreement added to your health information.
  •      You have the right to receive an accounting of certain disclosures of your information made by
         us during the six years prior to your request. This accounting will not include disclosures of
         information made: (i) for treatment, payment, and health care operations purposes; (ii) to you or
         according to your authorization; and (iii) to correctional institutions or law enforcement officials; and
        (iv) other disclosures for which federal law does not require us to provide an accounting.
  •      You have the right to a paper copy of this notice. You may ask for a copy of this notice at any
         time. Even if you have agreed to receive this notice electronically, you are still entitled to a paper
         copy of this notice. You also may get a copy of this notice on your health plan website, such as
         www.myuhc.com.
  •      You have the right to make a written request that we correct or amend your personal
         information. Depending on your state of domicile, you may have the right to request the deletion of
         your personal information. If we are unable to honor your request, we will notify you of our decision.
         If we deny your request, you have the right to submit to us a written statement of the reasons for
         your disagreement with our assessment of the disputed information and what you consider to be
         the correct information. We will make your statement accessible to parties reviewing the
         information in dispute.

  Exercising Your Rights
  •     Contacting your Health Plan. If you have any questions about this notice or want information
        about exercising your rights, please call the toll-free member phone number on your health plan ID
        card or you may call us at 1-866-633-2446 or TTY 711.
  •      Submitting a Written Request. You can mail your written requests to exercise any of your rights,
         including modifying or cancelling a confidential communication, for copies of your records, or
         requesting amendments to your record, to us at the following address:
                                                UnitedHealthcare
                                        Customer Service - Privacy Unit
                                                 PO Box 740815
                                            Atlanta, GA 30374-0815
  •    * Filing a Complaint. If you believe your privacy rights have been violated, you may file a complaint
         with us at the address listed above.
  You may also notify the Secretary of the U.S. Department of Health and Human Services of your
  complaint. We will not take any action against you for filing a complaint.
  2This Medical Information Notice of Privacy Practices applies to the following health plans that are
  affiliated with UnitedHealth Group: ACN Group of California, Inc.; All Savers Insurance Company; All
  Savers Life Insurance Company of California; AmeriChoice of New Jersey, Inc.; Arizona Physicians IPA,
  Inc.; Care Improvement Plus of Texas Insurance Company; Care Improvement Plus South Central
  Insurance Company; Care Improvement Plus Wisconsin Insurance Company; Dental Benefit Providers of
  California, Inc.; Dental Benefit Providers of Illinois, Inc.; Enterprise Life Insurance Company; Freedom Life
  Insurance Company of America; Golden Rule Insurance Company; Health Plan of Nevada, Inc.; MAMSI
  Life and Health Insurance Company; March Vision Care, Inc.; MCNA Insurance Company;MD - Individual
  Practice Association, Inc.; Medical Health Plans of Florida, Inc.; Medica HealthCare Plans, Inc.; National
  Foundation Life Insurance Company;National Pacific Dental, Inc.; Neighborhood Health Partnership, Inc.;
  Nevada Pacific Dental; Optimum Choice, Inc.; Optum Insurance Company of Ohio, Inc.; Oxford Health
  Insurance, Inc.; Oxford Health Plans (CT), Inc.; Oxford Health Plans (NJ), Inc.; Oxford Health Plans (NY),




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   Inc.; PacifiCare Life and Health Insurance Company; PacifiCare Life Assurance Company; PacifiCare of
   Arizona, Inc.; PacifiCare of Colorado, Inc.; PacifiCare of Nevada, Inc.; Physicians Health Choice of Texas,‘--
   LLC; Pi•eferred Care Partners, Inc.; Rocky Mountain Health Maintenance Organization, Incorporated;
   Sierra Health and Life Insurance Company, Inc.(DBA.UnitedHealthcare Insurance Company USA
   applicable to Arkansas and Maryland only); Solstice Benefits, Inc.; Solstice Health Insurance Company; _
  'Solsticellealthplans of Arizona, Inc.;.Solstice Healthplans of Colorado, Inc.; Solstice Healthplans of New
   Jersey Inc.; Solstice Healthplans of Ohio, Inc.; Solstice Healthplans of Texas, Inc.; Solstice Healthplans,
   Inc.; Solstice of Illinois,.Inc.; Solstice of New York, Inc.; U.S. Behavioral Health Plan, California;UHC of
   California; Unimerica Insurance Company; Unimerica Life Insurance Company of New York; Unison
  -Health Plan of Delaware, Inc.; UnitedHealthcare Benefits of Texas, Inc.; UnitedHealthcare Community
   Plan of California, Inc.; UnitedHealthcare Community Plan of Georgia, Inc.; UnitedHealthcare Community
   Plan of Ohio, Inc.; UnitedHealthcare Community Plan, Inc.;'UnitedHealthcare Community Plan of Texas,
   L.L.C.; UnitedHealthcare Freedom Insurance Company;UnitedHealthcare Insurance Company;
   UnitedHealthcare Insurance Company of America; UnitedHealthcare Insurance Company of Illinois;
   UnitedHealthcare Insurance Company of New York; UnitedHealthcare Insurance Company of the River
   Valley; UnitedHealthcare Integrated Services, Inc UnitedHealthcare Life Insurance Company;
   UnitedHealthcare of Alabama, Inc.; UnitedHealthcare of Arizona, Inc.; UnitedHealthcare of Arkansas, Inc.;
   UnitedHealthcare of Colorado, Inc.; UnitedHealthcare of Florida, Inc.; UnitedHealthcare of Georgia, Inc.;
   UnitedHealthcare of Illinois, Inc.; UnitedHealthcare of Kentucky, Ltd.; UnitedHealthcare of Louisiana, Inc.;
   United HealthCare of Mississippi, Inc.; UnitedHealthcare of New England, Inc.; UnitedHealthcare of New
   Mexico, Inc.; UnitedHealthcare of New York, Inc.; UnitedHealthcare of North Carolina, Inc.;
   UnitedHealthcare of Ohio, Inc.; UnitedHealthcare of Oklahoma, Inc.; UnitedHealthcare of Oregon, Inc.;
   UnitedHealthcare of Pennsylvania, Inc.; UnitedHealthcare of Texas, Inc.; UnitedHealthcare of the Mid-
   Atlantic, Inc.; UnitedHealthcare of the Midlands, Inc.; UnitedHealthcare of the Midwest, Inc.;
   UnitedHealthcare of the Rockies, Inc.; UnitedHealthcare of Utah, Inc.; UnitedHealthcare of Washington,
   Inc.; UnitedHealthcare of Wisconsin, Inc.; UnitedHealthcare Plan of the River Valley, Inc. This list of
   health plans is complete as of the effective date of this notice. For a current list of health plans subject to
   this notice go to www.uhc.com/privacy/entities-fn-v1.




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  FINANCIAL INFORMATION PRIVACY NOTICE

  THIS NOTICE DESCRIBES"HOW FINANCIAL INFORMATION ABOUT YOU MAY BE USED AND
  DISCLOSED.
  PLEASE REVIEW IT CAREFULLY.
  Effective January 1, 2024:
  We3 are committed to maintaining the confidentiality of your personal financial'information. For the
  purposes of this notice, "personal financial information" means information, other than health information,
  about an enrollee or an applicant for health care coverage that identifies the individual, is not generally
  publicly available and is collected from the individual or is-obtained in connection with providing health
  care coverage to the individual.
  Information We Collect
  Depending upon the product or service you have with us, we may collect personal financial information
  about you from the following sources:
  •      Information we receive from you on applications or other forms, such as name, address, age,
         medical information and Social Security number.
  •     Information about your transactions with us, our affiliates or others, such as premium payment and
        claims history.
  •     Information from a consumer reporting agency.
  Disclosure of Information
  We do not disclose personal financial information about our enrollees or former enrollees to any third
  party, except as required or permitted by law. For example, in the course of our general business
  practices, we may, as permitted by law, disclose any of the personal financial information that we collect
  about you without your authorization, to the following types of institutions:
        •      To our corporate affiliates, which include financial service providers, such as other insurers,
               and non-financial companies, such as data processors.
        •      To nonaffiliated companies for our everyday business purposes, such as to process your
               transactions, maintain your account(s), or respond to court orders and legal investigations.
        •      To nonaffiliated companies that perform services for us, including sending promotional
               communications on our behalf.
  Confidentiality and Security
  We maintain physical, electronic and procedural safeguards in accordance with applicable state and
  federal standards to protect your personal financial information against risks such as loss, destruction or
  misuse. These measures include computer safeguards, secured files and buildings, and restrictions on
  who may access your personal financial information.
  Questions about this Notice
  If you have any questions about this notice, please call the toll-free member phone number on your health
  plan ID card or call us at 1-866-633-2446 or TTY 711.
  3For purposes of this Financial Information Privacy Notice, "we" or "us" refers to the entities listed in
  footnote 2, beginning on the first page of the Health Plan Notices of Privacy Practices, plus the following
  UnitedHealthcare affiliates: ACN Group of California, Inc.;AmeriChoice Health Services, Inc.; Benefitter
  Insurance Solutions, Inc.; Claims Management Systems, Inc.:Dental Benefit Providers, Inc.; Ear
  Professional International Corporation; Excelsior Insurance Brokerage, Inc.;gethealthinsurance.com
  Agency, Inc.; Golden Outlook, Inc.; Golden Rule Insurance Company; HealthMarkets Insurance Agency;




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   Healthplex of CT, Inc.; Healthplex of ME, Inc.; Healthplex of NC, Inc.; Healthplex, Inc.; HealthSCOPE
   Benefits, Inc.; International Healthcare Services, Inc.;Level2 Health IPA, LLC; Level2 Health
   Management, LLC; LifePrint Health, Inc.; Managed Physical Network, Inc.; Optum Care Networks, Inc.;
   Optum Global Solutions (India) Private Limited: OptumHealth Care Solutions, LLC; Oxford Benefit
   Management, Inc.; Oxford Health Plans LLC; POMCO Network, Inc.; POMCO,Inc.; Real Appeal, LLC;
  SolsticeAdministrators of Alabama, Inc.; Solstice Administrators of Arizona, Inc.; Solstice Administrators
   of Missouri, Inc.; Solstice Administrators of North Carolina, Inc.; Solstice Administrators of Texas, Inc.;
   Solstice Administrators, Inc.; Solstice Benefit Services, Inc.; Solstice of Minnesota, Inc.; Solstice of New
   York, Inc.; Spectera, Inc.; Three Rivers Holdings, Inc.; U.S. Behavioral Health Plan, California; UHIC
   Holdings, Inc.; UMR, Inc.; United Behavioral Health; United Behavioral Health of New York I.P.A., Inc.;
   United-HealthCare Services, Inc.; UnitedHealth Advisors, LLC; UnitedHealthcare Service LLC; Urgent
   Care MSO, LLC;USHEALTH Administrators, LLC; USHEALTH Group, Inc.; and Vivify Health, Inc. This
   Financial Information Privacy Notice only applies where required by law. Specifically, it does not apply to
  (1) health care insurance products offered in Nevada by Health Plan of Nevada, Inc. and Sierra Health
  and Life Insurance Company, Inc.; or(2) other UnitedHealth Group health plans in states that provide
   exceptions for HIPAA covered entities or health insurance products. This list of health plans is complete
  as of the effective date of this notice. For a current list of health plans subject to this notice go to
   www.uhc.com/privacy/entities-fn-v1.




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                                       Language Assistance Services
   Wel provide free language services to help you communicate with us. We offer interpreters, letters in
   other languages, and letters in other formats like large print. To get help, please call 1-866-633-2446, or
   the toll-free member phone number listed on your health plan ID card, TTY/RTT 711. We are available
   Monday through Friday, 8 a.m. to 8 p.m. ET.
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                            Notice of Non-Discrimination

  Wel do not treat Members differently because of sex, age, race, color, disability or national origin.
  If you think you were treated unfairly because of your sex, age, race, color, disability or national origin,
  you can send a complaint to:
                                             Civil Rights Coordinator
                                    UnitedHealthcare Civil Rights Grievance
                                                 P.O. Box 30608
                                          Salt Lake City, UTAH 84130
                                          UHC_Civil_Rights@uhc.com
  You must send the complaint within 60 days of the incident. We will send you a decision within 30 days. If
  you disagree with the decision, you have 15 days to appeal.
  If you need help with your complaint, please call 1-866-633-2446 or the toll-free member phone number
  listed on your health plan ID card, TTY/RTT 711. We are available Monday through Friday, 8 a.m. to 8
  P.m. ET
  You can also file a complaint with the U.S. Dept. of Health and Human services.
  Online: https://ocrportal.hhs.gov/ocr/portal/lobby.jsf
  Complaint forms are available at http://www.hhs.gov/ocr/officeifilefindex.html.
  Phone: Toll-free 1-800-368-1019, 1-800-537-7697(TDD)
  Mail: U.S. Dept. of Health and Human Services. 200 Independence Avenue, SW Room 509F, HHH
  Building Washington, D.C. 20201
  1For purposes of the Language Assistance Services and this Non-Discrimination Notice ("Notice"),"we"
  refers to the entities listed in Footnote 2 of the Notice of Privacy Practices and Footnote 3 of the Financial
  Information Privacy Notice. Please note that not all entities listed are covered by this Notice.




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     Statement of Employee Retirement Income Security
                 Act of 1974(ERISA) Rights
  As a participant in the plan, you are entitled to certain rights and protections under the Employee
  Retirement Income Security Act of 1974 (ERISA).

  Receive Information about Your Plan and Benefits
  You are entitled to examine, without charge, at the Plan Administrator's office and at other specified
  locations, such as worksites and union halls, all documents governing the plan, including insurance
  contracts and collective bargaining agreements, and a copy of the latest annual report(Form 5500
  Series), if applicable, filed by the plan with the U.S. Department of Labor and available at the Public
  Disclosure Room of the Employee Benefits Security Administration.
  You are entitled to get, upon written request to the Plan Administrator, copies of documents governing the
  operation of the plan, including insurance contracts and collective bargaining agreements, and copies of
  the latest annual report(Form 5500 Series), if applicable and updated Summary Plan Description. The
  Plan Administrator may make a reasonable charge for the copies.

  Continue Group Health Plan Coverage
  You are entitled to continue health care coverage for yourself, spouse or Dependents if there is a loss of
  coverage under the plan due to a qualifying event. You or your Dependents may have to pay for such
  coverage. The Plan Sponsor is responsible for providing you notice of your Consolidated Omnibus
  Budget Reconciliation Act(COBRA)continuation rights. Review the Summary Plan Description and the
  documents governing the plan on the rules governing your COBRA continuation coverage rights.

  Prudent Actions by Plan Fiduciaries
  In addition to creating rights for plan participants, ERISA imposes duties upon the people who are
  responsible for the operation of the employee benefit plan. The people who operate your plan, called
  "fiduciaries" of the plan, have a duty to do so prudently and in the interest of you and other plan
   participants and beneficiaries. No one, including your employer, your union, or any other person may fire
   you or otherwise discriminate against you in any way to prevent you from obtaining a welfare benefit or
  exercising your rights under ERISA.

  Enforce Your Rights
  If your claim for a welfare benefit is denied or ignored, in whole or in part, you have a right to know why
  this was done, to get copies of documents relating to the decision without charge, and to appeal any
  denial, all within certain time schedules. Under ERISA, there are steps you can take to enforce the above
  rights. For instance, if you request a copy of plan documents or the latest annual report from the plan and
  do not receive them within 30 days, you may file suit in a Federal court. In such a case, the court may
  require the Plan Administrator to provide the materials and pay you up to $156 a day (subject to
  adjustment based on inflation) until you receive the materials, unless the materials were not sent because
  of reasons beyond the control of the Plan Administrator. If you have a claim for Benefits which is denied
  or ignored, in whole or in part, you may file suit in a state or Federal court. In addition, if you disagree with
  the plan's decision or lack thereof concerning the qualified status of a domestic relations order or a
  medical child support order, you may file suit in Federal court. If it should happen that plan fiduciaries
  misuse the plan's money, or if you are discriminated against for asserting your rights, you may seek
  assistance from the U.S. Department of Labor, or you may file suit in a Federal court. The court will
  decide who should pay court costs and legal fees. If you are successful, the court may order the person
  you have sued to pay these costs and fees. If you lose, the court may order you to pay these costs and
  fees, for example, if it finds your claim is frivolous.




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  Assistance with Your Questions
   If you have any questions about your plan, you should contact the Plan Administrator. If you have any
   questions about this statement or about your rights under ERISA, or if you need assistance in obtaining
   documents from the Plan Administrator, you should contact the nearest office of the Employee Benefits
   Security Administration, U.S. Department of Labor listed in your telephone directory or the Division of
   Technical Assistance and Inquiries, Employee Benefits Security Administration, U.S. Department of
  'Labor, 200 Constitution Avenue, N.W., Washington, D.C. 20210. You may also get certain publications
   about your rights and responsibilities under ERISA by calling the publication hotline of the Employee
   Benefits Security Administration.




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                               EXHIBIT 2

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                            SUBJECT:                    Medicare Secondary.Payer Rights andaesponsibilities
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.              '                                        Case Identification Number:
 8                                                      Date of          April 23,2019
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                            Dear PATRICK P BERTRANOU;
                            You are receiving this letter because we were notified that you filed a liability insurance (including
                            self-insurance), no-fault insurance, or workers' compensation claim. This is confirmation that a
         InenlenRen
                            Medicare Secondary Payer(MSP)recovery case has been established in oursystem. The enclosed
                            brochure tvill provide information pertinent to the Medicare recovery process. Please retain this
                            brochure for your future reference..
                            You can also keep track ofyour Recovery case by visiting the Medicare Secondary Payer
                            Recovery Portal(MSPRP). To access your Recovery case, please log into your account on
                            http://www.Medicare.gov or visit http://go.cms.gov/insprp to learn more about the MSPRP.

                           If we know that you have a lawyer or other person representing you, we have sent him or
                           her a courtesy copy of this letter and you will see him or her listed as a "cc" at the end of
                           this letter.
                           What Happens When You Have Medicare and You file a Liability Insurance(including
                           Self- Insurance), No-Fault Insurance, or Workers' Compensation Claim

                           Applicable Medicare law says that liability insurance(including self-insurance), no-fault
                           insurance, and workers' compensation must pay for medical items and services before Medicare
                           pays. This law can be found at 42 U.S.C. Section 1395y(b)(2)(A) and (B). However,Medicare
                           makes "conditional payments"(payments made to make sure you get the medical services you
                           need while your insurance or workers' compensation claim is being processed).


             NGliP•PO BOX 138832• OKLATIONIA CITY,OK 73113                                                                                 SOLICBNGHP
                                                                                                                                              Page t oF4
             Did you know you can upload case documentation through the Medicare Secondary Payer Recovery Portal located at
             littps://www.cob.cms.lths.govINISPRP (bene(iciaries can hcccss thc portal thru incdicare.gov).




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          Later,if you get a(n)insurance or workers' compensation settlement,judgment,award,or other
          payment,Medicare is entitled to be repaid for the items and services for which it made these
          conditional payments. IfMedicare determines it must be reimbursed for conditional payment, you
          will get a demand letter. The demand letter explains how Medicare calculated the amount it needs
          to be repaid and it also explains your appeal and waiver rights. If you decide to appeal or request
          a waiver ofrecovery, Medicare will not take any collection action while your appeal or waiver of
          recovery request is being processed at any level ofreview.Please note, however,that interest will
          continue to accrue on any unpaid balance.
          The enclosed brochure explains Medicare's recovery process in more detail and what
          Information we need to work with your attorney or other representative,if you have one.
          There are also two special,streamlined recovery processes outlined below.

          1.Fbced Percentage Option for Repayment Ifyou experienced a physical trauma-based injury
          and you get a liability insurance settlement,judgment,award,or other payment of$10,000 or
          less, Medicare often the option to pay25.000% ofyour gross settlement,judgment,award,or
          other payment,instead ofthe amount that Medicare would otherwise calculate.

          If you wish to choose this option, you must formally elect it at the same time that you send
          us information on your settlement,judgment,award,or other payment. Please visit the
          Beneficiary(http://go.cms.gov/beneficiary)or Attorney(http://go.cms.gov/attomey)sections of
          the BCRC website for all ofthe additional details. You will find model language that can be used
          to elect this option,as well as a special mailing address to ensure efficient processing.
         2.Self-Calculation Option for Medicare's Final Conditional Payment Amount; If you
         experienced a physical trauma-based injury, can demonstrate that treatment has been completed,
         and you expect to get a settlement of$25,000 or less, you may calculate Medicare's Conditional
         Payment Amount to help us expedite resolution ofyour case. Please visit the Beneficiary
        (http://go.cms.gov/beneficiary) or Attorney(http://go.cms.gov/attomey)sections ofthe BCRC
         website for all ofthe additional details.
          Ifyou have any questions concerning this matter, please contact the Benefits Coordination &
          Recovery Center(BCRC)by phone at 1-855-798-2627(TTY/TDD: 1-855-797-2627 for the
          hearing and speech impaired), in writing at the address below,or by fax to 405-869-3309
          Sincerely,
          BCRC
          CC:ARTHUR BARENS
          Enclosure:           Correspondence Cover Sheet
                               Benefits Coordination & Recovery Center Brochure

NGHP•PO BOX 138832•OKLAHOMA CITY,OK 73113                                                                                       SGLICBNGHP
                                                                                                                                   Page 2 of4
Did you know you can upload case documentation through the Medicare Secondary Payer Recovery Portal located at
himm//www.cob.anahhs.gov/MSPRP(beneficiaries can access the portal duu ntedinue.gav).




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                                 Recovery Center(i3CIRC),4ho
                                                     -                efe not involved iii-the original,de8iSiOn, have reviewed:the
            •                    above-referenced matter. The redeterminationdecision is partially favorable,The Medicare
                                -r,09Ycq.*TI,If9r,t.1,10109v,e-t-cferenced.ca4e   his'been adjusted,:in accordance ‘3,401 the partially
                                favora11e rédeterminatioñ decision.
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          you appealed have been adjusted offthe debt. An updated payment summary form is enclosed.                                               N
          The BCRC did not receive sufficient supporting documentation to fully support your
          redetermination request.

          The claims appealed are related to the incident
          The Diagnosis code on the claim(s)appealed match(es)the Reported Diagnosis Code for the Date
          ofIncident(1)01)reported to the BCRC or the date ofservice is on or near the DOI.Therefore
          we consider the claims related to the incident.

          The current amount due is $119,902.82(Principal $119,902.82; Interest $0.00).

          Please make a check or money order payment to Medicare,and mail it along with a copy ofthis
          letter to the BCRC at the address below or submit your payment through the Medicare Secondary
          Payer Recovery Portal(MSPRP)at https://www.cob.cms.hhs.gov/MSPRP. Medicare
          beneficiaries may access MSPRP through the Medicare.gov website at https://medicare.gov/ using
          their established User Name and password for that site. Once logged into Medicare.gov, they can
          access the MSPRP from the `MSP'section of Medicare.gov.

          If you have an attorney, insurer or authorized representative that would hie to begin using
          automated clearing house(ACH)electronic funds transfer(EFT),please have them send a request
          to bcrc_finance®gdit.com with"ACH Set Up" in the subject line. In the email, they will need to
          include a financial point ofcontact within their organization in order for the BCRC to obtain
          information needed to establish the ACH process. Please DO NOT make electronic payments to
          the BCRC until approval is received to begin using the ACH payment process.

          Please be advised that interest on the remaining balance will continue accruing, and will be
          assessed every 30 days from the date ofthe demand,October 25,2024,until the balance is paid in
          full. Any payment(s)received has been applied to interest first(ifapplicable)then to the principal
          portion ofthe debt. Ifa refund is due,a check will be sent under separate cover.

          Summary ofFacts

               • The beneficiary received treatment for an injury/illness from the provider(s), physician(s),
                 or other supplier(s)identified on the BCRC Payment Siimmilry Form regarding the
                 above-referenced Date ofIncident(DOI).
               • Medicare made conditional payments in response to the treatment received by the
                 beneficiary.
               • Medicare sent an initial determination in the form ofa Medicare demand letter dated
                 October 25,2024.

                                                                                                                               ML1394NGHP
Special Projects • P.O. Box 138868 • Oklahoma City,OK 73113
                                                                                                                                Page 2 of36
Did you know you can upload case documentation through the Medicare Secondary Payer Recovery Portal located at
hup:r.//www.cob.ans.hlts.gov/MSPRP(beneficiaries can access the portal dint malicere.gov).




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              the appeal must be filed nojatettlian August 31 2025 The l3c.,, F„C-mtaassumethatyou
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              Information Sheet, or a Similarlyprinatted letter, and extilaiti4hy.   :Yoti'cliSagreerAi,tk,this
              determination. Enclose (-)iiy oftliis:lettet,a10,iny'fietV evidence you wish to have considered,
              along With the Reconsideration Request Information Sheet. Please floteithat.,?nly evidence
              submittediril.ihe reconsigeat.
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              show good cause why any other evidence was not subin.itted4ireviouSly:

              Under speCial.ciicuaistance,s,.you may ask for more tirneio.request reconsideration.
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              Send your request for reconsiderationor a requeSt for.additioifattitne tb

                                                                Maximus:Federal!Services
                                                                  3750 Monroe Avenue
                                                                 Plit AWest - Suite 766
                                                                Pittsford, NY 145344302

              IfWe"know that youtave an attorney orstther.individual reptesenting you 4hiSrriatter;.thea.We
              are sending him/her a copyofthis letter: If you have an attorney or other rePr,eleatatiVe-for,thiS
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    Special Projects       P.O. Box 138868 • 041a4Omo City,                   qiiiS                                                            Pag;r3 Of36
1   Did you know you can upload case documentation through the Medicare Secondary Payer Recovery Portal located at
    htms://www.cob.erns.hits.goviNISPRP (beneficiaries can access the portal dtru medicart.gov).




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     Case 2:25-cv-03366-AB-E                          Document 1-1 Filed 04/16/25                                Page 295 of 299 Page ID
                                                                 #:299


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          for you may file the reconsideration request You can name a relative, friend, advocate, attorney,
          doctor or someone else. Todo this, you and the person you are naming to act for you must sign,
          date and send us a statement authorizing that person as your representative, along with your
          reconsideration request.

          You can contact your State Health Insurance Assistance Program(SHIP)for questions about
          payment denials and.appeals. For information on how to contact your local SHIP,call
          1400-MEDICARE(1-800-633-4227).

          If you want copies ofstatutes, regulations, policies, and/or manual instructions we used to arrive
          at this decision, or if you have other questions, please contact the BCRC at 1-855-798-2627
         (TTY/IDD: 1-855-797-2627 for hearing/speech impaired).

          Sincerely,
          BCRC Case Analyst

          CC: MICHAEL J. PERRY,ESQ.

          Enclosure: Reconsideration Request Information Sheet
                    Payment Summary Form




                                                                                                                                 ML094NGHP
Special Projects • P.O.Box 138868 • Oklahoma City,OK 73113
                                                                                                                                  Page 4 of36
Did you know you can upload case documentation through the Medicare Secondary Payer Recovery Portal located at
hups://www.cob.cms.hhs.gov/MSPRP(beneficiaries can access the portal tiny medicare.gov).




                                                                       Exhibit A, Pg. 298
     Case 2:25-cv-03366-AB-E                   Document 1-1 Filed 04/16/25                    Page 296 of 299 Page ID
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                                                                                                    Reserved for Clerk's File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                              FILED
 Beverly Hills Courthouse                                                                           Superior Court of California
                                                                                                      County of Los Angeles
 9355 Burton Way, Beverly Hills, CA 90210
                                                                                                          01/21/2025
                   NOTICE OF CASE ASSIGNMENT                                                Cep uni.silybi, Melte Otter /C rti alGalrt
                                                                                              By.            M. Elder      Ceptity
                         UNLIMITED CIVIL CASE

                                                                                     CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 25SMCV00428


                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT      ROOM                       ASSIGNED JUDGE                    DEPT          ROOM
         Michael E. Whitaker                207




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   David W. Slayton, Executive Officer / Clerk of Court
    on 01/28/2025                                                            By M. Elder                                         , Deputy Clerk
                (Date)
LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06



                                                             Exhibit A, Pg. 299
      Case 2:25-cv-03366-AB-E                  Document 1-1 Filed 04/16/25                      Page 297 of 299 Page ID
                                                          #:301
                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under. Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.                                 •

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06


                                                             Exhibit A, Pg. 300
    Case 2:25-cv-03366-AB-E             Document 1-1 Filed 04/16/25                  Page 298 of 299 Page ID
                                                   #:302


                          Superior Court of California, County of Los Angeles


                             A LTERNATIVE DISPUTE RESOLUTION (ADR,
                                    'INFORMATION PACKAGE

  THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

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What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
   • Costs: If the parties do not resolve the dispute,,they may have,to_pay,for ADR,                                -
   • No Public Trial: ADR does not provide a public trial or decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with
       a settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate.the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.

               Mediation may not be appropriate when the parties
                 • want a public trial and want a judge or jury to decide the outcome.
                 • lack equal bargaining power or have a history of physical/emotional abuse.




LASC CIV 271 Rev. 03/23                                                                                             Page 1 of 2
For Mandatory Use




                                                    Exhibit A, Pg. 301
Case 2:25-cv-03366-AB-E             Document 1-1 Filed 04/16/25                   Page 299 of 299 Page ID
                                               #:303


                            How to Arrange Mediation in Los Angeles County

  Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

      a. The Civil Mediation Vendor Resource List
         If all parties in an active civil case agreeto mediation, they may contact these organizations to
         request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
         cases).

           • ADR Services, Inc. Assistant Case Manager Janet Solis, janet@adrservices.com
             (213)683-1600
           • Mediation Center of Los Angeles Program Manager info@mediationLA.org
             (833)476-9145

           These organizations cannot accept every case and they may decline cases at their discretion.
           They may offer online mediation by video conference for cases they accept. Before contacting
           these organizations, review important information and FAQs at www.lacourt.org/ADR.Reslist

           NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate,
           or small claims cases.

      b. Los Angeles County Dispute Resolution Programs. Los Angeles County-funded agencies provide
         mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
         harassment, and limited civil (collections and non-collection) cases.
         https://dcba.lacounty.gov/countywidedrp/

           Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
           should carefully review the Notice and other information they may receive about(ODR)
           requirements for their case. https://my.lacourt.orgiodr/

      c.   Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

  3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
     arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
     decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a trial
     after the arbitrator's decision. For more information about arbitration, visit
     https://www.courts.ca.gov/programs-adr.htm

  4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close
     to the trial date or on the day of trial. The parties and their attorneys meet with a judge or
     settlement officer who does not make a decision but who instead assists the parties in evaluating
     the strengths and weaknesses of the case and in negotiating a settlement. For information about
     the Court's MSC programs for civil cases, visit https://www.lacourtorg/division/civil/C10047.aspx

  Los Angeles Superior Court ADR website: https://www.lacourt.oradivision/civil/C10109.aspx
  For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm




  LASC CV 271 Rev. 03/23                                                                             Page 2 of 2
  For Mandatory Use




                                                 Exhibit A, Pg. 302
